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                         EXHIBIT “A”
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                                              GENERAL STAR INDEMNITY COMPANY
                                                              120 LO N G RIDGE RO AD
                                                                   PO BO X 10354
                                                       STAM FO RD, CO N N ECTICUT 06904-2354                  0I18107
                                                             A Stock Insurance Company
                                                     COMMON POLICY DECLARATIONS
                                                          40+ AdvantagePac
  POLICY # IMA359733                                                                  RENEWAL OF POLICY # NEW
  1. NAMED INSURED                                KHANEN HOLDINGS, LLC

     MAILING ADDRESS                              PO BOX 16297
                                                  LOS ANGELES, CA 90069


  2. POLICY PERIOD:                           From         02/12/2019         to       02/12/2020
                                              at 12:01 A.M. Standard Time at your mailing address shown above.
     IN RETURN FOR THE PAYMENT OF THE PREMIUM, AND SUBJECT TO ALL THE TERMS OF THIS POLICY, WE AGREE
     WITH YOU TO PROVIDE THE INSURANCE AS STATED IN THIS POLICY.


  3. THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PARTS
     FOR WHICH A PREMIUM IS INDICATED. THIS PREMIUM MAY
     BE SUBJECT TO ADJUSTMENT.                                                                                    PREMIUM
               Commercial Property Coverage Part                                                  $                  15,450.00
               Commercial Inland Marine Coverage Part                                             $
               Commercial General Liability Coverage Part                                         $                    3,600.00
               Equipment Breakdown Coverage                                                       $                      372.00
               Liquor Liability Coverage Part                                                     $
               40+ AdvantagePac + 7                                                               $
                                                                                TOTAL PREMIUM $                      19,422.00
    APP ID NUMBER(S)                                                STATE SURPLUS TAX ( 3.000%)$                        585.66
    (REQUIRED if SUBMIT/ PRIOR APPROVAL business)                   POLICY FEE                    $
    Prior Approval by:                                              INSPECTION FEE                $                       100.00
               (General Star Underwriter)                           SERVICE FEE                   $                       250.00
    Inspection Report:                                              STAMPING FEE                  $                        39.04
            Ordered 02/14/2019
            Attached                                                                              $
            Not Required
       Underwriter in Producer's Office:
                                                                                                  $
   T mCPARTLAND                                                                                   $
             (required for every policy.)                                                                            20,396.70
                                                              POLICY TOTAL (payable at inception) $

  4. FORM OF BUSINESS:
        Individual                                        Partnership           X Limited Liability Company
        Joint Venture                                     Organization (Other than Partnership, Joint Venture or Limited Liability Company)

  5. BUSINESS DESCRIPTION: LESSORS OF RESIDENTIAL DWELLINGS
                                                          NO FLAT CANCELLATION
  6. FORMS AND ENDORSEMENTS (other than applicable Forms and Endorsements shown elsewhere in the policy)
                                            See Schedule of Forms & Endorsements GSI-04-FORMSCH (1-01)

  THESE COMMON POLICY DECLARATIONS, AND OTHER APPLICABLE COVERAGE PART DECLARATIONS, TOGETHER
  WITH THE COMMON POLICY CONDITIONS, COVERAGE FORM(S) AND FORMS AND ENDORSEMENTS, IF ANY, ISSUED
  TO FORM A PART THEREOF, COMPLETE THE ABOVE NUMBERED POLICY.

  COUNTERSIGNED AT REDONDO BEACH, CA                              BY:
                                                                        Authorized representative or countersignature, whichever applies.
  DATE 02/27/2019                                                PRODUCER CODE: 15771
            TM/KK
                                                                 PRODUCER NAME: AmWINS Access Ins Services LLC

GSI-04-AP00D (3/ 10)                                              COMPANY
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               SCHEDULE OF FORMS AND ENDORSEMENTS

POLICY NUMBER:                                             NAMED INSURED
IMA359733                                                  KHANEN HOLDINGS, LLC



Endorsement No./ Edition Date/ Form Description

Forms Applicable - INTERLINE
GSI-04-AP00D (03-10)           COMM POLICY DECL
GSI-04-I618 (08-06)            COMMON POLICY CONDITIONS
GSI-04-I600 (03-10)            SERVICE OF SUIT CLAUSE
GSI-04-I604 (01-01)            MINIMUM EARNED PREM
IL0985 (01-15)                 DISCLOSURE PURSUANT TO TERRORISM RISK INSURANCE ACT
GSI-04-AP040 (10-18)           40+ ADVANTAGEPAC ENDORSEMENT
GSI-04-CGLDEC(05-04)           GENERAL LIABILITY DECL
CG0001 (12-07)                 GL COVERAGE FORM-OCC
GSI-04-C512 (01-01)            CLASSIFICATION LIMITATION
GSI-04-AP600 (02-16)           CGL COMBINED PROVISIONS ENDORSEMENT - GENERAL LIABILITY
GSI-04-C820 (05-09)            EXCL-PUNITIVE OR EXEMP DMGS
GSI-04-C822 (01-01)            TOTAL LIQUOR EXCL
IL0021 (09-08)                 NUCLEAR ENERGY LIAB EXCL
CG2132 (05-09)                 COMMUNICABLE DISEASE EXCLUSION
CG2144 (07-98)                 LIMITATION OF COVERAGE
CG2173 (01-15)                 EXCL OF CERTIFIED ACTS OF TERRORISM
GSI-04-CP03D (05-04)           COMM PROPERTY COV DECL
GSI-04-CPDECX(05-04)           COMM PROP EXT DECL
CP0010 (10-12)                 BUILDING AND PERS PROP COVG
CP0030 (10-12)                 BUS INCOME (AND EXTRA EXP)
CP0090 (07-88)                 COMM PROPERTY CONDITIONS
CP0411 (09-17)                 PROTECTIVE SAFEGUARDS
CP1030 (09-17)                 CAUSE OF LOSS-SPECIAL
CP1211 (09-17)                 BURGLARY & ROBBERY PROTECTIVE
CPR 04 0001 (06-18)            WATER BACK-UP AND SUMP OVERFLOW
CPR 04 0005 (10-18)            40+ ADVANTAGEPAC FOR GAP
IL0953 (01-15)                 EXCLUSION OF CERTIFIED ACTS OF TERRORISM
CLF 04 0002 (06-11)            ASSAULT OR BATTERY COVERAGE AND SUBLIMIT
CLF 11 0018 (06-15)            DESIGNATED ANIMAL LIABILITY LIMITATION
Forms Applicable - EQUIPMENT BREAKDOWN
GSI-04-EB001 (05-07)           EQUIP BREAKDOWN COVG FORM




                                      ADDITIONAL FORMS



GSI-04-FORMSCH (01-01)                                                                   Page 1 of 2



                                             COMPANY
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               SCHEDULE OF FORMS AND ENDORSEMENTS (Continued)


Endorsement No./ Edition Date/ Form Description




GSI-04-FORMSCH (01-01)                                                         Page 2 of 2
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                       GENERAL STAR INDEMNITY COMPANY

                               COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                               a. Make inspections and surveys at any
                                                                                   time;
   1. The first Named Insured shown in the Decla-
      rations may cancel this policy by mailing or                            b. Give you reports on the conditions we
      delivering to us advance written notice of                                   find; and
      cancellation.                                                           c. Recommend changes.
   2. We may cancel this policy by mailing or deliv-                       2. We are not obligated to make any inspec-
      ering to the first Named Insured written notice                         tions, surveys, reports or recommendations
      of cancellation at least:                                               and any such actions we do undertake relate
      a. 10 days before the effective date of can-                            only to insurability and the premiums to be
            cellation if we cancel for nonpayment of                          charged. We do not make safety inspections.
            premium or for the failure to provide to                          We do not undertake to perform the duty of
            the Company any audit related documen-                            any person or organization to provide for the
            tation, for either this insurance policy or                       health or safety of workers or the public. And
            any other insurance policy issued to a                            we do not warrant that conditions:
            Named Insured in the past; or                                     a. Are safe or healthful; or
      b. 30 days before the effective date of can-                            b. Comply with laws, regulations, codes or
            cellation if we cancel for any other rea-                              standards.
            son.
                                                                           3. Paragraphs    1. and 2. of this condition apply
   3. We will mail or deliver our notice to the first                         not only to us, but also to any rating, advisory,
      Named Insured's last mailing address known                              rate service or similar organization which
      to us.                                                                  makes insurance inspections, surveys, re-
   4. Notice of cancellation will state the effective                         ports or recommendations.
      date of cancellation. The policy period will
                                                                           4. Paragraph 2. of this condition does not apply
      end on that date.                                                       to any inspections, surveys, reports or rec-
   5. If this policy is cancelled, we will send the first                     ommendations we may make relative to certi-
      Named Insured any premium refund due. If                                fication, under state or municipal statutes, or-
      we cancel, the refund will be pro rata. If the                          dinances or regulations, of boilers, pressure
      first Named Insured cancels, the refund may                             vessels or elevators.
      be less than pro rata. The cancellation will be                 E. Premiums
      effective even if we have not made or offered
      a refund.                                                          The first Named Insured shown in the Declara-
                                                                         tions:
   6. If notice is mailed, proof of mailing will be suf-
      ficient proof of notice.                                           1. Is responsible for the payment of all premi-
                                                                              ums. Failure to pay any premium or to pro-
B. Changes                                                                    vide to the Company any audit-related docu-
   This policy contains all the agreements between                            mentation, for either this insurance policy or
   you and us concerning the insurance afforded.                              any other insurance policy issued to a Named
   The first Named Insured shown in the Declara-                              Insured in the past, will result in a cancellation
   tions is authorized to make changes in the terms                           of this policy; and
   of this policy with our consent. This policy's terms
                                                                         2. Will be the payee for any return premiums we
   can be amended or waived only by endorsement                               pay.
   issued by us and made a part of this policy.
                                                                      F. Representations On Application Warranty.
C. Examination Of Your Books And Records
                                                                         The following representations on application war-
   We may examine and audit your books and re-                           ranty applies to all Coverage Parts attached to
   cords as they relate to this policy at any time dur-                  this policy.
   ing the policy period and up to three years after-
   ward.                                                                 By accepting this policy, you agree, represent and
                                                                         warrant that:
D. Inspections And Surveys
                                                                         1. The statements and information contained in
   1. We have the right to:                                                   the application for insurance, including all

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       statements, information and documents ac-                           3. The application for this policy is incorporated
       companying or relating to the application are:                         and made part of the policy by reference.
           (a) Accurate and complete and no facts                    G. Transfer Of Your Rights And Duties Under
                have been suppressed, omitted or                        This Policy
                misstated; and                                          Your rights and duties under this policy may not
           (b) Material to us, and we have issued                       be transferred without our written consent except
                this policy in reliance upon them;                      in the case of death of an individual named in-
    2. Any failure to fully disclose the information re-                sured.
       quested in the application for insurance,                        If you die, your rights and duties will be trans-
       whether by omission or suppression, or any                       ferred to your legal representative but only while
       misrepresentation in the statements and in-                      acting within the scope of duties as your legal rep-
       formation contained in the application for in-                   resentative. Until your legal representative is ap-
       surance, including all statements, information                   pointed, anyone having proper temporary custody
       and documents accompanying or relating to                        of your property will have your rights and duties
       the application, renders coverage for any                        but only with respect to that property.
       claim(s) null and void and entitles us to re-
       scind the policy from its inception; and




IN WITNESS WHEREOF The General Star Indemnity Company has caused this Policy to be signed by its Presi-
dent and Secretary at Stamford, Connecticut, but the same shall not be binding upon the Company unless
countersigned on the Declarations Page by an authorized representative of the Company.

                                                                           GENERAL STAR INDEMNITY COMPANY




   ______________________________________                                 ______________________________________
   Secretary                                                              President




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                            GENERAL STAR INDEMNITY COMPANY
    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                 SERVICE OF SUIT CLAUSE

It is agreed that in the event of the failure of General Star Indemnity Company (the "Insurer") to pay any
amount claimed to be due hereunder, the Insurer, at the request of the insured, will submit to the jurisdiction
of any Court of competent jurisdiction within the United States of America and will comply with all
requirements necessary to give such Court jurisdiction. All matters arising hereunder shall be determined in
accordance with the law and practice of such Court. However, nothing in this provision constitutes a waiver
of the Insurer's rights to remove an action to a United States District Court, or to seek a transfer of a case to
another Court as permitted by the laws of the United States of America or of any State in the United States.

It is further agreed that service of process in such suit may be made upon the Insurer by certified mail, return
receipt requested, addressed to the Insurer in care of it's Corporate Secretary, Attention: Legal Department,
General Star Indemnity Company, 120 Long Ridge Road, Stamford, CT 06902-1843. In any suit instituted
under this contract, Insurer will abide by the final decision of such Court or of any Appellate Court in the event
of an appeal.

The above-referenced Corporate Secretary, or his designee, is authorized and directed to accept service of
process on behalf of the Insurer in any such suit or upon the request of the insured to give a written
undertaking to the insured that it will enter a general appearance upon the Insurer's behalf in the event such a
suit shall be instituted.

Further, pursuant to any statute of any state, territory or district of the United States of America, which makes
provision therefor, the Insurer hereby designates the Superintendent, Commissioner or Director of Insurance,
or such other insurance department representative, or such other governmental officer, such as the Secretary
of State, specified for that purpose in the statute, or his successor or successors in office, as its true and
lawful attorney upon whom may be served any lawful process in any action, suit or proceeding instituted by or
on behalf of the insured or any beneficiary hereunder arising out of this contract of insurance, and hereby
designates the Insurer's Corporate Secretary as the person to whom the said insurance department
representative is authorized to mail such process or a true copy thereof.




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                             GENERAL STAR INDEMNITY COMPANY
          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                   MINIMUM EARNED PREMIUM
 Item 5. of Condition A Cancellation of the COMMON POLICY CONDITIONS is deleted and replaced by the following:


 5.      If this policy is cancelled, we will send the first Named Insured any premium refund due. If we cancel, the
         refund will be pro rata. If the first Named Insured cancels, the refund may be less than pro rata and such
         refund will be subject to minimum earned premium of ___________%  25 of the TOTAL PREMIUM shown under
         item 3. of the COMMON POLICY DECLARATIONS. The cancellation will be effective even if we have not made
         or offered a refund.




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POLICY NUMBER: IMA359733
                                                                                                  IL 09 85 01 15

    THIS ENDORSEMENT IS ATTACHED TO AND MADE PART OF YOUR POLICY IN
    RESPONSE TO THE DISCLOSURE REQUIREMENTS OF THE TERRORISM RISK
   INSURANCE ACT. THIS ENDORSEMENT DOES NOT GRANT ANY COVERAGE OR
  CHANGE THE TERMS AND CONDITIONS OF ANY COVERAGE UNDER THE POLICY.

          DISCLOSURE PURSUANT TO TERRORISM RISK
                      INSURANCE ACT
                                                  SCHEDULE

 SCHEDULE – PART I
 Terrorism Premium (Certified Acts) $
 This premium is the total Certified Acts premium attributable to the following Coverage Part(s),
 Coverage Form(s) and/or Policy(ies):




 Additional information, if any, concerning the terrorism premium:
 REJECTED



 SCHEDULE – PART II
 Federal share of terrorism losses ____         % Year: 20
 (Refer to Paragraph B. in this endorsement.)

 Federal share of terrorism losses ____         % Year: 20
 (Refer to Paragraph B. in this endorsement.)

 Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. Disclosure Of Premium
   In accordance with the federal Terrorism Risk
   Insurance Act, we are required to provide you with
   a notice disclosing the portion of your premium, if
   any, attributable to coverage for terrorist acts
   certified under the Terrorism Risk Insurance Act.
   The portion of your premium attributable to such
   coverage is shown in the Schedule of this
   endorsement or in the policy Declarations.




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B. Disclosure Of Federal Participation In Payment          C. Cap On Insurer Participation In Payment Of
   Of Terrorism Losses                                        Terrorism Losses
   The United States Government, Department of the            If aggregate insured losses attributable to terrorist
   Treasury, will pay a share of terrorism losses             acts certified under the Terrorism Risk Insurance
   insured under the federal program. The federal             Act exceed $100 billion in a calendar year and we
   share equals a percentage (as shown in Part II of          have met our insurer deductible under the
   the Schedule of this endorsement or in the policy          Terrorism Risk Insurance Act, we shall not be
   Declarations) of that portion of the amount of such        liable for the payment of any portion of the amount
   insured losses that exceeds the applicable insurer         of such losses that exceeds $100 billion, and in
   retention. However, if aggregate insured losses            such case insured losses up to that amount are
   attributable to terrorist acts certified under the         subject to pro rata allocation in accordance with
   Terrorism Risk Insurance Act exceed $100 billion           procedures established by the Secretary of the
   in a calendar year, the Treasury shall not make            Treasury.
   any payment for any portion of the amount of such
   losses that exceeds $100 billion.




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               THIS ENDORSEMENT CHANGES
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                                                  40+ AdvantagePAC™
This endorsement modifies insurance provided under the following:

 BUILDING AND PERSONAL PROPERTY COVERAGE FORM                                    CAUSES OF LOSS - SPECIAL FORM
 BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE                                BUSINESS INCOME (WITH EXTRA EXPENSE) COVERAGE
 FORM                                                                            FORM
 CONDOMINIUM ASSOCIATION COVERAGE FORM                                           COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                        SYNOPSIS OF COVERAGE ENHANCEMENTS PROVIDED BY THIS ENDORSEMENT

 Property – Changes to the Building/Personal Property or Condominium Association Form:
 Item Enhanced/New Coverage                                New Limits or Deductible Amounts                                                            Page
 1     Debris Removal                                                            $30,000 each location, each occurrence                                   2
 2     Fire Department Service Charge                                            $5,000 each occurrence                                                   3
 3     Pollutant Clean-Up & Removal                                              $20,000 expenses each described premises, each annual policy             3
                                                                                 period
 4     Ordinance Or Law                                                          $25,000 each described building; $50,000 annual aggregate –              3
                                                                                 Coverage A, B, C combined
 5     Forgery Or Alteration                                                     $2,500 each loss including legal expense                                 6
 6     Fire Extinguisher Systems Recharge Expense                                $2,500 each occurrence                                                   7
 7     Prepackaged Software                                                      $5,000 annual aggregate                                                  8
 8     Newly Acquired / Constructed Property – Buildings                         $350,000 each building; 60 days period of coverage after                 8
                                                                                 acquisition / construction begins
 9     Newly Acquired / Constructed Property – Business Personal Property        $150,000 business personal property at each building; 60 days            8
                                                                                 period of coverage after acquisition / construction begins
 10    Personal Effects & Property Of Others                                     $7,500 each described location subject to $2,500 any one item            9
 11    Valuable Papers & Records (Other Than Electronic Data)                    $15,000 each described premises                                          9
 12    Property Off-Premises                                                     $20,000 each occurrence                                                  9
 13    Outdoor Property – Trees, Shrubs, Plants                                  $5,000 each occurrence subject to $1,000 any one item                    9
 14    Outdoor Property – Fences; Radio / Television Antennas; Signs             $15,000 each occurrence fences; radio / television antennas              9
                                                                                 (broadened specified perils); $2,500 each occurrence per sign
                                                                                 (non-specified perils)
 15    Accounts Receivable                                                       $15,000 each occurrence at the described premises                       10
 16    Fine Arts                                                                 $10,000 lesser of cost to restore, repair, or replace                   11
 17    Arson Reward                                                              Up to $10,000 each occurrence; $20,000 annual aggregate                 11
 18    Theft Or Vandalism Reward                                                 Up to $2,500 each occurrence; $5,000 annual aggregate                   12
 19    Lock And Key Replacement                                                  $5,000 each occurrence                                                  12
 20    Installation Coverage                                                     $15,000 each occurrence                                                 12
 21    Tenant Building Glass                                                     $15,000 each described building                                         12
 22    Tenant Relocation Expense (Not Applicable In Massachusetts)               $750 each rented living quarters; $15,000 annual aggregate              13
 23    Employee Dishonesty                                                       $10,000 all claims or occurrence                                        13
 24    Business Personal Property Limit – Seasonal Increase                      25%                                                                     15
 25    Deductible – Tenant Building Glass; Employee Dishonesty                   $250 deductible                                                        12, 13
 26    Deductible – Fire Extinguisher Systems Recharge; Arson / Theft &          No deductible                                                          7, 11,
       Vandalism Reward; Tenant Relocation Expense                                                                                                       13
         Property – Changes to the Business Income (With Extra Expense) or (Without Extra Expense) Forms:
       Enhanced/New Coverage                              New Limits or Deductible Amounts                                                               Page
 27    Extended Business Income                                                  90 days                                                                17, 18
 28    Newly Acquired Locations                                                  $150,000 each location. 60 days period of coverage after               17, 18
                                                                                 acquisition/construction begins
                                      Property – Changes to the Causes Of Loss – Special Form:
       Enhanced/New Coverage                                                     New Limits or Deductible Amounts                                       Page
 29    Property In Transit – Your Vehicles                                       $15,000 each occurrence                                                 19
 30    Property In Transit – Non-owned Vehicles                                  $2,500 each occurrence                                                  19
 31    Fungus Clean-Up & Removal Expense****                                     $10,000 aggregate each policy period                                   ****
                      General Liability – Changes to the Commercial General Liability Form:
       Enhanced/New Coverage                              New Limits or Deductible Amounts                                                              Page
 32    Expected Or Intended Injury Or Damage                                     Use of reasonable force - property damage                               20
 33    Non-owned Watercraft                                                      Up to 51 feet long                                                      20
 34    Damage To Property - Customer’s Goods While On Premises                   $10,000 each occurrence                                                 20
 35    Supplementary Payments – Cost Of Bail Bonds                               $2,500 each occurrence                                                  20
 36    Supplementary Payments – Insured Loss Of Earnings                         Up to $500 per day insured loss of earnings                             20
 37    Privacy & Information Security Third Party Notification And Outside       $5,000 annual aggregate expense reimbursement                           21
       Consultant Services Reimbursement
 38    Automatic Additional Insured – Managers & Lessors Of Premises             Automatic coverage for qualified person(s) or organization(s)           22
 39    Automatic Additional Insured – Lessors of Leased Equipment                Automatic coverage for qualified person(s) or organization(s)           23
 40    Liberalization Provision                                                  Included                                                                23
 41    Medical Expense Limit                                                     $10,000 any one person                                                  Dec
 42    Pollution Excl. – Hostile Fire Exception **                               Up to policy limit                                                       **
       **** Refer to Property Combined Provisions Endorsement                    ** Refer to Commercial Gen. Liability Combined Provisions End.


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  A. COVERAGE AMENDMENTS TO THE BUILDING AND PERSONAL PROPERTY COVERAGE FORM (CP 00 10)
     OR THE CONDOMINIUM ASSOCIATION COVERAGE FORM (CP 00 17) – [WHICH EVER COVERAGE FORM IS
     ATTACHED TO THE POLICY]

      1. ADDITIONAL COVERAGES
          Provisions a., c., d. and e. in Section A.4. Additional Coverages are amended as follows:

           DEBRIS REMOVAL
              Subparagraphs a. (4) and (5) of Debris Removal of Section A.4. Additional Coverage are deleted and
              replaced by the following:
              a. Debris Removal
                  (4) We will pay up to an additional $30,000 for debris removal expense, for each location, in any one
                      occurrence of physical loss or damage to Covered Property, if one or both of the following
                      circumstances apply:
                      (a) The total of the actual debris removal expense plus the amount we pay for direct physical loss
                           or damage exceeds the Limit of Insurance on the Covered Property that has sustained loss or
                           damage.
                      (b) The actual debris removal expense exceeds 25% of the sum of the deductible plus the amount
                           that we pay for direct physical loss or damage to the Covered Property that has sustained loss
                           or damage.
                      Therefore, if Subparagraphs (4)(a) and/or (4)(b) apply, our total payment for direct physical loss or
                      damage and debris removal expense may reach but will never exceed the Limit of Insurance on the
                      Covered Property that has sustained loss or damage, plus $30,000.
                  (5) Examples
                      The following examples assume that there is no coinsurance penalty.
                      Example #1
                        Limit of Insurance                       $ 90,000
                        Amount of Deductible                     $ 500
                        Amount of Loss                           $ 50,000
                        Amount of Loss Payable                   $ 49,500
                                                              ($50,000 - $500)
                        Debris Removal Expense                   $ 10,000
                        Debris Removal Expense
                        Payable                                  $ 10,000
                        ($10,000 is 20% of $50,000)
                      The debris removal expense is less than 25% of the sum of the loss payable plus the deductible.
                      The sum of the loss payable and the debris removal expense ($49,500 + $10,000 = $59,500) is
                      less than the Limit of Insurance. Therefore the full amount of debris removal expense is payable in
                      accordance with the terms of Paragraph (3).

                       Example #2
                        Limit of Insurance                             $ 90,000
                        Amount of Deductible                           $ 500
                        Amount of Loss                                 $ 80,000
                        Amount of Loss Payable                         $ 79,500
                                                                    ($80,000 - $500)
                        Debris Removal Expense                         $ 50,000
                        Debris Removal Expense
                        Payable
                                       Basic Amount                     $ 10,500
                                       Additional Amount                $ 30,000

                       The basic amount payable for debris removal expense under the terms of Paragraph (3) is
                       calculated as follows: $80,000 ($79,500 + $500) x .25 = $20,000; capped at $10,500. The cap
                       applies because the sum of the loss payable ($79,500) and the basic amount payable for debris
                       removal expense ($10,500) cannot exceed the Limit of Insurance ($90,000).

                       The additional amount payable for debris removal expense is provided in accordance with the
                       terms of Paragraph (4) because the debris removal expense ($50,000) exceeds 25% of the loss
                       payable plus the deductible ($50,000 is 62.5% of $80,000), and because the sum of the loss




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                           payable and debris removal expense ($79,500 + $50,000 = $129,500) would exceed the Limit of
                           Insurance ($90,000). The additional amount of covered debris removal expense is $30,000, the
                           maximum payable under Paragraph (4). Thus the total payable for debris removal expense in this
                           example is $40,500; $9,500 of the debris removal expense is not covered.

           FIRE DEPARTMENT SERVICE CHARGE
              Paragraph c. Fire Department Service Charge of Section A.4. Additional Coverages is deleted and
              replaced with the following:

                c. Fire Department Service Charge
                   When the fire department is called to save or protect Covered Property from a Covered Cause of Loss,
                   we will pay up to $5,000 for service at each premises described in the Commercial Property
                   Coverage Part Declarations, unless a higher limit is shown in the Commercial Property Coverage
                   Part Declarations. Such limit is the most we will pay regardless of the number of responding fire
                   departments or fire units, and regardless of the number or type of service performed.

                       This Additional Coverage applies to your liability for fire department service charges:
                       (1) Assumed by contract or agreement prior to loss; or
                       (2) Required by local ordinance.

                       No deductible applies to this Additional Coverage.

           POLLUTANT CLEAN-UP AND REMOVAL
              Paragraph d. Pollutant Clean-up And Removal of Section A.4. Additional Coverages is deleted and
              replaced with the following:

                d. Pollutant Clean-up And Removal
                   We will pay your expense to extract "pollutants" from land or water at the described premises if the
                   discharge, dispersal, seepage, migration, release or escape of the "pollutants" is caused by or results
                   from a Covered Cause of Loss that occurs during the policy period. The expenses will be paid only if
                   they are reported to us in writing within 180 days of the date on which the Covered Cause of Loss
                   occurs.

                       This Additional Coverage does not apply to costs to test for, monitor or assess the existence,
                       concentration or effects of "pollutants". But we will pay for testing which is performed in the course of
                       extracting the "pollutants" from the land or water.

                       The most we will pay under this Additional Coverage for each described premises is $20,000 for the
                       sum of all covered expenses arising out of Covered Causes of Loss occurring during each separate
                       12-month period of this policy.

           ORDINANCE OR LAW
             Paragraph e. Increased Cost of Construction of Section A.4. Additional Coverages is deleted and
             replaced with the following:

                e. Ordinance or Law
                   (1) Coverage
                       (a) Coverage A – Coverage For Loss To The Undamaged Portion Of The Building
                           With respect to the building that has sustained covered direct physical damage, we will pay for
                           the loss in value of the undamaged portion of the building as a consequence of a requirement
                           to comply with an ordinance or law that requires demolition of undamaged parts of the same
                           building subject to the limit stated in Subparagraph (4) below.

                               The Limit of Insurance for Coverage A as described in the Schedule above is included in, and
                               does not increase the amount of, the Limit of Insurance noted in the Commercial Property
                               Coverage Part Declarations as applicable to the covered building.




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                           (b) Coverage B – Demolition Cost Coverage
                               With respect to the building that has sustained covered direct physical damage, we will pay the
                               cost to demolish and clear the site of undamaged parts of the same building, as a
                               consequence of a requirement to comply with an ordinance of law that requires demolition of
                               such undamaged property subject to the limit stated in Subparagraph (4) below.

                               The Limit of Insurance for Coverage B as described in the Schedule above is included in, and
                               does not increase the amount of, the Limit of Insurance noted in the Commercial Property
                               Coverage Part Declarations as applicable to the covered building.

                               Paragraph 1. Coinsurance in Section F. Additional Conditions does not apply to Coverage
                               B.

                           (c) Coverage C – Increased Cost Of Construction Coverage
                               i. With respect to the building that has sustained covered direct physical damage, we will pay
                                  the increased cost to:
                                  (i) Repair or reconstruct damaged portions of that building; and/or
                                  (ii) Reconstruct or remodel undamaged portions of that building, whether or not
                                       demolition is required;
                                  when increased cost is a consequence of a requirement to comply with the minimum
                                  standards of the ordinance or law, subject to the limit stated in Subparagraph (4) below.

                                   However,
                                   (i) This Additional Coverage applies only if the restored or remodeled property is intended
                                        for similar occupancy as the current property, unless such occupancy is not permitted
                                        by zoning or land use ordinance or law.
                                   (ii) We will not pay for the increased cost of construction if the building is not repaired,
                                        reconstructed or remodeled.

                               The Limit of Insurance for Coverage C as described in the Schedule above is included in, and
                               does not increase the amount of, the Limit of Insurance noted in the Commercial Property
                               Coverage Part Declarations as applicable to the covered building.

                               ii. When a building is damaged or destroyed and Coverage C applies to that building in
                                   accordance with the above provisions, coverage for the increased cost of construction also
                                   applies to repair or reconstruction of the following, subject to the same conditions stated
                                   above:
                                   (i) The cost of excavations, grading, backfilling and filling;
                                   (ii) Foundation of the building;
                                   (iii) Pilings; and
                                   (iv) Underground pipes, flues and drains.

                                   The items listed in Subparagraphs (i) through (iv) above are deleted from Property Not
                                   Covered, but only with respect to the coverage described in Subparagraph (c)ii.

                               Paragraph 1. Coinsurance in Section F. Additional Conditions does not apply to Coverage
                               C.

                       (2) The coverage provided by this Ordinance or Law provision applies only if both (2)(a) and (2)(b) are
                           satisfied and are then subject to the qualifications set forth in (2)(c):
                           (a) The ordinance or law:
                                i. Regulates the demolition, construction or repair of buildings, or establishes zoning or land
                                    use requirements at the described premises; and
                                ii. Is in force at the time of loss.

                               But coverage under this Additional Coverage applies only in response to the minimum
                               requirements of the ordinance or law. Losses and costs incurred in complying with
                               recommended actions or standards that exceed actual requirements are not covered under
                               this endorsement.




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                           (b) i. The building sustains direct physical damage that is covered under this policy and as a result
                                   of such damage, you are required to comply with the ordinance or law; or
                               ii. The building sustains both direct physical damage that is covered under this policy and
                                    direct physical damage that is not covered under this policy, and as a result of the building
                                    damage in its entirety, you are required to comply with the ordinance or law.
                               iii. But if the building sustains direct physical damage that is not covered under this policy. and
                                    such damage is the subject of the ordinance or law, then there is no coverage under this
                                    Additional Coverage even if the building has also sustained covered direct physical
                                    damage.
                           (c) In the situation described in Subparagraph (2)(b)(ii) above, we will not pay the full amount of
                               loss otherwise payable under the terms of Coverages A, B, and C of this Additional Coverage.
                               Instead, we will pay a proportion of such loss; meaning the proportion that the covered direct
                               physical damage bears to the total direct physical damage.

                               [Paragraph (7) of this Additional Coverage provides an example of this procedure.]

                               However, if the covered direct physical damage, alone, would have resulted in a requirement to
                               comply with the ordinance or law, then we will pay the full amount of loss otherwise payable
                               under the terms of Coverages A, B and C of this Additional Coverage.

                       (3) Under this Additional Coverage, we will not pay for:
                           (a) The enforcement of or compliance with any ordinance or law which requires the demolition,
                               repair, replacement, reconstruction, remodeling or remediation of property due to
                               contamination by “pollutants” or due to the presence, growth, proliferation, spread or any
                               activity of “fungus”, wet or dry rot or bacteria; or
                           (b) The costs associated with the enforcement of or compliance with any ordinance or law which
                               requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or
                               neutralize, or in any way respond to, or assess the effects of “pollutants”, “fungus”, wet or dry
                               rot or bacteria.
                       (4) Under this Additional Coverage, we will not pay for any loss in value or any cost incurred due to an
                           ordinance or law that you were required to comply with before the time of the current loss, even in
                           the absence of building damage, if you failed to comply.
                       (5) The most we will pay, for the total of all covered losses is $25,000 per building subject to a $50,000
                           annual aggregate limit for all buildings for Coverages A, B and C combined. Subject to this
                           Combined Limit of Insurance, the following payment provisions apply:
                           (a) When there is a loss of value of an undamaged portion of a building to which Coverage A
                               applies, the loss payment for that building, including damaged and undamaged portions will be
                               determined as follows:
                               i. If the Replacement Cost option applies and the property is being repaired or replaced, on
                                    the same or another premises, we will not pay more than the lesser of:
                                    (i) The amount you would actually spend to repair, rebuild, or reconstruct the building, but
                                         not for more than the amount it would cost to restore the building on the same
                                         premises and to the same height, floor area, style and comparable quality of the
                                         original property insured; or
                                    (ii) The Limit of Insurance applicable to such building as shown in the Commercial
                                         Property Coverage Part Declarations. (If this policy is endorsed to provide a
                                         Sublimit for a Covered Cause of Loss, the Limit of Insurance applicable to the building
                                         in the event of damage by such Covered Cause of Loss may be lower than the Limit of
                                         Insurance that otherwise would apply.)
                               ii. If the Replacement Cost Coverage Option applies and such building is not repaired or
                                    replaced, or if the Replacement Cost Coverage Option does not apply, we will not pay
                                    more than the lesser of:
                                    (i). The actual cash value of such building at the time of the loss; or
                                    (ii) The Limit of Insurance applicable to such building as shown in the Commercial
                                         Property Coverage Part Declarations. (If this policy is endorsed to provide a
                                         Sublimit for a Covered Cause of Loss, the Limit of Insurance applicable to the building
                                         in the event of damage by such Covered Cause of Loss may be lower than the Limit of
                                         Insurance that otherwise would apply.)




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                           (b) For Demolition Cost, we will not pay more than the amount you actually spend to demolish and
                                clear the site of the described premises.
                           (c) With respect to the Increased Cost of Construction:
                                i. We will not pay for the increased cost of construction:
                                     (i) Until the property is actually repaired or replaced, at the same or another premises;
                                          and
                                     (ii) Unless the repairs or replacement are made as soon as reasonably possible after the
                                          loss or damage, not to exceed two years. We may extend this period in writing during
                                          the last two years.
                                ii. If the building is repaired or replaced at the same premises, or if you elect to rebuild at
                                     another premises, the most we will pay for the increased cost of construction is the
                                     increased cost of construction at the same premises.
                                iii. If the ordinance or law requires relocation to another premise, the most we will pay for the
                                     increased cost of construction is the increased cost of construction at the new premises.
                       (6) The terms of this Additional Coverage apply separately to each building to which this Additional
                           Coverage applies.
                       (7) Example of Proportionate Loss Payment for Ordinance Or Law Coverage Losses [procedure as set
                           forth in Subparagraph (2)(c) above.]
                       Assume:
                           Wind is a Covered Cause of Loss; Flood is an excluded Cause of Loss
                           The building has a value of $200,000
                           Total direct physical damage to building: $100,000
                           The ordinance or law in this jurisdictions is enforced when building damage equals or exceeds 50%
                           of the building’s value
                           Portion of direct physical damage that is covered (caused by wind): $30,000
                           Portion of direct physical damage that is not covered (caused by flood): $70,000
                           Loss under Ordinance Or Law Coverage C of this endorsement: $60,000

                       Step 1:
                           Determine the proportion that the covered direct physical damage bears to the total direct physical
                           damage.
                           $30,000/$100,000 = .30
                       Step 2:
                           Apply that proportion to the Ordinance Or Law loss.
                           $60,000 x .30 = $18,000
                           In this example, the most we will pay under this Additional Coverage for the Coverage C loss is
                           $18,000, subject to the applicable Limit of Insurance and any other applicable provisions.
                           Note: The same procedure applies to losses under Coverages A and B of this Additional
                           Coverage.
                       (8) The costs addressed in the Loss Payment (see Paragraph 4. in Section E. Loss Conditions) and
                           Valuation Conditions [Paragraph 7. Valuation in Section E. Loss Conditions of the Building And
                           Personal Property Coverage Form (CP 00 10) or Paragraph 8. Valuation in Section E. Loss
                           Conditions of the Condominium Association Coverage Form (CP 00 17), which ever coverage
                           form is attached to this policy], and the Replacement Cost Optional Coverage (Paragraph 3. in
                           Section G. Optional Coverages), in this policy, do not include the increased cost attributable to
                           enforcement of an ordinance or law. The amount payable under this Additional Coverage is not
                           subject to such limitation.

      The following provisions g., h. and i. are added to Section A.4. Additional Coverages:

           FORGERY AND ALTERATION

                g. Forgery And Alteration
                   (1) We will pay for loss resulting directly from “forgery” or alteration of, any check, draft, promissory
                       note, bill of exchange or similar written promise of payment in “money” that you or your agent has
                       issued, or that was issued by someone who impersonates you or your agent.
                   (2) If you are sued for refusing to pay the check, draft, promissory note, bill of exchange or similar
                       written promise of payment in “money”, on the basis that is has been forged or altered, and you
                       have our written consent to defend against the suit, we will pay for any reasonable legal expenses
                       that you incur in that defense.



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                       (3) For the purpose of this Additional Coverage, check includes a substitute check as defined in the
                           Check Clearing For The 21st Century Act, and will be treated the same as the original it replaced.
                       (4) The most we will pay for any loss, including legal expenses, under this Additional Coverage is
                           $2,500.
                       (5) With respect to this Additional Coverage only, the following exclusions are added:
                           (a) Loss resulting from "theft" or any other dishonest act committed by:
                               i. You; or
                               ii. Any of your partners or "members",
                               whether acting alone or in collusion with other persons.
                           (b) Loss resulting from "theft" or any other dishonest act committed by any of your "employees",
                               "managers", directors, trustees or authorized representatives:
                               i. Whether acting alone or in collusion with other persons; or
                               ii. While performing services for you or otherwise.
                           (c) Loss that is an indirect result of any act or "occurrence" covered by this policy including, but not
                               limited to, loss resulting from:
                               i. Your inability to realize income that you would have realized had there been no loss of or
                                    damage to "money", "securities" or "other property".
                               ii. Payment of damages of any type for which you are legally liable. But, we will pay
                                    compensatory damages arising directly from a loss covered under this policy.
                               iii. Payment of costs, fees or other expenses you incur in establishing either the existence or
                                    the amount of loss under this policy.
                       (6) With respect to this Additional Coverage only, the following definitions are added:
                           (a) “Employee(s)” means:
                               i. Any natural person:
                                  (i) While in your service (and for 30 days after termination of service);
                                  (ii) Who you compensate directly by salary, wages or commissions; and

                                     (iii) Whom you have the right to direct and control while performing services for you; or
                                ii. Any natural person employed by an employment contractor while that person is subject to
                                     your direction and control and performing services for you excluding, however, any such
                                     person while having care and custody of property outside the premises.
                                But “employee” does not mean any:
                                i. Agent, broker, factor, commission, merchant, consignee, independent contractor or
                                     representative of the same general character.
                                ii. Director or trustee except while performing acts coming within the scope of the usual duties
                                     of any “employee”.
                           (b) “Forgery” means the signing of the name of another person or organization with intent to
                                deceive; it does not mean a signature which consists in whole or in part of one’s own name
                                signed with or without authority, in any capacity, for any purpose.
                           (c) “Managers” means a person serving in a directoral capacity for a limited liability company.
                           (d) “Members” means an owner of a limited liability company represented by its membership
                                interest, who also may serve as a "manager".
                           (e) “Money” means:
                                i. Currency, coins and bank notes in current use and having a face value; and
                                ii. Traveler’s checks, register checks and money orders held for sale to the public.
                           (f) “Other property” means any tangible property other than “money” and “securities” that has
                                intrinsic value but does not include any property excluded under this policy.
                           (g) “Securities” means negotiable and non-negotiable instruments or contracts representing either
                                “money” or other property and includes:
                                i. Tokens, tickets, revenue and other stamps (whether represented by actual stamps or
                                     unused value in a meter) in current use; and
                                ii. Evidences of debt issued in connection with credit or charge cards, which cards are not
                                     issued by you;
                                “Securities” does not include “money” or lottery tickets held for sale.
                           (h) “Theft” means the unlawful taking of "money", "securities" and "other property" to the
                                deprivation of the Insured.




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           FIRE EXTINGUISHER SYSTEMS RECHARGE EXPENSE

                       h. Fire Extinguisher Systems Recharge Expense
                       (1) We will pay the cost of recharging or replacing, whichever is less, your fire extinguishers and fire
                           extinguishing systems (including hydrostatic testing if needed) if they are discharged on or within
                           100 feet of the described premises.
                       (2) No coverage will apply if the fire extinguishing system is discharged during installation or testing.
                       (2) No coverage is provided against direct physical loss or damage caused by leakage from your fire
                           extinguishers and fire extinguishing equipment that is caused by earth movement, including
                           earthquake.
                       (4) The most we will pay under this Additional Coverage is $2,500 in any one occurrence. This
                           Additional Coverage does not increase the Limit of Insurance.

                       No Deductible applies to this Additional Coverage.

           PREPACKAGED SOFTWARE COVERAGE – PURCHASED BUSINESS SOFTWARE FOR YOUR OFFICE
           USE

                i.     Prepackaged Software Coverage
                       If coverage is being provided under this policy for Your Business Personal Property, we will pay up to
                       $5,000 to replace your “prepackaged software” due to loss or damage caused by, or resulting directly
                       or indirectly from, the introduction of a malicious code, program, virus, worm, Trojan Horse program,
                       macro time or logic bomb or similar unauthorized instruction.

                       As respects this Coverage Extension, “prepackaged software” means software purchased by you from
                       an unrelated outside business source for your internal use in support of your on-going business. This
                       includes but is not limited to software for word processing, spreadsheets, graphics and drawing tools,
                       scientific and engineering use, educational purposes and email systems. “Prepackaged software” does
                       not include any software internally developed by you for your internal business use, as “stock” or for
                       distribution to outside parties.

      2. COVERAGE EXTENSIONS
         Provisions a. through e. in Section A.5. Coverage Extensions are amended as follows:

           NEWLY ACQUIRED OR CONSTRUCTED PROPERTY
           Paragraph a. Newly Acquired Or Constructed Property of Section A.5. Coverage Extensions is deleted and
           replaced by the following:

           a. Newly Acquired Or Constructed Property
              (1) Buildings
                  If this policy covers Building, you may extend that insurance to apply to:
                  (a) Your new buildings while being built on the described premises; and

                       (b) Buildings you acquire at locations, other than the described premises, intended for:
                           i. Similar use as the building described in the Commercial Property Coverage Part
                               Declarations; or
                           ii. Use as a warehouse.

                    The most we will pay for loss or damage under this Extension is $350,000 at each building.
                (2) Your Business Personal Property
                    (a) If this policy covers Your Business Personal Property, you may extend that insurance to apply to:
                        i. Business personal property, including such property that you newly acquire, at any location you
                              acquire other than at fairs, trade shows or exhibitions.
                        ii. Business personal property, including such property that you newly acquire, located at your
                              newly constructed or acquired buildings at the location described in that Commercial Property
                              Coverage Part Declarations; or

                           The most we will pay for loss or damage under this Extension is $150,000 at each building.
                       (b) This Extension does not apply to:
                           i. Personal property of others that is temporarily in your possession in the course of installing or
                               performing work on such property; or
                           ii. Personal property of others that is temporarily in your possession in the course of your
                           manufacturing or wholesaling activities.
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                (3) Period of Coverage
                    With respect to insurance provided under this Coverage Extension for Newly Acquired Or Constructed
                    Property, coverage will end when any of the following first occurs:
                    (a) This policy expires;
                    (b) 60 days expire after you acquire the property or begin construction of that part of the building that
                        would qualify as covered property; or
                    (c) You report values to us.

                       We will charge you additional premium for values reported from the date you acquire the property or
                       begin construction of that part of the building that would qualify as covered property.

           PERSONAL EFFECTS AND PROPERTY OF OTHERS
           Paragraph b. Personal Effects And Property Of Others of Section A.5. Coverage Extensions is deleted and
           replaced with the following:

           b. Personal Effects And Property Of Others

                You may extend the insurance that applies to Your Business Personal Property to apply to:
                (1) Personal effects owned by you, your officers, your partners or members, your managers or your
                    employees. This extension does not apply to loss or damage by theft.
                (2) Personal property of others in your care, custody or control.

                The most we will pay for loss or damage under this Extension is $7,500 at each described premises, but not
                more than $2,500 for any one item of property. Our payment for loss of or damage to personal property of
                others will only be for the account of the owner of the property.

           VALUABLE PAPERS AND RECORDS (OTHER THAN ELECTRONIC DATA)
           Paragraph c.(4) in Valuable Papers And Records (Other Than Electronic Data) of Section A.5. Coverage
           Extensions is deleted and replaced with the following:

           c. Valuable Papers And Records (Other Than Electronic Data)

                (4) Under this Extension, the most we will pay to replace or restore the lost information is $15,000 at each
                    described premises, unless a higher limit is shown in the Commercial Property Coverage Part
                    Declarations. Such amount is additional insurance.
                (5) We will also pay for the cost of blank material for reproducing the records (whether or not duplicates
                    exist), and (when there is a duplicate) for the cost of labor to transcribe or copy the records. The costs
                    of blank material and labor are subject to the applicable Limit of Insurance on Your Business Personal
                    Property and therefore coverage of such costs is not additional insurance.

           PROPERTY OFF-PREMISES
           Subparagraph d.(3) in Property Off-Premises of Section A.5. Coverage Extensions is deleted and replaced
           by the following:

           d. Property Off-Premises
              (3) The most we will pay for loss or damage under this Extension is $20,000 each occurrence.

           OUTDOOR PROPERTY
           Paragraph e. Outdoor Property of Section A.5. Coverage Extensions is deleted and replaced by the
           following:

           a. Outdoor Property
              You may extend the insurance provided by this Coverage Form to apply to your outdoor fences, radio and
              television antennas (including satellite dishes), signs, trees, shrubs and plants (other than trees, shrubs, or
              plants (which are “stock” or are part of a vegetated roof), including debris removal expense, caused by or
              resulting from any of the following causes of loss:
              (1) For trees, shrubs, or plants:
                  (a) Fire;
                  (b) Lightning;
                  (c) Explosion;
                  (d) Riot or Civil Commotion; or
                  (e) Aircraft.
                  The most we will pay for loss or damage for the property listed above under Subparagraph e.(1) is
                  $5,000 but not more than $1,000 for any one tree, shrub, or plant.
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                (2) For outdoor fences, radio and television antennas (including satellite dishes) and signs:
                    (a) Fire:
                    (b) Lightning;
                    (c) Explosion;
                    (d) Riot or Civil Commotion;
                    (e) Aircraft;
                    (f) Windstorm, if not excluded elsewhere in the policy;
                    (g) Hail, if not excluded elsewhere in the policy;
                    (h) Smoke;
                    (i) Vehicles;
                    (j) Vandalism;
                    (k) Breakage of glass;
                    (l) Falling objects;
                    (m) Weight of snow, ice, or sleet;
                    (n) Water damage; or
                    (o) Collapse resulting from use of defective materials or methods in construction, remodeling or
                        renovation if the collapse occurs during the course of construction, remodeling, or renovation.
                    The most we will pay for loss or damage for the property listed above under Subparagraph e.(2) is
                    $15,000.
                (3) For signs, the most we will pay for loss or damage caused by a covered cause of loss not listed in
                    Paragraph (2) above is $2,500 per sign in any one occurrence.

                These limits apply to any one occurrence, regardless of the types or number of items lost or damaged in
                that occurrence.

                Subject to all aforementioned terms and limitations of this coverage, this Coverage Extension includes the
                expense of removing from the described premises the debris of trees, shrubs and plants which are the
                property of others, except in the situation in which you are a tenant and such property is owned by the
                landlord of the described premises.

      The following provisions
      ACCOUNTS RECEIVABLE

           g. Accounts Receivable
              (1) If this policy covers Your Business Personal Property, this Extension extends that insurance to apply to
                  accounts receivable.

                       We will pay as a result of direct physical loss or damage by any Covered Cause of Loss to your records
                       of accounts receivable:
                       (a) All amounts due from your customers that you are unable to collect;
                       (b) Interest charges on any loan required to offset amounts you are unable to collect pending our
                            payment of these amounts;
                       (c) Collection expenses in excess of your normal collection expenses that are made necessary by loss
                            of damage; and
                       (d) Other reasonable expenses that you incur to reestablish your records of accounts receivable;
                (2)    Coverage does not apply to:
                       (a) Records of account receivable in storage away from the described premises; or
                       (b) Contraband, or property in the course of illegal transportation or trade.
                (3)    If you give us written notice within 10 days of removal of your records of accounts receivable because of
                       imminent danger of loss or damage, we will pay for loss or damage while they are:
                       (a) At a safe place away from the described premises;
                       (b) Being taken to and returned from that place.
                (4)    The most we will pay under this Extension for loss or damage in any one occurrence at the described
                       premises is $15,000.g. through o. are added to Section A.5. Coverage Extensions:
                (5)    With respect to this Extension, the following Exclusions as stated in Section B. Exclusions in the
                       Causes of Loss – Special Form apply:
                       (a) Paragraph B.1.c. Governmental Action;
                       (b) Paragraph B.1.d. Nuclear Hazard;
                       (c) Paragraph B.1.f. War and Military Action;
                       (d) Paragraph B.2.i.; and
                       (e) Paragraph B.3.


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                (6) Paragraph B.2.h. of the Causes of Loss – Special Form is deleted and replaced by the following:
                    h. Dishonest or criminal acts by you, anyone else with an interest in the property, or their employees
                        or authorized representatives, any of your partners, members, officers, managers, employees
                        (including leased employees), directors, trustees, authorized representatives or anyone to whom
                        you entrust the property for any purpose:
                        (1) Acting alone or in collusion with others; or
                        (2) Whether or not occurring during the hours of employment.
                        This exclusion does not apply to acts of destruction by your employees (including leased
                        employees); but theft by employees (including leased employees) is not covered;
                (7) With respect to this Extension, the following exclusions are added:
                    We will not pay for:
                    (a) Loss or damage caused by or resulting from:
                        i. Alteration, falsification, concealment or destruction of records of accounts receivable done to
                             conceal the wrongful giving, taking or withholding of money, securities, or other property;
                        ii. Bookkeeping, accounting or billing errors or omissions;
                        iii. Electrical or magnetic injury, disturbance or erasure of electronic recordings that is caused by
                             or results from:
                             (i) Programming errors or faulty machine instructions;
                             (ii) Faulty installation or maintenance of data processing equipment or component parts;
                             (iii) An occurrence that took place more than 100 feet from the described premises; or
                             (iv) Interruption of electrical power supply, power surge, blackout or brownout if the cause of
                                   such occurrence took place more than 100 feet from the described premises.
                             But we will pay for direct loss or damage caused by lightning;
                        v. Neglect of an insured to use all reasonable means to save and preserve property from further
                             damage at and after the time of loss; or .
                        vi. Unauthorized instructions to transfer property to any person or to any place.
                    (b) Any loss or damage that requires any audit of records or any inventory computation to prove its
                        factual existence;

           FINE ARTS

           h. Fine Arts
              (1) We will pay up to $10,000 for a Covered Cause of Loss to your “fine arts.” We will not however, pay
                  for:
                  (a) Loss or damage sustained from any repair, restoration, or retouching process;
                  (b) Breakage of art glass windows, statuary, marble, glassware, bric-a-brac, porcelains, and similar
                       fragile articles, unless caused by fire, lightning, aircraft, theft and or attempted theft, windstorm,
                       earth movement, flood, explosion, vandalism, collision, derailment or overturn of conveyance; or
                  (c) Loss or damage to your “fine arts” while away from a covered location.
              (2) Loss or damage to “fine arts” will be valued at the time and place of loss as follows:
                  (a) The lesser of the:
                       i. Reasonable or necessary restoration or repair costs needed to return the damaged article(s) to
                            its condition as of the time of loss; or
                       ii. Cost to replace the damaged article(s).
                  (b) In the event of the total loss of an article or articles which are part of a pair or set, we will pay you
                       the full amount of the value of such set as determined in Subparagraph h. (2) (a) i. above and you
                       will surrender the remaining article or articles of the set to us.
              (3) As respects this Extension only, “fine arts” means paintings; etchings; pictures; tapestries; rare or art
                  glass windows; valuable rugs; statuary; sculptures; antique furniture; antique jewelry; bric-a-brac;
                  porcelains; and similar property of rarity, historical value or artistic merit.

                This Extension’s limit is in addition to limits for fine arts coverage found elsewhere in the policy.

           ARSON REWARD

           i.   Arson Reward
                If one or more covered losses are caused by or result from a fire of a suspicious nature, we will reimburse
                you for up to $10,000 each occurrence for the actual amount of the reward paid by you to an individual or
                individuals, provided:
                (1) The individual(s) report(s) the suspected arsonist to local law enforcement officials; and
                     (a) The arsonist is apprehended, brought to trial, and convicted of arson to your covered property; or
                     (b) The arsonist is apprehended, confesses and/or pleads guilty to arson to your covered property
                         without going to trial.
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                (2) Our reimbursement of this reward will not be increased by:
                    (a) The number of individuals reporting the arsonist(s); or
                    (b) The number of arsonists involved in the covered loss.
                The maximum we will reimburse you for all occurrences of arson in any one policy year is $20,000.

                No Deductible applies to this Extension.

           THEFT OR VANDALISM REWARD

           j.   Theft Or Vandalism Reward
                Unless excluded elsewhere in this policy, if one or more covered losses are caused by or result from theft
                or vandalism, we will reimburse you for up to $2,500 each occurrence for the actual amount of the reward
                paid by you to an individual or individuals, provided:
                (1) The individual(s) report(s) the suspected thief or thieves or vandal(s) to local law enforcement officials;
                    and
                    (a) The thief or thieves or vandal(s) is (are) apprehended, brought to trial, and convicted of theft of or
                        vandalism to your covered property; or
                    (b) The thief or thieves or vandal(s) is (are) apprehended, confesses and/or pleads guilty to the theft of
                        or vandalism to your covered property without going to trial.
                (2) Our reimbursement of this reward will not be increased by:
                    (a) The number of individuals reporting the thief or thieves or vandal(s); or
                    (b) The number of thieves or vandals involved in the covered loss.
                The maximum we will reimburse you for all occurrences of theft or vandalism in any one policy year is
                $5,000.

                No deductible applies to this Extension.

           LOCK AND KEY REPLACEMENT

           k.   Lock And Key Replacement
                (1) When a master key or grand master key is lost or damaged from a Covered Cause of Loss, we will pay
                    the lesser of:
                    (a) The actual cost to replace keys;
                    (b) The cost to rekey or reprogram the current locks to accept new keys; or
                    (c) When needed, new locks including the installation and reprogramming of the new locks.

                The most we will pay in any one occurrence for this Extension is $5,000.

           INSTALLATION COVERAGE

           l.   Installation Coverage
                We will pay up to $15,000 in any one occurrence for direct physical loss or damage by a Covered Cause of
                Loss for Your Business Personal Property, or personal property of others, which you have sold under an
                installation agreement, if your responsibility continues until the purchaser accepts the installation.
                Installation coverage applies to any non-owned location within the Coverage Territory.

           TENANT’S BUILDING GLASS

           m. Tenant’s Building Glass
              (1) We will pay for direct physical loss of or damage to building glass at the building described in the
                  Commercial Property Coverage Part Declarations caused by or resulting from a Covered Cause of
                  Loss, provided that:
                  (a) You are a tenant of the building described in the Commercial Property Coverage Part
                      Declarations; and
                  (b) You have a contractual responsibility to insure the building glass, or a contractual responsibility to
                      pay for loss or damage to that property.
                  (2) The value of property covered under the 40+ AdvantagePAC endorsement will be determined in
                      accordance with Paragraph 7. Valuation in Section E. Loss Conditions of the Building And
                      Personal Property Coverage Form (CP 00 10) or Paragraph 8. Valuation in Section E. Loss
                      Conditions of the Condominium Association Coverage Form (CP 00 17) which ever coverage
                      form is attached to this policy, or at the amount for which you are liable under contract, whichever is
                      less. If required by law, glass is covered at the cost of replacement with safety glazing material.

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                However, the most we will pay for the coverage provided under this Extension is $15,000 each described
                building.
                (3) With respect to this Extension, we will not pay for loss or damage in any one occurrence until the
                    amount of loss or damage exceeds a $250 Deductible. We will then pay the amount of loss excess of
                    that Deductible, up to the applicable Limit of Insurance. No other Deductible in this policy applies to the
                    coverage provided by this Extension.

           TENANT RELOCATION EXPENSE

           n. Tenant Relocation Expense (This provision is not applicable to “rented living quarters” located in
              the Commonwealth of Massachusetts)
              When a “rented living quarters” in a building covered by this policy is made uninhabitable by a fire, this
              policy covers “relocation expense” incurred by the tenant or lawful occupant to relocate to other living
              quarters in the shortest possible time.
              (1) With respect to this Extension, our payment for “relocation expense” is limited to not more than $750
                   per “rented living quarters” and not more than $15,000 annual aggregate.
              (2) With respect to this Extension, the Deductible provisions of this policy do not apply to the “relocation
                   expense” benefits.
              (3) With respect to this Extension:
                   (a) If at the time of the loss, the tenant or lawful occupant has other insurance that covers “relocation
                        expense,” we shall not be liable for any loss under this coverage until the liability of such other
                        insurance has been exhausted.
                   (b) If you have other insurance that covers “relocation expense,” payment under this policy will be
                        prorated with such insurance for the smaller of the incurred “relocation expense” or $750 all after
                        application of the other insurance of the tenant or lawful occupant.
              (4) With respect to this Extension, the claims of all persons occupying the “rented living quarters” will be
                   settled with and payment made to the tenant or lawful occupant renting the quarters from the building
                   owners or lessor.
              (5) With respect to this Extension only, the following definitions apply:
                   (a) “Relocation expense” means documented, reasonable and necessary:
                        i. Costs of packing, insuring, storing and carting household goods;
                        ii. Costs of securing new utility services less refunds from discounted services at the damaged
                             premises;
                        iii. Cost of searching for other quarters;
                        iv. Costs of disconnecting and reconnecting household appliances; or
                        v. Additional living expenses while searching for or awaiting possession of other quarters or the
                             restoration of existing quarters; commencing with the date of damage to the covered building
                             and not limited by the expiration date of this policy.
                        “Relocation expense” does not mean:
                        i. Loss caused by the termination of a lease or other agreement;
                        ii. Security deposits or other payments made to the landlord or lessor of other quarters; or
                        iii. Down payments, legal fees and closing costs incidental to the purchase of other quarters.
                   (b) “Rented living quarters” means a room, suite of rooms, or apartment or condominium that you rent
                        to one or more persons as a single residential unit. “Rented living quarters” does not mean one or
                        more rooms occupied by one or more persons as roomers in a hotel, motel, public or private
                        lodging or rooming house where the premises are occupied on a transient basis.

           EMPLOYEE DISHONESTY

           o. Employee Dishonesty
              (1) We will pay for direct loss of or damage to Your Business Personal Property and “money” and
                  “securities” resulting from dishonest acts committed by any of your “employees” acting alone or in
                  collusion with other persons (except you or your partner) with the intent to:
                  (a) Cause you to sustain loss or damage; and also
                  (b) Obtain financial benefit (other than salaries, commissions, fees, bonuses, promotions, awards,
                      profit sharing, pensions or other employee benefits earned in the normal course of employment)
                      for:
                      i. Any “employee”; or
                      ii. Any other person or organization.
              (2) We will not pay for loss or damage:
                  (a) Resulting from any dishonest or criminal act that you, any of your partners, or any of your
                      “members” commit whether acting alone or in collusion with any other persons.

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                    (b) The only proof of which as its existence or amount is dependent upon,
                         i. An inventory computation; or
                         ii. A profit and loss computation.
                         However, where you establish wholly apart from such computations that you have sustained a loss,
                         then you may offer your inventory records and actual physical count of inventory in support of loss
                         claimed.
                    (c) Resulting from an “employee” of yours or predecessor in interest of yours, for whom similar prior
                         insurance has been canceled and not reinstated since the last such cancellation.
                    (d) Resulting from trading, whether in your name or in a genuine or fictitious account.
                    (e) Resulting from fraudulent or dishonest signing, issuing, canceling, or failing to cancel, a warehouse
                         receipt or any papers connected with it.
                (3) All loss or damage:
                    (a) Caused by one or more persons; or
                    (b) Involving a single act or series of related acts;
                    is considered one occurrence.
                (4) The most we will pay, under this Employee Dishonesty Coverage Extension, for loss or damage
                    regardless of the number of claims or occurrences is $10,000.
                (5) We will pay only for loss or damage you sustain through acts committed or events occurring during the
                    policy period. Regardless of the number of years this policy remains in force or the number of
                    premiums paid, no Limit of Insurance cumulates from year to year or period to period.
                (6) This Extension does not apply to any “employee” immediately upon discovery by:
                    (a) You; or
                    (b) Any of your partners, officers or directors not in collusion with the “employee”;
                    of any dishonest act committed by that “employee” before or after being hired by you.
                (7) We will pay only for covered loss or damage discovered no later than one year from the end of the
                    policy period.
                (8) If you (or any predecessor in interest) sustained loss or damage during the period of any prior insurance
                    that you could have recovered under that insurance except that the time within which to discover loss or
                    damage had expired, we will pay for it under this Extension, provided:
                    (a) This Extension became effective at the time of cancellation or termination of the prior insurance;
                         and
                    (b) The loss or damage would have been covered by this Extension had it been in effect when the acts
                         or events causing the loss or damage were committed or occurred.
                (9) The insurance under Subparagraph (8) above is part of, not in addition to, the Limit of Insurance
                    applying to this Extension and is limited to the lesser of the amount recoverable under:
                    (a) This Extension as of its effective date; or
                    (b) The prior insurance had it remained in effect.
                (10)With respect to this Extension only, paragraph a. in Section A.2. Property Not Covered is deleted and
                    replaced with the following:
                    a. Accounts, bills, currency, food stamps, notes or other evidences of debt.
                (11)With respect to this Extension only, Paragraph 2.h. in Section B. Exclusions of the Causes Of Loss –
                    Special Form does not apply.
                (12)With respect to this Extension only, we will not pay for loss or damage in any one occurrence until the
                    amount of loss or damage exceeds a $250 Deductible. We will then pay the amount of loss excess of
                    that Deductible, up to the applicable Limit of Insurance. No other Deductible in this policy applies to the
                    coverage provided by this Extension.
                (13)With respect to this Extension only, the following definitions apply:
                    (a) “Employee(s)” means:
                         i. Any natural person:
                              (i) While in your service (and for 30 days after termination of service);
                              (ii) Who you compensate directly by salary, wages or commissions; and
                              (iii) Whom you have the right to direct and control while performing services for you; or
                          ii. Any natural person employed by an employment contractor while that person is subject to your
                              direction and control and performing services for you excluding, however, any such person
                              while having care and custody of property outside the premises.

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                              But “employee” does not mean any:
                              i. Agent, broker, factor, commission, merchant, consignee, independent contractor or
                                 representative of the same general character.
                             ii. Director or trustee except while performing acts coming within the scope of the usual duties of
                                 any “employee”.
                       (b)   “Manager” means a person serving in a directorial capacity.
                       (c)   “Member” means an owner of a limited liability company represented by its membership interest,
                             who also may serve as a “manager”.
                       (d)   “Money” means:
                             i. Currency, coins and bank notes in current use and having a face value; and
                             ii. Traveler’s checks, register checks and money orders held for sale to the public.
                       (e)   “Securities” means negotiable and non-negotiable instruments or contracts representing either
                             “money” or other property and includes:
                             i. Tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused
                                 value in a meter) in current use; and
                             ii. Evidences of debt issued in connection with credit or charge cards, which cards are not issued
                                 by you;
                             “Securities” does not include “money” or lottery tickets held for sale.

      3. LIMITS OF INSURANCE
         Section C. is hereby deleted and replaced by the following:

           C. Limits of Insurance
              1. The most we will pay for loss or damage in any one occurrence is applicable Limit of Insurance shown
                 in the Commercial Property Coverage Part Declarations.

                       The amounts of insurance stated in the following Additional Coverages apply in accordance with the
                       terms of such coverages and are separate from the Limit(s) of Insurance shown in the Commercial
                       Property Coverage Part Declarations for any other coverage.
                       a. Fire Department Service Charge.
                       b. Pollutant Clean Up and Removal.
                       c. Electronic Data.
                       d. Ordinance or Law.

                       Payments under the Paragraph b. Preservation of Property in Section 3. Additional Coverage will
                       not increase the applicable Limit of Insurance.

                2. Business Personal Property Limit – Seasonal Increase
                   a. The Limit of Insurance for Your Business Personal Property will automatically increase by 25% to
                      provide for seasonal variations.
                   b. This increase will apply only if the Limit of Insurance shown for Your Business Personal Property in
                      the Commercial Property Coverage Part Declarations is at least 100% of your average values
                      during the lesser of:
                      (1) The 12 months immediately preceding the date the loss or damage occurs; or
                      (2) The period of time you have been in business as of the date the loss or damage occurs.

      4. LOSS CONDITIONS

           LOSS PAYMENT
           Paragraph 4. Loss Payment of Section E. Loss Conditions is deleted and replaced by the following:

           4. Loss Payment
              a. Except with respect to loss or damage provided under Paragraph o. Employee Dishonesty and
                 Paragraph g. Accounts Receivable in Section 2. Coverage Extensions of the 40+ AdvantagePAC
                 endorsement, the following condition applies:
                       (1) In the event of loss or damage covered by Coverage Part, at our option, we will either:
                             (a) Pay the value of lost or damaged property;


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                           (b) Pay the cost of repairing or replacing the lost or damaged property, subject to Subparagraph
                               (2) below;
                           (c) Take all or any part of the property at an agreed or appraised value; or
                           (d) Repair, rebuild or replace the property with other property of like kind and quality, subject to
                                Subparagraph (2) below.
                           We will determine the value of lost or damaged property, or the cost of its repair or replacement, in
                           accordance with the applicable terms of Paragraph 7. Valuation in Section E. Loss Conditions of
                           the Building And Personal Property Coverage Form (CP 00 10) or any applicable provision that
                           amends or supersedes Paragraph 7. Valuation, or Paragraph 8. Valuation in Section E. Loss
                           Conditions of the Condominium Association Coverage Form (CP 00 17) or any applicable
                           provision that amends or supersedes Paragraph 8, which ever coverage form is attached to this
                           policy.
                       (2) The cost to repair, rebuild or replace does not include the increased cost attributable to
                           enforcement of or compliance with any ordinance or law regulating the construction, use or repair
                           of any property.
                       (3) We will give notice of our intentions within 30 days after we receive the sworn proof of loss.
                       (4) We will not pay you more than your financial interest in the Covered Property.
                       (5) We may adjust losses with the owners of lost or damaged property if other than you. If we pay the
                           owners, such payments will satisfy your claims against us for the owners' property. We will not pay
                           the owners more than their financial interest in the Covered Property.
                       (6) We may elect to defend you against suits arising from claims of owners of property. We will do this
                           at our expense.
                       (7) We will pay for covered loss or damage within 30 days after we receive the sworn proof of loss, if
                           you have complied with all of the terms of this Coverage Part and:
                           (a) We have reached agreement with you on the amount of loss; or
                           (b) An appraisal award has been made.
                           If you are a condominium association and you name an insurance trustee, we will adjust losses
                           with you, but we will pay the insurance trustee. If we pay the trustee, the payments will satisfy your
                           claims against us.
                       (8) A party wall is a wall that separates and is common to adjoining buildings that are owned by
                           different parties. In settling covered losses involving a party wall, we will pay a proportion of the loss
                           to the party wall based on your interest in the wall in proportion to the interest of the owner of the
                           adjoining building. However, if you elect to repair or replace your building and the owner of the
                           adjoining building elects not to repair or replace that building, we will pay you the full value of the
                           loss to the party wall, subject to all applicable policy provisions including Limits of Insurance, the
                           Valuation and Coinsurance Conditions and all other provisions of this Loss Payment Condition. Our
                           payment under the provisions of this paragraph does not alter any right of subrogation we may
                           have against any entity, including the owner or insurer of the adjoining building, and does not alter
                           the terms of the Transfer Of Rights Of Recovery Against Others To Us Condition in this policy.

                b. Employee Dishonesty Condition
                   With respect to coverage provided in Paragraph o. Employee Dishonesty in Section 4. Coverage
                   Extensions of the 40+ AdvantagePAC endorsement, the following condition applies:
                   (1) We will pay for:
                       (a) Loss of “money” but only up to and including its face value. We may, at our option, pay for loss
                           of “money” issued by any country other than the United States of America;
                           i. At face value in the “money” issued by the country; or
                           ii. In the United States of America dollar equivalent determined by the rate of exchange on
                                the day the loss was discovered.
                       (b) Loss of “securities” but only up to and including their value at the close of business on the day
                           the loss was discovered. We may, at our option:
                           i. Pay the value of such “securities” or replace them in kind, in which event you must assign
                                to us all your rights, title and interest in a those “securities”.
                           iii. Pay the cost of any Lost Securities Bond required in connection with issuing duplicates of
                                those “securities”. However, we will be liable only for the payment of so much of the cost
                                of the bond as would be charged for a bond having a penalty not exceeding the lesser of
                                the value of the “securities” at the close of business on the day the loss was discovered or
                                the Limit of Insurance.


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                       (2) We may at our option pay for loss of, or loss from damage to property other than “money”:
                           (a) In the “money” of the country in which the loss occurred; or
                           (b) In the United States of America dollar equivalent of the “money” of the country in which the loss
                               occurred determined by the rate of exchange on the day the loss was discovered.
                       (3) Any property that we pay for or replace becomes our property.

                c. Accounts Receivable Condition
                   With respect to coverage provided in Paragraph g. Accounts Receivable in Section 4. Coverage
                   Extensions of the 40+ AdvantagePAC endorsement, the following condition applies:
                   (1) If you cannot accurately establish the amount of accounts receivable outstanding as of the time of
                       loss or damage:
                       (a) We will determine the total of the average monthly amount of accounts receivable for the 12
                            months immediately preceding the month in which the loss or damage occurs; and
                       (b) We will adjust that total for any normal fluctuations in the amount of accounts receivable for the
                            month in which the loss or damage occurred or for any demonstrated variance from the
                            average for that month.
                   (2) The following will be deducted from the total amount of accounts receivable, however that amount
                       is established:
                       (a) The amount of the accounts for which there is no loss or damage;
                       (b) The amount of the accounts that you are able to re-establish or collect;
                       (c) An amount to allow for probable bad debts that you are normally unable to collect; and
                       (d) All unearned interest and service charges.

  B. COVERAGE AMENDMENTS TO THE BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM (CP 00
     30) - [WHEN ATTACHED TO THE POLICY]

      1. ADDITIONAL COVERAGES
         Subparagraphs (1)(b)(ii) and (2)(b)(ii) in c. Extended Business Income of Section A.5. Additional
         Coverages are deleted and replaced with the following:

           c.(1)(b)(ii) 90 consecutive days after the date determined in (1)(a) above.
           c.(2)(b)(ii) 90 consecutive days after the date determined in (2)(a) above.

       2. COVERAGE EXTENSION
          Paragraph A.6. Coverage Extension is deleted and replaced with the following:

           6. COVERAGE EXTENSION
              If a Coinsurance percentage of 50% or more is shown in the Commercial Property Coverage Part
              Declarations, you may extend the insurance provided by this Coverage Part as follows:

                NEWLY ACQUIRED LOCATIONS
                a. You may extend your Business Income and Extra Expense Coverages to apply to property at any
                   location you acquire other than fairs or exhibitions.
                b. The most we will pay under this Coverage Extension, for the sum of Business Income loss and Extra
                   Expense incurred, is $150,000 at each location.
                c. Insurance under this Coverage Extension for each newly acquired location will end when any of the
                   following first occurs:
                   (1) This policy expires:
                   (2) 60 days expire after you acquire or begin to construct the property; or
                   (3) You report values to us.
                We will charge you additional premium for values reported from the date you acquire the property.

                This Coverage Extension is additional insurance. The Additional Condition, Coinsurance does not apply
                to this Coverage Extension.

      3. OPTIONAL COVERAGES

           EXTENDED PERIOD OF INDEMNITY
           Paragraph 4. Extended Period Of Indemnity of section E. Optional Coverages is deleted and replaced by the
           following:




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           3. Extended Period Of Indemnity
              Under Paragraph A.5.c. Extended Business Income, the number 90 in Subparagraphs (1)(b)(ii) and
              (2)(b)(ii) is replaced by the number shown in the Commercial Property Coverage Part Declarations for
              this Optional Coverage.

  C. COVERAGE AMENDMENTS TO THE BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM (CP 00
     30) - [WHEN ATTACHED TO THE POLICY]

      1. ADDITIONAL COVERAGES
         Subparagraphs (1)(b)(ii) and (2)(b)(ii) in c. Extended Business Income of Section A.5. Additional
         Coverages are deleted and replaced with the following:

           c.(1)(b)(ii) 90 consecutive days after the date determined in (1)(a) above.
           c.(2)(b)(ii) 90 consecutive days after the date determined in (2)(a) above.

      2. COVERAGE EXTENSION
         Paragraph A.6. Coverage Extension is deleted and replaced with the following:

           5. COVERAGE EXTENSION
              If a Coinsurance percentage of 50% or more is shown in the Commercial Property Coverage Part
              Declarations, you may extend the insurance provided by this Coverage Part as follows:

                NEWLY ACQUIRED LOCATIONS
                a. You may extend your Business Income and Extra Expense Coverages to apply to property at any
                   location you acquire other than fairs or exhibitions.
                b. The most we will pay under this Coverage Extension, for the sum of Business Income loss and Extra
                   Expense incurred, is $150,000 at each location.
                c. Insurance under this Coverage Extension for each newly acquired location will end when any of the
                   following first occurs:
                   (1) This policy expires:
                   (2) 60 days expire after you acquire or begin to construct the property; or
                   (3) You report values to us.
                We will charge you additional premium for values reported from the date you acquire the property.

                This Coverage Extension is additional insurance. The Additional Condition, Coinsurance does not apply
                to this Coverage Extension.

      3. OPTIONAL COVERAGES

           EXTENDED PERIOD OF INDEMNITY
           Paragraph 4. Extended Period Of Indemnity of section E. Optional Coverages is deleted and replaced by the
           following:

           4. Extended Period of Indemnity
              Under Paragraph A.4.d. Extended Business Income, the number 90 in Subparagraphs (1)(b)(ii) and
              (2)(b)(ii) is replaced by the number shown in the Commercial Property Coverage Part Declarations for
              this Optional Coverage.

  D. COVERAGE AMENDMENTS TO THE CAUSES OF LOSS – SPECIAL FORM (CP 10 30)

      1. EXCLUSIONS
         a. Paragraph a. Ordinance or Law of Section B. Exclusions is deleted.

           b.   Paragraph 2.h. (dishonest or criminal acts) of Section B. Exclusions is deleted and replaced by the
                following:
                h. Dishonest or criminal act (including theft) by you, any of your partners, members, officers, managers,
                     employees (including temporary employees and leased workers), directors, trustees, authorized
                     representatives, whether acting alone or in collusion with each other or with any other party; or theft by
                     any person to whom you entrust the property for any purpose, whether acting alone or in collusion with
                     any other party.




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                       This exclusion:
                       (1) Applies whether or not an act occurs during your normal hours of operation;
                       (2) Does not apply to acts of destruction by your employees (including temporary employees and
                            leased workers) or authorized representatives; but theft by your employees (including temporary
                            employees and leased workers) or authorized representatives is not covered.
                        (3) Does not apply to Paragraph o. Employee Dishonesty of Section 4. Coverage Extensions in the
                            40+ AdvantagePAC endorsement.

      2. ADDITIONAL COVERAGE EXTENSIONS

           PROPERTY IN TRANSIT
           Paragraph 1. Property In Transit of Section F. Additional Coverage Extensions is deleted and replaced by
           the following:

           1. Property In Transit
              This Extension applies only to your personal property to which this form applies.
              a. You may extend the insurance provided by this Coverage Part to apply to your personal property (other
                  than property in the care, custody or control or your salespersons) in transit more than 100 feet from
                  the described premises.
              b. Loss or damage must be caused by or result from one of the following causes of loss:
                  (1) Fire, lightning, explosion, windstorm or hail, riot or civil commotion, or vandalism.
                  (2) Vehicle collision, upset or overturn. Collision means accidental contact of your vehicle with another
                      vehicle or object. It does not mean your vehicle’s contact with the road bed.
                  (3) Theft of an entire bale, case or package by forced entry into a securely locked body or
                      compartment of the vehicle. There must be visible marks of the forced entry.
              c. The most we will pay for the loss or damage under this Additional Coverage Extension is:
                  (1) $15,000 for property in or on a motor vehicle you own, lease or operate; or
                  (2) $2,500 for property in or on a motor vehicle you do not own, lease or operate while used in your
                      business or personal affairs,
                  while between points in the Coverage Territory.

                This Additional Coverage Extension is additional insurance. The Additional Condition, Coinsurance,
                does not apply to this Additional Coverage Extension.

  A. COVERAGE AMENDMENTS TO THE                                COMMERCIAL             GENERAL           LIABILITY        COVERAGE   FORM     –
     OCCURRENCE VERSION (CG 00 01)

      1.      EXCLUSIONS
           Provisions a., g. and j. in Subsection 2. Exclusions of Coverage A Bodily Injury and Property Damage
           Liability (SECTION I) are deleted and replaced by the following:

           EXPECTED OR INTENDED INJURY OR DAMAGE
           Paragraph a. Expected Or Intended Injury of Subsection 2. Exclusions is deleted and replaced by the
           following:

           (This insurance does not apply to:)

           a. Expected Or Intended Or Damage
              "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This exclusion
              does not apply to "bodily injury" or “property damage” resulting from the use of reasonable force to protect
              persons or property.

           AIRCRAFT, AUTO OR WATERCRAFT EXCLUSION
           Subparagraph (2) of Paragraph g. Aircraft, Auto Or Watercraft of Subsection 2. Exclusions is deleted and
           replaced by the following:

           g.   Aircraft, Auto Or Watercraft
                (This exclusion does not apply to:)
                (2) A watercraft you do not own that is:
                    (a) Less than 51 feet long; and

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                       (b) Not being used to carry persons or property for a charge.

           DAMAGE TO PROPERTY EXCLUSION
           The following subparagraph is added to the end of Paragraph j. Damage To Property of Subsection 2.
           Exclusions:

           Subparagraph (4) does not apply to “property damage” to “customer’s goods” while on your premises. A
           sub-limit of $10,000 each “occurrence” applies to this limited exception. This sub- limit is part of and not in
           addition to the General Aggregate Limit shown in the Commercial General Liability Coverage Part
           Declarations.

           With respect to this Exclusion only, “customer’s goods” means goods of your customers on your premises for
           the purpose of being:
           (a) Repaired; or
           (b) Used in your manufacturing process.

      2. SUPPLEMENTARY PAYMENTS - COVERAGES A AND B
         The following provision in SUPPLEMENTARY PAYMENTS – COVERAGES A AND B (SECTION I) are
         amended as follows:
         a. Paragraphs 1.b. and 1.d. in SUPPLEMENTARY PAYMENTS – COVERAGES A AND B are deleted and
            replaced by the following:

                (We will pay, with respect to any claim we investigate or settle, or any “suit” against an insured we defend:)

                b. Up to $2,500 for cost of bail bonds required because of accidents or traffic law violations arising out of
                   the use of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish
                   these bonds.
                d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or
                   defense of the claim or "suit", including actual loss of earnings up to $500 a day because of time off
                   from work.

           b.   The last subparagraph in subsection 1. in SUPPLEMENTARY PAYMENTS – COVERAGES A AND B is
                deleted and replaced by the following:

                These payments will not reduce the limits of insurance and do not apply to the COVERAGE D PRIVACY
                AND INFORMATION SECURITY THIRD PARTY NOTIFICATION AND OUTSIDE CONSULTANT
                SERVICES EXPENSE REIMBURSEMENT coverage provided by the 40+ AdvantagePAC endorsement.

  3. ADDITIONAL COVERAGES

      The following provision is added to SECTION I – COVERAGES:

      COVERAGE D PRIVACY AND INFORMATION SECURITY THIRD PARTY NOTIFICATION AND OUTSIDE
      CONSULTANT SERVICES EXPENSE REIMBURSEMENT

           a. We will reimburse an insured up to $5,000 in the aggregate in any single policy year for covered Privacy
              and Information Security “third party notification expense” and outside consultants’ or firms’ service
              fees/costs incurred.

                To establish what General Star policy year applies, our reimbursement will be based on the General Star
                policy period when the first loss, disclosure or dissemination of an insured’s confidential data is deemed to
                have occurred. This is regardless of any continuation or resumption of such loss, disclosure or
                dissemination of an insured’s confidential data over more than one General Star policy period and is
                regardless of when any Privacy and Information Security related claim or “suit” is first reported or notification
                sent, it is deemed to be a single “occurrence”.

                Any “third party notification expense” must be required by applicable State or Federal Privacy statutes and
                must result from the disclosure or dissemination of confidential data as a result of an insured’s act, error or
                omission.

                We will cover the fees/costs incurred by outside consultants or firms to:
                (1) Mitigate, prevent, or decrease the possibility of further loss as a result of “electronic data damages”;

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                (2) Investigate and verify the cause, amount or extent of “electronic data damages”; or
                (3) Contain, eradicate and recover the loss, disclosure or dissemination of confidential data as a result of
                    “electronic data damages”.

                “Third party notification expense” and “electronic data damages” must be incurred by you during the policy
                period shown in the Commercial General Liability Coverage Part Declarations; provided further that the
                $5,000 Privacy and Information Security “third party notification expense” is the maximum aggregate
                amount payable during the policy period regardless of the number of:
                (1) Insureds;
                (2) “Occurrences”, offenses, incidents of loss, disclosure or dissemination of confidential information; or
                (3) Persons or organizations identified as victims.

                No Deductible applies to this coverage. The $5,000 amount of this Coverage D will erode the General
                Aggregate Limit shown in the Commercial General Liability Coverage Part Declarations. No payment
                or reimbursement by us for damages associated with any privacy and information security claim or “suit” is
                covered under this Coverage D.

                This insurance applies to privacy and information security “third party notification expense” and outside
                consultant expenses only if, prior to the policy period, no insured and no “employee” authorized by you to
                give or receive notice of an “occurrence” or claim, knew that the act, error, or omission had occurred, in
                whole or in part. If such a listed insured or authorized “employee” knew, prior to the policy period, that the
                act, error, or omission occurred, then any continuation, change or resumption of such act, error, or omission
                during or after the policy period will be deemed to have been known prior to the policy period.

           b. With respect to the coverage provided in Paragraph a. above, the following exclusions apply in addition to
              those found elsewhere in this policy.

                We will not pay any Privacy and Information Security “third party notification expense” based on or arising
                out of:
                (1) Any malfunction or defect of a “network communications system”.
                (2) Any electrical failure including electrical power interruption, surge, brownout or blackout.
                (3) Any interruptions or outages to gas, water, telephone, cable or satellite service furnished by utility
                    companies.
                (4) Any breach of contract, warranty or guarantee. This exclusion does not apply to liability for damages
                    that an insured would have had in the absence of the contract, warranty or guarantee.
                (5) Any infringement of copyright, patent, trademark, trade secret or other intellectual property rights.

           c. With respect to the coverage provided by this Coverage D, the following definitions apply in addition to
              those found elsewhere in this policy:
              (1) “Electronic data damages” means damages arising out of an authorized, third party’s:
                  (a) Destruction or addition or deletion of “electronic data” that was entrusted to an insured by others
                       and that was resident on your “network communications system”;
                  (b) Copying or theft of any electronic data resident on “network communications system”; or
                  (c) Use or alteration of any software resident on “network communications systems”.
                  As used in paragraph, “electronic data” means information, facts or programs stored as or on, created
                  or used on, or transmitted to or from computer software, including systems and applications software,
                  hard or floppy disks, CD-ROMS, tapes, drives, cells, data processing devices or any other media which
                  are used with electronically controlled equipment.
              (2) “Network communications system” means any or all of the components, owned and/or controlled by
                  you, including computers and software, which combine with your computers to communicate
                  electronically with other computer systems.
              (3) “Third party notification expense” means all costs associated with the notification of current or previous
                  clients or other parties including reasonable and necessary legal fees incurred in connection with such
                  notification.

           d. With respect to the coverage provided in this Additional Coverage, Paragraph 17. Exclusion – Access Or
              Disclosure Of Confidential Or Personal Information And Data-Related Liability of the Commercial
              General Liability Combined Provisions Endorsement (GSI-04-AP600) does not apply.

      4. SECTION II - WHO IS AN INSURED
         The following provisions 4. and 5. are added to SECTION II – WHO IS AN INSURED



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           AUTOMATIC ADDITIONAL INSURED - MANAGERS OR LESSORS OF PREMISES – BY CONTRACT,
           AGREEMENT OR PERMIT

           4. a. Any person or organization from whom you rent or lease, or have permission to occupy, premises when
                 you and such person or organization have agreed in a written contract, agreement or by permit that
                 such person or organization be added as an additional insured on your policy but only with respect to
                 liability for “bodily injury”, “property damage” or “personal or advertising injury” arising out of the
                 ownership, maintenance or use of that part of the premises rented or leased to or occupied by you
                 provided the written contract or agreement has been executed or permit has been issued prior to the
                 “bodily injury”, “property damage”, or “personal and advertising injury”.
              b. The person or organization qualifying as an additional insured under this provision is an additional
                 insured on the later of the following dates:
                 (1) The agreed upon date in the written contract, agreement or permit that such person or organization
                      be an additional insured on your policy provided you execute the written contract or agreement or
                      the permit is issued prior to the agreed upon date;
                 (2) The date the written contract or agreement is executed or permit is issued; or
                 (3) The effective date of this policy.

                The insurance afforded these additional insureds, the following exclusions apply:
                a. Any “occurrence” or offense which takes place after you cease to be a tenant in that premises.
                b. Any “bodily injury”, “property damage”, or “personal and advertising injury” arising out of structural
                   alterations, new construction or demolition operations performed by or on behalf of the person or
                   organization.
                c. Any “bodily injury”, “property damage”, or “personal and advertising injury” arising out of the sole
                   negligence of the additional insured manager or lessor.

           AUTOMATIC ADDITIONAL INSURED - LESSORS OF LEASED EQUIPMENT

           5. a. Any person or organization from whom you lease equipment when you and such person or
                 organization have agreed in a written contract or agreement that such person or organization be added
                 as an additional insured on your policy but only with respect to liability for “bodily injury”, “property
                 damage” or “personal or advertising injury” caused, in whole or in part, by your maintenance, operation,
                 or use of equipment leased to you by such person or organization provided the written contract or
                 agreement has been executed or permit has been issued prior to the “bodily injury”, “property damage”
                 or “personal and advertising injury”.
              b. The person or organization qualifying as an additional insured under this provision is an additional
                 insured on the later of the following dates:
                 (1) The agreed upon date in the written contract or agreement that such person or organization be an
                     additional insured on your policy provided you execute the written contract or agreement prior to the
                     agreed upon date;
                 (2) The date the written contract or agreement is executed; or
                 (3) The effective date of this policy.
              c. A person’s or organization’s status as an additional insured under this provision ends when their
                 contract or agreement with you for such leased equipment ends.
              d. With respect to the insurance afforded these additional insureds, the insurance does not apply to any
                 “occurrence” or offense which takes place after the equipment lease expires.

      5. CONDITIONS
         The following provision is added to SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS:

           LIBERALIZATION PROVISION

           10. Liberalization
               If we adopt any revision that would broaden the coverage under the Commercial General Liability
               Coverage Part without additional premium within 45 days prior to or during the policy period, the
               broadened coverage will immediately apply to the Commercial General Liability Coverage Part.




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                                     COMMERCIAL GENERAL LIABILITY DECLARATIONS




PO LICY #        IMA359733

1.    LIM ITS O F IN SURAN CE
      EACH OCCURRENCE LIMIT                                                         $ 1,000,000
           DAMAGE TO PREMISES RENTED TO YOU LIMIT                                   $   100,000          Any one premises
           MEDICAL EXPENSE LIMIT                                                    $    10,000          Any one person
      PERSONAL & ADVERTISING INJURY LIMIT                                           $ 1,000,000          Any one person or organization
      GENERAL AGGREGATE LIMIT                                                                           $ 2,000,000
      PRODUCTS/ COMPLETED OPERATIONS AGGREGATE LIMIT                                                    $ INCLUDED

2. LO CATIO N (S) O F ALL PREM ISES YO U O WN , REN T O R O CCUPY:                                                                         Territory
Loc#                                 Address                                                                  City             State Zip    Code

1     1654 BLUE JAY WAY                                                                          LOS ANGELES                    CA 90069 003




3.
LO C CLASSIFICATIO N                                 CO DE KEY PREM IUM               RATES                   ADVAN CE PREM IUM
#                                                     N O . LTR BASIS
                                                                               Prem / O ps Prod/ Com p Prem / O ps             Prod/ Com p
                                                                                           O ps                                O ps
1     DWELLINGS - ONE FAMILY                             63010 U               1 2500.00 INCLUDED                 2,500         INCLUDED
      LESSOR'S RISK ONLY
1     SWIMMING POOL                                      48925 T               1    FLAT     INCLUDED                750        INCLUDED

1     HOT TUB                                            48925 T               1    FLAT     INCLUDED                350        INCLUDED

1     ASSAULT OR BATTERY SUB-LIMIT                       99999 U               1 INCLUDED INCLUDED          INCLUDED            INCLUDED
      SEE FORM CLF 04 0002
                                                                                       SUBTO TAL                  3,600
                                      TERRO RISM RISK IN SURAN CE ACT (TRIA) PREM IUM :
                     (TRIA CO VERAGE N O T APPLICABLE UN LESS PREM IUM SH O WN ABO VE)
                                                                        TO TAL ADVAN CE PREM IUM
           Audit period annual unless otherwise stated
4.    FORMS AND ENDORSEMENTS FORMING A PART OF THIS COVERAGE PART AND MADE PART OF THIS POLICY
      O N ITS EFFECTIVE DATE:
                                 See Schedule of Forms & Endorsements GSI-04-FORMSCH (1-01)

5.    RETRO ACTIVE DATE:___________________(Applies only to CG 00 02 - Claim s M ade Com m ercial General
      Liability Coverage Form . If blank, Retroactive Date is the inception date of this policy shown under Item 2 PO LICY
      PERIO D of the CO M M O N PO LICY DECLARATIO N S)

      a.     Coverage A of this insurance does not apply to "bodily injury" or "property damage" which occurs before the Retroactive
             Date shown above and Coverage B of this insurance does not apply to "personal and advertising injury" caused by an
             offense committed before the Retroactive Date shown above.

      b.     If applicable, the Retroactive Date for the insurance provided by some endorsements that are attached to and form a part
             of this Coverage Part may be different from the Retroactive Date shown above. In that case, the Retroactive Date
             applicable to the insurance provided by such endorsements will be shown in those endorsements.

       TH ESE DECLARATIO N S ARE PART O F TH E CO M M O N PO LICY DECLARATIO N S CO N TAIN IN G TH E N AM E O F
                                    TH E IN SURED AN D TH E PO LICY PERIO D.

     GSI-04-CGLDEC (5/ 04)
                                                             COMPANY
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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 00 01 12 07


   COMMERCIAL GENERAL LIABILITY COVERAGE FORM
Various provisions in this policy restrict coverage.         b. This insurance applies to "bodily injury" and
Read the entire policy carefully to determine rights,            "property damage" only if:
duties and what is and is not covered.
                                                                (1) The "bodily injury" or "property damage" is
Throughout this policy the words "you" and "your"                    caused by an "occurrence" that takes place
refer to the Named Insured shown in the Declarations,                in the "coverage territory";
and any other person or organization qualifying as a
                                                                (2) The "bodily injury" or "property damage"
Named Insured under this policy. The words "we",                     occurs during the policy period; and
"us" and "our" refer to the company providing this
insurance.                                                      (3) Prior to the policy period, no insured listed
                                                                     under Paragraph 1. of Section II – Who Is
The word "insured" means any person or organization                  An Insured and no "employee" authorized
qualifying as such under Section II – Who Is An In-                  by you to give or receive notice of an "oc-
sured.                                                               currence" or claim, knew that the "bodily in-
Other words and phrases that appear in quotation                     jury" or "property damage" had occurred, in
marks have special meaning. Refer to Section V –                     whole or in part. If such a listed insured or
Definitions.                                                         authorized "employee" knew, prior to the
                                                                     policy period, that the "bodily injury" or
SECTION I – COVERAGES
                                                                     "property damage" occurred, then any con-
COVERAGE A BODILY INJURY AND PROPERTY                                tinuation, change or resumption of such
DAMAGE LIABILITY                                                     "bodily injury" or "property damage" during
1. Insuring Agreement                                                or after the policy period will be deemed to
                                                                     have been known prior to the policy period.
   a. We will pay those sums that the insured be-
      comes legally obligated to pay as damages              c.  "Bodily   injury" or "property damage" which
      because of "bodily injury" or "property damage"            occurs during the policy period and was not,
      to which this insurance applies. We will have              prior to the policy period, known to have oc-
      the right and duty to defend the insured against           curred by any insured listed under Paragraph
      any "suit" seeking those damages. However,                 1. of Section II – Who Is An Insured or any
      we will have no duty to defend the insured                 "employee" authorized by you to give or re-
      against any "suit" seeking damages for "bodily             ceive notice of an "occurrence" or claim, in-
      injury" or "property damage" to which this in-             cludes any continuation, change or resumption
      surance does not apply. We may, at our discre-             of that "bodily injury" or "property damage" af-
      tion, investigate any "occurrence" and settle              ter the end of the policy period.
      any claim or "suit" that may result. But:              d. "Bodily injury" or "property damage" will be
     (1) The amount we will pay for damages is                   deemed to have been known to have occurred
          limited as described in Section III – Limits           at the earliest time when any insured listed un-
          Of Insurance; and                                      der Paragraph 1. of Section II – Who Is An In-
                                                                 sured or any "employee" authorized by you to
     (2) Our right and duty to defend ends when we               give or receive notice of an "occurrence" or
          have used up the applicable limit of insur-
          ance in the payment of judgments or set-               claim:
          tlements under Coverages A or B or medi-              (1) Reports all, or any part, of the "bodily injury"
          cal expenses under Coverage C.                             or "property damage" to us or any other in-
      No other obligation or liability to pay sums or                surer;
      perform acts or services is covered unless ex-            (2) Receives a written or verbal demand or
      plicitly provided for under Supplementary Pay-                 claim for damages because of the "bodily
      ments – Coverages A and B.                                     injury" or "property damage"; or
                                                                (3) Becomes aware by any other means that
                                                                     "bodily injury" or "property damage" has oc-
                                                                     curred or has begun to occur.




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   e. Damages because of "bodily injury" include                c. Liquor Liability
      damages claimed by any person or organiza-                   "Bodily injury" or "property damage" for which
      tion for care, loss of services or death resulting           any insured may be held liable by reason of:
      at any time from the "bodily injury".
                                                                  (1) Causing or contributing to the intoxication of
2. Exclusions                                                         any person;
   This insurance does not apply to:
                                                                  (2) The furnishing of alcoholic beverages to a
   a. Expected Or Intended Injury                                     person under the legal drinking age or un-
      "Bodily injury" or "property damage" expected                   der the influence of alcohol; or
      or intended from the standpoint of the insured.             (3) Any statute, ordinance or regulation relating
      This exclusion does not apply to "bodily injury"                to the sale, gift, distribution or use of alco-
      resulting from the use of reasonable force to                   holic beverages.
      protect persons or property.                                 This exclusion applies only if you are in the
   b. Contractual Liability                                        business of manufacturing, distributing, selling,
       "Bodily injury" or "property damage" for which              serving or furnishing alcoholic beverages.
       the insured is obligated to pay damages by               d. Workers' Compensation And Similar Laws
       reason of the assumption of liability in a con-             Any obligation of the insured under a workers'
       tract or agreement. This exclusion does not                 compensation, disability benefits or unem-
       apply to liability for damages:                             ployment compensation law or any similar law.
      (1) That the insured would have in the absence            e. Employer's Liability
           of the contract or agreement; or
                                                                   "Bodily injury" to:
      (2) Assumed in a contract or agreement that is
           an "insured contract", provided the "bodily            (1) An "employee" of the insured arising out of
           injury" or "property damage" occurs subse-                  and in the course of:
           quent to the execution of the contract or                  (a) Employment by the insured; or
           agreement. Solely for the purposes of liabil-
           ity assumed in an "insured contract", rea-                 (b) Performing duties related to the conduct
                                                                           of the insured's business; or
           sonable attorney fees and necessary litig a-
           tion expenses incurred by or for a party               (2)  The  spouse, child, parent, brother or sister
           other than an insured are deemed to be                      of that "employee" as a consequence of
           damages because of "bodily injury" or                       Paragraph (1) above.
           "property damage", provided:                            This exclusion applies whether the insured
          (a) Liability to such party for, or for the cost         may be liable as an employer or in any other
               of, that party's defense has also been              capacity and to any obligation to share dam-
               assumed in the same "insured contract";             ages with or repay someone else who must
               and                                                 pay damages because of the injury.
          (b) Such attorney fees and litigation ex-                This exclusion does not apply to liability as-
               penses are for defense of that party                sumed by the insured under an "insured con-
               against a civil or alternative dispute              tract".
               resolution proceeding in which damages
               to which this insurance applies are al-
               leged.




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   f. Pollution                                                     (d) At or from any premises, site or location
                                                                         on which any insured or any contractors
     (1) "Bodily injury" or "property damage" arising
         out of the actual, alleged or threatened dis-                   or subcontractors working directly or in-
         charge, dispersal, seepage, migration, re-                      directly on any insured's behalf are per-
         lease or escape of "pollutants":                                forming operations if the "pollutants" are
                                                                         brought on or to the premises, site or lo-
        (a) At or from any premises, site or location                    cation in connection with such opera-
             which is or was at any time owned or                        tions by such insured, contractor or sub-
             occupied by, or rented or loaned to, any                    contractor. However, this subparagraph
             insured. However, this subparagraph                         does not apply to:
             does not apply to:
                                                                         (i) "Bodily injury" or "property damage"
             (i) "Bodily injury" if sustained within a                       arising out of the escape of fuels, lu-
                  building and caused by smoke,                              bricants or other operating fluids
                  fumes, vapor or soot produced by or                        which are needed to perform the
                  originating from equipment that is                         normal electrical, hydraulic or me-
                  used to heat, cool or dehumidify the                       chanical functions necessary for the
                  building, or equipment that is used to                     operation of "mobile equipment" or
                  heat water for personal use, by the                        its parts, if such fuels, lubricants or
                  building's occupants or their guests;                      other operating fluids escape from a
            (ii) "Bodily injury" or "property damage"                        vehicle part designed to hold, store
                  for which you may be held liable, if                       or receive them. This exception does
                  you are a contractor and the owner                         not apply if the "bodily injury" or
                  or lessee of such premises, site or                        "property damage" arises out of the
                  location has been added to your pol-                       intentional discharge, dispersal or re-
                  icy as an additional insured with re-                      lease of the fuels, lubricants or other
                  spect to your ongoing operations                           operating fluids, or if such fuels, lu-
                  performed for that additional insured                      bricants or other operating fluids are
                  at that premises, site or location and                     brought on or to the premises, site or
                  such premises, site or location is not                     location with the intent that they be
                  and never was owned or occupied                            discharged, dispersed or released as
                  by, or rented or loaned to, any in-                        part of the operations being per-
                  sured, other than that additional in-                      formed by such insured, contractor
                  sured; or                                                  or subcontractor;
           (iii) "Bodily injury" or "property damage"                   (ii) "Bodily injury" or "property damage"
                  arising out of heat, smoke or fumes                        sustained within a building and
                  from a "hostile fire";                                     caused by the release of gases,
                                                                             fumes or vapors from materials
        (b) At or from any premises, site or location                        brought into that building in connec-
             which is or was at any time used by or
             for any insured or others for the han-                          tion with operations being performed
             dling, storage, disposal, processing or                         by you or on your behalf by a con-
             treatment of waste;                                             tractor or subcontractor; or

        (c) Which are or were at any time trans-                       (iii) "Bodily injury" or "property damage"
             ported, handled, stored, treated, dis-                          arising out of heat, smoke or fumes
             posed of, or processed as waste by or                           from a "hostile fire".
             for:                                                   (e) At or from any premises, site or location
                                                                         on which any insured or any contractors
             (i) Any insured; or                                         or subcontractors working directly or in-
            (ii) Any person or organization for whom                     directly on any insured's behalf are per-
                  you may be legally responsible; or                     forming operations if the operations are
                                                                         to test for, monitor, clean up, remove,
                                                                         contain, treat, detoxify or neutralize, or
                                                                         in any way respond to, or assess the ef-
                                                                         fects of, "pollutants".




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     (2) Any loss, cost or expense arising out of                 (5) "Bodily injury" or "property damage" arising
         any:                                                         out of:
        (a) Request, demand, order or statutory or                   (a) The operation of machinery or equip-
             regulatory requirement that any insured                     ment that is attached to, or part of, a
             or others test for, monitor, clean up, re-                  land vehicle that would qualify under the
             move, contain, treat, detoxify or neutral-                  definition of "mobile equipment" if it were
             ize, or in any way respond to, or assess                    not subject to a compulsory or financial
             the effects of, "pollutants"; or                            responsibility law or other motor vehicle
                                                                         insurance law in the state where it is li-
        (b) Claim or "suit" by or on behalf of a gov-
             ernmental authority for damages be-                         censed or principally garaged; or
             cause of testing for, monitoring, cleaning              (b) the operation of any of the machinery or
             up, removing, containing, treating, de-                     equipment listed in Paragraph f.(2) or
             toxifying or neutralizing, or in any way                    f.(3) of the definition of "mobile equip-
             responding to, or assessing the effects                     ment".
             of, "pollutants".
                                                               h. Mobile Equipment
         However, this paragraph does not apply to                 "Bodily injury" or "property damage" arising out
         liability for damages because of "property                of:
         damage" that the insured would have in the
         absence of such request, demand, order or                (1) The transportation of "mobile equipment" by
         statutory or regulatory requirement, or such                  an "auto" owned or operated by or rented or
         claim or "suit" by or on behalf of a govern-                  loaned to any insured; or
         mental authority.                                        (2) The use of "mobile equipment" in, or while
   g. Aircraft, Auto Or Watercraft                                     in practice for, or while being prepared for,
                                                                       any prearranged racing, speed, demolition,
       "Bodily injury" or "property damage" arising out                or stunting activity.
       of the ownership, maintenance, use or en-
       trustment to others of any aircraft, "auto" or wa-       i. War
       tercraft owned or operated by or rented or                   "Bodily injury" or "property damage", however
       loaned to any insured. Use includes operation                caused, arising, directly or indirectly, out of:
       and "loading or unloading".
                                                                   (1) War, including undeclared or civil war;
       This exclusion applies even if the claims
       against any insured allege negligence or other              (2) Warlike action by a military force, including
                                                                       action in hindering or defending against an
       wrongdoing in the supervision, hiring, employ-                  actual or expected attack, by any govern-
       ment, training or monitoring of others by that                  ment, sovereign or other authority using
       insured, if the "occurrence" which caused the                   military personnel or other agents; or
       "bodily injury" or "property damage" involved
       the ownership, maintenance, use or entrust-                 (3) Insurrection, rebellion, revolution, usurped
       ment to others of any aircraft, "auto" or water-                power, or action taken by governmental au-
       craft that is owned or operated by or rented or                 thority in hindering or defending against any
       loaned to any insured.                                          of these.
       This exclusion does not apply to:                        j. Damage To Property
      (1) A watercraft while ashore on premises you                 "Property damage" to:
           own or rent;                                            (1) Property you own, rent, or occupy, including
      (2) A watercraft you do not own that is:                         any costs or expenses incurred by you, or
                                                                       any other person, organization or entity, for
          (a) Less than 26 feet long; and                              repair, replacement, enhancement, restora-
          (b) Not being used to carry persons or                       tion or maintenance of such property for
               property for a charge;                                  any reason, including prevention of injury to
      (3) Parking an "auto" on, or on the ways next                    a person or damage to another's property;
           to, premises you own or rent, provided the              (2) Premises you sell, give away or abandon, if
           "auto" is not owned by or rented or loaned                  the "property damage" arises out of any
           to you or the insured;                                      part of those premises;
      (4) Liability assumed under any "insured con-                (3) Property loaned to you;
           tract" for the ownership, maintenance or
           use of aircraft or watercraft; or                       (4) Personal property in the care, custody or
                                                                       control of the insured;




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     (5) That particular part of real property on                  This exclusion does not apply to the loss of use
           which you or any contractors or subcontrac-             of other property arising out of sudden and ac-
           tors working directly or indirectly on your             cidental physical injury to "your product" or
           behalf are performing operations, if the                "your work" after it has been put to its intended
           "property damage" arises out of those op-               use.
           erations; or
                                                               n. Recall Of Products, Work Or Impaired
     (6) That particular part of any property that                 Property
           must be restored, repaired or replaced be-              Damages claimed for any loss, cost or ex-
           cause "your work" was incorrectly per-                  pense incurred by you or others for the loss of
           formed on it.                                           use, withdrawal, recall, inspection, repair, re-
      Paragraphs (1), (3) and (4) of this exclusion do             placement, adjustment, removal or disposal of:
      not apply to "property damage" (other than
                                                                  (1) "Your product";
      damage by fire) to premises, including the con-
      tents of such premises, rented to you for a pe-             (2) "Your work"; or
      riod of 7 or fewer consecutive days. A separate             (3) "Impaired property";
      limit of insurance applies to Damage To Prem-
                                                                   if such product, work, or property is withdrawn
      ises Rented To You as described in Section III               or recalled from the market or from use by any
      – Limits Of Insurance.                                       person or organization because of a known or
      Paragraph (2) of this exclusion does not apply               suspected defect, deficiency, inadequacy or
      if the premises are "your work" and were never               dangerous condition in it.
      occupied, rented or held for rental by you.
                                                               o. Personal And Advertising Injury
      Paragraphs (3), (4), (5) and (6) of this excl u-            "Bodily injury" arising out of "personal and ad-
      sion do not apply to liability assumed under a              vertising injury".
      sidetrack agreement.
      Paragraph (6) of this exclusion does not apply           p. Electronic Data
      to "property damage" included in the "products-             Damages arising out of the loss of, loss of use
      completed operations hazard".                               of, damage to, corruption of, inability to access,
                                                                  or inability to manipulate electronic data.
   k. Damage To Your Product
                                                                  As used in this exclusion, electronic data
      "Property damage" to "your product" arising out             means information, facts or programs stored as
      of it or any part of it.                                    or on, created or used on, or transmitted to or
   l. Damage To Your Work                                         from computer software, including systems and
      "Property damage" to "your work" arising out of             applications software, hard or floppy disks, CD-
      it or any part of it and included in the "products-         ROMS, tapes, drives, cells, data processing
      completed operations hazard".                               devices or any other media which are used
                                                                  with electronically controlled equipment.
      This exclusion does not apply if the damaged
      work or the work out of which the damage                 q. Distribution Of Material In Violation Of
      arises was performed on your behalf by a sub-                Statutes
      contractor.                                                  "Bodily injury" or "property damage" arising di-
  m. Damage To Impaired Property Or Property                       rectly or indirectly out of any action or omission
      Not Physically Injured                                       that violates or is alleged to violate:
      "Property damage" to "impaired property" or                 (1) The Telephone Consumer Protection Act
      property that has not been physically injured,                   (TCPA), including any amendment of or
      arising out of:                                                  addition to such law; or
     (1) A defect, deficiency, inadequacy or danger-              (2) The CAN-SPAM Act of 2003, including any
          ous condition in "your product" or "your                     amendment of or addition to such law; or
          work"; or                                               (3) Any statute, ordinance or regulation, other
     (2) A delay or failure by you or anyone acting                    than the TCPA or CAN-SPAM Act of 2003,
          on your behalf to perform a contract or                      that prohibits or limits the sending, transmit-
          agreement in accordance with its terms.                      ting, communicating or distribution of mate-
                                                                       rial or information.




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   Exclusions c. through n. do not apply to damage             c. Material Published Prior To Policy Period
   by fire to premises while rented to you or tempo-              "Personal and advertising injury" arising out of
   rarily occupied by you with permission of the                  oral or written publication of material whose
   owner. A separate limit of insurance applies to this           first publication took place before the beginning
   coverage as described in Section III – Limits Of               of the policy period.
   Insurance.
                                                               d. Criminal Acts
COVERAGE B PERSONAL AND ADVERTISING
INJURY LIABILITY                                                  "Personal and advertising injury" arising out of
                                                                  a criminal act committed by or at the direction
1. Insuring Agreement                                             of the insured.
   a. We will pay those sums that the insured be-              e. Contractual Liability
       comes legally obligated to pay as damages
       because of "personal and advertising injury" to            "Personal and advertising injury" for which the
       which this insurance applies. We will have the             insured has assumed liability in a contract or
       right and duty to defend the insured against               agreement. This exclusion does not apply to li-
       any "suit" seeking those damages. However,                 ability for damages that the insured would have
       we will have no duty to defend the insured                 in the absence of the contract or agreement.
       against any "suit" seeking damages for "per-             f. Breach Of Contract
       sonal and advertising injury" to which this in-             "Personal and advertising injury" arising out of
       surance does not apply. We may, at our discre-              a breach of contract, except an implied con-
       tion, investigate any offense and settle any                tract to use another's advertising idea in your
       claim or "suit" that may result. But:                       "advertisement".
      (1) The amount we will pay for damages is                g. Quality Or Performance Of Goods – Failure
            limited as described in Section III – Limits
            Of Insurance; and                                     To Conform To Statements
                                                                  "Personal and advertising injury" arising out of
      (2) Our right and duty to defend end when we                the failure of goods, products or services to
            have used up the applicable limit of insur-           conform with any statement of quality or per-
            ance in the payment of judgments or set-              formance made in your "advertisement" .
            tlements under Coverages A or B or medi-
            cal expenses under Coverage C.                     h. Wrong Description Of Prices
       No other obligation or liability to pay sums or            "Personal and advertising injury" arising out of
       perform acts or services is covered unless ex-             the wrong description of the price of goods,
       plicitly provided for under Supplementary Pay-             products or services stated in your "advertis e-
       ments – Coverages A and B.                                 ment".
   b. This insurance applies to "personal and adver-            i. Infringement Of Copyright, Patent,
       tising injury" caused by an offense arising out             Trademark Or Trade Secret
       of your business but only if the offense was                "Personal and advertising injury" arising out of
       committed in the "coverage territory" during the            the infringement of copyright, patent, trade-
       policy period.                                              mark, trade secret or other intellectual property
2. Exclusions                                                      rights. Under this exclusion, such other intellec-
                                                                   tual property rights do not include the use of
   This insurance does not apply to:                               another's advertising idea in your "advertis e-
   a. Knowing Violation Of Rights Of Another                       ment".
      "Personal and advertising injury" caused by or               However, this exclusion does not apply to in-
      at the direction of the insured with the knowl-              fringement, in your "advertisement", of copy-
      edge that the act would violate the rights of an-            right, trade dress or slogan.
      other and would inflict "personal and adverti s-
      ing injury".                                              j. Insureds In Media And Internet Type
                                                                    Businesses
   b. Material Published With Knowledge Of                          "Personal and advertising injury" committed by
      Falsity                                                       an insured whose business is:
      "Personal and advertising injury" arising out of
      oral or written publication of material, if done by          (1) Advertising, broadcasting, publishing or
                                                                        telecasting;
      or at the direction of the insured with knowl-
      edge of its falsity.                                         (2) Designing or determining content of web-
                                                                        sites for others; or




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     (3) An Internet search, access, content or                  (3) Insurrection, rebellion, revolution, usurped
          service provider.                                          power, or action taken by governmental au-
      However, this exclusion does not apply to                      thority in hindering or defending against any
      Paragraphs 14.a., b. and c. of "personal and                   of these.
      advertising injury" under the Definitions Sec-          p. Distribution Of Material In Violation Of
      tion.                                                       Statutes
      For the purposes of this exclusion, the placing             "Personal and advertising injury" arising di-
      of frames, borders or links, or advertising, for            rectly or indirectly out of any action or omission
      you or others anywhere on the Internet, is not              that violates or is alleged to violate:
      by itself, considered the business of adverti s-
                                                                 (1) The Telephone Consumer Protection Act
      ing, broadcasting, publishing or telecasting.                   (TCPA), including any amendment of or
   k. Electronic Chatrooms Or Bulletin Boards                         addition to such law; or
      "Personal and advertising injury" arising out of           (2) The CAN-SPAM Act of 2003, including any
      an electronic chatroom or bulletin board the in-                amendment of or addition to such law; or
      sured hosts, owns, or over which the insured
                                                                 (3) Any statute, ordinance or regulation, other
      exercises control.                                              than the TCPA or CAN-SPAM Act of 2003,
   l. Unauthorized Use Of Another's Name Or                           that prohibits or limits the sending, transmit-
      Product                                                         ting, communicating or distribution of mate-
      "Personal and advertising injury" arising out of                rial or information.
      the unauthorized use of another's name or            COVERAGE C MEDICAL PAYMENTS
      product in your e-mail address, domain name
                                                           1. Insuring Agreement
      or metatag, or any other similar tactics to mis-
      lead another's potential customers.                     a. We will pay medical expenses as described
                                                                  below for "bodily injury" caused by an accident:
  m. Pollution
                                                                 (1) On premises you own or rent;
     "Personal and advertising injury" arising out of
     the actual, alleged or threatened discharge,                (2) On ways next to premises you own or rent;
     dispersal, seepage, migration, release or es-                    or
     cape of "pollutants" at any time.                           (3) Because of your operations;
  n. Pollution -Related                                           provided that:
      Any loss, cost or expense arising out of any:                  (a) The accident takes place in the "cover-
     (1) Request, demand, order or statutory or                           age territory" and during the policy pe-
         regulatory requirement that any insured or                       riod;
         others test for, monitor, clean up, remove,                 (b) The expenses are incurred and reported
         contain, treat, detoxify or neutralize, or in                    to us within one year of the date of the
         any way respond to, or assess the effects                        accident; and
         of, "pollutants"; or
                                                                     (c) The injured person submits to examin a-
     (2) Claim or suit by or on behalf of a govern-                       tion, at our expense, by physicians of
         mental authority for damages because of                          our choice as often as we reasonably
         testing for, monitoring, cleaning up, remov-                     require.
         ing, containing, treating, detoxifying or neu-
         tralizing, or in any way responding to, or           b. We will make these payments regardless of
                                                                  fault. These payments will not exceed the ap-
         assessing the effects of, "pollutants".                  plicable limit of insurance. We will pay reason-
  o. War                                                          able expenses for:
      "Personal and advertising injury", however                 (1) First aid administered at the time of an
      caused, arising, directly or indirectly, out of:                accident;
     (1) War, including undeclared or civil war;                 (2) Necessary medical, surgical, x-ray and
     (2) Warlike action by a military force, including                dental services, including prosthetic de-
         action in hindering or defending against an                  vices; and
         actual or expected attack, by any govern-               (3) Necessary ambulance, hospital, profes-
         ment, sovereign or other authority using                     sional nursing and funeral services.
         military personnel or other agents; or




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2. Exclusions                                                   f. Prejudgment interest awarded against the
   We will not pay expenses for "bodily injury":                   insured on that part of the judgment we pay. If
                                                                   we make an offer to pay the applicable limit of
   a. Any Insured                                                  insurance, we will not pay any prejudgment in-
      To any insured, except "volunteer workers".                  terest based on that period of time after the of-
                                                                   fer.
   b. Hired Person
      To a person hired to do work for or on behalf of         g. All interest on the full amount of any judgment
      any insured or a tenant of any insured.                      that accrues after entry of the judgment and
                                                                   before we have paid, offered to pay, or depos-
   c. Injury On Normally Occupied Premises                         ited in court the part of the judgment that is
      To a person injured on that part of premises                 within the applicable limit of insurance.
      you own or rent that the person normally occu-           These payments will not reduce the limits of insur-
      pies.                                                    ance.
   d. Workers Compensation And Similar Laws                 2. If we defend an insured against a "suit" and an
      To a person, whether or not an "employee" of             indemnitee of the insured is also named as a party
      any insured, if benefits for the "bodily injury"         to the "suit", we will defend that indemnitee if all of
      are payable or must be provided under a work-            the following conditions are met:
      ers' compensation or disability benefits law or a        a. The "suit" against the indemnitee seeks dam-
      similar law.                                                 ages for which the insured has assumed the li-
   e. Athletics Activities                                         ability of the indemnitee in a contract or agree-
                                                                   ment that is an "insured contract";
      To a person injured while practicing, instructing
      or participating in any physical exercises or            b. This insurance applies to such liability as-
      games, sports, or athletic contests.                         sumed by the insured;
    f. Products-Completed Operations Hazard                    c. The obligation to defend, or the cost of the
                                                                   defense of, that indemnitee, has also been as-
       Included within the "products-completed opera-              sumed by the insured in the same "insured
       tions hazard".                                              contract";
   g. Coverage A Exclusions                                    d. The allegations in the "suit" and the information
      Excluded under Coverage A.                                   we know about the "occurrence" are such that
SUPPLEMENTARY PAYMENTS – COVERAGES A                               no conflict appears to exist between the inter-
AND B                                                              ests of the insured and the interests of the in-
                                                                   demnitee;
1. We will pay, with respect to any claim we invest i-
   gate or settle, or any "suit" against an insured we         e. The indemnitee and the insured ask us to
   defend:                                                         conduct and control the defense of that indem-
                                                                   nitee against such "suit" and agree that we can
   a. All expenses we incur.                                       assign the same counsel to defend the insured
   b. Up to $250 for cost of bail bonds required                   and the indemnitee; and
      because of accidents or traffic law violations
                                                                f. The indemnitee:
      arising out of the use of any vehicle to which
      the Bodily Injury Liability Coverage applies. We            (1) Agrees in writing to:
      do not have to furnish these bonds.                             (a) Cooperate with us in the investigation,
   c. The cost of bonds to release attachments, but                        settlement or defense of the "suit";
      only for bond amounts within the applicable                     (b) Immediately send us copies of any
      limit of insurance. We do not have to furnish                        demands, notices, summonses or legal
      these bonds.                                                         papers received in connection with the
   d. All reasonable expenses incurred by the in-                          "suit";
      sured at our request to assist us in the invest i-              (c) Notify any other insurer whose coverage
      gation or defense of the claim or "suit", includ-                    is available to the indemnitee; and
      ing actual loss of earnings up to $250 a day
      because of time off from work.                                  (d) Cooperate with us with respect to coor-
                                                                           dinating other applicable insurance
   e. All court costs taxed against the insured in the                     available to the indemnitee; and
      "suit". However, these payments do not include
      attorneys' fees or attorneys' expenses taxed                (2) Provides us with written authorization to:
      against the insured.                                            (a) Obtain records and other information
                                                                           related to the "suit"; and




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           (b) Conduct and control the defense of the       2. Each of the following is also an insured:
               indemnitee in such "suit".
                                                               a. Your "volunteer workers" only while performing
   So long as the above conditions are met, attor-                duties related to the conduct of your business,
   neys' fees incurred by us in the defense of that in-           or your "employees", other than either your
   demnitee, necessary litigation expenses incurred               "executive officers" (if you are an organization
   by us and necessary litigation expenses incurred               other than a partnership, joint venture or limited
   by the indemnitee at our request will be paid as               liability company) or your managers (if you are
   Supplementary Payments. Notwithstanding the                    a limited liability company), but only for acts
   provisions of Paragraph 2.b.(2) of Section I – Cov-            within the scope of their employment by you or
   erage A – Bodily Injury And Property Damage Li-                while performing duties related to the conduct
   ability, such payments will not be deemed to be                of your business. However, none of these "em-
   damages for "bodily injury" and "property damage"              ployees" or "volunteer workers" are insureds
   and will not reduce the limits of insurance.                   for:
   Our obligation to defend an insured's indemnitee              (1) "Bodily injury" or "personal and advertising
   and to pay for attorneys' fees and necessary litig a-               injury":
   tion expenses as Supplementary Payments ends
                                                                     (a) To you, to your partners or members (if
   when we have used up the applicable limit of in-                        you are a partnership or joint venture),
   surance in the payment of judgments or settle-                          to your members (if you are a limited li-
   ments or the conditions set forth above, or the                         ability company), to a co-"employee"
   terms of the agreement described in Paragraph f.                        while in the course of his or her em-
   above, are no longer met.                                               ployment or performing duties related to
SECTION II – WHO IS AN INSURED                                             the conduct of your business, or to your
                                                                           other "volunteer workers" while perform-
1. If you are designated in the Declarations as:
                                                                           ing duties related to the conduct of your
   a. An individual, you and your spouse are insur-                        business;
       eds, but only with respect to the conduct of a
       business of which you are the sole owner.                     (b) To the spouse, child, parent, brother or
                                                                           sister of that co-"employee" or "volun-
   b. A partnership or joint venture, you are an in-                       teer worker" as a consequence of Para-
       sured. Your members, your partners, and their                       graph (1)(a) above;
       spouses are also insureds, but only with re-
       spect to the conduct of your business.                        (c) For which there is any obligation to
                                                                           share damages with or repay someone
   c. A limited liability company, you are an insured.                     else who must pay damages because of
       Your members are also insureds, but only with                       the injury described in Paragraphs (1)(a)
       respect to the conduct of your business. Your                       or (b) above; or
       managers are insureds, but only with respect
       to their duties as your managers.                             (d) Arising out of his or her providin g or
                                                                           failing to provide professional health
   d. An organization other than a partnership, joint                      care services.
       venture or limited liability company, you are an
       insured. Your "executive officers" and directors          (2)   "Property   damage" to property:
       are insureds, but only with respect to their du-              (a) Owned, occupied or used by,
       ties as your officers or directors. Your stock-
                                                                     (b) Rented to, in the care, custody or con-
       holders are also insureds, but only with respect                    trol of, or over which physical control is
       to their liability as stockholders.                                 being exercised for any purpose by
   e. A trust, you are an insured. Your trustees are                   you, any of your "employees", "volunteer
       also insureds, but only with respect to their du-               workers", any partner or member (if you are
       ties as trustees.                                               a partnership or joint venture), or any mem-
                                                                       ber (if you are a limited liability company).




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    b. Any person (other than your "employee" or             3. The Products-Completed Operations Aggregate
        "volunteer worker"), or any organization while           Limit is the most we will pay under Coverage A for
        acting as your real estate manager.                      damages because of "bodily injury" and "property
                                                                 damage" included in the "products-completed op-
    c. Any person or organization having proper
        temporary custody of your property if you die,           erations hazard".
        but only:                                            4. Subject to Paragraph 2. above, the Personal and
                                                                 Advertising Injury Limit is the most we will pay un-
       (1) With respect to liability arising out of the
             maintenance or use of that property; and            der Coverage B for the sum of all damages be-
                                                                 cause of all "personal and advertising injury" sus-
       (2) Until your legal representative has been              tained by any one person or organization.
             appointed.
                                                             5. Subject to Paragraph 2. or 3. above, whichever
    d. Your legal representative if you die, but only            applies, the Each Occurrence Limit is the most we
        with respect to duties as such. That represen-           will pay for the sum of:
        tative will have all your rights and duties under
        this Coverage Part.                                      a. Damages under Coverage A; and
3. Any organization you newly acquire or form, other             b. Medical expenses under Coverage C
    than a partnership, joint venture or limited liability       because of all "bodily injury" and "property dam-
    company, and over which you maintain ownership               age" arising out of any one "occurrence".
    or majority interest, will qualify as a Named In-        6. Subject to Paragraph 5. above, the Damage To
    sured if there is no other similar insurance avai l-         Premises Rented To You Limit is the most we will
    able to that organization. However:                          pay under Coverage A for damages because of
    a. Coverage under this provision is afforded only            "property damage" to any one premises, while
        until the 90th day after you acquire or form the         rented to you, or in the case of damage by fire,
        organization or the end of the policy period,            while rented to you or temporarily occupied by you
        whichever is earlier;                                    with permission of the owner.
    b. Coverage A does not apply to "bodily injury" or       7. Subject to Paragraph 5. above, the Medical Ex-
        "property damage" that occurred before you               pense Limit is the most we will pay under Cover-
        acquired or formed the organization; and                 age C for all medical expenses because of "bodily
                                                                 injury" sustained by any one person.
    c. Coverage B does not apply to "personal and
        advertising injury" arising out of an offense        The Limits of Insurance of this Coverage Part apply
        committed before you acquired or formed the          separately to each consecutive annual period and to
        organization.                                        any remaining period of less than 12 months, starting
No person or organization is an insured with respect         with the beginning of the policy period shown in the
to the conduct of any current or past partnership, joint     Declarations, unless the policy period is extended
venture or limited liability company that is not shown       after issuance for an additional period of less than 12
as a Named Insured in the Declarations.                      months. In that case, the additional period will be
                                                             deemed part of the last preceding period for purposes
SECTION III – LIMITS OF INSURANCE                            of determining the Limits of Insurance.
1. The Limits of Insurance shown in the Declarations         SECTION IV – COMMERCIAL GENERAL LIABILITY
   and the rules below fix the most we will pay re-          CONDITIONS
   gardless of the number of:
                                                             1. Bankruptcy
   a. Insureds;
                                                                Bankruptcy or insolvency of the insured or of the
   b. Claims made or "suits" brought; or                        insured's estate will not relieve us of our obliga-
   c. Persons or organizations making claims or                 tions under this Coverage Part.
      bringing "suits".                                      2. Duties In The Event Of Occurrence, Offense,
2. The General Aggregate Limit is the most we will              Claim Or Suit
   pay for the sum of:                                          a. You must see to it that we are notified as soon
   a. Medical expenses under Coverage C;                           as practicable of an "occurrence" or an offense
                                                                   which may result in a claim. To the extent pos-
   b. Damages under Coverage A, except damages                     sible, notice should include:
      because of "bodily injury" or "property damage"
      included in the "products-completed operations              (1) How, when and where the "occurrence" or
      hazard"; and                                                     offense took place;
   c. Damages under Coverage B.                                   (2) The names and addresses of any injured
                                                                       persons and witnesses; and




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      (3) The nature and location of any injury or         4. Other Insurance
            damage arising out of the "occurrence" or         If other valid and collectible insurance is available
            offense.                                          to the insured for a loss we cover under Cover-
   b. If a claim is made or "suit" is brought against         ages A or B of this Coverage Part, our obligations
       any insured, you must:                                 are limited as follows:
      (1) Immediately record the specifics of the             a. Primary Insurance
            claim or "suit" and the date received; and           This insurance is primary except when Para-
      (2) Notify us as soon as practicable.                      graph b. below applies. If this insurance is pri-
       You must see to it that we receive written no-            mary, our obligations are not affected unless
       tice of the claim or "suit" as soon as practica-          any of the other insurance is also primary.
       ble.                                                      Then, we will share with all that other insur-
                                                                 ance by the method described in Paragraph c.
   c. You and any other involved insured must:                   below.
      (1) Immediately send us copies of any de-               b. Excess Insurance
            mands, notices, summonses or legal pa-
            pers received in connection with the claim           (1) This insurance is excess over:
            or "suit";                                              (a) Any of the other insurance, whether
                                                                         primary, excess, contingent or on any
      (2) Authorize us to obtain records and other
            information;                                                 other basis:
      (3) Cooperate with us in the investigation or                      (i) That is Fire, Extended Coverage,
            settlement of the claim or defense against                       Builder's Risk, Installation Risk or
            the "suit"; and                                                  similar coverage for "your work";
      (4) Assist us, upon our request, in the en-                       (ii) That is Fire insurance for premises
            forcement of any right against any person                        rented to you or temporarily occu-
            or organization which may be liable to the                       pied by you with permission of the
            insured because of injury or damage to                           owner;
            which this insurance may also apply.                       (iii) That is insurance purchased by you
                                                                             to cover your liability as a tenant for
   d. No insured will, except at that insured's own
       cost, voluntarily make a payment, assume any                          "property damage" to premises
       obligation, or incur any expense, other than for                      rented to you or temporarily occu-
       first aid, without our consent.                                       pied by you with permission of the
                                                                             owner; or
3. Legal Action Against Us
                                                                       (iv) If the loss arises out of the mainte-
   No person or organization has a right under this                          nance or use of aircraft, "autos" or
   Coverage Part:                                                            watercraft to the extent not subject to
   a. To join us as a party or otherwise bring us into                       Exclusion g. of Section I – Coverage
       a "suit" asking for damages from an insured; or                       A – Bodily Injury And Property Dam-
                                                                             age Liability.
   b. To sue us on this Coverage Part unless all of
       its terms have been fully complied with.                     (b) Any other primary insurance avai lable to
   A person or organization may sue us to recover on                     you covering liability for damages aris-
   an agreed settlement or on a final judgment                           ing out of the premises or operations, or
   against an insured; but we will not be liable for                     the products and completed operations,
   damages that are not payable under the terms of                       for which you have been added as an
                                                                         additional insured by attachment of an
   this Coverage Part or that are in excess of the ap-
   plicable limit of insurance. An agreed settlement                     endorsement.
   means a settlement and release of liability signed            (2) When this insurance is excess, we will have
   by us, the insured and the claimant or the claim-                 no duty under Coverages A or B to defend
   ant's legal representative.                                       the insured against any "suit" if any other
                                                                     insurer has a duty to defend the insured
                                                                     against that "suit". If no other insurer de-
                                                                     fends, we will undertake to do so, but we
                                                                     will be entitled to the insured's rights
                                                                     against all those other insurers.




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     (3) When this insurance is excess over other               c. We have issued this policy in reliance upon
         insurance, we will pay only our share of the              your representations.
         amount of the loss, if any, that exceeds the
                                                             7. Separation Of Insureds
         sum of:
                                                                Except with respect to the Limits of Insurance, and
        (a) The total amount that all such other                any rights or duties specifically assigned in this
             insurance would pay for the loss in the            Coverage Part to the first Named Insured, this in-
             absence of this insurance; and                     surance applies:
        (b) The total of all deductible and self-               a. As if each Named Insured were the only
             insured amounts under all that other in-              Named Insured; and
             surance.
                                                                b. Separately to each insured against whom claim
     (4) We will share the remaining loss, if any,                 is made or "suit" is brought.
         with any other insurance that is not de-
         scribed in this Excess Insurance provision          8. Transfer Of Rights Of Recovery Against Others
         and was not bought specifically to apply in            To Us
         excess of the Limits of Insurance shown in             If the insured has rights to recover all or part of
         the Declarations of this Coverage Part.                any payment we have made under this Coverage
   c. Method Of Sharing                                         Part, those rights are transferred to us. The in-
                                                                sured must do nothing after loss to impair them. At
      If all of the other insurance permits contribution        our request, the insured will bring "suit" or transfer
      by equal shares, we will follow this method               those rights to us and help us enforce them.
      also. Under this approach each insurer con-
      tributes equal amounts until it has paid its ap-       9. When We Do Not Renew
      plicable limit of insurance or none of the loss           If we decide not to renew this Coverage Part, we
      remains, whichever comes first.                           will mail or deliver to the first Named Insured
      If any of the other insurance does not permit             shown in the Declarations written notice of the
      contribution by equal shares, we will contribute          nonrenewal not less than 30 days before the expi-
      by limits. Under this method, each insurer's              ration date.
      share is based on the ratio of its applicable             If notice is mailed, proof of mailing will be sufficient
      limit of insurance to the total applicable limits of      proof of notice.
      insurance of all insurers.
                                                             SECTION V – DEFINITIONS
5. Premium Audit
                                                             1. "Advertisement" means a notice that is broadcast
   a. We will compute all premiums for this Cover-              or published to the general public or specific mar-
      age Part in accordance with our rules and                 ket segments about your goods, products or ser-
      rates.                                                    vices for the purpose of attracting customers or
   b. Premium shown in this Coverage Part as ad-                supporters. For the purposes of this definition:
      vance premium is a deposit premium only. At               a. Notices that are published include material
      the close of each audit period we will compute                placed on the Internet or on similar electronic
      the earned premium for that period and send                   means of communication; and
      notice to the first Named Insured. The due date
      for audit and retrospective premiums is the               b. Regarding web-sites, only that part of a web-
                                                                    site that is about your goods, products or ser-
      date shown as the due date on the bill. If the                vices for the purposes of attracting customers
      sum of the advance and audit premiums paid
                                                                    or supporters is considered an advertisement.
      for the policy period is greater than the earned
      premium, we will return the excess to the first        2. "Auto" means:
      Named Insured.                                            a. A land motor vehicle, trailer or semitrailer de-
   c. The first Named Insured must keep records of                  signed for travel on public roads, including any
      the information we need for premium computa-                  attached machinery or equipment; or
      tion, and send us copies at such times as we              b. Any other land vehicle that is subject to a com-
      may request.                                                  pulsory or financial responsibility law or other
6. Representations                                                  motor vehicle insurance law in the state where
                                                                    it is licensed or principally garaged.
   By accepting this policy, you agree:
                                                                However, "auto" does not include "mobile equip-
   a. The statements in the Declarations are accu-              ment".
      rate and complete;
   b. Those statements are based upon representa-
      tions you made to us; and



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3. "Bodily injury" means bodily injury, sickness or          9. "Insured contract" means:
   disease sustained by a person, including death re-
                                                                a. A contract for a lease of premises. However,
   sulting from any of these at any time.                           that portion of the contract for a lease of prem-
4. "Coverage territory" means:                                      ises that indemnifies any person or organiza-
                                                                    tion for damage by fire to premises while
   a. The United States of America (including its
        territories and possessions), Puerto Rico and               rented to you or temporarily occupied by you
        Canada;                                                     with permission of the owner is not an "insured
                                                                    contract";
   b. International waters or airspace, but only if the
        injury or damage occurs in the course of travel         b. A sidetrack agreement;
        or transportation between any places included           c. Any easement or license agreement, except in
        in Paragraph a. above; or                                   connection with construction or demolition op-
                                                                    erations on or within 50 feet of a railroad;
   c. All other parts of the world if the injury or dam-
        age arises out of:                                      d. An obligation, as required by ordinance, to
                                                                    indemnify a municipality, except in connection
       (1) Goods or products made or sold by you in
            the territory described in Paragraph a.                 with work for a municipality;
            above;                                              e. An elevator maintenance agreement;
       (2) The activities of a person whose home is in           f. That part of any other contract or agreement
            the territory described in Paragraph a.                 pertaining to your business (including an in-
            above, but is away for a short time on your             demnification of a municipality in connection
            business; or                                            with work performed for a municipality) under
                                                                    which you assume the tort liability of another
       (3) "Personal and advertising injury" offenses
            that take place through the Internet or simi-           party to pay for "bodily injury" or "property dam-
            lar electronic means of communication                   age" to a third person or organization. Tort li-
                                                                    ability means a liability that would be imposed
   provided the insured's responsibility to pay dam-                by law in the absence of any contract or
   ages is determined in a "suit" on the merits, in the             agreement.
   territory described in Paragraph a. above or in a
   settlement we agree to.                                          Paragraph f. does not include that part of any
                                                                    contract or agreement:
5. "Employee" includes a "leased worker". "Em-
   ployee" does not include a "temporary worker".                  (1) That indemnifies a railroad for "bodily injury"
                                                                        or "property damage" arising out of con-
6. "Executive officer" means a person holding any of                    struction or demolition operations, within 50
   the officer positions created by your charter, con-                  feet of any railroad property and affecting
   stitution, by-laws or any other similar governing                    any railroad bridge or trestle, tracks, road-
   document.                                                            beds, tunnel, underpass or crossing;
7. "Hostile fire" means one which becomes                          (2) That indemnifies an architect, engineer or
   uncontrollable or breaks out from where it was                       surveyor for injury or damage arising out of:
   intended to be.
                                                                       (a) Preparing, approving, or failing to pre-
8. "Impaired property" means tangible property, other                       pare or approve, maps, shop drawings,
   than "your product" or "your work", that cannot be                       opinions, reports, surveys, field orders,
   used or is less useful because:                                          change orders or drawings and specifi-
   a. It incorporates "your product" or "your work"                         cations; or
        that is known or thought to be defectiv e, defi-               (b) Giving directions or instructions, or
        cient, inadequate or dangerous; or                                  failing to give them, if that is the primary
   b. You have failed to fulfill the terms of a contract                    cause of the injury or damage; or
        or agreement;                                              (3) Under which the insured, if an architect,
   if such property can be restored to use by the re-                   engineer or surveyor, assumes liability for
   pair, replacement, adjustment or removal of "your                    an injury or damage arising out of the in-
   product" or "your work" or your fulfilling the terms                 sured's rendering or failure to render pro-
   of the contract or agreement.                                        fessional services, including those listed in
                                                                        (2) above and supervisory, inspection, ar-
                                                                        chitectural or engineering activities.




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10. "Leased worker" means a person leased to you by                    However, self-propelled vehicles with the fol-
    a labor leasing firm under an agreement between                    lowing types of permanently attached equip-
    you and the labor leasing firm, to perform duties                  ment are not "mobile equipment" but will be
    related to the conduct of your business. "Leased                   considered "autos":
    worker" does not include a "temporary worker".
                                                                      (1) Equipment designed primarily for:
11. "Loading or unloading" means the handling of                          (a) Snow removal;
    property:
                                                                          (b) Road maintenance, but not construction
    a. After it is moved from the place where it is                            or resurfacing; or
        accepted for movement into or onto an aircraft,
        watercraft or "auto";                                             (c) Street cleaning;
    b. While it is in or on an aircraft, watercraft or                (2) Cherry pickers and similar devices mounted
        "auto"; or                                                         on automobile or truck chassis and used to
                                                                           raise or lower workers; and
    c. While it is being moved from an aircraft, water-
        craft or "auto" to the place where it is finally de-          (3) Air compressors, pumps and generators,
        livered;                                                           including spraying, welding, building clean-
                                                                           ing, geophysical exploration, lighting and
    but "loading or unloading" does not include the                        well servicing equipment.
    movement of property by means of a mechanical
    device, other than a hand truck, that is not at-               However, "mobile equipment" does not include
    tached to the aircraft, watercraft or "auto".                  any land vehicles that are subject to a compulsory
                                                                   or financial responsibility law or other motor vehi-
12. "Mobile equipment" means any of the following                  cle insurance law in the state where it is licensed
    types of land vehicles, including any attached ma-             or principally garaged. Land vehicles subject to a
    chinery or equipment:                                          compulsory or financial responsibility law or other
    a. Bulldozers, farm machinery, forklifts and other             motor vehicle insurance law are considered
        vehicles designed for use principally off public           "autos".
        roads;
                                                               13. "Occurrence" means an accident, including con-
    b. Vehicles maintained for use solely on or next to            tinuous or repeated exposure to substantially the
        premises you own or rent;                                  same general harmful conditions.
    c. Vehicles that travel on crawler treads;                 14. "Personal and advertising injury" means injury,
                                                                   including consequential "bodily injury", arising out
    d. Vehicles, whether self-propelled or not, main-
        tained primarily to provide mobility to perma-             of one or more of the following offenses:
        nently mounted:                                            a. False arrest, detention or imprisonment;
       (1) Power cranes, shovels, loaders, diggers or              b. Malicious prosecution;
            drills; or
                                                                   c. The wrongful eviction from, wrongful entry into,
       (2) Road construction or resurfacing equipment                  or invasion of the right of private occupancy of
            such as graders, scrapers or rollers;                      a room, dwelling or premises that a person oc-
                                                                       cupies, committed by or on behalf of its owner,
    e. Vehicles not described in Paragraph a., b., c.
        or d. above that are not self-propelled and are                landlord or lessor;
        maintained primarily to provide mobility to per-           d. Oral or written publication, in any manner, of
        manently attached equipment of the following                   material that slanders or libels a person or or-
        types:                                                         ganization or disparages a person's or organi-
                                                                       zation's goods, products or services;
       (1) Air compressors, pumps and generators,
            including spraying, welding, building clean-           e. Oral or written publication, in any manner, of
            ing, geophysical exploration, lighting and                 material that violates a person's right of pri-
            well servicing equipment; or                               vacy;
       (2) Cherry pickers and similar devices used to               f. The use of another's advertising idea in your
            raise or lower workers;                                    "advertisement"; or
     f. Vehicles not described in Paragraph a., b., c.             g. Infringing upon another's copyright, trade dress
        or d. above maintained primarily for purposes                  or slogan in your "advertisement".
        other than the transportation of persons or
        cargo.




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15. "Pollutants" mean any solid, liquid, gaseous or              b. Loss of use of tangible property that is not
    thermal irritant or contaminant, including smoke,                physically injured. All such loss of use shall be
    vapor, soot, fumes, acids, alkalis, chemicals and                deemed to occur at the time of the "occur-
    waste. Waste includes materials to be recycled,                  rence" that caused it.
    reconditioned or reclaimed.                                  For the purposes of this insurance, electronic data
16. "Products-completed operations hazard":                      is not tangible property.
    a. Includes all "bodily injury" and "property dam-           As used in this definition, electronic data means
        age" occurring away from premises you own or             information, facts or programs stored as or on,
        rent and arising out of "your product" or "your          created or used on, or transmitted to or from com-
        work" except:                                            puter software, including systems and applications
                                                                 software, hard or floppy disks, CD-ROMS, tapes,
       (1) Products that are still in your physical pos-
            session; or                                          drives, cells, data processing devices or any other
                                                                 media which are used with electronically controlled
       (2) Work that has not yet been completed or               equipment.
            abandoned. However, "your work" will be
            deemed completed at the earliest of the fol-     18. "Suit" means a civil proceeding in which damages
            lowing times:                                        because of "bodily injury", "property damage" or
                                                                 "personal and advertising injury" to which this in-
           (a) When all of the work called for in your           surance applies are alleged. "Suit" includes:
                contract has been completed.
                                                                 a. An arbitration proceeding in which such dam-
           (b) When all of the work to be done at the                ages are claimed and to which the insured
                job site has been completed if your con-             must submit or does submit with our consent;
                tract calls for work at more than one job            or
                site.
                                                                 b. Any other alternative dispute resolution pro-
           (c) When that part of the work done at a job              ceeding in which such damages are claimed
                site has been put to its intended use by             and to which the insured submits with our con-
                any person or organization other than                sent.
                another contractor or subcontractor
                working on the same project.                 19. "Temporary worker" means a person who is fur-
                                                                 nished to you to substitute for a permanent "em-
            Work that may need service, maintenance,             ployee" on leave or to meet seasonal or short-term
            correction, repair or replacement, but which         workload conditions.
            is otherwise complete, will be treated as
            completed.                                       20. "Volunteer worker" means a person who is not
                                                                 your "employee", and who donates his or her work
    b. Does not include "bodily injury" or "property             and acts at the direction of and within the scope of
        damage" arising out of:                                  duties determined by you, and is not paid a fee,
       (1) The transportation of property, unless the            salary or other compensation by you or anyone
            injury or damage arises out of a condition in        else for their work performed for you.
            or on a vehicle not owned or operated by         21. "Your product":
            you, and that condition was created by the
            "loading or unloading" of that vehicle by any        a. Means:
            insured;                                                (1) Any goods or products, other than real
                                                                         property, manufactured, sold, handled, dis-
       (2) The existence of tools, uninstalled equip-
            ment or abandoned or unused materials; or                    tributed or disposed of by:
       (3) Products or operations for which the classi-                 (a) You;
            fication, listed in the Declarations or in a                (b) Others trading under your name; or
            policy schedule, states that products-
                                                                        (c) A person or organization whose busi-
            completed operations are subject to the                          ness or assets you have acquired; and
            General Aggregate Limit.
                                                                    (2)  Containers   (other than vehicles), materials,
17. "Property damage" means:                                             parts or equipment furnished in connection
    a. Physical injury to tangible property, including                   with such goods or products.
        all resulting loss of use of that property. All
                                                                 b. Includes:
        such loss of use shall be deemed to occur at
        the time of the physical injury that caused it; or          (1) Warranties or representations made at any
                                                                         time with respect to the fitness, quality, du-
                                                                         rability, performance or use of "your prod-
                                                                         uct"; and




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       (2) The providing of or failure to provide warn-
           ings or instructions.
    c. Does not include vending machines or other
        property rented to or located for the use of oth-
        ers but not sold.
22. "Your  work":
    a. Means:
       (1) Work or operations performed by you or on
           your behalf; and
       (2) Materials, parts or equipment furnished in
           connection with such work or operations.
    b. Includes:
       (1) Warranties or representations made at any
           time with respect to the fitness, quality, du-
           rability, performance or use of "your work",
           and
       (2) The providing of or failure to provide warn-
           ings or instructions.




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                               GENERAL STAR INDEMNITY COMPANY
           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                    CLASSIFICATION LIMITATION
   This endorsement modifies insurance provided under the following:

                             COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                   LIQUOR LIABILITY COVERAGE PART
                      OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART


   This policy does not apply to any damages for which the insured is legally liable, or costs or expenses, arising out of,
   resulting from, caused or contributed to by any operation or activity that is not described by a CLASSIFICATION
   shown under item 3. of the Declarations other than operations performed by others hired by you that are in
   connection with an operation described by a CLASSIFICATION in the Declarations.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                   40+ AdvantagePAC™
                                    AdvantagePAC +7
  COMMERCIAL GENERAL LIABILITY COMBINED PROVISIONS ENDORSEMENT
This endorsement modifies insurance provided under the following:

                            COMMERCIAL GENERAL LIABILITY COVERAGE PART



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1. SECTION II – WHO IS AN INSURED
   The following provisions 6., 7. and 8. are added to SECTION II – WHO IS AN INSURED

    AUTOMATIC ADDITIONAL INSURED – VENDORS

    6. a. Any of your vendors located in the United States of America (including its territories and
          possessions), Puerto Rico and Canada with whom you have agreed in writing in a contract or
          agreement or received a written request or written insurance specifications, including email or fax
          requiring you to add as an additional insured on your policy, but only with respect to “bodily injury”,
          “property damage” or “personal or advertising injury” arising out of “your products”, which are
          distributed or sold in the regular course of the vendor’s business, covered by this policy.

         b. With respect to the insurance afforded these additional insureds, the following exclusions apply:
            (1) “Bodily injury”, “property damage” or “personal and advertising injury” for which the vendor is
                obligated to pay damages by reason of the assumption of liability in a written contract or written
                agreement. This exclusion does not apply to liability for damages that the vendor would have in
                the absence of written contract or written agreement;
            (2) Any express warranty unauthorized by you;
            (3) Any physical or chemical change in the product made intentionally by the vendor;
            (4) Repackaging, except when unpacked solely for the purpose of inspection, demonstration, testing,
                or the substitution of parts under instructions from the manufacturer, and then repackaged in the
                original container.
            (5) Any failure to make such inspections, adjustments, tests or servicing as the vendor has agreed to
                make or normally undertakes to make in the usual course of business, in connection with the
                distribution or sale of the products;
            (6) Demonstration, installation, servicing or repair operations, except such operations performed at
                the vendor’s premises in connection with the sale of the product;


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             (7) Products which, after distribution or sale by you, have been labeled or relabeled or used as a
                 container, part or ingredient of any other thing or substance by or for the vendor; or
             (8) “Bodily injury”, “property damage” or “personal and advertising injury” arising out of the sole
                 negligence of the vendor for its own acts or omissions or those of its employees or anyone else
                 acting on its behalf. However, this exclusion does not apply to:
                 i. The exceptions contained in Sub-paragraphs (4) or (6); or
                ii. Such inspections, adjustments, tests or servicing as the vendor has agreed to make or
                    normally undertakes to make in the usual course of business, in connection with the
                    distribution or sale of the products.

         c. This insurance does not apply to any insured person or organization, from whom you have acquired
            such products, or any ingredient, part or container, entering into, accompanying or containing such
            products.


    AUTOMATIC ADDITIONAL INSURED – TRADE EVENT

    7. a. Any person or organization acting as the Trade Sponsor or Organizer and for whom you are
          participating in a Trade Event or Show when you and such person or organization have agreed in
          writing in a contract or agreement or received a written request or written insurance specifications,
          including email or fax requiring that such person(s) or organization(s) be added as an additional
          insured on your policy. Such person or organization is an insured only with respect to liability for
          “bodily injury”, “property damage” or “personal and advertising injury” caused, in whole or in part, by
          your participation in a Trade Event or Show.

         b. With respect to the insurance afforded to these additional insureds, this insurance does not apply to
            “bodily injury”, “property damage” or “personal and advertising injury” which takes place after your
            participation in the Trade Event or Show has ended.

    AUTOMATIC ADDITIONAL INSURED – MORTGAGEE, ASSIGNEE, OR RECEIVER

    8. a. Any mortgagee, assignee, or receiver whom you have agreed in writing in a contract or agreement to
          add as an additional insured on your policy, but only with respect to their liability as mortgagee,
          assignee, or receiver and arising out of the ownership, maintenance, or use by you of your premises
          which are covered by this policy.

         b. With respect to the insurance afforded to these additional insureds, this insurance does not apply to
            structural alterations, new construction or demolition operations performed by or on behalf of the
            mortgage, assignee or receiver.


2. DEDUCTIBLE LIABILITY


     $                Deductible applied on a Per Claim Basis
                      ($0, unless an amount is shown)

     a. Our obligation, under SECTION I – COVERAGES (other than COVERAGE C MEDICAL PAYMENTS) to
        pay damages for which the insured is legally liable, and costs or expenses applies only to the sum of
        damages, costs or expenses which are in excess of any deductible amount stated above.

    b. The deductible amount stated above applies on a per claim basis to all damages because of injury or
       damage sustained by any one person or organization, and costs or expenses, as the result of any one:
       (1) "Occurrence"; or
       (2) Offense

         whichever is applicable to the claim under which coverage is being afforded.

    c. The terms of this insurance, including those with respect to:
       (1) Our right and duty to defend any "suit" seeking those damages; and

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         (2) Your duties in the event of an "occurrence", offense, claim or "suit"

         apply irrespective of the application of the deductible amount.

    d. We may pay any or all of the deductible amount to effect settlement of any claim or "suit" and, upon
       notification of the action taken, you shall promptly reimburse us for such part of the deductible amount as
       has been paid by us.

    e. The above deductible amount does not apply to salaries and expenses of our own "employee(s)".

    f.   The above deductible provisions do not apply to any coverage shown in:
         (1) A. Coverage Amendments To The Commercial General Liability Coverage Form – Occurrence
              Version (CG 00 01) of the 40+ AdvantagePAC endorsement; or
         (2) A. Coverage Amendments To The Commercial General Liability Coverage Form – Occurrence
              Version (CG 00 01) of the AdvantagePAC +7 endorsement (if this endorsement is made part of the
              policy)
          that is not subject to application of a deductible amount.


3. PREMIUM BASIS DESIGNATION

    The Premium Bases shown on the Declarations Page and identified by key letter in parentheses applies as
    follows:

           KEY LETTER                   PREMIUM BASE                                  HOW RATES APPLY

                 (a)                        Area                                  Per 1,000 square feet
                  (c)                       Total Cost                            Per $1,000 of total cost
                 (m)                        Admissions                            Per 1,000 admissions
                 (p)                        Payroll                               Per $1,000 of payroll
                  (s)                       Gross Sales                           Per $1,000 of gross sales
                  (t)                       Other                                 Describe _____________________
                 (u)                        Units                                 Per unit (describe) _____________

    These premium bases are as outlined in the Insurance Services Office’s Commercial Lines Manual
    Classification Table and Division Six General Liability Sections unless otherwise indicated in the policy.
    Nothing herein contained shall be held to vary, waive, alter or extend any of the terms, conditions,
    agreements or declarations of the policy other than herein stated.


4. EXCLUSION - TOTAL POLLUTION WITH HOSTILE FIRE EXCEPTION

    Paragraph f. Pollution in Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY INJURY AND
    PROPERTY DAMAGE LIABILITY and Paragraphs m. Pollution and n. Pollution-Related in Subsection 2.
    Exclusions of SECTION 1 – COVERAGE B PERSONAL AND ADVERSTISING INJURY LIABILITY are
    deleted and replaced by the following:

    This policy does not apply to any damages because of “bodily injury”, “property damage” or “personal or
    advertising injury” for which the insured is legally liable, or costs or expenses arising out of, resulting from,
    caused or contributed to by:

    a. The actual, alleged or threatened discharge, dispersal, seepage, migration, release or escape of
       "pollutants" at any time.

         This exclusion does not apply to "bodily injury", "property damage" or “personal and advertising injury”
         arising out of heat, smoke or fumes from a "hostile fire" unless that "hostile fire" occurred or originated:
         (1) At any premises, site or location which is or was at any time used by or for any insured or others for
              the handling, storage, disposal, processing or treatment of waste; or




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         (2) At any premises, site or location on which any insured or any contractors or subcontractors working
             directly or indirectly on any insured's behalf are performing operations to test for, monitor, clean up,
             remove, contain, treat, detoxify, neutralize or in any way respond to, or assess the effects of,
             "pollutants".

    b. Any loss, cost or expense arising out of any:

         (1) Request, demand, order or statutory or regulatory requirement that any insured or others test for,
             monitor, clean up, remove, contain, treat, detoxify or neutralize, or in any way respond to, or assess
             the effects of "pollutants"; or
         (2) Claim or "suit" by or on behalf of a governmental authority or others for damages because of testing
             for, monitoring, cleaning up, removing, containing, treating, detoxifying or neutralizing, or in any way
             responding to, or assessing the effects of "pollutants".

    c. Any actual or alleged; breach of duty, negligent act, error or omission, or any insured or of any person for
       whose acts any insured is legally liable which results in damages, loss, cost or expense as described in
       Paragraph a. or b. above.

    This exclusion applies whether or not such damages, costs or expenses arise out of, result from are caused
    or contributed by any "bodily injury", "property damage" or “personal and advertising injury” which may be
    included within the "products-completed operations hazard".


5. EXCLUSION – EMPLOYER’S LIABILITY – EMPLOYEE, VOLUNTEER WORKER, CASUAL WORKER,
   AND TEMPORARY WORKER

    Paragraph e. Employer’s Liability in Subsection 2. Exclusions of SECTION I - COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY is deleted and replaced by the following:

    e. Employer's Liability
       "Bodily injury" to:

         (1) (a) Any "employee", “volunteer worker”, “casual worker” or “temporary worker” of any insured;
             (b) Any contractor, hired or retained by or for any insured; or
             (c) Any “employee”, “volunteer worker”, “casual worker” or “temporary worker” of such contractor,

             arising out of and in the course of:

             (d) Employment by any insured; or
             (e) Performing duties related to the conduct of any insured’s business; or

         (2) The spouse, child, parent, brother or sister of that:

             (a) "Employee", “volunteer worker”, “casual worker” or “temporary worker” of any insured;
             (b) Contractor, hired or retained by or for any insured; or
             (c) “Employee”, “volunteer worker”, “casual worker” or “temporary worker” of such contractor,

             as a consequence of Paragraph e.(1) above.

         This exclusion applies:

         (3) Whether any insured may be liable as an employer or in any other capacity and to any obligation to
             share damages with or repay someone else who must pay damages because of the “bodily injury”;

         (4) To all claims or “suits” by any person or organization for damages of “bodily injury” including damages
             for care and loss of services;

         (5) To “bodily injury” to any worker whose activities are related to the job(s) or project(s) and the job or
             project location(s) at which they are performed; or


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         (6) To any liability assumed under any contract,

         as a consequence of Paragraph e.(1) above.

         For the purpose of this exclusion, the following definition is added:

         (1) “Casual worker” means:

             (a) A person, other than a person furnished to you by a labor union, who acts at the direction of and
                 within the scope of duties determined by any insured, and is employed by any insured for a short
                 time and for a limited and temporary purpose; or
             (b) A person for whom any insured, or a labor leasing firm acting on behalf of any insured, does not
                 withhold federal income taxes and pay federal unemployment tax.


6. EXCLUSION – RECORDING AND DISTRIBUTION OF MATERIAL OR INFORMATION IN VIOLATION OF
   LAW

    Exclusion q. Distribution Of Material In Violation Of Statutes in Subsection 2. Exclusions of SECTION I –
    COVERAGE A BODILY INJURY AND PROPERTY DAMAGES LIABILITY and Exclusion p. Distribution Of
    Material In Violation Of Statutes in Subsection 2. Exclusions of SECTION I – COVERAGE B PERSONAL
    AND ADVERTISING INJURY LIABILITY are deleted and replaced by the following:

    Recording And Distribution Of Material Or Information In Violation Of Law
       "Bodily injury", "property damage" or “personal and advertising injury” arising directly or indirectly out of
       any action or omission that violates or is alleged to violate:
       (1) The Telephone Consumer Protection Act (TCPA), including any amendment of or addition to such
           law;
       (2) The CAN-SPAM Act of 2003, including any amendment of or addition to such law;
       (3) The Fair Credit Reporting Act (FCRA), and any amendment of or addition to such law, including the
           Fair and Accurate Credit Transaction Act (FACTA); or
       (4) Any federal, state or local statute, ordinance or regulation, other than the TCPA, CAN-SPAM Act of
           2003 or FCRA and their amendments and additions, that addresses, prohibits, or limits the printing,
           dissemination, disposal, collecting, recording, sending, transmitting, communicating or distribution of
           material or information.


7. EXCLUSIONS - INFRINGEMENT OR DILUTION OF INTELLECTUAL PROPERTY RIGHTS OR
   MISAPPROPRIATION, USE OR DISCLOSURE OF TRADE SECRETS; BREACH OF CONTRACT

    a. The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
       INJURY AND PROPERTY DAMAGE LIABILITY:

         This policy does not apply to any damages because of "bodily injury" or "property damage" for which any
         insured is legally liable, or costs or expenses, arising out of, resulting from, caused or contributed to by:
         (1) Any alleged or actual infringement or dilution of intellectual property rights, including, but not limited
             to, copyright, title, slogan, patent, service name, service mark, trade name, trademark, trade dress;
         (2) Any alleged or actual misappropriation, use or disclosure of trade secrets;
         (3) Any alleged or actual unfair competition, plagiarism, piracy, or wrongful appropriation of ideas;
         (4) Any alleged or actual unfair or otherwise wrongful use of another's written, filmed, broadcast,
             photographed, taped or recorded material;
         (5) Any alleged or actual unfair or deceptive trade practice(s); or
         (6) Any alleged or actual violation of the right of publicity, or wrongful appropriation of name, likeness or
             persona.

    b. Paragraph f. Breach Of Contract and Paragraph i. Infringement of Copyright, Patent, Trademark Or
       Trade Secret of Subsection 2. Exclusions in SECTION I - COVERAGE B PERSONAL AND
       ADVERTISING INJURY LIABILITY are deleted and replaced by the following:




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         f.   Breach of Contract
              "Personal and advertising injury" arising out of, resulting from, caused by, contributed to by, or also
              constituting a breach of contract.
         i.   Infringement Of Copyright, Patent, Trademark Or Trade Secret
              "Personal and advertising injury" arising out of, resulting from, caused by, contributed to by, or
              otherwise constituting:
              (1) Any alleged or actual infringement or dilution of intellectual property rights, including, but not
                   limited to, copyright, title, slogan, patent, service name, service mark, trade name, trademark,
                   trade dress;
              (2) Any alleged or actual misappropriation, use or disclosure of trade secrets;
              (3) Any alleged or actual unfair competition, plagiarism, piracy, or wrongful appropriation of ideas;
              (4) Any alleged or actual unfair or otherwise wrongful use of another's written, filmed, broadcast,
                   photographed, taped or recorded material;
              (5) Any alleged or actual unfair or deceptive trade practice(s); or
              (6) Any alleged or actual violation of the right of publicity, or wrongful appropriation of name, likeness
                   or persona.

    c. With respect to Items 7.a. and 7.b. above, this policy does not apply to intellectual property rights
       violation, as described in Subparagraphs (1) through (6) of Item 7.a. or Paragraph i. Infringement Of
       Copyright, Patent, Trademark Or Trade Secret of Item 7.b., for which any insured is legally liable, or
       costs or expenses, arising out of, resulting from, caused by, contributed to by, or otherwise constituting
       any “suit”, demand, order, decree, judgment or proceeding entered against any insured, on or prior to the
       effective date of this policy, based upon or arising the same or substantially similar fact, circumstance or
       situation underlying or alleged therein.


8. EXCLUSION - ASBESTOS LIABILITY

    The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
    COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY:

    This policy does not apply to damages because of “bodily injury”, “property damage” or “personal or advertising
    injury” for which the insured is legally liable, or costs or expenses, arising directly or indirectly out of, resulting
    from, cause or contributed to by:

    a. The use of, sale of, installation of, removal of, abatement of, distribution of, containment of, or exposure to
       asbestos, asbestos products, asbestos-containing material, asbestos fibers, or asbestos dust;

    b. The actual or threatened abatement, mitigation, removal or disposal of asbestos, asbestos products,
       asbestos-containing material, asbestos fibers, or asbestos dust;

    c. Any supervision, instructions, recommendations, warnings or advice given or which should have been given
       in connection with Paragraph a. or b. above; or

    d. Any obligation of the insured to indemnify or contribute with any party in connection with Paragraph a., b. or c.
       above.


9. EXCLUSION - EMPLOYMENT-RELATED PRACTICES LIABILITY

    The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
    COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY:

    This insurance does not apply to any damages because of “bodily injury” or “personal and advertising injury”
    to:
    a. A person arising out of any:
        (1) Refusal to employ that person;
        (2) Termination of that person's employment; or

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         (3)   Employment-related practices, policies, acts or omissions, such as coercion, demotion, evaluation,
               reassignment, discipline, defamation, harassment, humiliation, discrimination or malicious
               prosecution directed at that person; or

    b. The spouse, child, parent, brother or sister of that person as a consequence of "bodily injury" to that
       person at whom any of the employment-related practices described in Subparagraph a. (1), (2), or (3)
       above is directed.

    This exclusion applies:

    (a) Whether the injury-causing event described in Subparagraph a. (1), (2) or (3) above occurs before
        employment, during employment or after employment of that person;

    (b) Whether the insured may be liable as an employer or in any other capacity; and

    (c) To any obligation to share damages with or repay someone else who must pay damages because of the
        injury.


10. EXCLUSION - LEAD

    The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
    COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY:

    This policy does not apply to damages because of “bodily injury”, “property damage” or “personal and
    advertising injury” for which the insured is legally liable, or costs or expenses, arising out of, resulting from,
    caused or contributed to by:

    a. The toxic or pathological properties of lead, lead compounds or lead contained in any materials;

    b. The abatement, mitigation, removal or disposal of lead, lead compounds or materials containing lead;

    c. Any supervision, instructions, recommendations, warnings or advice given or which should have been
       given in connection with Paragraph a. or b. above; or

    d. Any obligation to share damages with or repay anyone else who must pay damages in connection with
       Paragraph a., b. or c. above.


11. EXCLUSION – SILICA

    The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
    COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY

    This policy does not apply to damages because of “bodily injury”, “property damage” or “personal and
    advertising injury” for which the insured is legally liable, or costs or expenses, arising out of, resulting from,
    caused by or contributed to by, in whole or in part, the actual, alleged, threatened or suspected inhalation of,
    congestion of, contact with, exposure to existence of, or presence of:

    a. “Silica”, “silica-related dust”, exposure to silica or the use of silica;

    b. Any claim or “suit” by or on behalf of any governmental authority or any other party involving a request,
       demand, order or statutory or regulatory requirement regarding:
       (1) Assessing the presence, absence or amount or effects of “silica” or “silica-related dust”;
       (2) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing,
           neutralizing, treating, detoxifying, remediating, neutralizing, abating, disposing of or mitigating silica;
           or


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         (3) Responding to “silica” or “silica-related dust” in any way other than as described in Subparagraphs
             b.(1) and b.(2) above;

    c. Any supervision, instructions, recommendations, warnings or advice given or which should have been
       given in connection with Paragraph a. or b. above; or

    d. Any obligation of the insured to indemnify or contribute with any party in connection with Paragraph a., b. or
       c. above.

    For the purpose of this exclusion, the following definitions are added:

    (a) “Silica” means silicon dioxide (occurring in crystalline, amorphous and impure forms), silica particles, silica
        dust or silica compounds.

    (b) “Silica-related dust” means a mixture or combination or silica and other dust or particles.


12. EXCLUSION - FUNGUS(ES) AND SPORE(S)

    The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
    COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILTY:

    This policy does not apply to damages because of “bodily injury”, “property damage” or “personal and
    advertising injury” for which the insured is legally liable, or costs or expenses, arising out of, resulting from,
    caused or contributed to by:

    a. Any “fungus(es)” or “spore(s)”;

    b. Any solid, liquid, vapor, or gas produced by or arising out of any “fungus(es)” or “spore(s)”;

    c. Any material, product, building component, or building structure that contains, harbors, nurtures or acts as a
       medium for any “fungus(es)” or “spore(s)”;

    d. Any intrusion, leakage, or accumulation of water or any other liquid that contains, harbors, nurtures or acts as
       a medium for “fungus(es)” or “spore(s)”;

    e. The actual or threatened abatement, mitigation, removal or disposal of “fungus(es)” or “spore(s)” or any
       material, product, building component, or building structure that contains, harbors, nurtures or acts as a
       medium for any “fungus(es)” or “spore(s)”;

    f.   Any supervision, instructions, recommendations, warnings or advice given or which should have been given
         in connection with Paragraph a., b., c., d. or e. above; or

    g. Any obligation of the insured to indemnify or contribute with any party in connection with Paragraph a., b., c.,
       d., e. or f. above.

    The above applies regardless of any other cause, event, material, product or building component that
    contributed concurrently or in any sequence to such damages for which the insured is legally liable, or costs
    or expenses.

    This exclusion does not apply to “bodily injury” as the result of the ingestion of goods intended for human
    consumption.

    For the purpose of this exclusion, the following definitions are added:

    (a) “Fungus(es)” includes, but is not limited to, any form or type of mildew, mold, mushroom, rust, smuts, or
        yeast, including any allergens, irritants, mycotoxins, or scents, byproducts, microbial volatile organic
        compounds produced by or associated therewith.


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    (b) “Spore(s)” means any reproductive body produced by or arising out of any “fungus(es)”.


13. EXCLUSION – BISPHENOL A

    The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
    COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILTY:

    This policy does not apply to:
    a. Any damages because of “bodily injury”, “property damage” or “personal and advertising injury” for which
        any insured is legally liable, or costs or expenses, actually or allegedly arising out of, resulting from,
        caused by or contributed to by bisphenol A or exposure to bisphenol A or the use of bisphenol A;

    b. Any damages because of “bodily injury”, “property damage” or “personal and advertising injury” or any
       loss, cost or expense arising out of any (i) claim or “suit” by or on behalf of any governmental authority or
       any other alleged responsible party because of, or (ii) request, demand, order or statutory or regulatory
       requirement that any insured or any other person or entity should be, or should be responsible for:

         (1) Assessing the presence, absence, or amount or effects of bisphenol A;
         (2) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
             detoxifying, neutralizing, abating, disposing of or mitigating bisphenol A; or
         (3) Responding to bisphenol A in any way other than as described in Subparagraphs b.(1) and (2) above;

    c. Any supervision, instructions, recommendations, warnings or advice given or which should have been
       given in connection with any of the subsections above; or

    d. Any obligation to share damages with or repay someone else who must pay damages as described in
       any of the subsections above.


14. EXCLUSION – AIRCRAFT PRODUCTS/GROUNDING

    The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY:

    This policy does not apply to any damages because of “bodily injury” or “property damage” for which any
    insured is legally liable, or loss, costs or expenses, included in the “products-completed operations hazard”
    and arising out of, resulting from, caused by or contributed to by any “aircraft product” or the “grounding” of
    any aircraft.

    The following definitions are added to the policy:
    (1) “Aircraft product” means:
        (a) Aircraft (including missile or spacecraft, and any ground support or control equipment used
             therewith);
        (b) Any article furnished by you or on your behalf and installed in an aircraft or used in connection with an
             aircraft, or for spare parts for an aircraft, including ground handling tools and equipment;
        (c) Any of “your product” used at an airport for the purpose of guidance, navigation or direction of aircraft;
             or
        (d) Training aids, instructions, manuals, blueprints, engineering or other data or advice, and services and
             labor relating to such aircraft, articles or products.

    (2) “Grounding” means:
        The withdrawal of one or more aircraft from flight operations or the imposition of speed, passenger or load
        restrictions on such aircraft, by reason of the existence of or alleged or suspected existence of any defect,
        fault or condition in such aircraft or any part thereof sold, handled or distributed by you or on your behalf,
        or manufactured, assembled or processed by any other person or organization:
        (a) According to specifications, plans, suggestions, orders, or drawings provided by you or on your
             behalf; or


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         (b) With tools, machinery or other equipment furnished to such persons or organizations by you or on
             your behalf, whether such aircraft so withdrawn are owned or operated by the same or different
             persons, organizations or corporations.

15. EXCLUSION – BENZENE AND BENZENE RELATED SUBSTANCES

    The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
    COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILTY:

    This policy does not apply to any damages because of “bodily injury”, “property damage” or “personal and
    advertising injury” for which any insured is legally liable, or loss, costs or expenses, arising out of, resulting
    from caused by or contributed to by:
    (1) Benzene or benzene related substances;
    (2) Any (i) claim or suit by or on behalf of any governmental authority or any other alleged responsible party
        because of, or (ii) request, demand, order or statutory or regulatory requirement that any insured or any
        other person or entity is responsible for, or should be responsible for:
        (a) Assessing the presence, absence or amount or effects of benzene or benzene related substances;
        (b) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
            detoxifying, neutralizing, abating, disposing of or mitigating benzene or benzene related substances;
            or
        (c) Responding to benzene or benzene related substances in any way other than as described in (2)(a)
            and (2)(b) above;
    (3) Any supervision, instructions, recommendations, warnings or advice given or which should have been
        given in connection with any of the subsections above; or
    (4) Any obligation to share damages, or loss, costs or expenses, with or repay someone else in connection
        with any of the subsections above.

    As used in this exclusion benzene or benzene related substances means:
    (1) Benzene;
    (2) Any derivative of benzene including but not limited to toluene; or
    (3) Any compound containing benzene including but not limited to xylene.

16. EXCLUSION – PHTHALATES

    The following exclusion is added to Subsection 2. Exclusions of SECTION I – COVERAGE A BODILY
    INJURY AND PROPERTY DAMAGE LIABILITY and to Subsection 2. Exclusions of SECTION I –
    COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILTY:

    This policy does not apply to any damages because of “bodily injury”, “property damage” or “personal and
    advertising injury” for which any insured is legally liable, or loss, costs or expenses, arising out of, resulting
    from caused by or contributed to by:
    (1) Phthalates, exposure to phthalates or the use phthalates;
    (2) Any (i) claim or suit by or on behalf of any governmental authority or any other alleged responsible party
        because of, or (ii) request, demand, order or statutory or regulatory requirement that any insured or any
        other person or entity is responsible for, or should be responsible for:
        (a) Assessing the presence, absence or amount or effects of phthalates, exposure to phthalates or the
            use of phthalates;
        (b) Identifying, sampling or testing for, detecting, monitoring, cleaning up, removing, containing, treating,
            detoxifying, neutralizing, abating, disposing of or mitigating phthalates in any way other than as
            described in (2)(a) and (2)(b) above;
    (3) Any supervision, instructions, recommendations, warnings or advice given or which should have been
        given in connection with any of the subsections above; or
    (4) Any obligation to share damages, or loss, costs or expenses, with or repay someone else in connection
        with any of the subsections above.




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17. EXCLUSION – ACCESS OR DISCLOSURE OF CONFIDENTIAL OR PERSONAL INFORMATION AND
    DATA-RELATED LIABILITY

    A. Exclusion 2.p. of Section I – Coverage A Bodily Injury And Property Damage Liability is replaced by
       the following:

         2. Exclusions
            This insurance does not apply to:

            p.    Access Or Disclosure Of Confidential Or Personal Information And Data-related Liability
                  Damages arising out of:

                  (1) Any access to or disclosure of any person’s or organization’s confidential or personal
                      information, including patents, trade secrets, processing methods, customer lists, financial
                      information, credit card information, health information or any other type of nonpublic
                      information; or
                  (2) The loss, loss of use of, damage to, corruption of, inability to access, or inability to manipulate
                      electronic data.

                  This exclusion applies even if damages are claimed for notification costs, credit monitoring
                  expenses, forensic expenses, public relations expenses or any other loss, cost or expense
                  incurred by you or others arising out of that which is described in Paragraph (1) or (2) above,
                  except as provided in the Coverage D Privacy And Information Security Third Party
                  Notification And Outside Consultant Services Expense Reimbursement additional coverage
                  in the 40+ AdvantagePac (GSI-04-AP040).

                  As used in this exclusion, electronic data means information, facts or programs stored as or on,
                  created or used on, or transmitted to or from computer software, including systems and
                  applications software, hard or floppy disks, CD-ROMs, tapes, drives, cells data processing
                  devices or any other media which are used with electronically controlled equipment.


    B. The following is added to Paragraph 2. Exclusions of Section I – Coverage B Personal And
       Advertising Injury Liability:

         2. Exclusions
            This insurance does not apply to:

            Access Or Disclosure Of Confidential Or Personal Information

            “Personal and advertising injury” arising out of any access to or disclosure of any person’s or
            organization’s confidential or personal information, including patents, trade secrets, processing
            methods, customer lists, financial information, credit card information, health information or any other
            type of nonpublic information.

            This exclusion applies even if damages are claimed for notification costs, credit monitoring expenses,
            forensic expenses, public relations expenses or any other loss, cost or expense incurred by you or
            others arising out of any access to or disclosure of any person’s or organization’s confidential or
            personal information, except as provided in the Coverage D Privacy And Information Security Third
            Party Notification And Outside Consultant Services Expense Reimbursement additional
            coverage in the 40+ AdvantagePAC (GSI-04-AP040).


18. EXCLUSION - CROSS SUITS

    The following exclusion is added to the policy:

    This policy does not apply to any damages or costs or expenses, arising out of, resulting from, caused or
    contributed to by a claim or “suit” for damages by any named insured against any other named insured.


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19. PREMIUM AUDIT

    Paragraph 5. Premium Audit in SECTION IV - COMMERCIAL GENERAL LIABILITY CONDITIONS is
    deleted and replaced by the following:

    5. Premium Audit

         a. We will compute all premiums for the Coverage Part in accordance with our rules and rates.

         b. The premium stated in the Declarations Page for the Coverage Part as advance premium is both a
            minimum and deposit premium. At the close of each policy period, we will compute the final earned
            premium for that period, which will include any interim audit adjustments performed.

             (1) If the computed earned premium exceeds the estimated advance premium paid, the First Named
                 Insured will pay the excess to us. Audit premium is due and payable upon receipt of our notice
                 by the First Named Insured.
             (2) If the computed earned premium is less than the paid estimated advance premium, then the
                 estimated advance premium will be the minimum premium and final earned premium for the
                 policy period.

         c. The First Named Insured must keep record of the information we need for premium computation, and
            send us copies at such times as we may request. We reserve the right to examine your books and
            records relating to the computation of audit premium in accordance with Paragraph C. Examination
            Of Your Books And Records in the COMMON POLICY CONDITIONS.

         d. If the policy is written on a flat premium basis, it is not subject to premium audit.

         e. If we verify that operations were performed by contractors or subcontractors you hired, but were not
            insured or were not adequately insured, we will use the “total cost” of work performed for you by such
            contractors or subcontractors as if it were payroll to calculate the appropriate premium for the specific
            classification(s) based on our rates and rules in effect as of the inception date of the policy. It is your
            responsibility to pay any additional premium due.

             You will obtain and maintain Certificates of Insurance from all contractors or subcontractors you hire
             providing evidence of Commercial General Liability insurance, including products/completed
             operations insurance. If you fail to obtain the Certificates of Insurance, then the contractor(s) and/or
             subcontractor(s) will be considered inadequately insured and an additional premium will become due.

             A contractor or subcontractor will be considered to be inadequately insured if they maintain
             Commercial General Liability insurance less than the limits of insurance shown in the Declarations of
             this policy.

             The “total cost” of work performed means the total cost of all work incurred by the contractor or
             subcontractor in connection with each specific project, including:

             (1) The cost of all labor, materials and equipment furnished, used or delivered for use in the
                 execution of the work including the cost of finished equipment installed whether or not furnished
                 by the contractor, subcontractor, or by you; and

             (2) All fees, bonuses or commissions made, paid or due.


20. NO DUTY OR RESPONSIBILITY TO SEND NOTICE WHEN WE DO NOT RENEW

    Paragraph 9. When We Do Not Renew of SECTION IV – COMMERCIAL GENERAL LIABILITY
    CONDITIONS is deleted and replaced by the following:

    9. When We Do Not Renew
       If we decide not to renew this policy, we have no duty or responsibility to mail or deliver written notice of
       the non-renewal to any insured.

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   21. AMENDMENT OF INSURED CONTRACT DEFINITION

       Paragraph 9. "Insured contract" of SECTION V - DEFINITIONS is deleted and replaced by the following:

       9. "Insured contract" means:
          a. A contract for a lease of premises. However, that portion of the contract for a lease of premises that
              indemnifies any person or organization for damage by fire to premises while rented to you or
              temporarily occupied by you with permission of the owner is not an "insured contract";
          b. A sidetrack agreement;
          c. Any easement or license agreement, except in connection with construction or demolition operations
              on or within 50 feet of a railroad;
          d. An obligation, as required by ordinance, to indemnify a municipality, except in connection with work
              for a municipality;
          e. An elevator maintenance agreement; or
          f. That part of any other contract or agreement pertaining to your business (including an indemnification
              of a municipality in connection with work performed for a municipality) under which you assume the
              tort liability of another party to pay for "bodily injury" or "property damage" to a third person or
              organization, provided the "bodily injury" or "property damage" is caused, in whole or in part, by you
              or your agents and subcontractors. Tort liability means a liability that would be imposed by law in the
              absence of any contract or agreement.

                Paragraph f. does not include that part of any contract or agreement:
                (1) That indemnifies a railroad for "bodily injury" or "property damage" arising out of construction or
                    demolition operations, within 50 feet of any railroad property and affecting any railroad bridge or
                    trestle, tracks, road-beds, tunnel, underpass or crossing;
                (2) That indemnifies an architect, engineer or surveyor for injury or damage arising out of:
                    (a) Preparing, approving, or failing to prepare or approve, maps, shop drawings, opinions,
                        reports, surveys, field orders, change orders or drawings and specifications; or
                    (b) Giving directions or instructions, or failing to give them, if that is the primary cause of the
                        injury or damage; or
                (3) Under which the insured, if an architect, engineer or surveyor, assumes liability for an injury or
                    damage arising out of the insured's rendering or failure to render professional services, including
                    those listed in (2) above and supervisory, inspection, architectural or engineering activities.


   22. AMENDMENT OF PERSONAL AND ADVERTISING INJURY DEFINITION

       Paragraph 14. "Personal and advertising injury" of SECTION V - DEFINITIONS is deleted and replaced by
       the following:

       14. "Personal and advertising injury" means injury, including consequential "bodily injury", arising out of one
           or more of the following offenses:
           a. False arrest, detention or imprisonment;
           b. Malicious prosecution;
           c. The wrongful eviction from, wrongful entry into, or invasion of the right of private occupancy of a
               room, dwelling or premises that a person occupies, committed by or on behalf of its owner, landlord
               or lessor;
           d. Oral or written publication, in any manner, of material that slanders or libels a person or organization
               or disparages a person's or organization's goods, products or services; or
           e. Oral or written publication, in any manner, of material that violates a person's right of privacy.




Nothing herein contained shall be held to vary, waive, alter or extend any of the terms, conditions, agreements or
declarations of the policy other than herein stated.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


             EXCLUSION - PUNITIVE OR EXEMPLARY DAMAGES

This endorsement modifies insurance provided under the following:

                          COMMERCIAL GENERAL LIABILITY COVERAGE PART
                                LIQUOR LIABILITY COVERAGE PART
                     PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART


This policy does not apply to any damages for which the insured is legally liable, or costs or expenses, arising out
of, resulting from, caused or contributed to by punitive or exemplary damages, treble damages, any sum awarded
in excess of compensatory damages or any multiple of compensatory damages.




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                             GENERAL STAR INDEMNITY COMPANY

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                   EXCLUSION - TOTAL LIQUOR
This endorsement modifies insurance provided under the following:

                                COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. This policy does not apply to any damages for which the insured is legally liable, or costs or expenses, arising
   out of, resulting from, caused or contributed to by:

     a.   The insured's manufacturing, selling or distributing alcoholic beverages;

     b. The insured causing or contributing to the intoxication of any person;

     c.   The insured furnishing alcoholic beverages to any person. This includes a person under the legal drinking
          age or under the influence of alcohol;

     d. Any statute, ordinance or regulation relating to the sale, gift, distribution or use of alcoholic beverages; or

     e.   The use of alcoholic beverages.

B. Exclusion c. - Liquor Liability of paragraph 2. Of SECTION I - COVERAGE A BODILY INJURY AND PROPERTY
   DAMAGE LIABILITY is deleted.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 NUCLEAR ENERGY LIABILITY EXCLUSION
                           ENDORSEMENT
                                                   (Broad Form)

This endorsement modifies insurance provided under the following:

   COMMERCIAL AUTOMOBILE COVERAGE PART
   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   FARM COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   MEDICAL PROFESSIONAL LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

1. The insurance does not apply:                               C. Under any Liability Coverage, to "bodily injury"
   A. Under any Liability Coverage, to "bodily injury"             or "property damage" resulting from "hazard-
       or "property damage":                                       ous properties" of "nuclear material", if:
      (1) With respect to which an "insured" under                (1) The "nuclear material" (a) is at any "nuclear
           the policy is also an insured under a nu-                  facility" owned by, or operated by or on be-
           clear energy liability policy issued by Nu-                half of, an "insured" or (b) has been dis-
           clear Energy Liability Insurance Associa-                  charged or dispersed therefrom;
           tion, Mutual Atomic Energy Liability                   (2) The "nuclear material" is contained in
           Underwriters, Nuclear Insurance Associa-                   "spent fuel" or "waste" at any time pos-
           tion of Canada or any of their successors,                 sessed, handled, used, processed, stored,
           or would be an insured under any such pol-                 transported or disposed of, by or on behalf
           icy but for its termination upon exhaustion                of an "insured"; or
           of its limit of liability; or                          (3) The "bodily injury" or "property damage"
      (2) Resulting from the "hazardous properties"                   arises out of the furnishing by an "insured"
           of "nuclear material" and with respect to                  of services, materials, parts or equipment in
           which (a) any person or organization is re-                connection with the planning, construction,
           quired to maintain financial protection pur-               maintenance, operation or use of any "nu-
           suant to the Atomic Energy Act of 1954, or                 clear facility", but if such facility is located
           any law amendatory thereof, or (b) the "in-                within the United States of America, its terri-
           sured" is, or had this policy not been issued              tories or possessions or Canada, this ex-
           would be, entitled to indemnity from the                   clusion (3) applies only to "property dam-
           United States of America, or any agency                    age" to such "nuclear facility" and any
           thereof, under any agreement entered into                  property thereat.
           by the United States of America, or any          2. As used in this endorsement:
           agency thereof, with any person or organi-
           zation.                                             "Hazardous properties" includes radioactive, toxic
                                                               or explosive properties.
   B. Under any Medical Payments coverage, to
       expenses incurred with respect to "bodily in-           "Nuclear material" means "source material", "spe-
       jury" resulting from the "hazardous properties"         cial nuclear material" or "by-product material".
       of "nuclear material" and arising out of the op-
       eration of a "nuclear facility" by any person or
       organization.




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   "Source material", "special nuclear material", and             (c) Any equipment or device used for the proc-
   "by-product material" have the meanings given                      essing, fabricating or alloying of "special
   them in the Atomic Energy Act of 1954 or in any                    nuclear material" if at any time the total
   law amendatory thereof.                                            amount of such material in the custody of
   "Spent fuel" means any fuel element or fuel com-                   the "insured" at the premises where such
   ponent, solid or liquid, which has been used or ex-                equipment or device is located consists of
   posed to radiation in a "nuclear reactor".                         or contains more than 25 grams of pluto-
                                                                      nium or uranium 233 or any combination
   "Waste" means any waste material (a) containing                    thereof, or more than 250 grams of uranium
   "by-product material" other than the tailings or                   235;
   wastes produced by the extraction or concentra-
   tion of uranium or thorium from any ore processed              (d) Any structure, basin, excavation, premises
   primarily for its "source material" content, and (b)               or place prepared or used for the storage or
   resulting from the operation by any person or or-                  disposal of "waste";
   ganization of any "nuclear facility" included under         and includes the site on which any of the foregoing
   the first two paragraphs of the definition of "nu-          is located, all operations conducted on such site
   clear facility".                                            and all premises used for such operations.
   "Nuclear facility" means:                                   "Nuclear reactor" means any apparatus designed
      (a) Any "nuclear reactor";                               or used to sustain nuclear fission in a self-
                                                               supporting chain reaction or to contain a critical
      (b) Any equipment or device designed or used             mass of fissionable material.
           for (1) separating the isotopes of uranium or
           plutonium, (2) processing or utilizing "spent       "Property damage" includes all forms of radioac-
           fuel", or (3) handling, processing or packag-       tive contamination of property.
           ing "waste";




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                                                                         COMMERCIAL GENERAL LIABILITY
                                                                                        CG 21 32 05 09

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 COMMUNICABLE DISEASE EXCLUSION
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART

A. The following exclusion is added to Paragraph 2.       B. The following exclusion is added to Paragraph 2.
   Exclusions of Section I – Coverage A – Bodily             Exclusions of Section I – Coverage B – Per-
   Injury And Property Damage Liability:                     sonal And Advertising Injury Liability:
   2. Exclusions                                             2. Exclusions
      This insurance does not apply to:                         This insurance does not apply to:
      Communicable Disease                                      Communicable Disease
      "Bodily injury" or "property damage" arising out          "Personal and advertising injury" arising out of
      of the actual or alleged transmission of a com-           the actual or alleged transmission of a commu-
      municable disease.                                        nicable disease.
      This exclusion applies even if the claims                 This exclusion applies even if the claims
      against any insured allege negligence or other            against any insured allege negligence or other
      wrongdoing in the:                                        wrongdoing in the:
      a. Supervisin g, hiring, employing, training or           a. Supervisin g, hiring, employing, training or
          monitoring of others that may be infected                monitoring of others that may be infected
          with and spread a communicable disease;                  with and spread a communicable disease;
      b. Testing for a communicable disease;                    b. Testing for a communicable disease;
      c. Failure to prevent the spread of the dis-              c. Failure to prevent the spread of the dis-
          ease; or                                                 ease; or
      d. Failure to report the disease to authorities.          d. Failure to report the disease to authorities.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
                                                    CG 21 44 07 98

                       LIMITATION OF COVERAGE TO DESIGNATED
                                PREMISES OR PROJECT
This endorsement modifies insurance provided under the following:
    COMMERCIAL GENERAL LIABILITY COVERAGE PART
This endorsement changes the policy effective on the inception date of the policy unless another date is indicated
below.
 Endorsement effective     02/12/2019                     Policy No.     IMA359733
                             12:01 A.M. standard time
 Named Insured KHANEN HOLDINGS, LLC                       Countersigned by

                                                                                           (Authorized Representative)

                                                      SCHEDULE
 Premises: 1654 BLUE JAY WAY
                 LOS ANGELES, CA 90069

 Project:



(If no entry appears above, information required to complete this endorsement will be shown in the Declarations as
applicable to this endorsement.)

This insurance applies only to "bodily injury", "property damage", "personal and advertising injury" and medical
expenses arising out of:
1. The ownership, maintenance or use of the premises shown in the Schedule and operations necessary or
    incidental to those premises; or
2. The project shown in the Schedule.




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                                                                              COMMERCIAL GENERAL LIABILITY
                                                                                             CG 21 73 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   COMMERCIAL GENERAL LIABILITY COVERAGE PART
   LIQUOR LIABILITY COVERAGE PART
   OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
   POLLUTION LIABILITY COVERAGE PART
   PRODUCTS/COMPLETED OPERATIONS LIABILITY COVERAGE PART
   RAILROAD PROTECTIVE LIABILITY COVERAGE PART
   UNDERGROUND STORAGE TANK POLICY

A. The following exclusion is added:                                 b. The act is a violent act or an act that is
   This insurance does not apply to:                                     dangerous to human life, property or
                                                                         infrastructure and is committed by an
   TERRORISM                                                             individual or individuals as part of an effort
   "Any injury or damage" arising, directly or                           to coerce the civilian population of the
   indirectly, out of a "certified act of terrorism".                    United States or to influence the policy or
                                                                         affect the conduct of the United States
B. The following definitions are added:
                                                                         Government by coercion.
   1. For the purposes of this endorsement, "any
       injury or damage" means any injury or damage           C. The terms and limitations of any terrorism
       covered under any Coverage Part to which this             exclusion, or the inapplicability or omission of a
                                                                 terrorism exclusion, do not serve to create
       endorsement is applicable, and includes but is
       not limited to "bodily injury", "property                 coverage for injury or damage that is otherwise
       damage", "personal and advertising injury",               excluded under this Coverage Part.
       "injury" or "environmental damage" as may be
       defined in any applicable Coverage Part.
   2. "Certified act of terrorism" means an act that is
       certified by the Secretary of the Treasury, in
       accordance with the provisions of the federal
       Terrorism Risk Insurance Act, to be an act of
       terrorism pursuant to such Act. The criteria
       contained in the Terrorism Risk Insurance Act
       for a "certified act of terrorism" include the
       following:
       a. The act resulted in insured losses in excess
           of $5 million in the aggregate, attributable to
           all types of insurance subject to the
           Terrorism Risk Insurance Act; and




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                                   COMMERCIAL PROPERTY COVERAGE PART DECLARATIONS

         POLICY #            IMA359733

1.       NAMED INSURED KHANEN HOLDINGS, LLC                                                                    EFFECTIVE DATE          02/12/2019


2. DESCRIPTION OF PREMISES
LOC. BLDG.                                                STREET                                                                CITY                  STATE ZIP
 #     #
1            1       1654 BLUE JAY WAY                                                                         LOS ANGELES                              CA 90069




                     LOC. BLDG.                         PROTECT            DIST TO          YEAR                                              CLASS
                      #     #            CONST           CLASS             WATER            BUILT                OCCUPANCY                    CODE
                     1        1     JM                 PC1            over 20 mi            1996 DWELLING                                     00196




3.       COVERAGES PROVIDED IN SU RAN C E AT TH E D ESC RIBED PREM ISES APPLIES O N LY F O R C OVERAG ES F O R W H IC H A LIM IT O F IN SU RAN C E IS SH O W N .
LOC. BLDG.                          COVERAGE                           LIMIT OF       COVERED CAUSES COINSURANCE* RATES                        PREMIUM
 #     #                                                            INSURANCE            OF LOSS
1            1       BUILDING                                       6,376,000          SPECIAL                    80%             .198               12,664
1            1       BI WITH EE                                     1,000,000          SPECIAL                    80%             .198                1,987
1            1       BPP                                              100,000          SPECIAL                    80%             .198                  199
1            1       COMPAC FOR GAP                                                    SPECIAL                    N/A           FLAT                    350
                                                                                                           *
                                                                                               IF EXTRA EXPENSE COVERAGE, LIMITS ON LOSS
                                                                                              PAYMENT
                                                                  TERRO RISM RISK IN SURAN C E AC T (TRIA) PREM IUM :
                                                (TRIA C O VERAGE N O T APPLIC ABLE UN LESS PREM IUM SH O WN ABO VE)
                                                                                                        GSI-04-CPDECX(05-04) TOTAL:                     250
                                                                                                        TOTAL PREMIUM:                               15,450
4.       OPTIONAL COVERAGES                    APPLIC ABLE ON LY WH EN EN TRIES ARE M ADE IN TH E SC H EDULE BELOW.
LOC.         BLDG.    AGREED VALUE                                                                      REPLACEMENT COST(X)
     #           #   EXPIRATION DATE                 COVERAGE                          AMOUNT           BUILDING   PERSONAL PROPERTY INCLUDING "STOCK"
1            1                                                                                           XX                XX




                              INFLATION GUARD (Percentage)  * MONTHLY LIMIT OF * MAXIMUM PERIOD                      *EXTENDED PERIOD
                               BUILDING    PERSONAL PROPERTY INDEMNITY (Fraction) OF INDEMNITY (X)                    OF INDEMNITY (Days)




                                                                    *APPLIES TO BUSINESS INCOME ONLY.
5.       MORTGAGE HOLDER
         LOC. #          BLDG. #     MORTGAGE HOLDER NAME AND MAILING ADDRESS




6.       DEDUCTIBLE
         PROPERTY DEDUCTIBLE:                 $10,000

7.       FORMS APPLICABLE
         TO ALL COVERAGES:             See Schedule of Forms & Endorsements GSI-04-FORMSCH (1-01)
         TO SPECIFIC PREMISES/ COVERAGES:
         LOC. #          BLDG. #     COVERAGES                                         FORM NUMBER
         1               1          BUSINESS INCOME                                    CP0030
         1               1          40+ADVANTAGEPAC                                    GSI-04-AP040
         1               1          COMPAC FOR GAP                                     CPR 04 0005
         1               1          EQUIPMENT BREAKDOWN                                GSI-04-EB001

         GSI-04-CP03D (5/ 04)                                                COMPANY
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                                          COMMERCIAL PROPERTY COVERAGE
                                           PART EXTENSION DECLARATIONS


     POLICY #       IMA359733

2. DESCRIPTION OF PREMISES, continued
LOC. BLDG.                        STREET                                                       CITY                STATE ZIP
 #     #




               LOC. BLDG.                  PROTECT     DIST TO      YEAR                                   CLASS
                #     #          CONST      CLASS      WATER        BUILT           OCCUPANCY              CODE




3.   COVERAGES PROVIDED, continued
LOC. BLDG.                     COVERAGE             LIMIT OF     COVERED CAUSES COINSURANCE* RATES          PREMIUM
 #     #                                         INSURANCE          OF LOSS

1      1       WATER BACK UP & SEWER                 10,000       SPECIAL           80%        FLAT                  250




                                                                            *   IF EXTRA EXPENSE COVERAGE, LIMITS ON LOSS
                                                                                PAYMENT

                                                                                TOTAL EXTENSION PREMIUM:            250


     GSI-04-CP-DECX (05/ 04)                            COMPANY
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                                                                                       COMMERCIAL PROPERTY
                                                                                               CP 00 10 10 12


                   BUILDING AND PERSONAL PROPERTY
                           COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section H. Definitions.

A. Coverage                                                         b. Your Business           Personal     Property
   We will pay for direct physical loss of or damage to                consists of the following property located in
   Covered Property at the premises described in the                   or on the building or structure described in
   Declarations caused by or resulting from any                        the Declarations or in the open (or in a
   Covered Cause of Loss.                                              vehicle) within 100 feet of the building or
                                                                       structure or within 100 feet of the premises
   1. Covered Property                                                 described in the Declarations, whichever
      Covered Property, as used in this Coverage                       distance is greater:
      Part, means the type of property described in                   (1) Furniture and fixtures;
      this section, A.1., and limited in A.2. Property
      Not Covered, if a Limit Of Insurance is shown                   (2) Machinery and equipment;
      in the Declarations for that type of property.                  (3) "Stock";
      a. Building, meaning the building or structure                  (4) All other personal property owned by
           described in the Declarations, including:                       you and used in your business;
          (1) Completed additions;                                    (5) Labor, materials or services furnished or
          (2) Fixtures, including outdoor fixtures;                        arranged by you on personal property of
                                                                           others;
          (3) Permanently installed:
                                                                      (6) Your use interest as tenant in
             (a) Machinery; and                                            improvements         and     betterments.
             (b) Equipment;                                                Improvements and betterments are
                                                                           fixtures, alterations, installations or
          (4) Personal property owned by you that is
              used to maintain or service the building                     additions:
              or structure or its premises, including:                    (a) Made a part of the building or
                                                                                structure you occupy but do not own;
             (a) Fire-extinguishing equipment;
                                                                                and
             (b) Outdoor furniture;
                                                                          (b) You acquired or made at your
             (c) Floor coverings; and                                           expense but cannot legally remove;
             (d) Appliances used for refrigerating,                   (7) Leased personal property for which you
                  ventilating, cooking, dishwashing or                     have a contractual responsibility to
                  laundering;                                              insure, unless otherwise provided for
          (5) If not covered by other insurance:                           under Personal Property Of Others.
             (a) Additions        under     construction,           c. Personal Property Of Others that is:
                  alterations and repairs to the building             (1) In your care, custody or control; and
                  or structure;
                                                                      (2) Located in or on the building or structure
             (b) Materials, equipment, supplies and                        described in the Declarations or in the
                  temporary structures, on or within                       open (or in a vehicle) within 100 feet of
                  100 feet of the described premises,                      the building or structure or within 100
                  used      for     making     additions,                  feet of the premises described in the
                  alterations or repairs to the building                   Declarations, whichever distance is
                  or structure.                                            greater.




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          However, our payment for loss of or                     n. Electronic data, except as provided under
          damage to personal property of others will                 the Additional Coverage, Electronic Data.
          only be for the account of the owner of the                Electronic data means information, facts or
          property.                                                  computer programs stored as or on,
   2. Property Not Covered                                           created or used on, or transmitted to or
                                                                     from computer software (including systems
      Covered Property does not include:                             and applications software), on hard or
      a. Accounts, bills, currency, food stamps or                   floppy disks, CD-ROMs, tapes, drives, cells,
           other evidences of debt, money, notes or                  data processing devices or any other
           securities. Lottery tickets held for sale are             repositories of computer software which are
           not securities;                                           used      with     electronically     controlled
                                                                     equipment. The term computer programs,
      b. Animals, unless owned by others and
           boarded by you, or if owned by you, only as               referred to in the foregoing description of
           "stock" while inside of buildings;                        electronic data, means a set of related
                                                                     electronic instructions which direct the
      c. Automobiles held for sale;                                  operations and functions of a computer or
      d. Bridges, roadways, walks, patios or other                   device connected to it, which enable the
           paved surfaces;                                           computer or device to receive, process,
                                                                     store, retrieve or send data. This
      e. Contraband, or property in the course of                    paragraph, n., does not apply to your
           illegal transportation or trade;                          "stock" of prepackaged software, or to
       f. The cost of excavations, grading, backfilling              electronic data which is integrated in and
           or filling;                                               operates or controls the building's elevator,
      g. Foundations of buildings, structures,                       lighting, heating, ventilation, air conditioning
           machinery or boilers if their foundations are             or security system ;
           below:                                                 o. The cost to replace or restore the
          (1) The lowest basement floor; or                          information on valuable papers and
                                                                     records, including those which exist as
          (2) The surface of the ground, if there is no              electronic data. Valuable papers and
                basement;                                            records include but are not limited to
      h. Land (including land on which the property                  proprietary information, books of account,
           is located), water, growing crops or lawns                deeds, manuscripts, abstracts, drawings
           (other than lawns which are part of a                     and card index systems. Refer to the
           vegetated roof);                                          Coverage Extension for Valuable Papers
       i. Personal property while airborne or                        And Records (Other Than Electronic Data)
           waterborne;                                               for limited coverage for valuable papers and
                                                                     records other than those which exist as
       j. Bulkheads, pilings, piers, wharves or docks;               electronic data;
      k. Property that is covered under another                   p. Vehicles     or self-propelled machines
           coverage form of this or any other policy in              (including aircraft or watercraft) that:
           which it is more specifically described,
           except for the excess of the amount due                  (1) Are licensed for use on public roads; or
           (whether you can collect on it or not) from              (2) Are operated principally away from the
           that other insurance;                                         described premises.
       l. Retaining walls that are not part of a                     This paragraph does not apply to:
           building;                                                    (a) Vehicles or self-propelled machines
      m. Underground pipes, flues or drains;                                 or autos you manufacture, process
                                                                             or warehouse;




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           (b) Vehicles or self-propelled machines,                     (d) Remove property of others of a type
                 other than autos, you hold for sale;                        that would not be Covered Property
           (c) Rowboats or canoes out of water at                            under this Coverage Form;
                 the described premises; or                             (e) Remove deposits of mud or earth
           (d) Trailers, but only to the extent                              from the grounds of the described
                 provided for in the Coverage                                premises;
                 Extension for Non-owned Detached                        (f) Extract "pollutants" from land or
                 Trailers; or                                                water; or
      q. The following property while outside of                        (g) Remove, restore or replace polluted
         buildings:                                                          land or water.
        (1) Grain, hay, straw or other crops;                        (3) Subject to the exceptions in Paragraph
        (2) Fences, radio or television antennas                         (4), the following provisions apply:
             (including satellite dishes) and their                     (a) The most we will pay for the total of
             lead-in wiring, masts or towers, trees,                         direct physical loss or damage plus
             shrubs or plants (other than trees,                             debris removal expense is the Limit
             shrubs or plants which are "stock" or are                       of Insurance applicable to the
             part of a vegetated roof), all except as                        Covered Property that has sustained
             provided in the Coverage Extensions.                            loss or damage.
   3. Covered Causes Of Loss                                            (b) Subject to (a) above, the amount we
      See applicable Causes Of Loss form as shown                            will pay for debris removal expense
      in the Declarations.                                                   is limited to 25% of the sum of the
                                                                             deductible plus the amount that we
   4. Additional Coverages                                                   pay for direct physical loss or
      a. Debris Removal                                                      damage to the Covered Property that
                                                                             has sustained loss or damage.
          (1) Subject to Paragraphs (2), (3) and (4),
              we will pay your expense to remove                             However, if no Covered Property has
                                                                             sustained direct physical loss or
              debris of Covered Property and other
              debris that is on the described premises,                      damage, the most we will pay for
              when such debris is caused by or                               removal of debris of other property (if
                                                                             such removal is covered under this
              results from a Covered Cause of Loss
              that occurs during the policy period. The                      Additional Coverage) is $5,000 at
              expenses will be paid only if they are                         each location.
              reported to us in writing within 180 days              (4) We will pay up to an additional $25,000
              of the date of direct physical loss or                     for debris removal expense, for each
              damage.                                                    location, in any one occurrence of
                                                                         physical loss or damage to Covered
          (2) Debris Removal does not apply to costs
                                                                         Property, if one or both of the following
              to:
                                                                         circumstances apply:
             (a) Remove debris of property of yours
                  that is not insured under this policy,                (a) The total of the actual debris removal
                  or property in your possession that is                     expense plus the amount we pay for
                                                                             direct physical loss or damage
                  not Covered Property;
                                                                             exceeds the Limit of Insurance on
             (b) Remove debris of property owned by                          the Covered Property that has
                  or leased to the landlord of the                           sustained loss or damage.
                  building where your described
                  premises are located, unless you                      (b) The actual debris removal expense
                  have a contractual responsibility to                       exceeds 25% of the sum of the
                  insure such property and it is insured                     deductible plus the amount that we
                                                                             pay for direct physical loss or
                  under this policy;
                                                                             damage to the Covered Property that
             (c) Remove any property that is                                 has sustained loss or damage.
                  Property Not Covered, including
                  property addressed under the
                  Outdoor        Property      Coverage
                  Extension;




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               Therefore, if (4)(a) and/or (4)(b) applies,    The additional amount payable for debris removal
               our total payment for direct physical loss     expense is provided in accordance with the terms of
               or damage and debris removal expense           Paragraph (4), because the debris removal expense
               may reach but will never exceed the            ($40,000) exceeds 25% of the loss payable plus the
               Limit of Insurance on the Covered              deductible ($40,000 is 50% of $80,000), and because
               Property that has sustained loss or            the sum of the loss payable and debris removal
               damage, plus $25,000.                          expense ($79,500 + $40,000 = $119,500) would
         (5) Examples                                         exceed the Limit of Insurance ($90,000). The
                                                              additional amount of covered debris removal expense
             The following examples assume that               is $25,000, the maximum payable under Paragraph
             there is no Coinsurance penalty.                 (4). Thus, the total payable for debris removal
Example 1                                                     expense in this example is $35,500; $4,500 of the
                                                              debris removal expense is not covered.
Limit of Insurance:                           $ 90,000
                                                                    b. Preservation Of Property
Amount of Deductible:                         $     500
                                                                       If it is necessary to move Covered Property
Amount of Loss:                               $ 50,000                 from the described premises to preserve it
Amount of Loss Payable:                       $ 49,500                 from loss or damage by a Covered Cause
                                       ($50,000 – $500)                of Loss, we will pay for any direct physical
Debris Removal Expense:                       $ 10,000                 loss or damage to that property:
Debris Removal Expense Payable:               $ 10,000                (1) While it is being moved or while
                                                                            temporarily stored at another location;
($10,000 is 20% of $50,000.)                                                and
The debris removal expense is less than 25% of the                    (2) Only if the loss or damage occurs within
sum of the loss payable plus the deductible. The sum                        30 days after the property is first moved.
of the loss payable and the debris removal expense
($49,500 + $10,000 = $59,500) is less than the Limit                c. Fire Department Service Charge
of Insurance. Therefore, the full amount of debris                     When the fire department is called to save
removal expense is payable in accordance with the                      or protect Covered Property from a
terms of Paragraph (3).                                                Covered Cause of Loss, we will pay up to
                                                                       $1,000 for service at each premises
Example 2                                                              described in the Declarations, unless a
Limit of Insurance:                          $     90,000              higher limit is shown in the Declarations.
                                                                       Such limit is the most we will pay
Amount of Deductible:                        $        500
                                                                       regardless of the number of responding fire
Amount of Loss:                              $     80,000              departments or fire units, and regardless of
Amount of Loss Payable:                      $     79,500              the number or type of services performed.
                                       ($80,000   – $500)              This Additional Coverage applies to your
Debris Removal Expense:                      $     40,000              liability for fire department service charges:
Debris Removal Expense Payable                                        (1) Assumed by contract or agreement prior
                      Basic Amount:        $ 10,500                        to loss; or
                      Additional Amount:   $ 25,000                   (2) Required by local ordinance.
The basic amount payable for debris removal                            No Deductible applies to this Additional
expense under the terms of Paragraph (3) is                            Coverage.
calculated as follows: $80,000 ($79,500 + $500) x .25
= $20,000, capped at $10,500. The cap applies
because the sum of the loss payable ($79,500) and
the basic amount payable for debris removal expense
($10,500) cannot exceed the Limit of Insurance
($90,000).




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      d. Pollutant Clean-up And Removal                              (5) Under this Additional Coverage, we will
         We will pay your expense to extract                             not pay for:
         "pollutants" from land or water at the                         (a) The enforcement of or compliance
         described premises if the discharge,                                with any ordinance or law which
         dispersal, seepage, migration, release or                           requires        demolition,       repair,
         escape of the "pollutants" is caused by or                          replacement,             reconstruction,
         results from a Covered Cause of Loss that                           remodeling      or    remediation     of
         occurs during the policy period. The                                property due to contamination by
         expenses will be paid only if they are                              "pollutants" or due to the presence,
         reported to us in writing within 180 days of                        growth, proliferation, spread or any
         the date on which the Covered Cause of                              activity of "fungus", wet or dry rot or
         Loss occurs.                                                        bacteria; or
         This Additional Coverage does not apply to                     (b) Any costs associated with the
         costs to test for, monitor or assess the                            enforcement of or compliance with
         existence, concentration or effects of                              an ordinance or law which requires
         "pollutants". But we will pay for testing                           any insured or others to test for,
         which is performed in the course of                                 monitor, clean up, remove, contain,
         extracting the "pollutants" from the land or                        treat, detoxify or neutralize, or in any
         water.                                                              way respond to, or assess the
         The most we will pay under this Additional                          effects of "pollutants", "fungus", wet
         Coverage for each described premises is                             or dry rot or bacteria.
         $10,000 for the sum of all covered                          (6) The most we will pay under this
         expenses arising out of Covered Causes of                       Additional Coverage, for each described
         Loss occurring during each separate 12-                         building insured under this Coverage
         month period of this policy.                                    Form, is $10,000 or 5% of the Limit of
      e. Increased Cost Of Construction                                  Insurance applicable to that building,
                                                                         whichever is less. If a damaged building
        (1) This Additional Coverage applies only to                     is covered under a blanket Limit of
             buildings to which the Replacement                          Insurance which applies to more than
             Cost Optional Coverage applies.                             one building or item of property, then the
        (2) In the event of damage by a Covered                          most we will pay under this Additional
             Cause of Loss to a building that is                         Coverage, for that damaged building, is
             Covered Property, we will pay the                           the lesser of $10,000 or 5% times the
             increased costs incurred to comply with                     value of the damaged building as of the
             the minimum standards of an ordinance                       time of loss times the applicable
             or law in the course of repair, rebuilding                  Coinsurance percentage.
             or replacement of damaged parts of that                     The amount payable under this
             property, subject to the limitations stated                 Additional Coverage is additional
             in e.(3) through e.(9) of this Additional                   insurance.
             Coverage.
                                                                     (7) With      respect to this         Additional
        (3) The ordinance or law referred to in e.(2)                    Coverage:
             of this Additional Coverage is an
             ordinance or law that regulates the                        (a) We will not pay for the Increased
             construction or repair of buildings or                          Cost of Construction:
             establishes zoning or land use                                  (i) Until the property is actually
             requirements at the described premises                              repaired or replaced at the same
             and is in force at the time of loss.                                or another premises; and
        (4) Under this Additional Coverage, we will                         (ii) Unless the repair or replacement
             not pay any costs due to an ordinance                               is made as soon as reasonably
             or law that:                                                        possible after the loss or
            (a) You were required to comply with                                 damage, not to exceed two
                 before the loss, even when the                                  years. We may extend this period
                 building was undamaged; and                                     in writing during the two years.
            (b) You failed to comply with.




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           (b) If the building is repaired or replaced               (3) The Covered Causes of Loss applicable
                at the same premises, or if you elect                    to Your Business Personal Property
                to rebuild at another premises, the                      apply to this Additional Coverage,
                most we will pay for the Increased                       Electronic Data, subject to the following:
                Cost of Construction, subject to the                    (a) If the Causes Of Loss – Special
                provisions of e.(6) of this Additional                      Form applies, coverage under this
                Coverage, is the increased cost of                          Additional     Coverage,     Electronic
                construction at the same premises.                          Data, is limited to the "specified
           (c) If the ordinance or law requires                             causes of loss" as defined in that
                relocation to another premises, the                         form and Collapse as set forth in that
                most we will pay for the Increased                          form.
                Cost of Construction, subject to the                    (b) If the Causes Of Loss – Broad Form
                provisions of e.(6) of this Additional                      applies,     coverage     under      this
                Coverage, is the increased cost of                          Additional     Coverage,     Electronic
                construction at the new premises.                           Data, includes Collapse as set forth
        (8) This Additional Coverage is not subject                         in that form.
            to the terms of the Ordinance Or Law                        (c) If the Causes Of Loss form is
            Exclusion to the extent that such                               endorsed to add a Covered Cause of
            Exclusion would conflict with the                               Loss, the additional Covered Cause
            provisions of this Additional Coverage.                         of Loss does not apply to the
        (9) The costs addressed in the Loss                                 coverage provided         under this
            Payment and Valuation Conditions and                            Additional     Coverage,     Electronic
            the     Replacement       Cost    Optional                      Data.
            Coverage, in this Coverage Form, do                         (d) The Covered Causes of Loss include
            not include the increased              cost                     a virus, harmful code or similar
            attributable to enforcement of or                               instruction introduced into or enacted
            compliance with an ordinance or law.                            on a computer system (including
            The amount payable under this                                   electronic data) or a network to
            Additional Coverage, as stated in e.(6)                         which it is connected, designed to
            of this Additional Coverage, is not                             damage or destroy any part of the
            subject to such limitation.                                     system or disrupt its normal
      f. Electronic Data                                                    operation. But there is no coverage
        (1) Under      this    Additional   Coverage,                       for loss or damage caused by or
            electronic data has the meaning                                 resulting from manipulation of a
            described under Property Not Covered,                           computer         system       (including
            Electronic      Data.    This    Additional                     electronic data) by any employee,
            Coverage does not apply to your "stock"                         including a temporary or leased
            of prepackaged software, or to                                  employee, or by an entity retained by
            electronic data which is integrated in                          you or for you to inspect, design,
            and operates or controls the building's                         install, modify, maintain, repair or
            elevator, lighting, heating, ventilation, air                   replace that system.
            conditioning or security system.
        (2) Subject to the provisions of this
            Additional Coverage, we will pay for the
            cost to replace or restore electronic data
            which has been destroyed or corrupted
            by a Covered Cause of Loss. To the
            extent that electronic data is not
            replaced or restored, the loss will be
            valued at the cost of replacement of the
            media on which the electronic data was
            stored, with blank media of substantially
            identical type.




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         (4) The most we will pay under this                        (2) Your Business Personal Property
             Additional Coverage, Electronic Data, is                  (a) If this policy covers Your Business
             $2,500 (unless a higher limit is shown in                     Personal Property, you may extend
             the Declarations) for all loss or damage                      that insurance to apply to:
             sustained in any one policy year,
             regardless of the number of occurrences                       (i) Business     personal     property,
             of loss or damage or the number of                                including such property that you
             premises,     locations    or   computer                          newly acquire, at any location
             systems involved. If loss payment on the                          you acquire other than at fairs,
             first occurrence does not exhaust this                            trade shows or exhibitions; or
             amount, then the balance is available for                    (ii) Business     personal     property,
             subsequent loss or damage sustained in                            including such property that you
             but not after that policy year. With                              newly acquire, located at your
             respect to an occurrence which begins                             newly constructed or acquired
             in one policy year and continues or                               buildings    at    the      location
             results in additional loss or damage in a                         described in the Declarations.
             subsequent policy year(s), all loss or                        The most we will pay for loss or
             damage is deemed to be sustained in
                                                                           damage under this Extension is
             the policy year in which the occurrence                       $100,000 at each building.
             began.
                                                                       (b) This Extension does not apply to:
   5. Coverage Extensions
                                                                           (i) Personal property of others that
      Except as otherwise provided, the following                              is temporarily in your possession
      Extensions apply to property located in or on
                                                                               in the course of installing or
      the building described in the Declarations or in                         performing     work     on     such
      the open (or in a vehicle) within 100 feet of the                        property; or
      described premises.
                                                                          (ii) Personal property of others that
      If a Coinsurance percentage of 80% or more,                              is temporarily in your possession
      or a Value Reporting period symbol, is shown                             in      the  course      of    your
      in the Declarations, you may extend the                                  manufacturing or wholesaling
      insurance provided by this Coverage Part as
                                                                               activities.
      follows:
                                                                    (3) Period Of Coverage
      a. Newly Acquired Or Constructed
         Property                                                       With respect to insurance provided
                                                                        under this Coverage Extension for
        (1) Buildings                                                   Newly      Acquired     Or     Constructed
            If this policy covers Building, you may                     Property, coverage will end when any of
            extend that insurance to apply to:                          the following first occurs:
           (a) Your new buildings while being built                    (a) This policy expires;
                on the described premises; and
                                                                       (b) 30 days expire after you acquire the
           (b) Buildings you acquire at locations,                          property or begin construction of that
                other than the described premises,                          part of the building that would qualify
                intended for:                                               as covered property; or
                (i) Similar use as the building                        (c) You report values to us.
                    described in the Declarations; or                   We will charge you additional premium
               (ii) Use as a warehouse.                                 for values reported from the date you
            The most we will pay for loss or damage                     acquire     the     property    or   begin
            under this Extension is $250,000 at                         construction of that part of the building
            each building.                                              that would qualify as covered property.




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      b. Personal Effects And Property Of Others                d. Property Off-premises
         You may extend the insurance that applies                (1) You may extend the insurance provided
         to Your Business Personal Property to                         by this Coverage Form to apply to your
         apply to:                                                     Covered Property while it is away from
        (1) Personal effects owned by you, your                        the described premises, if it is:
             officers, your partners or members, your                 (a) Temporarily at a location you do not
             managers or your employees. This                             own, lease or operate;
             Extension does not apply to loss or                      (b) In storage at a location you lease,
             damage by theft.                                             provided the lease was executed
        (2) Personal property of others in your care,                     after the beginning of the current
             custody or control.                                          policy term; or
         The most we will pay for loss or damage                      (c) At any fair, trade show or exhibition.
         under this Extension is $2,500 at each                   (2) This Extension does not apply to
         described premises. Our payment for loss                      property:
         of or damage to personal property of others
         will only be for the account of the owner of                 (a) In or on a vehicle; or
         the property.                                                (b) In the care, custody or control of
      c. Valuable Papers And Records (Other                               your salespersons, unless the
         Than Electronic Data)                                            property is in such care, custody or
                                                                          control at a fair, trade show or
        (1) You may extend the insurance that                             exhibition.
            applies to Your Business Personal
            Property to apply to the cost to replace              (3) The most we will pay for loss or damage
            or restore the lost information on                         under this Extension is $10,000.
            valuable papers and records for which               e. Outdoor Property
            duplicates do not exist. But this                      You may extend the insurance provided by
            Extension does not apply to valuable                   this Coverage Form to apply to your
            papers and records which exist as
                                                                   outdoor fences, radio and television
            electronic data. Electronic data has the               antennas (including satellite dishes), trees,
            meaning described under Property Not                   shrubs and plants (other than trees, shrubs
            Covered, Electronic Data.
                                                                   or plants which are "stock" or are part of a
        (2) If the Causes Of Loss – Special Form                   vegetated roof), including debris removal
            applies, coverage under this Extension                 expense, caused by or resulting from any of
            is limited to the "specified causes of                 the following causes of loss if they are
            loss" as defined in that form and                      Covered Causes of Loss:
            Collapse as set forth in that form.
                                                                  (1) Fire;
        (3) If the Causes Of Loss – Broad Form                    (2) Lightning;
            applies, coverage under this Extension
            includes Collapse as set forth in that                (3) Explosion;
            form.                                                 (4) Riot or Civil Commotion; or
        (4) Under this Extension, the most we will                (5) Aircraft.
            pay to replace or restore the lost
            information is $2,500 at each described                The most we will pay for loss or damage
                                                                   under this Extension is $1,000, but not
            premises, unless a higher limit is shown
            in the Declarations. Such amount is                    more than $250 for any one tree, shrub or
            additional insurance. We will also pay                 plant. These limits apply to any one
                                                                   occurrence, regardless of the types or
            for the cost of blank material for
            reproducing the records (whether or not                number of items lost or damaged in that
            duplicates exist) and (when there is a                 occurrence.
            duplicate) for the cost of labor to
            transcribe or copy the records. The
            costs of blank material and labor are
            subject to the applicable Limit of
            Insurance on Your Business Personal
            Property and, therefore, coverage of
            such costs is not additional insurance.




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         Subject to all aforementioned terms and                    (2) If the applicable Covered Causes of
         limitations of coverage, this Coverage                          Loss form or endorsement contains a
         Extension includes the expense of                               limitation or exclusion concerning loss or
         removing from the described premises the                        damage from sand, dust, sleet, snow,
         debris of trees, shrubs and plants which are                    ice or rain to property in a structure,
         the property of others, except in the                           such limitation or exclusion also applies
         situation in which you are a tenant and such                    to property in a portable storage unit.
         property is owned by the landlord of the                   (3) Coverage under this Extension:
         described premises.
                                                                        (a) Will end 90 days after the business
      f. Non-owned Detached Trailers                                         personal property has been placed in
        (1) You may extend the insurance that                                the storage unit;
            applies to Your Business Personal                          (b) Does not apply if the storage unit
            Property to apply to loss or damage to                           itself has been in use at the
            trailers that you do not own, provided                           described premises for more than 90
            that:                                                            consecutive days, even if the
           (a) The trailer is used in your business;                         business personal property has been
           (b) The trailer is in your care, custody or                       stored there for 90 or fewer days as
                 control at the premises described in                        of the time of loss or damage.
                 the Declarations; and                              (4) Under this Extension, the most we will
           (c) You have a contractual responsibility                     pay for the total of all loss or damage to
                 to pay for loss or damage to the                        business personal property is $10,000
                 trailer.                                                (unless a higher limit is indicated in the
                                                                         Declarations for such Extension)
        (2) We will not pay for any loss or damage                       regardless of the number of storage
            that occurs:                                                 units. Such limit is part of, not in addition
           (a) While the trailer is attached to any                      to, the applicable Limit of Insurance on
                 motor     vehicle    or     motorized                   Your Business Personal Property.
                 conveyance, whether or not the                          Therefore,      payment        under     this
                 motor     vehicle    or     motorized                   Extension will not increase the
                 conveyance is in motion;                                applicable Limit of Insurance on Your
                                                                         Business Personal Property.
           (b) During       hitching   or   unhitching
                 operations, or when a trailer                      (5) This Extension does not apply to loss or
                 becomes accidentally unhitched from                     damage otherwise covered under this
                 a motor vehicle or motorized                            Coverage Form or any endorsement to
                 conveyance.                                             this Coverage Form or policy, and does
                                                                         not apply to loss or damage to the
        (3) The most we will pay for loss or damage
            under this Extension is $5,000, unless a                     storage unit itself.
            higher limit is shown in the Declarations.           Each of these Extensions is additional
                                                                 insurance unless otherwise indicated. The
        (4) This insurance is excess over the
            amount due (whether you can collect on               Additional Condition, Coinsurance, does not
            it or not) from any other insurance                  apply to these Extensions.
            covering such property.                        B. Exclusions And Limitations
      g. Business Personal Property Temporarily               See applicable Causes Of Loss form as shown in
         In Portable Storage Units                            the Declarations.
        (1) You may extend the insurance that              C. Limits Of Insurance
            applies to Your Business Personal                 The most we will pay for loss or damage in any
            Property to apply to such property while          one occurrence is the applicable Limit Of
            temporarily stored in a portable storage          Insurance shown in the Declarations.
            unit (including a detached trailer)
            located within 100 feet of the building or        The most we will pay for loss or damage to
            structure described in the Declarations           outdoor signs, whether or not the sign is attached
            or within 100 feet of the premises                to a building, is $2,500 per sign in any one
            described in the Declarations, whichever          occurrence.
            distance is greater.




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   The amounts of insurance stated in the following           Total amount of loss payable:
   Additional Coverages apply in accordance with the          $59,850 + $80,000 = $139,850
   terms of such coverages and are separate from
   the Limit(s) Of Insurance shown in the                     Example 2
   Declarations for any other coverage:                       (This example, too, assumes there is no Coinsurance
   1. Fire Department Service Charge;                         penalty.)
   2. Pollutant Clean-up And Removal;                         The Deductible and Limits of Insurance are the same
                                                              as those in Example 1.
   3. Increased Cost Of Construction; and
   4. Electronic Data.                                        Loss to Building 1:                        $ 70,000
   Payments under the Preservation Of Property                  (Exceeds Limit of Insurance plus Deductible)
   Additional Coverage will not increase the                  Loss to Building 2:                        $ 90,000
   applicable Limit of Insurance.                               (Exceeds Limit of Insurance plus Deductible)
D. Deductible                                                 Loss Payable – Building 1:                 $ 60,000
   In any one occurrence of loss or damage                      (Limit of Insurance)
   (hereinafter referred to as loss), we will first reduce    Loss Payable – Building 2:                 $ 80,000
   the amount of loss if required by the Coinsurance
   Condition or the Agreed Value Optional Coverage.             (Limit of Insurance)
   If the adjusted amount of loss is less than or equal       Total amount of loss payable:              $ 140,000
   to the Deductible, we will not pay for that loss. If
                                                              E. Loss Conditions
   the adjusted amount of loss exceeds the
   Deductible, we will then subtract the Deductible              The following conditions apply in addition to the
   from the adjusted amount of loss and will pay the             Common Policy Conditions and the Commercial
   resulting amount or the Limit of Insurance,                   Property Conditions:
   whichever is less.                                            1. Abandonment
   When the occurrence involves loss to more than                   There can be no abandonment of any property
   one item of Covered Property and separate Limits                 to us.
   of Insurance apply, the losses will not be
   combined in determining application of the                    2. Appraisal
   Deductible. But the Deductible will be applied only              If we and you disagree on the value of the
   once per occurrence.                                             property or the amount of loss, either may
                                                                    make written demand for an appraisal of the
Example 1                                                           loss. In this event, each party will select a
(This example assumes there is no Coinsurance                       competent and impartial appraiser. The two
penalty.)                                                           appraisers will select an umpire. If they cannot
                                                                    agree, either may request that selection be
Deductible:                                   $      250            made by a judge of a court having jurisdiction.
Limit of Insurance – Building 1:              $   60,000            The appraisers will state separately the value
Limit of Insurance – Building 2:              $   80,000            of the property and amount of loss. If they fail
                                                                    to agree, they will submit their differences to
Loss to Building 1:                           $   60,100            the umpire. A decision agreed to by any two
Loss to Building 2:                           $   90,000            will be binding. Each party will:
The amount of loss to Building 1 ($60,100) is less                  a. Pay its chosen appraiser; and
than the sum ($60,250) of the Limit of Insurance                    b. Bear the other expenses of the appraisal
applicable to Building 1 plus the Deductible.                            and umpire equally.
The Deductible will be subtracted from the amount of                If there is an appraisal, we will still retain our
loss in calculating the loss payable for Building 1:                right to deny the claim.
    $ 60,100                                                     3. Duties In The Event Of Loss Or Damage
    –     250                                                       a. You must see that the following are done in
    $ 59,850 Loss Payable – Building 1                                 the event of loss or damage to Covered
                                                                       Property:
The Deductible applies once per occurrence and
therefore is not subtracted in determining the amount                 (1) Notify the police if a law may have been
of loss payable for Building 2. Loss payable for                          broken.
Building 2 is the Limit of Insurance of $80,000.




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        (2) Give us prompt notice of the loss or             4. Loss Payment
             damage. Include a description of the               a. In the event of loss or damage covered by
             property involved.                                    this Coverage Form, at our option, we will
        (3) As soon as possible, give us a                         either:
             description of how, when and where the               (1) Pay the value of lost or damaged
             loss or damage occurred.                                  property;
        (4) Take all reasonable steps to protect the              (2) Pay the cost of repairing or replacing the
             Covered Property from further damage,                     lost or damaged property, subject to b.
             and keep a record of your expenses                        below;
             necessary to protect the Covered
             Property, for consideration in the                   (3) Take all or any part of the property at an
             settlement of the claim. This will not                    agreed or appraised value; or
             increase the Limit of Insurance.                     (4) Repair, rebuild or replace the property
             However, we will not pay for any                          with other property of like kind and
             subsequent loss or damage resulting                       quality, subject to b. below.
             from a cause of loss that is not a                    We will determine the value of lost or
             Covered Cause of Loss. Also, if
                                                                   damaged property, or the cost of its repair
             feasible, set the damaged property                    or replacement, in accordance with the
             aside and in the best possible order for              applicable terms of the Valuation Condition
             examination.
                                                                   in this Coverage Form or any applicable
        (5) At our request, give us complete                       provision which amends or supersedes the
             inventories of the damaged and                        Valuation Condition.
             undamaged property. Include quantities,
                                                                b. The cost to repair, rebuild or replace does
             costs, values and amount of loss
                                                                   not include the increased cost attributable
             claimed.                                              to enforcement of or compliance with any
        (6) As often as may be reasonably required,                ordinance       or     law    regulating  the
             permit us to inspect the property proving             construction, use or repair of any property.
             the loss or damage and examine your
                                                                c. We will give notice of our intentions within
             books and records.                                    30 days after we receive the sworn proof of
             Also, permit us to take samples of                    loss.
             damaged and undamaged property for
                                                                d. We will not pay you more than your
             inspection, testing and analysis, and
                                                                   financial interest in the Covered Property.
             permit us to make copies from your
             books and records.                                 e. We may adjust losses with the owners of
                                                                   lost or damaged property if other than you.
        (7) Send us a signed, sworn proof of loss                  If we pay the owners, such payments will
             containing the information we request to
                                                                   satisfy your claims against us for the
             investigate the claim. You must do this               owners' property. We will not pay the
             within 60 days after our request. We will             owners more than their financial interest in
             supply you with the necessary forms.
                                                                   the Covered Property.
        (8) Cooperate with us in the investigation or           f. We may elect to defend you against suits
             settlement of the claim.                              arising from claims of owners of property.
      b. We may examine any insured under oath,                    We will do this at our expense.
         while not in the presence of any other
                                                                g. We will pay for covered loss or damage
         insured and at such times as may be
                                                                   within 30 days after we receive the sworn
         reasonably required, about any matter                     proof of loss, if you have complied with all
         relating to this insurance or the claim,                  of the terms of this Coverage Part, and:
         including an insured's books and records. In
         the event of an examination, an insured's                (1) We have reached agreement with you
         answers must be signed.                                       on the amount of loss; or
                                                                  (2) An appraisal award has been made.




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      h. A party wall is a wall that separates and is                   (b) When this policy is issued to the
         common to adjoining buildings that are                              owner or general lessee of a
         owned by different parties. In settling                             building, building means the entire
         covered losses involving a party wall, we                           building. Such building is vacant
         will pay a proportion of the loss to the party                      unless at least 31% of its total
         wall based on your interest in the wall in                          square footage is:
         proportion to the interest of the owner of the                      (i) Rented to a lessee or sublessee
         adjoining building. However, if you elect to                            and used by the lessee or
         repair or replace your building and the                                 sublessee     to     conduct    its
         owner of the adjoining building elects not to                           customary operations; and/or
         repair or replace that building, we will pay
         you the full value of the loss to the party                        (ii) Used by the building owner to
         wall, subject to all applicable policy                                  conduct customary operations.
         provisions including Limits of Insurance, the             (2) Buildings       under     construction     or
         Valuation and Coinsurance Conditions and                        renovation are not considered vacant.
         all other provisions of this Loss Payment
                                                                 b. Vacancy Provisions
         Condition. Our payment under the
         provisions of this paragraph does not alter                If the building where loss or damage occurs
         any right of subrogation we may have                       has been vacant for more than 60
         against any entity, including the owner or                 consecutive days before that loss or
         insurer of the adjoining building, and does                damage occurs:
         not alter the terms of the Transfer Of Rights             (1) We will not pay for any loss or damage
         Of Recovery Against Others To Us                                caused by any of the following, even if
         Condition in this policy.                                       they are Covered Causes of Loss:
   5. Recovered Property                                                (a) Vandalism;
      If either you or we recover any property after                    (b) Sprinkler leakage, unless you have
      loss settlement, that party must give the other                        protected    the     system    against
      prompt notice. At your option, the property will                       freezing;
      be returned to you. You must then return to us
      the amount we paid to you for the property. We                    (c) Building glass breakage;
      will pay recovery expenses and the expenses                       (d) Water damage;
      to repair the recovered property, subject to the                  (e) Theft; or
      Limit of Insurance.
                                                                         (f) Attempted theft.
   6. Vacancy
                                                                   (2) With respect to Covered Causes of Loss
      a. Description Of Terms                                            other than those listed in b.(1)(a)
        (1) As used in this Vacancy Condition, the                       through b.(1)(f) above, we will reduce
            term building and the term vacant have                       the amount we would otherwise pay for
            the meanings set forth in (1)(a) and                         the loss or damage by 15%.
            (1)(b) below:                                     7. Valuation
           (a) When this policy is issued to a                   We will determine the value of Covered
                tenant, and with respect to that                 Property in the event of loss or damage as
                tenant's interest in Covered Property,           follows:
                building means the unit or suite
                rented or leased to the tenant. Such             a. At actual cash value as of the time of loss
                building is vacant when it does not                  or damage, except as provided in b., c., d.
                contain enough business personal                     and e. below.
                property to conduct customary                    b. If the Limit of Insurance for Building
                operations.                                          satisfies    the     Additional  Condition,
                                                                     Coinsurance, and the cost to repair or
                                                                     replace the damaged building property is
                                                                     $2,500 or less, we will pay the cost of
                                                                     building repairs or replacement.




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         The cost of building repairs or replacement                 Instead, we will determine the most we will
         does not include the increased cost                         pay using the following steps:
         attributable     to    enforcement    of    or             (1) Multiply the value of Covered Property
         compliance with any ordinance or law                            at the time of loss by the Coinsurance
         regulating the construction, use or repair of                   percentage;
         any property.
                                                                    (2) Divide the Limit of Insurance of the
         However, the following property will be                         property by the figure determined in
         valued at the actual cash value, even when                      Step (1);
         attached to the building:
                                                                    (3) Multiply the total amount of loss, before
        (1) Awnings or floor coverings;                                  the application of any deductible, by the
        (2) Appliances for refrigerating, ventilating,                   figure determined in Step (2); and
             cooking, dishwashing or laundering; or                 (4) Subtract the deductible from the figure
        (3) Outdoor equipment or furniture.                              determined in Step (3).
      c. "Stock" you have sold but not delivered at                  We will pay the amount determined in Step
         the selling price less discounts and                        (4) or the Limit of Insurance, whichever is
         expenses you otherwise would have had.                      less. For the remainder, you will either have
      d. Glass at the cost of replacement with                       to rely on other insurance or absorb the
         safety-glazing material if required by law.                 loss yourself.
      e. Tenants' Improvements and Betterments at:         Example 1 (Underinsurance)
        (1) Actual cash value of the lost or               When:     The value of the property is:       $ 250,000
             damaged property if you make repairs                    The Coinsurance percentage
             promptly.                                               for it is:                               80%
        (2) A proportion of your original cost if you                The Limit of Insurance for it is:   $ 100,000
             do not make repairs promptly. We will
                                                                     The Deductible is:                  $     250
             determine the proportionate value as
             follows:                                                The amount of loss is:              $ 40,000
            (a) Multiply the original cost by the          Step (1): $250,000 x 80% = $200,000
                 number of days from the loss or                     (the minimum amount of insurance to
                 damage to the expiration of the                     meet your Coinsurance requirements)
                 lease; and
                                                           Step (2): $100,000 ¸ $200,000 = .50
            (b) Divide the amount determined in (a)        Step (3): $40,000 x .50 = $20,000
                 above by the number of days from
                 the installation of improvements to       Step (4): $20,000 – $250 = $19,750
                 the expiration of the lease.              We will pay no more than $19,750. The remaining
             If your lease contains a renewal option,      $20,250 is not covered.
             the expiration of the renewal option          Example 2 (Adequate Insurance)
             period will replace the expiration of the
             lease in this procedure.                      When:     The value of the property is:       $ 250,000
        (3) Nothing if others pay for repairs or                     The Coinsurance percentage
             replacement.                                            for it is:                               80%
F. Additional Conditions                                             The Limit of Insurance for it is:   $ 200,000
   The following conditions apply in addition to the                 The Deductible is:                  $     250
   Common Policy Conditions and the Commercial                       The amount of loss is:              $ 40,000
   Property Conditions:                                    The minimum amount of insurance to meet your
   1. Coinsurance                                          Coinsurance requirement is $200,000 ($250,000 x
      If a Coinsurance percentage is shown in the          80%). Therefore, the Limit of Insurance in this
      Declarations, the following condition applies:       example is adequate, and no penalty applies. We will
                                                           pay no more than $39,750 ($40,000 amount of loss
      a. We will not pay the full amount of any loss if    minus the deductible of $250).
          the value of Covered Property at the time of
          loss times the Coinsurance percentage
          shown for it in the Declarations is greater
          than the Limit of Insurance for the property.




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        b. If one Limit of Insurance applies to two or                (2) Submits a signed, sworn proof of loss
           more separate items, this condition will                        within 60 days after receiving notice
           apply to the total of all property to which the                 from us of your failure to do so; and
           limit applies.                                             (3) Has notified us of any change in
Example 3                                                                  ownership, occupancy or substantial
                                                                           change in risk known to the
When:      The value of the property is:                                   mortgageholder.
           Building at Location 1:             $ 75,000                All of the terms of this Coverage Part will
           Building at Location 2:             $ 100,000               then apply directly to the mortgageholder.
           Personal Property                                        e. If we pay the mortgageholder for any loss
           at Location 2:                      $ 75,000                or damage and deny payment to you
                                               $ 250,000               because of your acts or because you have
                                                                       failed to comply with the terms of this
           The Coinsurance percentage
                                                                       Coverage Part:
           for it is:                                90%
           The Limit of Insurance for                                 (1) The mortgageholder's rights under the
           Buildings and Personal Property                                 mortgage will be transferred to us to the
           at Locations 1 and 2 is:            $ 180,000                   extent of the amount we pay; and
           The Deductible is:                  $ 1,000                (2) The mortgageholder's right to recover
                                                                           the full amount of the mortgageholder's
           The amount of loss is:                                          claim will not be impaired.
           Building at Location 2:             $ 30,000
                                                                       At our option, we may pay to the
           Personal Property                                           mortgageholder the whole principal on the
           at Location 2:                      $ 20,000                mortgage plus any accrued interest. In this
                                               $ 50,000                event, your mortgage and note will be
Step (1): $250,000 x 90% = $225,000                                    transferred to us and you will pay your
                                                                       remaining mortgage debt to us.
          (the minimum amount of insurance to
          meet your Coinsurance requirements                        f. If we cancel this policy, we will give written
          and to avoid the penalty shown below)                        notice to the mortgageholder at least:
Step (2): $180,000 ¸ $225,000 = .80                                   (1) 10 days before the effective date of
                                                                           cancellation if we cancel for your
Step (3): $50,000 x .80 = $40,000
                                                                           nonpayment of premium; or
Step (4): $40,000 – $1,000 = $39,000
                                                                      (2) 30 days before the effective date of
We will pay no more than $39,000. The remaining                            cancellation if we cancel for any other
$11,000 is not covered.                                                    reason.
   2. Mortgageholders                                               g. If we elect not to renew this policy, we will
      a. The term mortgageholder includes trustee.                     give written notice to the mortgageholder at
                                                                       least 10 days before the expiration date of
      b. We will pay for covered loss of or damage                     this policy.
         to buildings or structures to each
         mortgageholder shown in the Declarations             G. Optional Coverages
         in their order of precedence, as interests              If shown as applicable in the Declarations, the
         may appear.                                             following Optional Coverages apply separately to
      c. The mortgageholder has the right to receive             each item:
         loss payment even if the mortgageholder                 1. Agreed Value
         has started foreclosure or similar action on               a. The Additional Condition, Coinsurance,
         the building or structure.                                    does not apply to Covered Property to
      d. If we deny your claim because of your acts                    which this Optional Coverage applies. We
         or because you have failed to comply with                     will pay no more for loss of or damage to
         the terms of this Coverage Part, the                          that property than the proportion that the
         mortgageholder will still have the right to                   Limit of Insurance under this Coverage Part
         receive loss payment if the mortgageholder:                   for the property bears to the Agreed Value
        (1) Pays any premium due under this                            shown for it in the Declarations.
             Coverage Part at our request if you
             have failed to do so;




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         b. If the expiration date for this Optional                    (4) "Stock", unless the Including "Stock"
            Coverage shown in the Declarations is not                         option is shown in the Declarations.
            extended,      the    Additional  Condition,                 Under the terms of this Replacement Cost
            Coinsurance, is reinstated and this Optional                 Optional Coverage, tenants' improvements
            Coverage expires.                                            and betterments are not considered to be
         c. The terms of this Optional Coverage apply                    the personal property of others.
            only to loss or damage that occurs:                       c. You may make a claim for loss or damage
           (1) On or after the effective date of this                    covered by this insurance on an actual cash
                Optional Coverage; and                                   value basis instead of on a replacement
           (2) Before the Agreed Value expiration date                   cost basis. In the event you elect to have
                shown in the Declarations or the policy                  loss or damage settled on an actual cash
                expiration date, whichever occurs first.                 value basis, you may still make a claim for
                                                                         the additional coverage this Optional
      2. Inflation Guard                                                 Coverage provides if you notify us of your
         a. The Limit of Insurance for property to which                 intent to do so within 180 days after the loss
             this Optional Coverage applies will                         or damage.
             automatically increase by the annual                     d. We will not pay on a replacement cost basis
             percentage shown in the Declarations.                       for any loss or damage:
         b. The amount of increase will be:                             (1) Until the lost or damaged property is
            (1) The Limit of Insurance that applied on                        actually repaired or replaced; and
                 the most recent of the policy inception                (2) Unless the repair or replacement is
                 date, the policy anniversary date, or any                    made as soon as reasonably possible
                 other policy change amending the Limit                       after the loss or damage.
                 of Insurance, times
                                                                         With respect to tenants' improvements and
            (2) The percentage of annual increase                        betterments, the following also apply:
                 shown in the Declarations, expressed as
                 a decimal (example: 8% is .08), times                  (3) If the conditions in d.(1) and d.(2) above
                                                                              are not met, the value of tenants'
            (3) The number of days since the beginning                        improvements and betterments will be
                 of the current policy year or the effective                  determined as a proportion of your
                 date of the most recent policy change                        original cost, as set forth in the
                 amending the Limit of Insurance, divided                     Valuation Loss Condition of this
                 by 365.                                                      Coverage Form; and
Example                                                                 (4) We will not pay for loss or damage to
If:     The applicable Limit of Insurance is:    $ 100,000                    tenants' improvements and betterments
                                                                              if others pay for repairs or replacement.
        The annual percentage increase is:             8%
                                                                      e. We will not pay more for loss or damage on
        The number of days since the
                                                                         a replacement cost basis than the least of
        beginning of the policy year
                                                                         (1), (2) or (3), subject to f. below:
        (or last policy change) is:                    146
        The amount of increase is:                                      (1) The Limit of Insurance applicable to the
                                                                              lost or damaged property;
        $100,000 x .08 x 146 ¸ 365 =             $   3,200
                                                                        (2) The cost to replace the lost or damaged
      3. Replacement Cost                                                     property with other property:
         a. Replacement Cost (without deduction for                          (a) Of comparable material and quality;
            depreciation) replaces Actual Cash Value in                            and
            the Valuation Loss Condition of this
                                                                            (b) Used for the same purpose; or
            Coverage Form.
                                                                        (3) The amount actually spent that is
         b. This Optional Coverage does not apply to:
                                                                              necessary to repair or replace the lost or
           (1) Personal property of others;                                   damaged property.
           (2) Contents of a residence;                                  If a building is rebuilt at a new premises, the
           (3) Works of art, antiques or rare articles,                  cost described in e.(2) above is limited to
               including etchings, pictures, statuary,                   the cost which would have been incurred if
               marbles, bronzes, porcelains and bric-a-                  the building had been rebuilt at the original
               brac; or                                                  premises.




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      f. The cost of repair or replacement does not        H. Definitions
         include the increased cost attributable to           1. "Fungus" means any type or form of fungus,
         enforcement of or compliance with any                   including mold or mildew, and any mycotoxins,
         ordinance      or    law     regulating   the           spores, scents or by-products produced or
         construction, use or repair of any property.            released by fungi.
   4. Extension Of Replacement Cost To                        2. "Pollutants" means any solid, liquid, gaseous or
      Personal Property Of Others                                thermal irritant or contaminant, including
      a. If the Replacement Cost Optional Coverage               smoke, vapor, soot, fumes, acids, alkalis,
         is shown as applicable in the Declarations,             chemicals and waste. Waste includes materials
         then this Extension may also be shown as                to be recycled, reconditioned or reclaimed.
         applicable. If the Declarations show this            3. "Stock" means merchandise held in storage or
         Extension as applicable, then Paragraph                 for sale, raw materials and in-process or
         3.b.(1) of the Replacement Cost Optional                finished goods, including supplies used in their
         Coverage is deleted and all other provisions            packing or shipping.
         of the Replacement Cost Optional
         Coverage apply to replacement cost on
         personal property of others.
      b. With respect to replacement cost on the
         personal property of others, the following
         limitation applies:
         If an item(s) of personal property of others
         is subject to a written contract which
         governs your liability for loss or damage to
         that item(s), then valuation of that item(s)
         will be based on the amount for which you
         are liable under such contract, but not to
         exceed the lesser of the replacement cost
         of the property or the applicable Limit of
         Insurance.




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                                                                                       COMMERCIAL PROPERTY
                                                                                               CP 00 30 10 12


              BUSINESS INCOME (AND EXTRA EXPENSE)
                         COVERAGE FORM
Various provisions in this policy restrict coverage. Read the entire policy carefully to determine rights, duties and
what is and is not covered.
Throughout this policy, the words "you" and "your" refer to the Named Insured shown in the Declarations. The
words "we", "us" and "our" refer to the company providing this insurance.
Other words and phrases that appear in quotation marks have special meaning. Refer to Section F. Definitions.

A. Coverage                                                         With respect to the requirements set forth in
   1. Business Income                                               the preceding paragraph, if you occupy only
                                                                    part of a building, your premises means:
      Business Income means the:
                                                                          (a) The portion of the building which you
      a. Net Income (Net Profit or Loss before                                 rent, lease or occupy;
          income taxes) that would have been earned
          or incurred; and                                                (b) The area within 100 feet of the
                                                                               building or within 100 feet of the
      b. Continuing normal operating expenses                                  premises       described     in   the
          incurred, including payroll.                                         Declarations, whichever distance is
      For manufacturing risks, Net Income includes                             greater (with respect to loss of or
      the net sales value of production.                                       damage to personal property in the
      Coverage is provided as described and limited                            open or personal property in a
                                                                               vehicle); and
      below for one or more of the following options
      for which a Limit Of Insurance is shown in the                      (c) Any area within the building or at the
      Declarations:                                                            described premises, if that area
                                                                               services, or is used to gain access
         (1) Business Income Including "Rental
                                                                               to, the portion of the building which
              Value".
                                                                               you rent, lease or occupy.
         (2) Business Income Other Than "Rental
              Value".                                           2. Extra Expense
         (3) "Rental Value".                                       a. Extra Expense Coverage is provided at the
                                                                      premises described in the Declarations only
      If option (1) above is selected, the term                       if the Declarations show that Business
      Business Income will include "Rental Value". If                 Income Coverage applies at that premises.
      option (3) above is selected, the term Business
      Income will mean "Rental Value" only.                        b. Extra Expense means necessary expenses
                                                                      you incur during the "period of restoration"
      If Limits of Insurance are shown under more                     that you would not have incurred if there
      than one of the above options, the provisions                   had been no direct physical loss or damage
      of this Coverage Part apply separately to each.                 to property caused by or resulting from a
      We will pay for the actual loss of Business                     Covered Cause of Loss.
      Income you sustain due to the necessary                         We will pay Extra Expense (other than the
      "suspension" of your "operations" during the                    expense to repair or replace property) to:
      "period of restoration". The "suspension" must
      be caused by direct physical loss of or damage                 (1) Avoid or minimize the "suspension" of
      to property at premises which are described in                      business and to continue operations at
                                                                          the    described     premises     or   at
      the Declarations and for which a Business
      Income Limit Of Insurance is shown in the                           replacement premises or temporary
      Declarations. The loss or damage must be                            locations, including relocation expenses
                                                                          and costs to equip and operate the
      caused by or result from a Covered Cause of
      Loss. With respect to loss of or damage to                          replacement location or temporary
      personal property in the open or personal                           location.
      property in a vehicle, the described premises
      include the area within 100 feet of such
      premises.



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         (2) Minimize the "suspension" of business if           5. Additional Coverages
             you cannot continue "operations".                     a. Civil Authority
          We will also pay Extra Expense to repair or                 In this Additional Coverage, Civil Authority,
          replace property, but only to the extent it                 the described premises are premises to
          reduces the amount of loss that otherwise                   which this Coverage Form applies, as
          would have been payable under this                          shown in the Declarations.
          Coverage Form.
                                                                      When a Covered Cause of Loss causes
   3. Covered Causes Of Loss, Exclusions And                          damage to property other than property at
      Limitations                                                     the described premises, we will pay for the
      See applicable Causes Of Loss form as shown                     actual loss of Business Income you sustain
      in the Declarations.                                            and necessary Extra Expense caused by
   4. Additional Limitation – Interruption Of                         action of civil authority that prohibits access
      Computer Operations                                             to the described premises, provided that
                                                                      both of the following apply:
      a. Coverage for Business Income does not
          apply when a "suspension" of "operations"                  (1) Access to the area immediately
          is caused by destruction or corruption of                        surrounding the damaged property is
          electronic data, or any loss or damage to                        prohibited by civil authority as a result of
          electronic data, except as provided under                        the damage, and the described
          the Additional Coverage, Interruption Of                         premises are within that area but are not
          Computer Operations.                                             more than one mile from the damaged
                                                                           property; and
      b. Coverage for Extra Expense does not apply
          when action is taken to avoid or minimize a                (2) The action of civil authority is taken in
          "suspension" of "operations" caused by                           response      to     dangerous      physical
          destruction or corruption of electronic data,                    conditions resulting from the damage or
          or any loss or damage to electronic data,                        continuation of the Covered Cause of
          except as provided under the Additional                          Loss that caused the damage, or the
          Coverage, Interruption         Of Computer                       action is taken to enable a civil authority
          Operations.                                                      to have unimpeded access to the
                                                                           damaged property.
      c. Electronic data means information, facts or
          computer programs stored as or on,                          Civil Authority Coverage for Business
          created or used on, or transmitted to or                    Income will begin 72 hours after the time of
          from computer software (including systems                   the first action of civil authority that prohibits
          and applications software), on hard or                      access to the described premises and will
          floppy disks, CD-ROMs, tapes, drives, cells,                apply for a period of up to four consecutive
          data processing devices or any other                        weeks from the date on which such
          repositories of computer software which are                 coverage began.
          used      with     electronically    controlled             Civil Authority Coverage for Extra Expense
          equipment. The term computer programs,                      will begin immediately after the time of the
          referred to in the foregoing description of                 first action of civil authority that prohibits
          electronic data, means a set of related                     access to the described premises and will
          electronic instructions which direct the                    end:
          operations and functions of a computer or                  (1) Four consecutive weeks after the date
          device connected to it, which enable the                         of that action; or
          computer or device to receive, process,
          store, retrieve or send data.                              (2) When your Civil Authority Coverage for
                                                                           Business Income ends;
      d. This Additional Limitation does not apply
          when loss or damage to electronic data                      whichever is later.
          involves only electronic data which is
          integrated in and operates or controls a
          building's    elevator,    lighting,   heating,
          ventilation, air conditioning or security
          system.




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      b. Alterations And New Buildings                                   However, Extended Business Income
         We will pay for the actual loss of Business                     does not apply to loss of Business
         Income you sustain and necessary Extra                          Income incurred as a result of
         Expense you incur due to direct physical                        unfavorable business conditions caused
         loss or damage at the described premises                        by the impact of the Covered Cause of
         caused by or resulting from any Covered                         Loss in the area where the described
         Cause of Loss to:                                               premises are located.
        (1) New buildings or structures, whether                         Loss of Business Income must be
             complete or under construction;                             caused by direct physical loss or
                                                                         damage at the described premises
        (2) Alterations or additions to existing                         caused by or resulting from any Covered
             buildings or structures; and                                Cause of Loss.
        (3) Machinery, equipment, supplies or                        (2) "Rental Value"
             building materials located on or within
             100 feet of the described premises and:                     If the necessary "suspension" of your
                                                                         "operations" produces a "Rental Value"
            (a) Used in the construction, alterations                    loss payable under this policy, we will
                 or additions; or                                        pay for the actual loss of "Rental Value"
            (b) Incidental to the occupancy of new                       you incur during the period that:
                 buildings.                                             (a) Begins on the date property is
         If such direct physical loss or damage                              actually repaired, rebuilt or replaced
         delays the start of "operations", the "period                       and tenantability is restored; and
         of restoration" for Business Income                            (b) Ends on the earlier of:
         Coverage will begin on the date
         "operations" would have begun if the direct                         (i) The date you could restore tenant
         physical loss or damage had not occurred.                               occupancy,      with    reasonable
                                                                                 speed, to the level which would
      c. Extended Business Income                                                generate the "Rental Value" that
        (1) Business Income Other Than "Rental                                   would have existed if no direct
             Value"                                                              physical loss or damage had
             If the necessary "suspension" of your                               occurred; or
             "operations" produces a Business                               (ii) 60 consecutive days after the
             Income loss payable under this policy,                              date determined in (2)(a) above.
             we will pay for the actual loss of                          However, Extended Business Income
             Business Income you incur during the                        does not apply to loss of "Rental Value"
             period that:                                                incurred as a result of unfavorable
            (a) Begins on the date property (except                      business conditions caused by the
                 "finished stock") is actually repaired,                 impact of the Covered Cause of Loss in
                 rebuilt or replaced and "operations"                    the area where the described premises
                 are resumed; and                                        are located.
            (b) Ends on the earlier of:                                  Loss of "Rental Value" must be caused
                                                                         by direct physical loss or damage at the
                 (i) The date you could restore your
                      "operations", with reasonable                      described premises caused by or
                                                                         resulting from any Covered Cause of
                      speed, to the level which would
                      generate the business income                       Loss.
                      amount that would have existed if           d. Interruption Of Computer Operations
                      no direct physical loss or damage             (1) Under       this  Additional  Coverage,
                      had occurred; or                                   electronic data has the meaning
                (ii) 60 consecutive days after the                       described under Additional Limitation –
                      date determined in (1)(a) above.                   Interruption Of Computer Operations.




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        (2) Subject to all provisions of this                       (4) The most we will pay under this
            Additional Coverage, you may extend                         Additional Coverage, Interruption Of
            the insurance that applies to Business                      Computer Operations, is $2,500 (unless
            Income and Extra Expense to apply to a                      a higher limit is shown in the
            "suspension" of "operations" caused by                      Declarations) for all loss sustained and
            an interruption in computer operations                      expense incurred in any one policy year,
            due to destruction or corruption of                         regardless     of    the    number     of
            electronic data due to a Covered Cause                      interruptions or the number of premises,
            of Loss. However, we will not provide                       locations or computer systems involved.
            coverage       under     this   Additional                  If loss payment relating to the first
            Coverage when the Additional Limitation                     interruption does not exhaust this
            – Interruption Of Computer Operations                       amount, then the balance is available for
            does not apply based on Paragraph                           loss or expense sustained or incurred as
            A.4.d. therein.                                             a result of subsequent interruptions in
        (3) With respect to the coverage provided                       that policy year. A balance remaining at
            under this Additional Coverage, the                         the end of a policy year does not
            Covered Causes of Loss are subject to                       increase the amount of insurance in the
            the following:                                              next policy year. With respect to any
                                                                        interruption which begins in one policy
           (a) If the Causes Of Loss – Special                          year and continues or results in
               Form applies, coverage under this                        additional loss or expense in a
               Additional Coverage, Interruption Of                     subsequent policy year(s), all loss and
               Computer Operations, is limited to                       expense is deemed to be sustained or
               the "specified causes of loss" as                        incurred in the policy year in which the
               defined in that form and Collapse as                     interruption began.
               set forth in that form.
                                                                    (5) This Additional Coverage, Interruption
           (b) If the Causes Of Loss – Broad Form                       Of Computer Operations, does not apply
               applies,     coverage      under    this                 to loss sustained or expense incurred
               Additional Coverage, Interruption Of                     after the end of the "period of
               Computer       Operations,     includes                  restoration", even if the amount of
               Collapse as set forth in that form.                      insurance stated in (4) above has not
           (c) If the Causes Of Loss form is                            been exhausted.
               endorsed to add a Covered Cause of             6. Coverage Extension
               Loss, the additional Covered Cause
               of Loss does not apply to the                     If a Coinsurance percentage of 50% or more is
               coverage provided          under this             shown in the Declarations, you may extend the
               Additional Coverage, Interruption Of              insurance provided by this Coverage Part as
               Computer Operations.                              follows:
           (d) The Covered Causes of Loss include                Newly Acquired Locations
               a virus, harmful code or similar                  a. You may extend your Business Income and
               instruction introduced into or enacted               Extra Expense Coverages to apply to
               on a computer system (including                      property at any location you acquire other
               electronic data) or a network to                     than fairs or exhibitions.
               which it is connected, designed to                b. The most we will pay under this Extension,
               damage or destroy any part of the                    for the sum of Business Income loss and
               system or disrupt its normal                         Extra Expense incurred, is $100,000 at
               operation. But there is no coverage                  each location, unless a higher limit is shown
               for an interruption related to                       in the Declarations.
               manipulation of a computer system
               (including electronic data) by any                c. Insurance under this Extensio n for each
               employee, including a temporary or                   newly acquired location will end when any
               leased employee, or by an entity                     of the following first occurs:
               retained by you or for you to inspect,              (1) This policy expires;
               design, install, maintain, repair or
               replace that system.




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          (2) 30 days expire after you acquire or              2. Duties In The Event Of Loss
              begin to construct the property; or                 a. You must see that the following are done in
          (3) You report values to us.                               the event of loss:
           We will charge you additional premium for                (1) Notify the police if a law may have been
           values reported from the date you acquire                     broken.
           the property.                                            (2) Give us prompt notice of the direct
       The Additional Condition, Coinsurance, does                       physical loss or damage. Include a
       not apply to this Extension.                                      description of the property involved.
B. Limits Of Insurance                                              (3) As soon as possible, give us a
   The most we will pay for loss in any one                              description of how, when and where the
   occurrence is the applicable Limit Of Insurance                       direct physical loss or damage occurred.
   shown in the Declarations.                                       (4) Take all reasonable steps to protect the
   Payments under the following coverages will not                       Covered Property from further damage,
   increase the applicable Limit of Insurance:                           and keep a record of your expenses
                                                                         necessary to protect the Covered
   1. Alterations And New Buildings;                                     Property, for consideration in the
   2. Civil Authority;                                                   settlement of the claim. This will not
                                                                         increase the Limit of Insurance.
   3. Extra Expense; or
                                                                         However, we will not pay for any
   4. Extended Business Income.                                          subsequent loss or damage resulting
   The amounts of insurance stated in the                                from a cause of loss that is not a
   Interruption Of Computer Operations Additional                        Covered Cause of Loss. Also, if
   Coverage and the Newly Acquired Locations                             feasible, set the damaged property
   Coverage Extension apply in accordance with the                       aside and in the best possible order for
   terms of those coverages and are separate from                        examination.
   the Limit(s) Of Insurance shown in the                           (5) As often as may be reasonably required,
   Declarations for any other coverage.                                  permit us to inspect the property proving
C. Loss Conditions                                                       the loss or damage and examine your
                                                                         books and records.
   The following conditions apply in addition to the
   Common Policy Conditions and the Commercial                           Also permit us to take samples of
   Property Conditions:                                                  damaged and undamaged property for
                                                                         inspection, testing and analysis, and
   1. Appraisal                                                          permit us to make copies from your
      If we and you disagree on the amount of Net                        books and records.
      Income and operating expense or the amount
                                                                    (6) Send us a signed, sworn proof of loss
      of loss, either may make written demand for an
                                                                         containing the information we request to
      appraisal of the loss. In this event, each party                   investigate the claim. You must do this
      will select a competent and impartial appraiser.                   within 60 days after our request. We will
      The two appraisers will select an umpire. If                       supply you with the necessary forms.
      they cannot agree, either may request that
                                                                    (7) Cooperate with us in the investigation or
      selection be made by a judge of a court having                     settlement of the claim.
      jurisdiction. The appraisers will state separately
      the amount of Net Income and operating                        (8) If you intend to continue your business,
      expense or amount of loss. If they fail to agree,                  you must resume all or part of your
      they will submit their differences to the umpire.                  "operations" as quickly as possible.
      A decision agreed to by any two will be                     b. We may examine any insured under oath,
      binding. Each party will:                                      while not in the presence of any other
      a. Pay its chosen appraiser; and                               insured and at such times as may be
                                                                     reasonably required, about any matter
      b. Bear the other expenses of the appraisal                    relating to this insurance or the claim,
           and umpire equally.                                       including an insured's books and records. In
      If there is an appraisal, we will still retain our             the event of an examination, an insured's
      right to deny the claim.                                       answers must be signed.




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   3. Loss Determination                                          c. Resumption Of Operations
      a. The amount of Business Income loss will be                  We will reduce the amount of your:
         determined based on:                                       (1) Business Income loss, other than Extra
        (1) The Net Income of the business before                        Expense, to the extent you can resume
            the direct physical loss or damage                           your "operations", in whole or in part, by
            occurred;                                                    using damaged or undamaged property
        (2) The likely Net Income of the business if                     (including merchandise or stock) at the
            no physical loss or damage had                               described premises or elsewhere.
            occurred, but not including any Net                     (2) Extra Expense loss to the extent you
            Income that would likely have been                           can return "operations" to normal and
            earned as a result of an increase in the                     discontinue such Extra Expense.
            volume of business due to favorable                   d. If you do not resume "operations", or do not
            business conditions caused by the                        resume "operations" as quickly as possible,
            impact of the Covered Cause of Loss on                   we will pay based on the length of time it
            customers or on other businesses;                        would have taken to resume "operations" as
        (3) The operating expenses, including                        quickly as possible.
            payroll expenses, necessary to resume             4. Loss Payment
            "operations" with the same quality of
            service that existed just before the direct          We will pay for covered loss within 30 days
            physical loss or damage; and                         after we receive the sworn proof of loss, if you
                                                                 have complied with all of the terms of this
        (4) Other relevant sources of information,               Coverage Part, and:
            including:
                                                                 a. We have reached agreement with you on
           (a) Your      financial     records     and               the amount of loss; or
                accounting procedures;
                                                                 b. An appraisal award has been made.
           (b) Bills, invoices and other vouchers;
                and                                        D. Additional Condition
           (c) Deeds, liens or contracts.                     COINSURANCE
      b. The amount of Extra Expense will be                  If a Coinsurance percentage is shown in the
         determined based on:                                 Declarations, the following condition applies in
                                                              addition to the Common Policy Conditions and the
        (1) All expenses that exceed the normal               Commercial Property Conditions.
            operating expenses that would have
            been incurred by "operations" during the          We will not pay the full amount of any Business
            "period of restoration" if no direct              Income loss if the Limit of Insurance for Business
            physical loss or damage had occurred.             Income is less than:
            We will deduct from the total of such             1. The Coinsurance percentage shown for
            expenses:                                            Business Income in the Declarations; times
           (a) The salvage value that remains of              2. The sum of:
                any property bought for temporary
                                                                 a. The Net Income (Net Profit or Loss before
                use during the "period of restoration",              income taxes), and
                once "operations" are resumed; and
                                                                 b. Operating expenses, including payroll
           (b) Any Extra Expense that is paid for by                 expenses,
                other insurance, except for insurance
                that is written subject to the same              that would have been earned or incurred (had
                plan,    terms,      conditions    and           no loss occurred) by your "operations" at the
                provisions as this insurance; and                described premises for the 12 months following
                                                                 the inception, or last previous anniversary date,
        (2) Necessary expenses that reduce the                   of this policy (whichever is later).
            Business Income loss that otherwise
            would have been incurred.




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   Instead, we will determine the most we will pay         Example 1 (Underinsurance)
   using the following steps:
                                                           When:     The Net Income and operating
   Step (1): Multiply the Net Income and operating                   expenses for the 12 months
              expense for the 12 months following the                following the inception, or last
              inception, or last previous anniversary                previous anniversary date, of
              date, of this policy by the Coinsurance                this policy at the described
              percentage;                                            premises would have been:        $ 400,000
   Step (2): Divide the Limit of Insurance for the                   The Coinsurance percentage is:        50%
              described premises by the figure
              determined in Step (1); and                            The Limit of Insurance is:       $ 150,000
   Step (3): Multiply the total amount of loss by the                The amount of loss is:           $ 80,000
              figure determined in Step (2).               Step (1): $400,000 x 50% = $200,000
   We will pay the amount determined in Step (3) or                  (the minimum amount of insurance to
   the limit of insurance, whichever is less. For the                meet your Coinsurance requirements)
   remainder, you will either have to rely on other        Step (2): $150,000 ¸ $200,000 = .75
   insurance or absorb the loss yourself.                  Step (3): $80,000 x .75 = $60,000
   In determining operating expenses for the purpose
                                                           We will pay no more than $60,000. The remaining
   of applying the Coinsurance condition, the
   following expenses , if applicable, shall be            $20,000 is not covered.
   deducted from the total of all operating expenses:      Example 2 (Adequate Insurance)
         (1) Prepaid freight – outgoing;                   When:     The Net Income and operating
         (2) Returns and allowances;                                 expenses for the 12 months
         (3) Discounts;                                              following the inception, or last
                                                                     previous anniversary date, of
         (4) Bad debts;                                              this policy at the described
         (5) Collection expenses;                                    premises would have been:        $ 400,000
         (6) Cost of raw stock and factory supplies                  The Coinsurance percentage is:        50%
              consumed (including         transportation             The Limit of Insurance is:       $ 200,000
              charges);                                              The amount of loss is:           $ 80,000
         (7) Cost of merchandise sold (including
              transportation charges);                     The minimum amount of insurance to meet your
                                                           Coinsurance requirement is $200,000 ($400,000 x
         (8) Cost of other supplies consumed               50%). Therefore, the Limit of Insurance in this
              (including transportation charges);          example is adequate and no penalty applies. We will
         (9) Cost of services purchased from               pay no more than $80,000 (amount of loss).
              outsiders (not employees) to resell, that    This condition does not apply to Extra Expense
              do not continue under contract;              Coverage.
        (10) Power, heat and refrigeration expenses        E. Optional Coverages
              that do not continue under contract (if
              Form CP 15 11 is attached);                     If shown as applicable in the Declarations, the
                                                              following Optional Coverages apply separately to
        (11) All payroll expenses or the amount of            each item.
              payroll expense excluded (if Form CP
              15 10 is attached); and                          1. Maximum Period Of Indemnity
        (12) Special deductions for mining properties             a. The Additional Condition, Coinsurance,
              (royalties unless specifically included in             does not apply to this Coverage Form at the
              coverage; actual depletion commonly                    described premises to which this Optional
                                                                     Coverage applies.
              known as unit or cost depletion – not
              percentage depletion; welfare and
              retirement fund charges based on
              tonnage; hired trucks).




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        b. The most we will pay for the total of                       (b) Estimated for the 12 months
           Business Income loss and Extra Expense is                        immediately following the inception
           the lesser of:                                                   of this Optional Coverage.
          (1) The amount of loss sustained and                     (2) The Declarations must indicate that the
              expenses incurred during the 120 days                     Business Income Agreed Value Optional
              immediately following the beginning of                    Coverage applies, and an Agreed Value
              the "period of restoration"; or                           must be shown in the Declarations. The
          (2) The Limit Of Insurance shown in the                       Agreed Value should be at least equal
              Declarations.                                             to:
   2. Monthly Limit Of Indemnity                                       (a) The Coinsurance percentage shown
                                                                            in the Declarations; multiplied by
      a. The Additional Condition, Coinsurance,
         does not apply to this Coverage Form at the                   (b) The amount of Net Income and
         described premises to which this Optional                          operating expenses for the following
         Coverage applies.                                                  12 months you report on the Work
                                                                            Sheet.
      b. The most we will pay for loss of Business
         Income in each period of 30 consecutive                b. The Additional Condition, Coinsurance, is
         days after the beginning of the "period of                 suspended until:
         restoration" is:                                          (1) 12 months after the effective date of this
        (1) The Limit of Insurance, multiplied by                       Optional Coverage; or
        (2) The fraction shown in the Declarations                 (2) The expiration date of this policy;
             for this Optional Coverage.                            whichever occurs first.
Example                                                         c. We will reinstate the Additional Condition,
                                                                    Coinsurance, automatically if you do not
When:    The Limit of Insurance is:         $ 120,000               submit a new Work Sheet and Agreed
         The fraction shown in the                                  Value:
         Declarations for this Optional
                                                                   (1) Within 12 months of the effective date of
         Coverage is:                              1/4                  this Optional Coverage; or
         The most we will pay for loss in
         each period of 30 consecutive                             (2) When you request a change in your
         days is:                           $   30,000                  Business Income Limit of Insurance.
         ($120,000 x 1/4 = $30,000)                             d. If the Business Income Limit of Insurance is
                                                                    less than the Agreed Value, we will not pay
         If, in this example, the actual                            more of any loss than the amount of loss
         amount of loss is:                                         multiplied by:
         Days 1–30:                         $   40,000
                                                                   (1) The Business          Income      Limit of
         Days 31–60:                        $   20,000                  Insurance; divided by
         Days 61–90:                        $   30,000             (2) The Agreed Value.
                                            $   90,000     Example
         We will pay:
                                                           When:     The Limit of Insurance is:        $ 100,000
         Days 1–30:                       $ 30,000
                                                                     The Agreed Value is:              $ 200,000
         Days 31–60:                      $ 20,000
                                                                     The amount of loss is:            $ 80,000
         Days 61–90:                      $ 30,000
                                                           Step (1): $100,000 ¸ $200,000 = .50
                                          $ 80,000
                                                           Step (2): .50 x $80,000 = $40,000
         The remaining $10,000 is not covered.
                                                           We will pay $40,000. The remaining $40,000 is not
   3. Business Income Agreed Value
                                                           covered.
      a. To activate this Optional Coverage:
                                                               4. Extended Period Of Indemnity
        (1) A Business Income Report/Work Sheet
            must be submitted to us and must show                 Under Paragraph A.5.c., Extended Business
            financial data for your "operations":                 Income, the number 60 in Subparagraphs
                                                                  (1)(b) and (2)(b) is replaced by the number
           (a) During the 12 months prior to the                  shown in the Declarations for this Optional
                date of the Work Sheet; and                       Coverage.




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F. Definitions                                                       (2) Requires any insured or others to test
   1. "Finished stock" means stock you have                               for, monitor, clean up, remove, contain,
      manufactured.                                                       treat, detoxify or neutralize, or in any
                                                                          way respond to, or assess the effects of
      "Finished stock" also includes whiskey and                          "pollutants".
      alcoholic products being aged, unless there is
      a Coinsurance percentage shown for Business                 The expiration date of this policy will not cut
      Income in the Declarations.                                 short the "period of restoration".
      "Finished stock" does not include stock you              4. "Pollutants" means any solid, liquid, gaseous or
      have manufactured that is held for sale on the              thermal irritant or contaminant, including
      premises of any retail outlet insured under this            smoke, vapor, soot, fumes, acids, alkalis,
      Coverage Part.                                              chemicals and waste. Waste includes materials
                                                                  to be recycled, reconditioned or reclaimed.
   2. "Operations" means:
                                                               5. "Rental Value" means Business Income that
      a. Your business activities occurring at the                consists of:
          described premises; and
                                                                  a. Net Income (Net Profit or Loss before
      b. The tenantability of the described premises,                 income taxes) that would have been earned
          if coverage for Business Income Including                   or incurred as rental income from tenant
          "Rental Value" or "Rental Value" applies.                   occupancy of the premises described in the
   3. "Period of restoration" means the period of time                Declarations as furnished and equipped by
      that:                                                           you, including fair rental value of any
                                                                      portion of the described premises which is
      a. Begins:
                                                                      occupied by you; and
         (1) 72 hours after the time of direct physical
              loss or damage for Business Income                  b. Continuing normal operating expenses
              Coverage; or                                            incurred in connection with that premises,
                                                                      including:
         (2) Immediately after the time of direct
              physical loss or damage for Extra                      (1) Payroll; and
              Expense Coverage;                                      (2) The amount of charges which are the
                                                                          legal obligation of the tenant(s) but
          caused by or resulting from any Covered
          Cause of Loss at the described premises;                        would otherwise be your obligations.
          and                                                  6. "Suspension" means:
      b. Ends on the earlier of:                                  a. The slowdown or cessation of your
                                                                      business activities; or
         (1) The date when the property at the
              described premises should be repaired,              b. That a part or all of the described premises
              rebuilt or replaced with reasonable                     is rendered untenantable, if coverage for
              speed and similar quality; or                           Business Income Including "Rental Value"
                                                                      or "Rental Value" applies.
         (2) The date when business is resumed at a
              new permanent location.
      "Period of restoration" does not include any
      increased period required due to the
      enforcement of or compliance with any
      ordinance or law that:
         (1) Regulates the construction, use or
              repair, or requires the tearing down, of
              any property; or




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                                                                                        COMMERCIAL PROPERTY




                        COMMERCIAL PROPERTY CONDITIONS
This Coverage Part is subject to the following conditions, the Common Policy Conditions and applicable Loss
Conditions and Additional Conditions in Commercial Property Coverage Forms.

A. CONCEALMENT, MISREPRESENTATION OR                          F. NO BENEFIT TO BAILEE
   FRAUD                                                         No person or organization, other than you, having
    This Coverage Part is void in any case of fraud by           custody of Covered Property will benefit from this
    you as it relates to this Coverage Part at any time. It      insurance.
    is also void if you or any other insured, at any time,    G. OTHER INSURANCE
    intentionally conceal or misrepresent a material
    fact concerning:                                             1.   You may have other insurance subject to the
                                                                      same plan, terms, conditions and provisions as
    1.   This Coverage Part;                                          the insurance under this Coverage Part. If you
    2.   The Covered Property;                                        do, we will pay our share of the covered loss or
    3.   Your interest in the Covered Property; or                    damage. Our share is the proportion that the
                                                                      applicable Limit of Insurance under this
    4.   A claim under this Coverage Part.                            Coverage Part bears to the Limits of Insurance
B. CONTROL OF PROPERTY                                                of all insurance covering on the same basis.
    Any act or neglect of any person other than you              2.   If there is other insurance covering the same
    beyond your direction or control will not affect this             loss or damage, other than that described in 1.
    insurance.                                                        above, we will pay only for the amount of co-
    The breach of any condition of this Coverage Part                 vered loss or damage in excess of the amount
    at any one or more locations will not affect                      due from that other insurance, whether you
    coverage at any location where, at the time of loss               can collect on it or not. But we will not pay
    or damage, the breach of condition does not exist.                more than the applicable Limit of Insurance.
C. INSURANCE UNDER TWO OR MORE                                H. POLICY PERIOD, COVERAGE TERRITORY
   COVERAGES                                                     Under this Coverage Part:
    If two or more of this policy's coverages apply to           1.   We cover loss or damage commencing:
    the same loss or damage, we will not pay more                     a.   During the policy period shown in the De-
    than the actual amount of the loss or damage.                          clarations; and
D. LEGAL ACTION AGAINST US                                            b. Within the coverage territory.
    No one may bring a legal action against us under             2.   The coverage territory is:
    this Coverage Part unless:
                                                                      a.   The United States of America (including its
    1.   There has been full compliance with all of the                    territories and possessions);
         terms of this Coverage Part; and
                                                                      b. Puerto Rico; and
    2.   The action is brought within 2 years after the
         date on which the direct physical loss or                    c.   Canada.
         damage occurred.
E. LIBERALIZATION
    If we adopt any revision that would broaden the
    coverage under this Coverage Part without
    additional premium within 45 days prior to or
    during the policy period, the broadened coverage
    will immediately apply to this Coverage Part.




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I.    TRANSFER OF RIGHTS OF RECOVERY                         1.   Prior to a loss to your Covered Property or
      AGAINST OTHERS TO US                                        Covered Income.
      If any person or organization to or for whom we        2.   After a loss to your Covered Property or Covered
      make payment under this Coverage Part has rights            Income only if, at time of loss, that party is one of
      to recover damages from another, those rights are           the following:
      transferred to us to the extent of our payment. That        a.   Someone insured by this insurance;
      person or organization must do everything
      necessary to secure our rights and must do                  b. A business firm:
      nothing after loss to impair them. But you may                   (1) Owned or controlled by you; or
      waive your rights against another party in writing:              (2) That owns or controls you; or
                                                                  c.   Your tenant.
                                                             This will not restrict your insurance.




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POLICY NUMBER: IMA359733                                                                  COMMERCIAL PROPERTY
                                                                                                  CP 04 11 09 17

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                              PROTECTIVE SAFEGUARDS
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART
   STANDARD PROPERTY POLICY

                                                    SCHEDULE

                                                                                         Protective Safeguards
         Premises Number                         Building Number                          Symbols Applicable
               1                                           1                       P-9




Describe Any "P-9":
 WARRANTING AUTOMATIC SPRINKLER SYSTEM



Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following is added to the Commercial Property           B. The following is added to the Exclusions section
   Conditions:                                                    of:
   Protective Safeguards                                          Causes Of Loss – Basic Form
   As a condition of this insurance, you are required             Causes Of Loss – Broad Form
   to:                                                            Causes Of Loss – Special Form
   1. Maintain the protective safeguards listed in the            Mortgageholders Errors And Omissions Coverage
       Schedule, and over which you have control, in              Form
       complete working order;
                                                                  Standard Property Policy
   2. Actively engage and maintain in the "on"
       position at all times any automatic fire alarm or          We will not pay for loss or damage caused by or
       other automatic system listed in the Schedule;             resulting from fire if, prior to the fire, you failed to
       and                                                        comply with any condition set forth in Paragraph
                                                                  A.
   3. Notify us if you know of any suspension of or
       impairment in any protective safeguard listed in        C. The protective safeguards to which this
       the Schedule.                                              endorsement applies are identified by the following
                                                                  symbols:
       However, if part of an Automatic Sprinkler
       System or Automatic Commercial Cooking                     "P-1" Automatic Sprinkler System, including
       Exhaust And Extinguishing System is shut off               related supervisory services.
       due to breakage, leakage, freezing conditions
       or opening of sprinkler heads, notification to us
       will not be necessary if you can restore full
       protection within 48 hours.




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   Automatic Sprinkler System means:                          "P-3" Security Service, with a recording system
       a. Any       automatic   fire    protective  or        or watch clock, making hourly rounds covering the
           extinguishing system, including connected:         entire building, when the premises are not in
                                                              actual operation.
          (1) Sprinklers and discharge nozzles;
                                                              "P-4" Service Contract with a privately owned
          (2) Ducts, pipes, valves and fittings;              fire department providing fire protection service to
          (3) Tanks, their component parts and                the described premises.
               supports; and                                  "P-5" Automatic Commercial Cooking Exhaust
          (4) Pumps and private fire protection mains.        And Extinguishing System installed on cooking
                                                              appliances and having the following components:
       b. When supplied from an automatic fire
           protective system:                                    a. Hood;
          (1) Non-automatic fire protective systems;             b. Grease removal device;
               and                                               c. Duct system; and
          (2) Hydrants, standpipes and outlets.                  d. Wet chemical fire extinguishing equipment.
   "P-2" Automatic Fire Alarm, protecting the entire          "P-9", the protective system described in the
   building, that is:                                         Schedule.
       a. Connected to a central station; or
       b. Reporting to a public or private fire alarm
           station.




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                                                                                      COMMERCIAL PROPERTY
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                     CAUSES OF LOSS – SPECIAL FORM
Words and phrases that appear in quotation marks have special meaning. Refer to Section G. Definitions.

A. Covered Causes Of Loss                                           (4) Earth sinking (other than sinkhole
   When Special is shown in the Declarations,                            collapse), rising or shifting including soil
   Covered Causes of Loss means direct physical                          conditions      which     cause     settling,
   loss unless the loss is excluded or limited in this                   cracking or other disarrangement of
   policy.                                                               foundations or other parts of realty. Soil
                                                                         conditions        include       contraction,
B. Exclusions                                                            expansion, freezing, thawing, erosion,
   1. We will not pay for loss or damage caused                          improperly compacted soil and the
       directly or indirectly by any of the following.                   action of water under the ground
       Such loss or damage is excluded regardless of                     surface.
       any other cause or event that contributes                     But if Earth Movement, as described in
       concurrently or in any sequence to the loss.                  b.(1) through (4) above, results in fire or
      a. Ordinance Or Law                                            explosion, we will pay for the loss or
         The enforcement of or compliance with any                   damage caused by that fire or explosion.
         ordinance or law:                                          (5) Volcanic eruption, explosion or effusion.
                                                                         But if volcanic eruption, explosion or
        (1) Regulating the construction, use or
            repair of any property; or                                   effusion results in fire, building glass
                                                                         breakage or Volcanic Action, we will pay
        (2) Requiring the tearing down of any                            for the loss or damage caused by that
            property, including the cost of removing                     fire, building glass breakage or Volcanic
            its debris.                                                  Action.
         This exclusion, Ordinance Or Law, applies                       Volcanic Action means direct loss or
         whether the loss results from:                                  damage resulting from the eruption of a
           (a) An ordinance or law that is enforced                      volcano when the loss or damage is
                even if the property has not been                        caused by:
                damaged; or                                             (a) Airborne volcanic blast or airborne
           (b) The increased costs incurred to                               shock waves;
                comply with an ordinance or law in                      (b) Ash, dust or particulate matter; or
                the course of construction, repair,
                renovation, remodeling or demolition                    (c) Lava flow.
                of property, or removal of its debris,                   With respect to coverage for Volcanic
                following a physical loss to that                        Action as set forth in (5)(a), (5)(b) and
                property.                                                (5)(c), all volcanic eruptions that occur
                                                                         within any 168-hour period will constitute
      b. Earth Movement
                                                                         a single occurrence.
        (1) Earthquake, including tremors and
            aftershocks and any earth sinking, rising                    Volcanic Action does not include the
            or shifting related to such event;                           cost to remove ash, dust or particulate
                                                                         matter that does not cause direct
        (2) Landslide, including any earth sinking,                      physical loss or damage to the
            rising or shifting related to such event;                    described property.
        (3) Mine subsidence, meaning subsidence                      This exclusion applies regardless of
            of a man-made mine, whether or not                       whether any of the above, in Paragraphs
            mining activity has ceased;                              (1) through (5), is caused by an act of
                                                                     nature or is otherwise caused.




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      c. Governmental Action                                         (2) Warlike action by a military force,
         Seizure or destruction of property by order                     including action in hindering or
         of governmental authority.                                      defending against an actual or expected
                                                                         attack, by any government, sovereign or
         But we will pay for loss or damage caused                       other authority using military personnel
         by or resulting from acts of destruction                        or other agents; or
         ordered by governmental authority and
         taken at the time of a fire to prevent its                  (3) Insurrection,    rebellion,    revolution,
         spread, if the fire would be covered under                      usurped power, or action taken by
         this Coverage Part.                                             governmental authority in hindering or
                                                                         defending against any of these.
      d. Nuclear Hazard
                                                                  g. Water
         Nuclear reaction or radiation, or radioactive
         contamination, however caused.                             (1) Flood, surface water, waves (including
                                                                         tidal wave and tsunami), tides, tidal
         But if nuclear reaction or radiation, or                        water, overflow of any body of water, or
         radioactive contamination, results in fire, we                  spray from any of these, all whether or
         will pay for the loss or damage caused by                       not driven by wind (including storm
         that fire.                                                      surge);
      e. Utility Services                                           (2) Mudslide or mudflow;
         The failure of power, communication, water                 (3) Water that backs up or overflows or is
         or other utility service supplied to the                        otherwise discharged from a sewer,
         described premises, however caused, if the                      drain, sump, sump pump or related
         failure:                                                        equipment;
        (1) Originates away from the described                      (4) Water under the ground surface
              premises; or                                               pressing on, or flowing or seeping
        (2) Originates at the described premises,                        through:
              but only if such failure involves                         (a) Foundations, walls, floors or paved
              equipment used to supply the utility                           surfaces;
              service to the described premises from
              a source away from the described                          (b) Basements, whether paved or not; or
              premises.                                                 (c) Doors, windows or other openings;
         Failure of any utility service includes lack of                     or
         sufficient capacity and reduction in supply.               (5) Waterborne       material     carried    or
         Loss or damage caused by a surge of                             otherwise moved by any of the water
         power is also excluded, if the surge would                      referred to in Paragraph (1), (3) or (4),
         not have occurred but for an event causing                      or material carried or otherwise moved
         a failure of power.                                             by mudslide or mudflow.
         But if the failure or surge of power, or the                This exclusion applies regardless of
         failure of communication, water or other                    whether any of the above, in Paragraphs
         utility service, results in a Covered Cause of              (1) through (5), is caused by an act of
         Loss, we will pay for the loss or damage                    nature or is otherwise caused. An example
         caused by that Covered Cause of Loss.                       of a situation to which this exclusion applies
                                                                     is the situation where a dam, levee, seawall
         Communication services include but are not                  or other boundary or containment system
         limited to service relating to Internet access              fails in whole or in part, for any reason, to
         or access to any electronic, cellular or                    contain the water.
         satellite network.
      f. War And Military Action
        (1) War, including undeclared or civil war;




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          But if any of the above, in Paragraphs (1)                 d.(1) Wear and tear;
          through (5), results in fire, explosion or                   (2) Rust or other corrosion, decay,
          sprinkler leakage, we will pay for the loss or                     deterioration, hidden or latent defect or
          damage caused by that fire, explosion or                           any quality in property that causes it to
          sprinkler leakage (if sprinkler leakage is a                       damage or destroy itself;
          Covered Cause of Loss).
                                                                       (3) Smog;
      h. "Fungus", Wet Rot, Dry Rot And
          Bacteria                                                     (4) Settling,      cracking,      shrinking      or
                                                                             expansion;
          Presence, growth, proliferation, spread or
          any activity of "fungus", wet or dry rot or                  (5) Nesting or infestation, or discharge or
          bacteria.                                                          release of waste products or secretions,
                                                                             by insects, birds, rodents or other
          But if "fungus", wet or dry rot or bacteria                        animals.
          result in a "specified cause of loss", we will
          pay for the loss or damage caused by that                    (6) Mechanical         breakdown,        including
          "specified cause of loss".                                         rupture or bursting caused by centrifugal
                                                                             force. But if mechanical breakdown
          This exclusion does not apply:                                     results in elevator collision, we will pay
         (1) When "fungus", wet or dry rot or bacteria                       for the loss or damage caused by that
              result from fire or lightning; or                              elevator collision.
         (2) To the extent that coverage is provided                   (7) The following causes of loss to personal
              in the Additional Coverage, Limited                            property:
              Coverage For "Fungus", Wet Rot, Dry                           (a) Dampness         or      dryness        of
              Rot And Bacteria, with respect to loss or                          atmosphere;
              damage by a cause of loss other than
              fire or lightning.                                            (b) Changes in or extremes                  of
                                                                                 temperature; or
      Exclusions B.1.a. through B.1.h. apply whether
      or not the loss event results in widespread                           (c) Marring or scratching.
      damage or affects a substantial area.                             But if an excluded cause of loss that is
   2. We will not pay for loss or damage caused by                      listed in 2.d.(1) through (7) results in a
      or resulting from any of the following:                           "specified cause of loss" or building glass
                                                                        breakage, we will pay for the loss or
      a. Artificially generated electrical, magnetic or                 damage caused by that "specified cause of
          electromagnetic energy that damages,                          loss" or building glass breakage.
          disturbs, disrupts or otherwise interferes
          with any:                                                  e. Explosion of steam boilers, steam pipes,
                                                                        steam engines or steam turbines owned or
         (1) Electrical or electronic wire, device,                     leased by you, or operated under your
              appliance, system or network; or                          control. But if explosion of steam boilers,
         (2) Device, appliance, system or network                       steam pipes, steam engines or steam
              utilizing cellular or satellite technology.               turbines results in fire or combustion
          For the purpose of this exclusion, electrical,                explosion, we will pay for the loss or
          magnetic or electromagnetic energy                            damage caused by that fire or combustion
          includes but is not limited to:                               explosion. We will also pay for loss or
                                                                        damage caused by or resulting from the
             (a) Electrical current, including arcing;                  explosion of gases or fuel within the furnace
             (b) Electrical charge produced or                          of any fired vessel or within the flues or
                   conducted by a magnetic or                           passages through which the gases of
                   electromagnetic field;                               combustion pass.
             (c) Pulse of electromagnetic energy; or                 f. Continuous or repeated seepage or
                                                                        leakage of water, or the presence or
             (d) Electromagnetic             waves        or
                                                                        condensation of humidity, moisture or
                   microwaves.
                                                                        vapor, that occurs over a period of 14 days
          But if fire results, we will pay for the loss or              or more.
          damage caused by that fire.
      b. Delay, loss of use or loss of market.
      c. Smoke, vapor or gas from agricultural
          smudging or industrial operations.




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      g. Water, other liquids, powder or molten                       This exclusion, k., does not apply:
          material that leaks or flows from plumbing,                    (a) To the extent that coverage is
          heating, air conditioning or other equipment                        provided      under the Additional
          (except fire protective systems) caused by                          Coverage, Collapse; or
          or resulting from freezing, unless:
                                                                         (b) To collapse caused by one or more
         (1) You do your best to maintain heat in the                         of the following:
              building or structure; or
                                                                              (i) The "specified causes of loss";
         (2) You drain the equipment and shut off
              the supply if the heat is not maintained.                      (ii) Breakage of building glass;
      h. Dishonest or criminal act (including theft) by                     (iii) Weight of rain that collects on a
          you, any of your partners, members,                                     roof; or
          officers, managers, employees (including                          (iv) Weight of people or personal
          temporary employees and leased workers),                                property.
          directors,      trustees      or    authorized
                                                                   l. Discharge, dispersal, seepage, migration,
          representatives , whether acting alone or in
                                                                      release or escape of "pollutants" unless the
          collusion with each other or with any other                 discharge, dispersal, seepage, migration,
          party; or theft by any person to whom you                   release or escape is itself caused by any of
          entrust the property for any purpose,
                                                                      the "specified causes of loss". But if the
          whether acting alone or in collusion with                   discharge, dispersal, seepage, migration,
          any other party.                                            release or escape of "pollutants" results in a
          This exclusion:                                             "specified cause of loss", we will pay for the
         (1) Applies whether or not an act occurs                     loss or damage caused by that "specified
              during your normal hours of operation;                  cause of loss".
         (2) Does not apply to acts of destruction by                 This exclusion, I., does not apply to
              your employees (including temporary                     damage to glass caused by chemicals
              employees and leased workers) or                        applied to the glass.
              authorized representatives ; but theft by           m. Neglect of an insured to use all reasonable
              your employees (including temporary                     means to save and preserve property from
              employees and leased workers) or                        further damage at and after the time of loss.
              authorized representatives        is not
                                                               3. We will not pay for loss or damage caused by
              covered.                                            or resulting from any of the following, 3.a.
       i. Voluntary parting with any property by you              through 3.c. But if an excluded cause of loss
          or anyone else to whom you have entrusted               that is listed in 3.a. through 3.c. results in a
          the property if induced to do so by any                 Covered Cause of Loss, we will pay for the
          fraudulent scheme, trick, device or false               loss or damage caused by that Covered Cause
          pretense.                                               of Loss.
      j. Rain, snow, ice or sleet to personal                     a. Weather conditions. But this exclusion only
          property in the open.                                       applies if weather conditions contribute in
      k. Collapse, including any of the following                     any way with a cause or event excluded in
          conditions of property or any part of the                   Paragraph 1. above to produce the loss or
          property:                                                   damage.
         (1) An abrupt falling down or caving in;                 b. Acts or decisions, including the failure to act
                                                                      or decide, of any person, group,
         (2) Loss of structural integrity, including                  organization or governmental body.
              separation of parts of the property or
              property in danger of falling down or               c. Faulty, inadequate or defective:
              caving in; or                                          (1) Planning,         zoning,    development,
         (3) Any cracking, bulging, sagging, bending,                     surveying, siting;
              leaning, settling, shrinkage or expansion              (2) Design, specifications, workmanship,
              as such condition relates to (1) or (2)                     repair,      construction,     renovation,
              above.                                                      remodeling, grading, compaction;
          But if collapse results in a Covered Cause                 (3) Materials used in repair, construction,
          of Loss at the described premises, we will                      renovation or remodeling; or
          pay for the loss or damage caused by that
                                                                     (4) Maintenance;
          Covered Cause of Loss.




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         of part or all of any property on or off the            b. Leasehold Interest Coverage Form
         described premises.                                       (1) Paragraph B.1.a., Ordinance Or Law,
   4. Special Exclusions                                               does not apply to insurance under this
      The following provisions apply only to the                       Coverage Form.
      specified Coverage Forms:                                    (2) We will not pay for any loss caused by:
      a. Business Income (And Extra Expense)                          (a) Your cancelling the lease;
         Coverage Form, Business Income                               (b) The       suspension,      lapse    or
         (Without Extra Expense) Coverage Form,                            cancellation of any license; or
         Or Extra Expense Coverage Form
                                                                      (c) Any other consequential loss.
         We will not pay for:
                                                                 c. Legal Liability Coverage Form
        (1) Any loss caused by or resulting from:
                                                                   (1) The following exclusions do not apply to
           (a) Damage or destruction of "finished                      insurance under this Coverage Form:
                stock"; or
                                                                      (a) Paragraph B.1.a. Ordinance Or Law;
           (b) The time required to reproduce
                "finished stock".                                     (b) Paragraph B.1.c. Governmental
                                                                           Action;
            This exclusion does not apply to Extra
            Expense.                                                  (c) Paragraph B.1.d. Nuclear Hazard;
        (2) Any loss caused by or resulting from                      (d) Paragraph B.1.e. Utility Services;
            direct physical loss or damage to radio                        and
            or television antennas (including satellite               (e) Paragraph B.1.f. War And Military
            dishes) and their lead-in wiring, masts or                     Action.
            towers.
                                                                   (2) The following additional exclusions
        (3) Any increase of loss caused by or                          apply to insurance under this Coverage
            resulting from:                                            Form:
           (a) Delay in rebuilding, repairing or                       (a) Contractual Liability
                replacing the property or resuming
                                                                           We will not defend any claim or
                "operations", due to interference at                       "suit", or pay damages that you are
                the location of the rebuilding, repair                     legally liable to pay, solely by reason
                or replacement by strikers or other
                                                                           of your assumption of liability in a
                persons; or                                                contract or agreement. But this
           (b) Suspension, lapse or cancellation of                        exclusion does not apply to a written
                any license, lease or contract. But if                     lease agreement in which you have
                the suspension, lapse or cancellation                      assumed liability for building damage
                is     directly   caused     by    the                     resulting from an actual or attempted
                "suspension" of "operations", we will                      burglary or robbery, provided that:
                cover such loss that affects your
                                                                           (i) Your assumption of liability was
                Business Income during the "period                             executed prior to the accident;
                of restoration" and any extension of                           and
                the "period of restoration" in
                accordance with the terms of the                          (ii) The building is Covered Property
                Extended         Business      Income                          under this Coverage Form.
                Additional      Coverage    and    the                 (b) Nuclear Hazard
                Extended Period Of Indemnity
                Optional Coverage or any variation                         We will not defend any claim or
                of these.                                                  "suit", or pay any damages, loss,
                                                                           expense or obligation, resulting from
        (4) Any Extra Expense caused by or                                 nuclear reaction or radiation, or
            resulting from suspension, lapse or                            radioactive contamination, however
            cancellation of any license, lease or                          caused.
            contract beyond the "period of
            restoration".
        (5) Any other consequential loss.




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   5. Additional Exclusion                                        d. Building materials and supplies not
      The following provisions apply only to the                      attached as part of the building or structure,
      specified property:                                             caused by or resulting from theft.
      Loss Or Damage To Products                                      However, this limitation does not apply to:
      We will not pay for loss or damage to any                      (1) Building materials and supplies held for
      merchandise, goods or other product caused                          sale by you, unless they are insured
      by or resulting from error or omission by any                       under the Builders Risk Coverage Form;
      person or entity (including those having                            or
      possession under an arrangement where work                     (2) Business Income Coverage or Extra
      or a portion of the work is outsourced) in any                      Expense Coverage.
      stage of the development, production or use of              e. Property that is missing, where the only
      the product, including planning, testing,                       evidence of the loss or damage is a
      processing,        packaging,        installation,              shortage disclosed on taking inventory, or
      maintenance or repair. This exclusion applies                   other instances where there is no physical
      to any effect that compromises the form,                        evidence to show what happened to the
      substance or quality of the product. But if such                property.
      error or omission results in a Covered Cause of
      Loss, we will pay for the loss or damage                     f. Property that has been transferred to a
      caused by that Covered Cause of Loss.                           person or to a place outside the described
                                                                      premises on the basis of unauthorized
C. Limitations                                                        instructions.
   The following limitations apply to all policy forms            g. Lawns, trees, shrubs or plants which are
   and endorsements, unless otherwise stated:                         part of a vegetated roof, caused by or
   1. We will not pay for loss of or damage to                        resulting from:
      property, as described and limited in this                     (1) Dampness or dryness of atmosphere or
      section. In addition, we will not pay for any loss                  of soil supporting the vegetation;
      that is a consequence of loss or damage as
      described and limited in this section.                         (2) Changes in or extremes of temperature;
      a. Steam boilers, steam pipes, steam engines                   (3) Disease;
          or steam turbines caused by or resulting                   (4) Frost or hail; or
          from any condition or event inside such
                                                                     (5) Rain, snow, ice or sleet.
          equipment. But we will pay for loss of or
          damage to such equipment caused by or                2. We will not pay for loss of or damage to the
          resulting from an explosion of gases or fuel            following types of property unless caused by
          within the furnace of any fired vessel or               the "specified causes of loss" or building glass
          within the flues or passages through which              breakage:
          the gases of combustion pass.                           a. Animals, and then only if they are killed or
      b. Hot water boilers or other water heating                     their destruction is made necessary.
          equipment caused by or resulting from any               b. Fragile articles such as statuary, marbles,
          condition or event inside such boilers or                   chinaware and porcelains, if broken. This
          equipment, other than an explosion.                         restriction does not apply to:
      c. The interior of any building or structure, or               (1) Glass; or
          to personal property in the building or
          structure, caused by or resulting from rain,               (2) Containers of property held for sale.
          snow, sleet, ice, sand or dust, whether                 c. Builders' machinery, tools and equipment
          driven by wind or not, unless:                              owned by you or entrusted to you, provided
                                                                      such property is Covered Property.
         (1) The building or structure first sustains
              damage by a Covered Cause of Loss to                    However, this limitation does not apply:
              its roof or walls through which the rain,              (1) If the property is located on or within
              snow, sleet, ice, sand or dust enters; or                   100 feet of the described premises,
         (2) The loss or damage is caused by or                           unless the premises is insured under the
              results from thawing of snow, sleet or                      Builders Risk Coverage Form; or
              ice on the building or structure.




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          (2) To Business Income Coverage or to                2. We will pay for direct physical loss or damage
               Extra Expense Coverage.                            to Covered Property, caused by abrupt
   3. The special limit shown for each category, a.               collapse of a building or any part of a building
      through d., is the total limit for loss of or               that is insured under this Coverage Form or
      damage to all property in that category. The                that contains Covered Property insured under
      special limit applies to any one occurrence of              this Coverage Form, if such collapse is caused
      theft, regardless of the types or number of                 by one or more of the following:
      articles that are lost or damaged in that                   a. Building decay that is hidden from view,
      occurrence. The special limits are (unless a                    unless the presence of such decay is
      higher limit is shown in the Declarations):                     known to an insured prior to collapse;
      a. $2,500 for furs, fur garments and garments               b. Insect or vermin damage that is hidden
           trimmed with fur.                                          from view, unless the presence of such
      b. $2,500 for jewelry, watches, watch                           damage is known to an insured prior to
           movements, jewels, pearls, precious and                    collapse;
           semiprecious stones, bullion, gold, silver,            c. Use of defective material or methods in
           platinum and other precious alloys or                      construction, remodeling or renovation if the
           metals. This limit does not apply to jewelry               abrupt collapse occurs during the course of
           and watches worth $100 or less per item.                   the construction, remodeling or renovation.
      c. $2,500 for patterns, dies, molds and forms.              d. Use of defective material or methods in
      d. $250 for stamps, tickets, including lottery                  construction, remodeling or renovation if the
           tickets held for sale, and letters of credit.              abrupt      collapse    occurs     after   the
                                                                      construction, remodeling or renovation is
      These special limits are part of, not in addition               complete, but only if the collapse is caused
      to, the Limit of Insurance applicable to the                    in part by:
      Covered Property.
                                                                     (1) A cause of loss listed in 2.a. or 2.b.;
      This limitation, C.3., does not apply to
      Business Income Coverage or to Extra                           (2) One or more of the "specified causes of
      Expense Coverage.                                                   loss";
   4. We will not pay the cost to repair any defect to               (3) Breakage of building glass;
      a system or appliance from which water, other                  (4) Weight of people or personal property;
      liquid, powder or molten material escapes. But                      or
      we will pay the cost to repair or replace                      (5) Weight of rain that collects on a roof.
      damaged parts of fire-extinguishing equipment
      if the damage:                                           3. This Additional Coverage – Collapse does
                                                                  not apply to:
      a. Results in discharge of any substance from
           an automatic fire protection system; or                a. A building or any part of a building that is in
                                                                      danger of falling down or caving in;
      b. Is directly caused by freezing.
                                                                  b. A part of a building that is standing, even if
      However, this limitation does not apply to                      it has separated from another part of the
      Business Income Coverage or to Extra                            building; or
      Expense Coverage.
                                                                  c. A building that is standing or any part of a
D. Additional Coverage – Collapse                                     building that is standing, even if it shows
   The coverage provided under this Additional                        evidence of cracking, bulging, sagging,
   Coverage, Collapse, applies only to an abrupt                      bending, leaning, settling, shrinkage or
   collapse as described and limited in D.1. through                  expansion.
   D.7.                                                        4. With respect to the following property:
   1. For the purpose of this Additional Coverage,                a. Outdoor radio or television antennas
       Collapse, abrupt collapse means an abrupt                      (including satellite dishes) and their lead-in
       falling down or caving in of a building or any                 wiring, masts or towers;
       part of a building with the result that the
       building or part of the building cannot be
       occupied for its intended purpose.




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        b.   Awnings, gutters and downspouts;                 E. Additional Coverage – Limited Coverage For
        c.   Yard fixtures;                                      "Fungus", Wet Rot, Dry Rot And Bacteria
        d.   Outdoor swimming pools;                             1. The coverage described in E.2. and E.6. only
                                                                    applies when the "fungus", wet or dry rot or
        e.   Fences;                                                bacteria are the result of one or more of the
        f.   Piers, wharves and docks;                              following causes that occur during the policy
                                                                    period and only if all reasonable means were
        g.   Beach       or      diving   platforms      or
             appurtenances;                                         used to save and preserve the property from
                                                                    further damage at the time of and after that
        h. Retaining walls; and                                     occurrence:
          i. Walks, roadways and other paved surfaces;              a. A "specified cause of loss" other than fire or
        if an abrupt collapse is caused by a cause of                   lightning; or
        loss listed in 2.a. through 2.d., we will pay for           b. Flood, if the Flood Coverage Endorsement
        loss or damage to that property only if:                        applies to the affected premises.
            (1) Such loss or damage is a direct result of           This Additional Coverage does not apply to
                 the abrupt collapse of a building insured          lawns, trees, shrubs or plants which are part of
                 under this Coverage Form; and                      a vegetated roof.
            (2) The property is Covered Property under           2. We will pay for loss or damage by "fungus",
                 this Coverage Form.                                wet or dry rot or bacteria. As used in this
   5.   If personal property abruptly falls down or                 Limited Coverage, the term loss or damage
        caves in and such collapse is not the result of             means:
        abrupt collapse of a building, we will pay for              a. Direct physical loss or damage to Covered
        loss or damage to Covered Property caused by                    Property caused by "fungus", wet or dry rot
        such collapse of personal property only if:                     or bacteria, including the cost of removal of
        a. The collapse of personal property was                        the "fungus", wet or dry rot or bacteria;
             caused by a cause of loss listed in 2.a.               b. The cost to tear out and replace any part of
             through 2.d.;                                              the building or other property as needed to
        b. The personal property which collapses is                     gain access to the "fungus", wet or dry rot
             inside a building; and                                     or bacteria; and
        c. The property which collapses is not of a                 c. The cost of testing performed after removal,
             kind listed in 4., regardless of whether that              repair, replacement or restoration of the
             kind of property is considered to be                       damaged property is completed, provided
             personal property or real property.                        there is a reason to believe that "fungus",
                                                                        wet or dry rot or bacteria are present.
        The coverage stated in this Paragraph 5. does
        not apply to personal property if marring and/or         3. The coverage described under E.2. of this
        scratching is the only damage to that personal              Limited Coverage is limited to $15,000.
        property caused by the collapse.                            Regardless of the number of claims, this limit is
                                                                    the most we will pay for the total of all loss or
   6.   This Additional Coverage, Collapse, does not                damage arising out of all occurrences of
        apply to personal property that has not abruptly
                                                                    "specified causes of loss" (other than fire or
        fallen down or caved in, even if the personal               lightning) and Flood which take place in a 12-
        property shows evidence of cracking, bulging,               month period (starting with the beginning of the
        sagging, bending, leaning, settling, shrinkage
                                                                    present annual policy period). With respect to a
        or expansion.                                               particular occurrence of loss which results in
   7.   This Additional Coverage, Collapse, will not                "fungus", wet or dry rot or bacteria, we will not
        increase the Limits of Insurance provided in                pay more than a total of $15,000 even if the
        this Coverage Part.                                         "fungus", wet or dry rot or bacteria continue to
   8.   The term Covered Cause of Loss includes the                 be present or active, or recur, in a later policy
        Additional Coverage, Collapse, as described                 period.
        and limited in D.1. through D.7.




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   4. The coverage provided under this Limited               F. Additional Coverage Extensions
      Coverage does not increase the applicable                 1. Property In Transit
      Limit of Insurance on any Covered Property. If
      a particular occurrence results in loss or                   This Extension applies only to your personal
      damage by "fungus", wet or dry rot or bacteria,              property to which this form applies.
      and other loss or damage, we will not pay                    a. You may extend the insurance provided by
      more, for the total of all loss or damage, than                  this Coverage Part to apply to your
      the applicable Limit of Insurance on the                         personal property (other than property in
      affected Covered Property.                                       the care, custody or control of your
      If there is covered loss or damage to Covered                    salespersons) in transit more than 100 feet
      Property, not caused by "fungus", wet or dry rot                 from the described premises. Property must
      or bacteria, loss payment will not be limited by                 be in or on a motor vehicle you own, lease
      the terms of this Limited Coverage, except to                    or operate while between points in the
      the extent that "fungus", wet or dry rot or                      coverage territory.
      bacteria cause an increase in the loss. Any                  b. Loss or damage must be caused by or
      such increase in the loss will be subject to the                 result from one of the following causes of
      terms of this Limited Coverage.                                  loss:
   5. The terms of this Limited Coverage do not                       (1) Fire, lightning, explosion, windstorm or
      increase or reduce the coverage provided                             hail, riot or civil commotion, or
      under Paragraph F.2. (Water Damage, Other                            vandalism.
      Liquids, Powder Or Molten Material Damage)
                                                                      (2) Vehicle collision, upset or overturn.
      of this Causes Of Loss form or under the                             Collision means accidental contact of
      Additional Coverage, Collapse.
                                                                           your vehicle with another vehicle or
   6. The following, 6.a. or 6.b., applies only if                         object. It does not mean your vehicle's
      Business Income and/or Extra Expense                                 contact with the roadbed.
      Coverage applies to the described premises
                                                                      (3) Theft of an entire bale, case or package
      and only if the "suspension" of "operations"
                                                                           by forced entry into a securely locked
      satisfies all terms and conditions of the                            body or compartment of the vehicle.
      applicable Business Income and/or Extra                              There must be visible marks of the
      Expense Coverage Form:
                                                                           forced entry.
      a. If the loss which resulted in "fungus", wet or            c. The most we will pay for loss or damage
           dry rot or bacteria does not in itself                      under this Extension is $5,000.
           necessitate a "suspension" of "operations",
           but such "suspension" is necessary due to               This Coverage Extension is additional
           loss or damage to property caused by                    insurance.       The     Additional   Condition,
           "fungus", wet or dry rot or bacteria, then our          Coinsurance, does not apply to this Extension.
           payment under Business Income and/or                 2. Water Damage, Other Liquids, Powder Or
           Extra Expense is limited to the amount of               Molten Material Damage
           loss and/or expense sustained in a period
           of not more than 30 days. The days need                 If loss or damage caused by or resulting from
                                                                   covered water or other liquid, powder or molten
           not be consecutive.
                                                                   material damage loss occurs, we will also pay
      b. If a covered "suspension" of "operations"                 the cost to tear out and replace any part of the
           was caused by loss or damage other than                 building or structure to repair damage to the
           "fungus", wet or dry rot or bacteria but                system or appliance from which the water or
           remediation of "fungus", wet or dry rot or              other substance escapes. This Coverage
           bacteria prolongs the "period of restoration",          Extension does not increase the Limit of
           we will pay for loss and/or expense                     Insurance.
           sustained during the delay (regardless of
           when such a delay occurs during the
           "period of restoration"), but such coverage
           is limited to 30 days. The days need not be
           consecutive.




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   3. Glass                                                           (2) Accidental discharge or leakage of
      a. We will pay for expenses incurred to put up                       water or waterborne material as the
          temporary plates or board up openings if                         direct result of the breaking apart or
          repair or replacement of damaged glass is                        cracking of a water or sewer pipe
          delayed.                                                         caused by wear and tear, when the pipe
                                                                           is located off the described premises
      b. We will pay for expenses incurred to                              and is connected to or is part of a
          remove or replace obstructions when                              potable water supply system or sanitary
          repairing or replacing glass that is part of a                   sewer system operated by a public or
          building. This does not include removing or                      private utility service provider pursuant
          replacing window displays.                                       to authority granted by the state or
      This Coverage Extension F.3. does not                                governmental subdivision where the
      increase the Limit of Insurance.                                     described premises are located.
G. Definitions                                                         But water damage does not include loss or
                                                                       damage otherwise excluded under the
   1. "Fungus" means any type or form of fungus,
                                                                       terms of the Water Exclusion. Therefore, for
      including mold or mildew, and any mycotoxins,
      spores, scents or by-products produced or                        example, there is no coverage under this
      released by fungi.                                               policy in the situation in which discharge or
                                                                       leakage of water results from the breaking
   2. "Specified causes of loss" means the following:                  apart or cracking of a pipe which was
      fire; lightning; explosion; windstorm or hail;                   caused by or related to weather-induced
      smoke; aircraft or vehicles; riot or civil                       flooding, even        if   wear and tear
      commotion; vandalism; leakage from fire-                         contributed to the breakage or cracking. As
      extinguishing equipment; sinkhole collapse;                      another example, and also in accordance
      volcanic action; falling objects; weight of snow,                with the terms of the Water Exclusion, there
      ice or sleet; water damage.                                      is no coverage for loss or damage caused
      a. Sinkhole collapse means the sudden                            by or related to weather-induced flooding
           sinking or collapse of land into underground                which follows or is exacerbated by pipe
           empty spaces created by the action of                       breakage or cracking attributable to wear
           water on limestone or dolomite. This cause                  and tear.
           of loss does not include:                                   To the extent that accidental discharge or
          (1) The cost of filling sinkholes; or                        leakage of water falls within the criteria set
                                                                       forth in c.(1) or c.(2) of this definition of
          (2) Sinking or collapse of land into man-                    "specified causes of loss," such water is not
               made underground cavities.                              subject to the provisions of the Water
      b. Falling objects does not include loss or                      Exclusion which preclude coverage for
           damage to:                                                  surface water or water under the surface of
          (1) Personal property in the open; or                        the ground.
          (2) The interior of a building or structure, or
               property inside a building or structure,
               unless the roof or an outside wall of the
               building or structure is first damaged by
               a falling object.
      c. Water damage means:
          (1) Accidental discharge or leakage of
               water or steam as the direct result of the
               breaking apart or cracking of a
               plumbing, heating, air conditioning or
               other system or appliance (other than a
               sump system including its related
               equipment and parts), that is located on
               the described premises and contains
               water or steam; and




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POLICY NUMBER: IMA359733                                                             COMMERCIAL PROPERTY
                                                                                             CP 12 11 09 17

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                 BURGLARY AND ROBBERY PROTECTIVE
                           SAFEGUARDS
This endorsement modifies insurance provided under the following:

   COMMERCIAL PROPERTY COVERAGE PART

                                                  SCHEDULE

             Premises                              Building                       Protective Safeguards
                No.                                  No.                           Symbols Applicable

              1                                     1                            BR-4




Describe any "BR-4": WARRANTING CENTRAL STATION BURGLAR ALARM

Additional requirements, if any, for engagement of an automatic burglary alarm or other automatic
system listed in this Schedule (other than the requirements of Paragraph A.2.):



Information required to complete this Schedule, if not shown above, will be shown in the Declarations.

A. The following is added to the Commercial Property           3. Actively engage an automatic burglary alarm or
   Conditions:                                                    other automatic system, or parts thereof, in
   Burglary And Robbery Protective Safeguards                     accordance with any other requirements, if
                                                                  any, indicated in the Schedule; and
   As a condition of this insurance, you are required
   to:                                                         4. Notify us if you know of any suspension of or
                                                                  impairment in any protective safeguard listed in
   1. Maintain the protective safeguards listed in the            the Schedule.
       Schedule, and over which you have control, in
       complete working order;                                    However, notification to us of the suspension of
                                                                  or impairment in an automatic burglary alarm
   2. Actively engage any automatic burglary alarm                or other automatic system listed in the
       or other automatic system listed in the                    Schedule will not be necessary if you:
       Schedule and maintain it in the "on" position
       during all non-work hours and whenever the                 a. Can restore full protection within 48 hours
       premises are unoccupied;                                       of the suspension or impairment;




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       b. Provide at least one watchperson or other              2. "BR-2" Automatic Burglary Alarm, protecting
           means of surveillance at the premises                    the entire building, that has a loud sounding
           during all non-work hours and whenever the               gong or siren on the outside of the building.
           premises are otherwise unoccupied; and                3. "BR-3" Security Service, with a recording
       c. Provide at least one watchperson or other                 system or watch clock, making hourly rounds
           means of surveillance during work hours if               covering the entire building, when the premises
           the Schedule requires that the premises or               are not in actual operation.
           part thereof be protected during work hours.          4. "BR-4" The protective safeguard described in
B. The following is added to the Exclusions section                 the Schedule.
   of the Causes Of Loss – Special Form:
   Burglary And Robbery Protective Safeguards
   We will not pay for loss or damage caused by or
   resulting from theft if, prior to the theft, you failed
   to comply with any condition set forth in Paragraph
   A.
C. The protective safeguards to which this
   endorsement applies are identified by the following
   symbols:
   1. "BR-1" Automatic Burglary Alarm, protecting
       the entire building, that signals to:
       a. An outside central station; or
       b. A police station.




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      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    Water Back-Up And Sump Overflow

This endorsement modifies insurance provided under the following:

BUILDING AND PERSONAL PROPERTY COVERAGE FORM
CONDOMINIUM ASSOCIATION COVERAGE FORM
CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM


                                                    SCHEDULE

WATER BACK-UP AND SUMP OVERFLOW LIMIT :                    $      10,000 each occurrence




The following provision is added to Section A.5. Coverage Extensions:

Water Back-up And Sump Overflow

(1) We will pay for direct physical loss or damage to Covered Property caused by or resulting from:

    (a) Water which backs up through or overflows from a sewer or drain; or
    (b) Water which overflows from a sump, even if the overflow results from mechanical breakdown of a sump
        pump or its related equipment.

        However, with respect to Subparagraph (b) above, we will pay the cost of repairing or replacing a sump
        pump or its related equipment in the event of mechanical breakdown.

(2) The coverage described in Paragraph (1) of this Extension does not apply to loss or damage resulting from an
    insured’s failure to:

    (a) Keep a sump pump or its related equipment in proper working condition; or
    (b) Perform the routine maintenance or repair necessary to keep a sewer or drain free from obstructions.

(3) The most we will pay under this endorsement, for the total of all covered loss and expense, is the applicable
    WATER BACK-UP AND SUMP OVERFLOW LIMIT shown in the Schedule. Such Limit is part of, not in
    addition to, the Limit of Insurance applicable to the Covered Property.

(4) To the extent that the Water Exclusion might conflict with the coverage provided under this endorsement, the
    Water Exclusion does not apply to such coverage.


All other terms, conditions and exclusions remain unchanged.




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                  THIS ENDORSEMENT CHANGES THE1-1   FiledPLEASE
                                                POLICY.  11/13/20READ
                                                                   Page
                                                                      IT 116 of 157 Page ID
                                                                         CAREFULLY.
                                               #:124

                                        40+ AdvantagePAC™ for GAP
This endorsement modifies insurance provided under the following:

 BUILDING AND PERSONAL PROPERTY COVERAGE FORM                                       CAUSES OF LOSS - SPECIAL FORM
 BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE                                   BUSINESS INCOME (WITH EXTRA EXPENSE) COVERAGE
 FORM                                                                               FORM
 CONDOMINIUM ASSOCIATION COVERAGE FORM                                              COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                         SYNOPSIS OF COVERAGE ENHANCEMENTS PROVIDED BY THIS ENDORSEMENT

 Property – Changes to the Building/Personal Property or Condominium Association Form:
 Item Enhanced/New Coverage                                New Limits or Deductible Amounts                                                             Page
 1        Debris Removal                                                           $30,000 each location, each occurrence                                  2
 2        Fire Department Service Charge                                           $5,000 each occurrence                                                  3
 3        Pollutant Clean-Up & Removal                                             $20,000 expenses each described premises, each annual policy            3
                                                                                   period
 4        Ordinance Or Law                                                         $50,000 each described building; $100,000 annual aggregate –            3
                                                                                   Coverage A, B, C combined
 5        Forgery Or Alteration                                                    $2,500 each loss including legal expense                                6
 6        Fire Extinguisher Systems Recharge Expense                               $5,000 each occurrence                                                  7
 7        Prepackaged Software                                                     $5,000 annual aggregate                                                 8
 8        Newly Acquired / Constructed Property – Buildings                        $350,000 each building; 60 days period of coverage after                8
                                                                                   acquisition / construction begins
 9        Newly Acquired / Constructed Property – Business Personal Property       $150,000 business personal property at each building; 60 days           8
                                                                                   period of coverage after acquisition / construction begins
 10       Personal Effects & Property Of Others                                    $10,000 each described location subject to $2,500 any one item          9
 11       Valuable Papers & Records (Other Than Electronic Data)                   $25,000 each described premises                                         9
 12       Property Off-Premises                                                    $20,000 each occurrence                                                 9
 13       Outdoor Property – Trees, Shrubs, Plants                                 $5,000 each occurrence subject to $1,000 any one item                   9
 14       Outdoor Property – Fences; Radio / Television Antennas; Signs            $15,000 each occurrence fences; radio / television antennas             9
                                                                                   (broadened specified perils); $2,500 each occurrence per sign
                                                                                   (non-specified perils)
 15       Accounts Receivable                                                      $25,000 each occurrence at the described premises                      10
 16       Fine Arts                                                                $20,000 lesser of cost to restore, repair, or replace                  11
 17       Arson Reward                                                             Up to $10,000 each occurrence; $20,000 annual aggregate                11
 18       Theft Or Vandalism Reward                                                Up to $2,500 each occurrence; $5,000 annual aggregate                  12
 19       Lock And Key Replacement                                                 $5,000 each occurrence                                                 12
 20       Installation Coverage                                                    $15,000 each occurrence                                                12
 21       Tenant Building Glass                                                    $25,000 each described building                                        12
 22       Tenant Relocation Expense (Not Applicable In Massachusetts)              $750 each rented living quarters; $15,000 annual aggregate             13
 23       Employee Dishonesty                                                      $10,000 all claims or occurrence                                       13
 24       Business Personal Property Limit – Seasonal Increase                     25%                                                                    15
 25       Deductible – Tenant Building Glass; Employee Dishonesty                  $250 deductible                                                      12, 13
 26       Deductible – Fire Extinguisher Systems Recharge; Arson / Theft &         No deductible                                                        7, 11,
          Vandalism Reward; Tenant Relocation Expense                                                                                                     13
            Property – Changes to the Business Income (With Extra Expense) or (Without Extra Expense) Forms:
          Enhanced/New Coverage                              New Limits or Deductible Amounts                                                           Page
 27       Extended Business Income                                                 90 days                                                              17, 18
 28       Newly Acquired Locations                                                 $150,000 each location. 60 days period of coverage after             17, 18
                                                                                   acquisition/construction begins
                             Property – Changes to the Causes Of Loss – Special Form:
          Enhanced/New Coverage                           New Limits or Deductible Amounts                                                              Page
 29       Property In Transit – Your Vehicles                                      $15,000 each occurrence                                                 19
 30       Property In Transit – Non-owned Vehicles                                 $5,000 each occurrence                                                  19
 31       Fungus Clean-Up & Removal Expense****                                    $10,000 aggregate each policy period                                   ****
                         General Liability – Changes to the Commercial General Liability Form:
          Enhanced/New Coverage                              New Limits or Deductible Amounts                                                           Page
 32       Expected Or Intended Injury Or Damage                                    Use of reasonable force - property damage                              20
 33       Non-owned Watercraft                                                     Up to 51 feet long                                                     20
 34       Damage To Property - Customer’s Goods While On Premises                  $10,000 each occurrence                                                20
 35       Supplementary Payments – Cost Of Bail Bonds                              $2,500 each occurrence                                                 20
 36       Supplementary Payments – Insured Loss Of Earnings                        Up to $500 per day insured loss of earnings                            20
 37       Privacy & Information Security Third Party Notification And Outside      $5,000 annual aggregate expense reimbursement                          21
          Consultant Services Reimbursement
 38       Automatic Additional Insured – Managers & Lessors Of Premises            Automatic coverage for qualified person(s) or organization(s)         22
 39       Automatic Additional Insured – Lessors of Leased Equipment               Automatic coverage for qualified person(s) or organization(s)         23
 40       Liberalization Provision                                                 Included                                                              23
 41       Medical Expense Limit                                                    $10,000 any one person                                                Dec
 42       Pollution Excl. – Hostile Fire Exception **                              Up to policy limit                                                     **
          **** Refer to Property Combined Provisions Endorsement                   ** Refer to Commercial Gen. Liability Combined Provisions End.

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  A. COVERAGE AMENDMENTS TO THE BUILDING AND  PERSONAL PROPERTY COVERAGE FORM (CP 00 10)
                                          #:125
     OR THE CONDOMINIUM ASSOCIATION COVERAGE FORM (CP 00 17) – [WHICH EVER COVERAGE FORM IS
     ATTACHED TO THE POLICY]

      1. ADDITIONAL COVERAGES
          Provisions a., c., d. and e. in Section A.4. Additional Coverages are amended as follows:

           DEBRIS REMOVAL
              Subparagraphs a. (4) and (5) of Debris Removal of Section A.4. Additional Coverage are deleted and
              replaced by the following:
              a. Debris Removal
                  (4) We will pay up to an additional $30,000 for debris removal expense, for each location, in any one
                      occurrence of physical loss or damage to Covered Property, if one or both of the following
                      circumstances apply:
                      (a) The total of the actual debris removal expense plus the amount we pay for direct physical loss
                           or damage exceeds the Limit of Insurance on the Covered Property that has sustained loss or
                           damage.
                      (b) The actual debris removal expense exceeds 25% of the sum of the deductible plus the amount
                           that we pay for direct physical loss or damage to the Covered Property that has sustained loss
                           or damage.
                      Therefore, if Subparagraphs (4)(a) and/or (4)(b) apply, our total payment for direct physical loss or
                      damage and debris removal expense may reach but will never exceed the Limit of Insurance on the
                      Covered Property that has sustained loss or damage, plus $30,000.
                  (5) Examples
                      The following examples assume that there is no coinsurance penalty.
                      Example #1
                        Limit of Insurance                       $ 90,000
                        Amount of Deductible                     $ 500
                        Amount of Loss                           $ 50,000
                        Amount of Loss Payable                   $ 49,500
                                                              ($50,000 - $500)
                        Debris Removal Expense                   $ 10,000
                        Debris Removal Expense
                        Payable                                  $ 10,000
                        ($10,000 is 20% of $50,000)
                      The debris removal expense is less than 25% of the sum of the loss payable plus the deductible.
                      The sum of the loss payable and the debris removal expense ($49,500 + $10,000 = $59,500) is
                      less than the Limit of Insurance. Therefore the full amount of debris removal expense is payable in
                      accordance with the terms of Paragraph (3).

                       Example #2
                        Limit of Insurance                             $ 90,000
                        Amount of Deductible                           $ 500
                        Amount of Loss                                 $ 80,000
                        Amount of Loss Payable                         $ 79,500
                                                                    ($80,000 - $500)
                        Debris Removal Expense                         $ 50,000
                        Debris Removal Expense
                        Payable
                                       Basic Amount                     $ 10,500
                                       Additional Amount                $ 30,000
                       The basic amount payable for debris removal expense under the terms of Paragraph (3) is
                       calculated as follows: $80,000 ($79,500 + $500) x .25 = $20,000; capped at $10,500. The cap
                       applies because the sum of the loss payable ($79,500) and the basic amount payable for debris
                       removal expense ($10,500) cannot exceed the Limit of Insurance ($90,000).

                       The additional amount payable for debris removal expense is provided in accordance with the
                       terms of Paragraph (4) because the debris removal expense ($50,000) exceeds 25% of the loss
                       payable plus the deductible ($50,000 is 62.5% of $80,000), and because the sum of the loss




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                        payable and debris removal expense ($79,500 + $50,000 = $129,500) would exceed the Limit of
                        Insurance ($90,000). The additional amount of covered debris removal expense is $30,000, the
                        maximum payable under Paragraph (4). Thus the total payable for debris removal expense in this
                        example is $40,500; $9,500 of the debris removal expense is not covered.

           FIRE DEPARTMENT SERVICE CHARGE
              Paragraph c. Fire Department Service Charge of Section A.4. Additional Coverages is deleted and
              replaced with the following:

               c. Fire Department Service Charge
                  When the fire department is called to save or protect Covered Property from a Covered Cause of Loss,
                  we will pay up to $5,000 for service at each premises described in the Commercial Property
                  Coverage Part Declarations, unless a higher limit is shown in the Commercial Property Coverage
                  Part Declarations. Such limit is the most we will pay regardless of the number of responding fire
                  departments or fire units, and regardless of the number or type of service performed.

                    This Additional Coverage applies to your liability for fire department service charges:
                    (1) Assumed by contract or agreement prior to loss; or
                    (2) Required by local ordinance.

                    No deductible applies to this Additional Coverage.

           POLLUTANT CLEAN-UP AND REMOVAL
              Paragraph d. Pollutant Clean-up And Removal of Section A.4. Additional Coverages is deleted and
              replaced with the following:

               d. Pollutant Clean-up And Removal
                  We will pay your expense to extract "pollutants" from land or water at the described premises if the
                  discharge, dispersal, seepage, migration, release or escape of the "pollutants" is caused by or results
                  from a Covered Cause of Loss that occurs during the policy period. The expenses will be paid only if
                  they are reported to us in writing within 180 days of the date on which the Covered Cause of Loss
                  occurs.

                    This Additional Coverage does not apply to costs to test for, monitor or assess the existence,
                    concentration or effects of "pollutants". But we will pay for testing which is performed in the course of
                    extracting the "pollutants" from the land or water.

                    The most we will pay under this Additional Coverage for each described premises is $20,000 for the
                    sum of all covered expenses arising out of Covered Causes of Loss occurring during each separate
                    12-month period of this policy.

           ORDINANCE OR LAW
             Paragraph e. Increased Cost of Construction of Section A.4. Additional Coverages is deleted and
             replaced with the following:

               e. Ordinance or Law
                  (1) Coverage
                      (a) Coverage A – Coverage For Loss To The Undamaged Portion Of The Building
                          With respect to the building that has sustained covered direct physical damage, we will pay for
                          the loss in value of the undamaged portion of the building as a consequence of a requirement
                          to comply with an ordinance or law that requires demolition of undamaged parts of the same
                          building subject to the limit stated in Subparagraph (4) below.

                            The Limit of Insurance for Coverage A as described in the Schedule above is included in, and
                            does not increase the amount of, the Limit of Insurance noted in the Commercial Property
                            Coverage Part Declarations as applicable to the covered building.




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                        (b) Coverage B – Demolition Cost Coverage
                            With respect to the building that has sustained covered direct physical damage, we will pay the
                            cost to demolish and clear the site of undamaged parts of the same building, as a
                            consequence of a requirement to comply with an ordinance of law that requires demolition of
                            such undamaged property subject to the limit stated in Subparagraph (4) below.

                            The Limit of Insurance for Coverage B as described in the Schedule above is included in, and
                            does not increase the amount of, the Limit of Insurance noted in the Commercial Property
                            Coverage Part Declarations as applicable to the covered building.

                            Paragraph 1. Coinsurance in Section F. Additional Conditions does not apply to Coverage
                            B.

                        (c) Coverage C – Increased Cost Of Construction Coverage
                            i. With respect to the building that has sustained covered direct physical damage, we will pay
                               the increased cost to:
                               (i) Repair or reconstruct damaged portions of that building; and/or
                               (ii) Reconstruct or remodel undamaged portions of that building, whether or not
                                    demolition is required;
                               when increased cost is a consequence of a requirement to comply with the minimum
                               standards of the ordinance or law, subject to the limit stated in Subparagraph (4) below.

                                However,
                                (i) This Additional Coverage applies only if the restored or remodeled property is intended
                                     for similar occupancy as the current property, unless such occupancy is not permitted
                                     by zoning or land use ordinance or law.
                                (ii) We will not pay for the increased cost of construction if the building is not repaired,
                                     reconstructed or remodeled.

                            The Limit of Insurance for Coverage C as described in the Schedule above is included in, and
                            does not increase the amount of, the Limit of Insurance noted in the Commercial Property
                            Coverage Part Declarations as applicable to the covered building.

                            ii. When a building is damaged or destroyed and Coverage C applies to that building in
                                accordance with the above provisions, coverage for the increased cost of construction also
                                applies to repair or reconstruction of the following, subject to the same conditions stated
                                above:
                                (i) The cost of excavations, grading, backfilling and filling;
                                (ii) Foundation of the building;
                                (iii) Pilings; and
                                (iv) Underground pipes, flues and drains.

                                The items listed in Subparagraphs (i) through (iv) above are deleted from Property Not
                                Covered, but only with respect to the coverage described in Subparagraph (c)ii.

                            Paragraph 1. Coinsurance in Section F. Additional Conditions does not apply to Coverage
                            C.

                    (2) The coverage provided by this Ordinance or Law provision applies only if both (2)(a) and (2)(b) are
                        satisfied and are then subject to the qualifications set forth in (2)(c):
                        (a) The ordinance or law:
                             i. Regulates the demolition, construction or repair of buildings, or establishes zoning or land
                                 use requirements at the described premises; and
                             ii. Is in force at the time of loss.

                            But coverage under this Additional Coverage applies only in response to the minimum
                            requirements of the ordinance or law. Losses and costs incurred in complying with
                            recommended actions or standards that exceed actual requirements are not covered under
                            this endorsement.
                        (b) i. The building sustains direct physical damage that is covered under this policy and as a result
                            of such damage, you are required to comply with the ordinance or law; or



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                            ii. The building sustains both direct physical damage that is covered under this policy and
                                 direct physical damage that is not covered under this policy, and as a result of the building
                                 damage in its entirety, you are required to comply with the ordinance or law.
                            iii. But if the building sustains direct physical damage that is not covered under this policy. and
                                 such damage is the subject of the ordinance or law, then there is no coverage under this
                                 Additional Coverage even if the building has also sustained covered direct physical
                                 damage.
                        (c) In the situation described in Subparagraph (2)(b)(ii) above, we will not pay the full amount of
                            loss otherwise payable under the terms of Coverages A, B, and C of this Additional Coverage.
                            Instead, we will pay a proportion of such loss; meaning the proportion that the covered direct
                            physical damage bears to the total direct physical damage.

                            [Paragraph (7) of this Additional Coverage provides an example of this procedure.]

                            However, if the covered direct physical damage, alone, would have resulted in a requirement to
                            comply with the ordinance or law, then we will pay the full amount of loss otherwise payable
                            under the terms of Coverages A, B and C of this Additional Coverage.

                    (3) Under this Additional Coverage, we will not pay for:
                        (a) The enforcement of or compliance with any ordinance or law which requires the demolition,
                             repair, replacement, reconstruction, remodeling or remediation of property due to
                             contamination by “pollutants” or due to the presence, growth, proliferation, spread or any
                             activity of “fungus”, wet or dry rot or bacteria; or
                        (b) The costs associated with the enforcement of or compliance with any ordinance or law which
                             requires any insured or others to test for, monitor, clean up, remove, contain, treat, detoxify, or
                             neutralize, or in any way respond to, or assess the effects of “pollutants”, “fungus”, wet or dry
                             rot or bacteria.
                    (4) Under this Additional Coverage, we will not pay for any loss in value or any cost incurred due to an
                        ordinance or law that you were required to comply with before the time of the current loss, even in
                        the absence of building damage, if you failed to comply.
                    (5) The most we will pay, for the total of all covered losses is $50,000 per building subject to a
                        $100,000 annual aggregate limit for all buildings for Coverages A, B and C combined. Subject to
                        this Combined Limit of Insurance, the following payment provisions apply:
                        (a) When there is a loss of value of an undamaged portion of a building to which Coverage A
                             applies, the loss payment for that building, including damaged and undamaged portions will be
                             determined as follows:
                             i. If the Replacement Cost option applies and the property is being repaired or replaced, on
                                  the same or another premises, we will not pay more than the lesser of:
                                  (i) The amount you would actually spend to repair, rebuild, or reconstruct the building, but
                                       not for more than the amount it would cost to restore the building on the same
                                       premises and to the same height, floor area, style and comparable quality of the
                                       original property insured; or
                                  (ii) The Limit of Insurance applicable to such building as shown in the Commercial
                                       Property Coverage Part Declarations. (If this policy is endorsed to provide a
                                       Sublimit for a Covered Cause of Loss, the Limit of Insurance applicable to the building
                                       in the event of damage by such Covered Cause of Loss may be lower than the Limit of
                                       Insurance that otherwise would apply.)
                             ii. If the Replacement Cost Coverage Option applies and such building is not repaired or
                                  replaced, or if the Replacement Cost Coverage Option does not apply, we will not pay
                                  more than the lesser of:
                                  (i) The actual cash value of such building at the time of the loss; or
                                  (ii) The Limit of Insurance applicable to such building as shown in the Commercial
                                       Property Coverage Part Declarations. (If this policy is endorsed to provide a
                                       Sublimit for a Covered Cause of Loss, the Limit of Insurance applicable to the building
                                       in the event of damage by such Covered Cause of Loss may be lower than the Limit of
                                       Insurance that otherwise would apply.)
                        (b) For Demolition Cost, we will not pay more than the amount you actually spend to demolish and
                             clear the site of the described premises.
                        (c) With respect to the Increased Cost of Construction:
                             i. We will not pay for the increased cost of construction:
                                  (i) Until the property is actually repaired or replaced, at the same or another premises;
                                       and

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                                  (ii) Unless the repairs or replacement are made as soon as reasonably possible after the
                                  (iii) loss or damage, not to exceed two years. We may extend this period in writing during
                                        the last two years.
                             ii. If the building is repaired or replaced at the same premises, or if you elect to rebuild at
                                  another premises, the most we will pay for the increased cost of construction is the
                                  increased cost of construction at the same premises.
                             iii. If the ordinance or law requires relocation to another premise, the most we will pay for the
                                  increased cost of construction is the increased cost of construction at the new premises.
                    (6) The terms of this Additional Coverage apply separately to each building to which this Additional
                        Coverage applies.
                    (7) Example of Proportionate Loss Payment for Ordinance Or Law Coverage Losses [procedure as set
                        forth in Subparagraph (2)(c) above.]
                    Assume:
                        Wind is a Covered Cause of Loss; Flood is an excluded Cause of Loss
                        The building has a value of $200,000
                        Total direct physical damage to building: $100,000
                        The ordinance or law in this jurisdictions is enforced when building damage equals or exceeds 50%
                        of the building’s value
                        Portion of direct physical damage that is covered (caused by wind): $30,000
                        Portion of direct physical damage that is not covered (caused by flood): $70,000
                        Loss under Ordinance Or Law Coverage C of this endorsement: $60,000

                    Step 1:
                        Determine the proportion that the covered direct physical damage bears to the total direct physical
                        damage.
                        $30,000/$100,000 = .30
                    Step 2:
                        Apply that proportion to the Ordinance Or Law loss.
                        $60,000 x .30 = $18,000
                        In this example, the most we will pay under this Additional Coverage for the Coverage C loss is
                        $18,000, subject to the applicable Limit of Insurance and any other applicable provisions.
                        Note: The same procedure applies to losses under Coverages A and B of this Additional
                        Coverage.
                    (8) The costs addressed in the Loss Payment (see Paragraph 4. in Section E. Loss Conditions) and
                        Valuation Conditions [Paragraph 7. Valuation in Section E. Loss Conditions of the Building And
                        Personal Property Coverage Form (CP 00 10) or Paragraph 8. Valuation in Section E. Loss
                        Conditions of the Condominium Association Coverage Form (CP 00 17), which ever coverage
                        form is attached to this policy], and the Replacement Cost Optional Coverage (Paragraph 3. in
                        Section G. Optional Coverages), in this policy, do not include the increased cost attributable to
                        enforcement of an ordinance or law. The amount payable under this Additional Coverage is not
                        subject to such limitation.

      The following provisions g., h. and i. are added to Section A.4. Additional Coverages:

           FORGERY AND ALTERATION

               g. Forgery And Alteration
                  (1) We will pay for loss resulting directly from “forgery” or alteration of, any check, draft, promissory
                      note, bill of exchange or similar written promise of payment in “money” that you or your agent has
                      issued, or that was issued by someone who impersonates you or your agent.
                  (2) If you are sued for refusing to pay the check, draft, promissory note, bill of exchange or similar
                      written promise of payment in “money”, on the basis that is has been forged or altered, and you
                      have our written consent to defend against the suit, we will pay for any reasonable legal expenses
                      that you incur in that defense.
                  (3) For the purpose of this Additional Coverage, check includes a substitute check as defined in the
                      Check Clearing For The 21st Century Act, and will be treated the same as the original it replaced.
                  (4) The most we will pay for any loss, including legal expenses, under this Additional Coverage is
                      $2,500.
                  (5) With respect to this Additional Coverage only, the following exclusions are added:
                      (a) Loss resulting from "theft" or any other dishonest act committed by:




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                            i. You; or
                            ii. Any of your partners or "members",
                        whether acting alone or in collusion with other persons.
                        (b) Loss resulting from "theft" or any other dishonest act committed by any of your "employees",
                            "managers", directors, trustees or authorized representatives:
                            i. Whether acting alone or in collusion with other persons; or
                            ii. While performing services for you or otherwise.
                        (c) Loss that is an indirect result of any act or "occurrence" covered by this policy including, but not
                            limited to, loss resulting from:
                            i. Your inability to realize income that you would have realized had there been no loss of or
                                 damage to "money", "securities" or "other property".
                            ii. Payment of damages of any type for which you are legally liable. But, we will pay
                                 compensatory damages arising directly from a loss covered under this policy.
                            iii. Payment of costs, fees or other expenses you incur in establishing either the existence or
                                 the amount of loss under this policy.
                    (6) With respect to this Additional Coverage only, the following definitions are added:
                        (a) “Employee(s)” means:
                            i. Any natural person:
                               (i) While in your service (and for 30 days after termination of service);
                               (ii) Who you compensate directly by salary, wages or commissions; and

                                   (iii) Whom you have the right to direct and control while performing services for you; or
                              ii. Any natural person employed by an employment contractor while that person is subject to
                                   your direction and control and performing services for you excluding, however, any such
                                   person while having care and custody of property outside the premises.
                              But “employee” does not mean any:
                              i. Agent, broker, factor, commission, merchant, consignee, independent contractor or
                                   representative of the same general character.
                              ii. Director or trustee except while performing acts coming within the scope of the usual duties
                                   of any “employee”.
                        (b)   “Forgery” means the signing of the name of another person or organization with intent to
                              deceive; it does not mean a signature which consists in whole or in part of one’s own name
                              signed with or without authority, in any capacity, for any purpose.
                        (c)   “Managers” means a person serving in a directoral capacity for a limited liability company.
                        (d)   “Members” means an owner of a limited liability company represented by its membership
                              interest, who also may serve as a "manager".
                        (e)        “Money” means:
                              i. Currency, coins and bank notes in current use and having a face value; and
                              ii. Traveler’s checks, register checks and money orders held for sale to the public.
                        (f)   “Other property” means any tangible property other than “money” and “securities” that has
                              intrinsic value but does not include any property excluded under this policy.
                        (g)   “Securities” means negotiable and non-negotiable instruments or contracts representing either
                              “money” or other property and includes:
                              i. Tokens, tickets, revenue and other stamps (whether represented by actual stamps or
                                   unused value in a meter) in current use; and
                              ii. Evidences of debt issued in connection with credit or charge cards, which cards are not
                                   issued by you;
                              “Securities” does not include “money” or lottery tickets held for sale.
                        (h)   “Theft” means the unlawful taking of "money", "securities" and "other property" to the
                              deprivation of the Insured.

           FIRE EXTINGUISHER SYSTEMS RECHARGE EXPENSE

               h. Fire Extinguisher Systems Recharge Expense
                  (1) We will pay the cost of recharging or replacing, whichever is less, your fire extinguishers and fire
                      extinguishing systems (including hydrostatic testing if needed) if they are discharged on or within
                      100 feet of the described premises.
                  (2) No coverage will apply if the fire extinguishing system is discharged during installation or testing.


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                    (3) No coverage is provided against direct physical loss or damage caused by leakage from your fire
                        extinguishers and fire extinguishing equipment that is caused by earth movement, including
                        earthquake.
                    (4) The most we will pay under this Additional Coverage is $5,000 in any one occurrence. This
                        Additional Coverage does not increase the Limit of Insurance.

                    No Deductible applies to this Additional Coverage.

           PREPACKAGED SOFTWARE COVERAGE – PURCHASED BUSINESS SOFTWARE FOR YOUR OFFICE
           USE

               i.   Prepackaged Software Coverage
                    If coverage is being provided under this policy for Your Business Personal Property, we will pay up to
                    $5,000 to replace your “prepackaged software” due to loss or damage caused by, or resulting directly
                    or indirectly from, the introduction of a malicious code, program, virus, worm, Trojan Horse program,
                    macro time or logic bomb or similar unauthorized instruction.

                    As respects this Coverage Extension, “prepackaged software” means software purchased by you from
                    an unrelated outside business source for your internal use in support of your on-going business. This
                    includes but is not limited to software for word processing, spreadsheets, graphics and drawing tools,
                    scientific and engineering use, educational purposes and email systems. “Prepackaged software” does
                    not include any software internally developed by you for your internal business use, as “stock” or for
                    distribution to outside parties.

      2. COVERAGE EXTENSIONS
         Provisions a. through e. in Section A.5. Coverage Extensions are amended as follows:

           NEWLY ACQUIRED OR CONSTRUCTED PROPERTY
           Paragraph a. Newly Acquired Or Constructed Property of Section A.5. Coverage Extensions is deleted and
           replaced by the following:

           a. Newly Acquired Or Constructed Property
              (1) Buildings
                  If this policy covers Building, you may extend that insurance to apply to:
                  (a) Your new buildings while being built on the described premises; and

                    (b) Buildings you acquire at locations, other than the described premises, intended for:
                        i. Similar use as the building described in the Commercial Property Coverage Part
                            Declarations; or
                        ii. Use as a warehouse.

                   The most we will pay for loss or damage under this Extension is $350,000 at each building.
               (2) Your Business Personal Property
                   (a) If this policy covers Your Business Personal Property, you may extend that insurance to apply to:
                       i. Business personal property, including such property that you newly acquire, at any location you
                             acquire other than at fairs, trade shows or exhibitions.
                       ii. Business personal property, including such property that you newly acquire, located at your
                             newly constructed or acquired buildings at the location described in that Commercial Property
                             Coverage Part Declarations; or

                       The most we will pay for loss or damage under this Extension is $150,000 at each building.
                   (b) This Extension does not apply to:
                       i. Personal property of others that is temporarily in your possession in the course of installing or
                           performing work on such property; or
                       ii. Personal property of others that is temporarily in your possession in the course of your
                           manufacturing or wholesaling activities.
               (3) Period of Coverage
                   With respect to insurance provided under this Coverage Extension for Newly Acquired Or Constructed
                   Property, coverage will end when any of the following first occurs:
                   (a) This policy expires;




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                    (b) 60 days expire after you acquire the property or begin construction of that part of the building that
                        would qualify as covered property; or
                    (c) You report values to us.

                    We will charge you additional premium for values reported from the date you acquire the property or
                    begin construction of that part of the building that would qualify as covered property.

           PERSONAL EFFECTS AND PROPERTY OF OTHERS
           Paragraph b. Personal Effects And Property Of Others of Section A.5. Coverage Extensions is deleted and
           replaced with the following:

           b. Personal Effects And Property Of Others

               You may extend the insurance that applies to Your Business Personal Property to apply to:
               (1) Personal effects owned by you, your officers, your partners or members, your managers or your
                   employees. This extension does not apply to loss or damage by theft.
               (2) Personal property of others in your care, custody or control.

               The most we will pay for loss or damage under this Extension is $10,000 at each described premises, but
               not more than $2,500 for any one item of property. Our payment for loss of or damage to personal
               property of others will only be for the account of the owner of the property.

           VALUABLE PAPERS AND RECORDS (OTHER THAN ELECTRONIC DATA)
           Paragraph c.(4) in Valuable Papers And Records (Other Than Electronic Data) of Section A.5. Coverage
           Extensions is deleted and replaced with the following:

           c. Valuable Papers And Records (Other Than Electronic Data)

               (4) Under this Extension, the most we will pay to replace or restore the lost information is $25,000 at each
                   described premises, unless a higher limit is shown in the Commercial Property Coverage Part
                   Declarations. Such amount is additional insurance.
               (5) We will also pay for the cost of blank material for reproducing the records (whether or not duplicates
                   exist), and (when there is a duplicate) for the cost of labor to transcribe or copy the records. The costs
                   of blank material and labor are subject to the applicable Limit of Insurance on Your Business Personal
                   Property and therefore coverage of such costs is not additional insurance.

           PROPERTY OFF-PREMISES
           Subparagraph d.(3) in Property Off-Premises of Section A.5. Coverage Extensions is deleted and replaced
           by the following:

           d. Property Off-Premises
              (3) The most we will pay for loss or damage under this Extension is $20,000 each occurrence.

           OUTDOOR PROPERTY
           Paragraph e. Outdoor Property of Section A.5. Coverage Extensions is deleted and replaced by the
           following:

           e. Outdoor Property
              You may extend the insurance provided by this Coverage Form to apply to your outdoor fences, radio and
              television antennas (including satellite dishes), signs, trees, shrubs and plants (other than trees, shrubs, or
              plants (which are “stock” or are part of a vegetated roof), including debris removal expense, caused by or
              resulting from any of the following causes of loss:
              (1) For trees, shrubs, or plants:
                  (a) Fire;
                  (b) Lightning;
                  (c) Explosion;
                  (d) Riot or Civil Commotion; or
                  (e) Aircraft.
                  The most we will pay for loss or damage for the property listed above under Subparagraph e.(1) is
                  $5,000 but not more than $1,000 for any one tree, shrub, or plant.
              (2) For outdoor fences, radio and television antennas (including satellite dishes) and signs:
                  (a) Fire:

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                   (b) Lightning;
                   (c) Explosion;
                   (d) Riot or Civil Commotion;
                   (e) Aircraft;
                   (f) Windstorm, if not excluded elsewhere in the policy;
                   (g) Hail, if not excluded elsewhere in the policy;
                   (h) Smoke;
                   (i) Vehicles;
                   (j) Vandalism;
                   (k) Breakage of glass;
                   (l) Falling objects;
                   (m) Weight of snow, ice, or sleet;
                   (n) Water damage; or
                   (o) Collapse resulting from use of defective materials or methods in construction, remodeling or
                       renovation if the collapse occurs during the course of construction, remodeling, or renovation.
                   The most we will pay for loss or damage for the property listed above under Subparagraph e.(2) is
                   $15,000.
               (3) For signs, the most we will pay for loss or damage caused by a covered cause of loss not listed in
                   Paragraph (2) above is $2,500 per sign in any one occurrence.

               These limits apply to any one occurrence, regardless of the types or number of items lost or damaged in
               that occurrence.

               Subject to all aforementioned terms and limitations of this coverage, this Coverage Extension includes the
               expense of removing from the described premises the debris of trees, shrubs and plants which are the
               property of others, except in the situation in which you are a tenant and such property is owned by the
               landlord of the described premises.

      The following provisions g. through o. are added to Section A.5. Coverage Extensions:

      ACCOUNTS RECEIVABLE

           g. Accounts Receivable
              (1) If this policy covers Your Business Personal Property, this Extension extends that insurance to apply to
                  accounts receivable.

                     We will pay as a result of direct physical loss or damage by any Covered Cause of Loss to your records
                     of accounts receivable:
                     (a) All amounts due from your customers that you are unable to collect;
                     (b) Interest charges on any loan required to offset amounts you are unable to collect pending our
                          payment of these amounts;
                     (c) Collection expenses in excess of your normal collection expenses that are made necessary by loss
                          of damage; and
                     (d) Other reasonable expenses that you incur to reestablish your records of accounts receivable;
               (2)   Coverage does not apply to:
                     (a) Records of account receivable in storage away from the described premises; or
                     (b) Contraband, or property in the course of illegal transportation or trade.
               (3)   If you give us written notice within 10 days of removal of your records of accounts receivable because of
                     imminent danger of loss or damage, we will pay for loss or damage while they are:
                     (a) At a safe place away from the described premises;
                     (b) Being taken to and returned from that place.
               (4)   The most we will pay under this Extension for loss or damage in any one occurrence at the described
                     premises is $25,000.
               (5)   With respect to this Extension, the following Exclusions as stated in Section B. Exclusions in the
                     Causes of Loss – Special Form apply:
                     (a) Paragraph B.1.c. Governmental Action;
                     (b) Paragraph B.1.d. Nuclear Hazard;
                     (c) Paragraph B.1.f. War and Military Action;
                     (d) Paragraph B.2.i.; and
                     (e) Paragraph B.3.
               (6)   Paragraph B.2.h. of the Causes of Loss – Special Form is deleted and replaced by the following:



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                    h. Dishonest or criminal acts by you, anyone else with an interest in the property, or their employees
                        or authorized representatives, any of your partners, members, officers, managers, employees
                        (including leased employees), directors, trustees, authorized representatives or anyone to whom
                        you entrust the property for any purpose:
                        (1) Acting alone or in collusion with others; or
                        (2) Whether or not occurring during the hours of employment.
                        This exclusion does not apply to acts of destruction by your employees (including leased
                        employees); but theft by employees (including leased employees) is not covered;
                (7) With respect to this Extension, the following exclusions are added:
                    We will not pay for:
                    (a) Loss or damage caused by or resulting from:
                        i. Alteration, falsification, concealment or destruction of records of accounts receivable done to
                             conceal the wrongful giving, taking or withholding of money, securities, or other property;
                        ii. Bookkeeping, accounting or billing errors or omissions;
                        iii. Electrical or magnetic injury, disturbance or erasure of electronic recordings that is caused by
                             or results from:
                             (i) Programming errors or faulty machine instructions;
                             (ii) Faulty installation or maintenance of data processing equipment or component parts;
                             (iii) An occurrence that took place more than 100 feet from the described premises; or
                             (iv) Interruption of electrical power supply, power surge, blackout or brownout if the cause of
                                   such occurrence took place more than 100 feet from the described premises.
                             But we will pay for direct loss or damage caused by lightning;
                        v. Neglect of an insured to use all reasonable means to save and preserve property from further
                             damage at and after the time of loss; or .
                        vi. Unauthorized instructions to transfer property to any person or to any place.
                    (b) Any loss or damage that requires any audit of records or any inventory computation to prove its
                        factual existence;

           FINE ARTS

           h. Fine Arts
              (1) We will pay up to $20,000 for a Covered Cause of Loss to your “fine arts.” We will not however, pay
                  for:
                  (a) Loss or damage sustained from any repair, restoration, or retouching process;
                  (b) Breakage of art glass windows, statuary, marble, glassware, bric-a-brac, porcelains, and similar
                       fragile articles, unless caused by fire, lightning, aircraft, theft and or attempted theft, windstorm,
                       earth movement, flood, explosion, vandalism, collision, derailment or overturn of conveyance; or
                  (c) Loss or damage to your “fine arts” while away from a covered location.
              (2) Loss or damage to “fine arts” will be valued at the time and place of loss as follows:
                  (a) The lesser of the:
                       i. Reasonable or necessary restoration or repair costs needed to return the damaged article(s) to
                            its condition as of the time of loss; or
                       ii. Cost to replace the damaged article(s).
                  (b) In the event of the total loss of an article or articles which are part of a pair or set, we will pay you
                       the full amount of the value of such set as determined in Subparagraph h. (2) (a) i. above and you
                       will surrender the remaining article or articles of the set to us.
              (3) As respects this Extension only, “fine arts” means paintings; etchings; pictures; tapestries; rare or art
                  glass windows; valuable rugs; statuary; sculptures; antique furniture; antique jewelry; bric-a-brac;
                  porcelains; and similar property of rarity, historical value or artistic merit.

                This Extension’s limit is in addition to limits for fine arts coverage found elsewhere in the policy.

           ARSON REWARD

           i.   Arson Reward
                If one or more covered losses are caused by or result from a fire of a suspicious nature, we will reimburse
                you for up to $10,000 each occurrence for the actual amount of the reward paid by you to an individual or
                individuals, provided:
                (1) The individual(s) report(s) the suspected arsonist to local law enforcement officials; and
                     (a) The arsonist is apprehended, brought to trial, and convicted of arson to your covered property; or
                     (b) The arsonist is apprehended, confesses and/or pleads guilty to arson to your covered property
                         without going to trial.

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                (2) Our reimbursement of this reward will not be increased by:
                    (a) The number of individuals reporting the arsonist(s); or
                    (b) The number of arsonists involved in the covered loss.
                The maximum we will reimburse you for all occurrences of arson in any one policy year is $20,000.

                No Deductible applies to this Extension.

           THEFT OR VANDALISM REWARD

           j.   Theft Or Vandalism Reward
                Unless excluded elsewhere in this policy, if one or more covered losses are caused by or result from theft
                or vandalism, we will reimburse you for up to $2,500 each occurrence for the actual amount of the reward
                paid by you to an individual or individuals, provided:
                (1) The individual(s) report(s) the suspected thief or thieves or vandal(s) to local law enforcement officials;
                    and
                    (a) The thief or thieves or vandal(s) is (are) apprehended, brought to trial, and convicted of theft of or
                        vandalism to your covered property; or
                    (b) The thief or thieves or vandal(s) is (are) apprehended, confesses and/or pleads guilty to the theft of
                        or vandalism to your covered property without going to trial.
                (2) Our reimbursement of this reward will not be increased by:
                    (a) The number of individuals reporting the thief or thieves or vandal(s); or
                    (b) The number of thieves or vandals involved in the covered loss.
                The maximum we will reimburse you for all occurrences of theft or vandalism in any one policy year is
                $5,000.

                No deductible applies to this Extension.

           LOCK AND KEY REPLACEMENT

           k.   Lock And Key Replacement
                (1) When a master key or grand master key is lost or damaged from a Covered Cause of Loss, we will pay
                    the lesser of:
                    (a) The actual cost to replace keys;
                    (b) The cost to rekey or reprogram the current locks to accept new keys; or
                    (c) When needed, new locks including the installation and reprogramming of the new locks.

                The most we will pay in any one occurrence for this Extension is $5,000.

           INSTALLATION COVERAGE

           l.   Installation Coverage
                We will pay up to $15,000 in any one occurrence for direct physical loss or damage by a Covered Cause of
                Loss for Your Business Personal Property, or personal property of others, which you have sold under an
                installation agreement, if your responsibility continues until the purchaser accepts the installation.
                Installation coverage applies to any non-owned location within the Coverage Territory.

           TENANT’S BUILDING GLASS

           m. Tenant’s Building Glass
              (1) We will pay for direct physical loss of or damage to building glass at the building described in the
                  Commercial Property Coverage Part Declarations caused by or resulting from a Covered Cause of
                  Loss, provided that:
                  (a) You are a tenant of the building described in the Commercial Property Coverage Part
                       Declarations; and
                  (b) You have a contractual responsibility to insure the building glass, or a contractual responsibility to
                       pay for loss or damage to that property.
              (2) The value of property covered under the 40+ AdvantagePAC endorsement will be determined in
                  accordance with Paragraph 7. Valuation in Section E. Loss Conditions of the Building And Personal
                  Property Coverage Form (CP 00 10) or Paragraph 8. Valuation in Section E. Loss Conditions of the
                  Condominium Association Coverage Form (CP 00 17) which ever coverage form is attached to this
                  policy, or at the amount for which you are liable under contract, whichever is less. If required by law,


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                   glass is covered at the cost of replacement with safety glazing material. However, the most we will pay
                   for the coverage provided under this Extension is $25,000 each described building.
               (3) With respect to this Extension, we will not pay for loss or damage in any one occurrence until the
                   amount of loss or damage exceeds a $250 Deductible. We will then pay the amount of loss excess of
                   that Deductible, up to the applicable Limit of Insurance. No other Deductible in this policy applies to the
                   coverage provided by this Extension.

           TENANT RELOCATION EXPENSE

           n. Tenant Relocation Expense (This provision is not applicable to “rented living quarters” located in
              the Commonwealth of Massachusetts)
              When a “rented living quarters” in a building covered by this policy is made uninhabitable by a fire, this
                  policy covers “relocation expense” incurred by the tenant or lawful occupant to relocate to other living
                  quarters in the shortest possible time.
              (1) With respect to this Extension, our payment for “relocation expense” is limited to not more than $750
                  per “rented living quarters” and not more than $15,000 annual aggregate.
              (2) With respect to this Extension, the Deductible provisions of this policy do not apply to the “relocation
                  expense” benefits.
              (3) With respect to this Extension:
                  (a) If at the time of the loss, the tenant or lawful occupant has other insurance that covers “relocation
                       expense,” we shall not be liable for any loss under this coverage until the liability of such other
                       insurance has been exhausted.
                  (b) If you have other insurance that covers “relocation expense,” payment under this policy will be
                       prorated with such insurance for the smaller of the incurred “relocation expense” or $750 all after
                       application of the other insurance of the tenant or lawful occupant.
              (4) With respect to this Extension, the claims of all persons occupying the “rented living quarters” will be
                  settled with and payment made to the tenant or lawful occupant renting the quarters from the building
                  owners or lessor.
              (5) With respect to this Extension only, the following definitions apply:
                  (a) “Relocation expense” means documented, reasonable and necessary:
                       i. Costs of packing, insuring, storing and carting household goods;
                       ii. Costs of securing new utility services less refunds from discounted services at the damaged
                            premises;
                       iii. Cost of searching for other quarters;
                       iv. Costs of disconnecting and reconnecting household appliances; or
                       v. Additional living expenses while searching for or awaiting possession of other quarters or the
                            restoration of existing quarters; commencing with the date of damage to the covered building
                            and not limited by the expiration date of this policy.
                       “Relocation expense” does not mean:
                       i. Loss caused by the termination of a lease or other agreement;
                       ii. Security deposits or other payments made to the landlord or lessor of other quarters; or
                       iii. Down payments, legal fees and closing costs incidental to the purchase of other quarters.
                  (b) “Rented living quarters” means a room, suite of rooms, or apartment or condominium that you rent
                       to one or more persons as a single residential unit. “Rented living quarters” does not mean one or
                       more rooms occupied by one or more persons as roomers in a hotel, motel, public or private
                       lodging or rooming house where the premises are occupied on a transient basis.

           EMPLOYEE DISHONESTY

           o. Employee Dishonesty
              (1) We will pay for direct loss of or damage to Your Business Personal Property and “money” and
                  “securities” resulting from dishonest acts committed by any of your “employees” acting alone or in
                  collusion with other persons (except you or your partner) with the intent to:
                  (a) Cause you to sustain loss or damage; and also
                  (b) Obtain financial benefit (other than salaries, commissions, fees, bonuses, promotions, awards,
                      profit sharing, pensions or other employee benefits earned in the normal course of employment)
                      for:
                      i. Any “employee”; or
                      ii. Any other person or organization.
              (2) We will not pay for loss or damage:
                  (a) Resulting from any dishonest or criminal act that you, any of your partners, or any of your
                      “members” commit whether acting alone or in collusion with any other persons.

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                   (b) The only proof of which as its existence or amount is dependent upon,
                        i. An inventory computation; or
                        ii. A profit and loss computation.
                        However, where you establish wholly apart from such computations that you have sustained a loss,
                        then you may offer your inventory records and actual physical count of inventory in support of loss
                        claimed.
                   (b) Resulting from an “employee” of yours or predecessor in interest of yours, for whom similar prior
                        insurance has been canceled and not reinstated since the last such cancellation.
                   (d) Resulting from trading, whether in your name or in a genuine or fictitious account.
                   (e) Resulting from fraudulent or dishonest signing, issuing, canceling, or failing to cancel, a warehouse
                        receipt or any papers connected with it.
               (3) All loss or damage:
                   (a) Caused by one or more persons; or
                   (b) Involving a single act or series of related acts;
               is considered one occurrence.(4)The most we will pay, under this Employee Dishonesty Coverage
                    Extension, for loss or damage regardless of the number of claims or occurrences is $10,000.
               (5) We will pay only for loss or damage you sustain through acts committed or events occurring during the
                    policy period. Regardless of the number of years this policy remains in force or the number of
                    premiums paid, no Limit of Insurance cumulates from year to year or period to period.
               (6) This Extension does not apply to any “employee” immediately upon discovery by:
                    (a) You; or
                    (b) Any of your partners, officers or directors not in collusion with the “employee”;
                    of any dishonest act committed by that “employee” before or after being hired by you.
               (7) We will pay only for covered loss or damage discovered no later than one year from the end of the
                    policy period.
               (8) If you (or any predecessor in interest) sustained loss or damage during the period of any prior insurance
                    that you could have recovered under that insurance except that the time within which to discover loss or
                    damage had expired, we will pay for it under this Extension, provided:
                    (a) This Extension became effective at the time of cancellation or termination of the prior insurance;
                         and
                    (b) The loss or damage would have been covered by this Extension had it been in effect when the acts
                         or events causing the loss or damage were committed or occurred.
               (9) The insurance under Subparagraph (8) above is part of, not in addition to, the Limit of Insurance
                    applying to this Extension and is limited to the lesser of the amount recoverable under:
                    (a) This Extension as of its effective date; or
                    (b) The prior insurance had it remained in effect.
               (10)With respect to this Extension only, paragraph a. in Section A.2. Property Not Covered is deleted and
                    replaced with the following:
                    a. Accounts, bills, currency, food stamps, notes or other evidences of debt.
               (11)With respect to this Extension only, Paragraph 2.h. in Section B. Exclusions of the Causes Of Loss –
                    Special Form does not apply.
               (12)With respect to this Extension only, we will not pay for loss or damage in any one occurrence until the
                    amount of loss or damage exceeds a $250 Deductible. We will then pay the amount of loss excess of
                    that Deductible, up to the applicable Limit of Insurance. No other Deductible in this policy applies to the
                    coverage provided by this Extension.
               (13)With respect to this Extension only, the following definitions apply:
                    (a) “Employee(s)” means:
                         i. Any natural person:
                              (i) While in your service (and for 30 days after termination of service);
                              (ii) Who you compensate directly by salary, wages or commissions; and
                              (iii) Whom you have the right to direct and control while performing services for you; or
                          ii. Any natural person employed by an employment contractor while that person is subject to your
                              direction and control and performing services for you excluding, however, any such person
                              while having care and custody of property outside the premises.


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                         But “employee” does not mean any:
                         i. Agent, broker, factor, commission, merchant, consignee, independent contractor or
                             representative of the same general character.
                         ii. Director or trustee except while performing acts coming within the scope of the usual duties of
                             any “employee”.
                    (b) “Manager” means a person serving in a directorial capacity.
                    (c) “Member” means an owner of a limited liability company represented by its membership interest,
                        who also may serve as a “manager”.
                    (d) “Money” means:
                        i. Currency, coins and bank notes in current use and having a face value; and
                        ii. Traveler’s checks, register checks and money orders held for sale to the public.
                        (e) “Securities” means negotiable and non-negotiable instruments or contracts representing either
                             “money” or other property and includes:
                        i. Tokens, tickets, revenue and other stamps (whether represented by actual stamps or unused
                             value in a meter) in current use; and
                        ii. Evidences of debt issued in connection with credit or charge cards, which cards are not issued
                             by you;
                        “Securities” does not include “money” or lottery tickets held for sale.
      3. LIMITS OF INSURANCE
         Section C. is hereby deleted and replaced by the following:

           C. Limits of Insurance
              1. The most we will pay for loss or damage in any one occurrence is applicable Limit of Insurance shown
                 in the Commercial Property Coverage Part Declarations.

                    The amounts of insurance stated in the following Additional Coverages apply in accordance with the
                    terms of such coverages and are separate from the Limit(s) of Insurance shown in the Commercial
                    Property Coverage Part Declarations for any other coverage.
                    a. Fire Department Service Charge.
                    b. Pollutant Clean Up and Removal.
                    c. Electronic Data.
                    d. Ordinance or Law.

                    Payments under the Paragraph b. Preservation of Property in Section 3. Additional Coverage will
                    not increase the applicable Limit of Insurance.

               2. Business Personal Property Limit – Seasonal Increase
                  a. The Limit of Insurance for Your Business Personal Property will automatically increase by 25% to
                     provide for seasonal variations.
                  b. This increase will apply only if the Limit of Insurance shown for Your Business Personal Property in
                     the Commercial Property Coverage Part Declarations is at least 100% of your average values
                     during the lesser of:
                     (1) The 12 months immediately preceding the date the loss or damage occurs; or
                     (2) The period of time you have been in business as of the date the loss or damage occurs.

      4. LOSS CONDITIONS

           LOSS PAYMENT
           Paragraph 4. Loss Payment of Section E. Loss Conditions is deleted and replaced by the following:

           4. Loss Payment
              a. Except with respect to loss or damage provided under Paragraph o. Employee Dishonesty and
                 Paragraph g. Accounts Receivable in Section 2. Coverage Extensions of the 40+ AdvantagePAC
                 endorsement, the following condition applies:
                    (1) In the event of loss or damage covered by Coverage Part, at our option, we will either:
                        (a) Pay the value of lost or damaged property;


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                        (b) Pay the cost of repairing or replacing the lost or damaged property, subject to Subparagraph
                            (2) below;
                        (c) Take all or any part of the property at an agreed or appraised value; or
                        (d) Repair, rebuild or replace the property with other property of like kind and quality, subject to
                             Subparagraph (2) below.
                        We will determine the value of lost or damaged property, or the cost of its repair or replacement, in
                        accordance with the applicable terms of Paragraph 7. Valuation in Section E. Loss Conditions of
                        the Building And Personal Property Coverage Form (CP 00 10) or any applicable provision that
                        amends or supersedes Paragraph 7. Valuation, or Paragraph 8. Valuation in Section E. Loss
                        Conditions of the Condominium Association Coverage Form (CP 00 17) or any applicable
                        provision that amends or supersedes Paragraph 8, which ever coverage form is attached to this
                        policy.
                    (2) The cost to repair, rebuild or replace does not include the increased cost attributable to
                        enforcement of or compliance with any ordinance or law regulating the construction, use or repair
                        of any property.
                    (3) We will give notice of our intentions within 30 days after we receive the sworn proof of loss.
                    (4) We will not pay you more than your financial interest in the Covered Property.
                    (5) We may adjust losses with the owners of lost or damaged property if other than you. If we pay the
                        owners, such payments will satisfy your claims against us for the owners' property. We will not pay
                        the owners more than their financial interest in the Covered Property.
                    (6) We may elect to defend you against suits arising from claims of owners of property. We will do this
                        at our expense.
                    (7) We will pay for covered loss or damage within 30 days after we receive the sworn proof of loss, if
                        you have complied with all of the terms of this Coverage Part and:
                        (a) We have reached agreement with you on the amount of loss; or
                        (b) An appraisal award has been made.
                        If you are a condominium association and you name an insurance trustee, we will adjust losses
                        with you, but we will pay the insurance trustee. If we pay the trustee, the payments will satisfy your
                        claims against us.
                    (8) A party wall is a wall that separates and is common to adjoining buildings that are owned by
                        different parties. In settling covered losses involving a party wall, we will pay a proportion of the loss
                        to the party wall based on your interest in the wall in proportion to the interest of the owner of the
                        adjoining building. However, if you elect to repair or replace your building and the owner of the
                        adjoining building elects not to repair or replace that building, we will pay you the full value of the
                        loss to the party wall, subject to all applicable policy provisions including Limits of Insurance, the
                        Valuation and Coinsurance Conditions and all other provisions of this Loss Payment Condition. Our
                        payment under the provisions of this paragraph does not alter any right of subrogation we may
                        have against any entity, including the owner or insurer of the adjoining building, and does not alter
                        the terms of the Transfer Of Rights Of Recovery Against Others To Us Condition in this policy.

               b.       Employee Dishonesty Condition
                    With respect to coverage provided in Paragraph o. Employee Dishonesty in Section 4. Coverage
                    Extensions of the 40+ AdvantagePAC endorsement, the following condition applies:
                    (1)    We will pay for:
                        (a) Loss of “money” but only up to and including its face value. We may, at our option, pay for loss
                            of “money” issued by any country other than the United States of America;
                            i. At face value in the “money” issued by the country; or
                            ii. In the United States of America dollar equivalent determined by the rate of exchange on
                                 the day the loss was discovered.
                        (b) Loss of “securities” but only up to and including their value at the close of business on the day
                            the loss was discovered. We may, at our option:
                            i. Pay the value of such “securities” or replace them in kind, in which event you must assign
                                 to us all your rights, title and interest in a those “securities”.
                            ii. Pay the cost of any Lost Securities Bond required in connection with issuing duplicates of
                                 those “securities”. However, we will be liable only for the payment of so much of the cost
                                 of the bond as would be charged for a bond having a penalty not exceeding the lesser of
                                 the value of the “securities” at the close of business on the day the loss was discovered or
                                 the Limit of Insurance.


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                    (2) We may at our option pay for loss of, or loss from damage to property other than “money”:
                        (a) In the “money” of the country in which the loss occurred; or
                        (b) In the United States of America dollar equivalent of the “money” of the country in which the loss
                            occurred determined by the rate of exchange on the day the loss was discovered.
                    (3) Any property that we pay for or replace becomes our property.

               c. Accounts Receivable Condition
                  With respect to coverage provided in Paragraph g. Accounts Receivable in Section 4. Coverage
                  Extensions of the 40+ AdvantagePAC endorsement, the following condition applies:
                  (1) If you cannot accurately establish the amount of accounts receivable outstanding as of the time of
                      loss or damage:
                      (a) We will determine the total of the average monthly amount of accounts receivable for the 12
                           months immediately preceding the month in which the loss or damage occurs; and
                      (b) We will adjust that total for any normal fluctuations in the amount of accounts receivable for the
                           month in which the loss or damage occurred or for any demonstrated variance from the
                           average for that month.
                  (2) The following will be deducted from the total amount of accounts receivable, however that amount
                      is established:
                      (a)      The amount of the accounts for which there is no loss or damage;
                      (b)      The amount of the accounts that you are able to re-establish or collect;
                      (c)      An amount to allow for probable bad debts that you are normally unable to collect; and
                      (d)      All unearned interest and service charges.

  B. COVERAGE AMENDMENTS TO THE BUSINESS INCOME (AND EXTRA EXPENSE) COVERAGE FORM (CP 00
     30) - [WHEN ATTACHED TO THE POLICY]

      1. ADDITIONAL COVERAGES
         Subparagraphs (1)(b)(ii) and (2)(b)(ii) in c. Extended Business Income of Section A.5. Additional
         Coverages are deleted and replaced with the following:

           c.(1)(b)(ii) 90 consecutive days after the date determined in (1)(a) above.
           c.(2)(b)(ii) 90 consecutive days after the date determined in (2)(a) above.

      2. COVERAGE EXTENSION
         Paragraph A.6. Coverage Extension is deleted and replaced with the following:

           6. COVERAGE EXTENSION
              If a Coinsurance percentage of 50% or more is shown in the Commercial Property Coverage Part
              Declarations, you may extend the insurance provided by this Coverage Part as follows:

               NEWLY ACQUIRED LOCATIONS
               a. You may extend your Business Income and Extra Expense Coverages to apply to property at any
                  location you acquire other than fairs or exhibitions.
               b. The most we will pay under this Coverage Extension, for the sum of Business Income loss and Extra
                  Expense incurred, is $150,000 at each location.
               c. Insurance under this Coverage Extension for each newly acquired location will end when any of the
                  following first occurs:
                  (1) This policy expires:
                  (2) 60 days expire after you acquire or begin to construct the property; or
                  (3) You report values to us.
               We will charge you additional premium for values reported from the date you acquire the property.

               This Coverage Extension is additional insurance. The Additional Condition, Coinsurance does not apply
               to this Coverage Extension.

      3. OPTIONAL COVERAGES

           EXTENDED PERIOD OF INDEMNITY
           Paragraph 4. Extended Period Of Indemnity of section E. Optional Coverages is deleted and replaced by the
           following:




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           3. Extended Period Of Indemnity
              Under Paragraph A.5.c. Extended Business Income, the number 90 in Subparagraphs (1)(b)(ii) and
              (2)(b)(ii) is replaced by the number shown in the Commercial Property Coverage Part Declarations for
              this Optional Coverage.

  C. COVERAGE AMENDMENTS TO THE BUSINESS INCOME (WITHOUT EXTRA EXPENSE) COVERAGE FORM
     (CP 00 32) – [WHEN ATTACHED TO THE POLICY]

      1. ADDITIONAL COVERAGES
         Subparagraphs (1)(b)(ii) and (2)(b)(ii) in d. Extended Business Income of Section A.4. Additional
         Coverages are deleted and replaced with the following:

           d.(1)(b)(ii) 90 consecutive days after the date determined in (1)(a) above.
           d.(2)(b)(ii) 90 consecutive days after the date determined in (2)(a) above.

      2. COVERAGE EXTENSION
         Paragraph A.5. Coverage Extension is deleted and replaced with the following:

           5. COVERAGE EXTENSION
              If a Coinsurance percentage of 50% or more is shown in the Commercial Property Coverage Part
              Declarations, you may extend the insurance provided by this Coverage Part as follows:

               NEWLY ACQUIRED LOCATIONS
               a. You may extend your Business Income and Extra Expense Coverages to apply to property at any
                  location you acquire other than fairs or exhibitions.
               a. The most we will pay under this Coverage Extension, for the sum of Business Income loss and Extra
                  Expense incurred, is $150,000 at each location.
               b. Insurance under this Coverage Extension for each newly acquired location will end when any of the
                  following first occurs:
                  (1) This policy expires:
                  (2) 60 days expire after you acquire or begin to construct the property; or
                  (3) You report values to us.
                  We will charge you additional premium for values reported from the date you acquire the property.

                    This Coverage Extension is additional insurance. The Additional Condition, Coinsurance does not
                    apply to this Coverage Extension.

      3. OPTIONAL COVERAGES

           EXTENDED PERIOD OF INDEMNITY
           Paragraph 4. Extended Period Of Indemnity of section E. Optional Coverages is deleted and replaced by the
           following:

           4. Extended Period of Indemnity
              Under Paragraph A.4.d. Extended Business Income, the number 90 in Subparagraphs (1)(b)(ii) and
              (2)(b)(ii) is replaced by the number shown in the Commercial Property Coverage Part Declarations for
              this Optional Coverage.

  C. COVERAGE AMENDMENTS TO THE CAUSES OF LOSS – SPECIAL FORM (CP 10 30)

      1. EXCLUSIONS
         a. Paragraph a. Ordinance or Law of Section B. Exclusions is deleted.

           b. Paragraph 2.h. (dishonest or criminal acts) of Section B. Exclusions is deleted and replaced by the
              following:
              h. Dishonest or criminal act (including theft) by you, any of your partners, members, officers, managers,
                   employees (including temporary employees and leased workers), directors, trustees, authorized
                   representatives, whether acting alone or in collusion with each other or with any other party; or theft by
                   any person to whom you entrust the property for any purpose, whether acting alone or in collusion with
                   any other party.




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                This exclusion:
                    (1) Applies whether or not an act occurs during your normal hours of operation;
                    (2) Does not apply to acts of destruction by your employees (including temporary employees and
                         leased workers) or authorized representatives; but theft by your employees (including temporary
                         employees and leased workers) or authorized representatives is not covered.
                     (3) Does not apply to Paragraph o. Employee Dishonesty of Section 4. Coverage Extensions in the
                         40+ AdvantagePAC endorsement.

      2. ADDITIONAL COVERAGE EXTENSIONS

           PROPERTY IN TRANSIT
           Paragraph 1. Property In Transit of Section F. Additional Coverage Extensions is deleted and replaced by
           the following:

                1. Property In Transit
                   This Extension applies only to your personal property to which this form applies.
                   a. You may extend the insurance provided by this Coverage Part to apply to your personal property
                       (other than property in the care, custody or control or your salespersons) in transit more than 100
                       feet from the described premises.
                   b. Loss or damage must be caused by or result from one of the following causes of loss:
                       (1) Fire, lightning, explosion, windstorm or hail, riot or civil commotion, or vandalism.
                       (2) Vehicle collision, upset or overturn. Collision means accidental contact of your vehicle with
                            another vehicle or object. It does not mean your vehicle’s contact with the road bed.
                       (3) Theft of an entire bale, case or package by forced entry into a securely locked body or
                            compartment of the vehicle. There must be visible marks of the forced entry.
                   c. The most we will pay for the loss or damage under this Additional Coverage Extension is:
                       (1) $15,000 for property in or on a motor vehicle you own, lease or operate; or
                       (2) $5,000 for property in or on a motor vehicle you do not own, lease or operate while used in
                            your business or personal affairs,
                       while between points in the Coverage Territory.

                This Additional Coverage Extension is additional insurance. The Additional Condition, Coinsurance,
                does not apply to this Additional Coverage Extension.

  A. COVERAGE AMENDMENTS TO THE                             COMMERCIAL             GENERAL           LIABILITY        COVERAGE   FORM     –
     OCCURRENCE VERSION (CG 00 01)
      1.      EXCLUSIONS
           Provisions a., g. and j. in Subsection 2. Exclusions of Coverage A Bodily Injury and Property Damage
           Liability (SECTION I) are deleted and replaced by the following:

           EXPECTED OR INTENDED INJURY OR DAMAGE
           Paragraph a. Expected Or Intended Injury of Subsection 2. Exclusions is deleted and replaced by the
           following:

           (This insurance does not apply to:)

           a. Expected Or Intended Or Damage
              "Bodily injury" or "property damage" expected or intended from the standpoint of the insured. This exclusion
              does not apply to "bodily injury" or “property damage” resulting from the use of reasonable force to protect
              persons or property.

           AIRCRAFT, AUTO OR WATERCRAFT EXCLUSION
           Subparagraph (2) of Paragraph g. Aircraft, Auto Or Watercraft of Subsection 2. Exclusions is deleted and
           replaced by the following:

           g.   Aircraft, Auto Or Watercraft
                (This exclusion does not apply to:)
                (2) A watercraft you do not own that is:
                    (a) Less than 51 feet long; and
                    (b) Not being used to carry persons or property for a charge.

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     DAMAGE TO PROPERTY EXCLUSION
     The following subparagraph is added to the end of Paragraph j. Damage To Property of Subsection 2. Exclusions:

           Subparagraph (4) does not apply to “property damage” to “customer’s goods” while on your premises. A
           sub-limit of $10,000 each “occurrence” applies to this limited exception. This sub- limit is part of and not in
           addition to the General Aggregate Limit shown in the Commercial General Liability Coverage Part
           Declarations.

           With respect to this Exclusion only, “customer’s goods” means goods of your customers on your premises for
           the purpose of being:
           (a) Repaired; or
           (b) Used in your manufacturing process.

      2. SUPPLEMENTARY PAYMENTS - COVERAGES A AND B
         The following provision in SUPPLEMENTARY PAYMENTS – COVERAGES A AND B (SECTION I) are
         amended as follows:
         a. Paragraphs 1.b. and 1.d. in SUPPLEMENTARY PAYMENTS – COVERAGES A AND B are deleted and
            replaced by the following:

               (We will pay, with respect to any claim we investigate or settle, or any “suit” against an insured we defend:)

               b. Up to $2,500 for cost of bail bonds required because of accidents or traffic law violations arising out of
                  the use of any vehicle to which the Bodily Injury Liability Coverage applies. We do not have to furnish
                  these bonds.
               d. All reasonable expenses incurred by the insured at our request to assist us in the investigation or
                  defense of the claim or "suit", including actual loss of earnings up to $500 a day because of time off
                  from work.

          b.   The last subparagraph in subsection 1. in SUPPLEMENTARY PAYMENTS – COVERAGES A AND B is
               deleted and replaced by the following:

               These payments will not reduce the limits of insurance and do not apply to the COVERAGE D PRIVACY
               AND INFORMATION SECURITY THIRD PARTY NOTIFICATION AND OUTSIDE CONSULTANT
               SERVICES EXPENSE REIMBURSEMENT coverage provided by the 40+ AdvantagePAC endorsement.

  3. ADDITIONAL COVERAGES

      The following provision is added to SECTION I – COVERAGES:

      COVERAGE D PRIVACY AND INFORMATION SECURITY THIRD PARTY NOTIFICATION AND OUTSIDE
      CONSULTANT SERVICES EXPENSE REIMBURSEMENT

           a. We will reimburse an insured up to $5,000 in the aggregate in any single policy year for covered Privacy
              and Information Security “third party notification expense” and outside consultants’ or firms’ service
              fees/costs incurred.

               To establish what General Star policy year applies, our reimbursement will be based on the General Star
               policy period when the first loss, disclosure or dissemination of an insured’s confidential data is deemed to
               have occurred. This is regardless of any continuation or resumption of such loss, disclosure or
               dissemination of an insured’s confidential data over more than one General Star policy period and is
               regardless of when any Privacy and Information Security related claim or “suit” is first reported or notification
               sent, it is deemed to be a single “occurrence”.

               Any “third party notification expense” must be required by applicable State or Federal Privacy statutes and
               must result from the disclosure or dissemination of confidential data as a result of an insured’s act, error or
               omission.

               We will cover the fees/costs incurred by outside consultants or firms to:
               (1) Mitigate, prevent, or decrease the possibility of further loss as a result of “electronic data damages”;
               (2) Investigate and verify the cause, amount or extent of “electronic data damages”; or
               (3) Contain, eradicate and recover the loss, disclosure or dissemination of confidential data as a result of
                   “electronic data damages”.

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               “Third party notification expense” and “electronic data damages” must be incurred by you during the policy
               period shown in the Commercial General Liability Coverage Part Declarations; provided further that the
               $5,000 Privacy and Information Security “third party notification expense” is the maximum aggregate
               amount payable during the policy period regardless of the number of:
               (1) Insureds;
               (2) “Occurrences”, offenses, incidents of loss, disclosure or dissemination of confidential information; or
               (3) Persons or organizations identified as victims.

               No Deductible applies to this coverage. The $5,000 amount of this Coverage D will erode the General
               Aggregate Limit shown in the Commercial General Liability Coverage Part Declarations. No payment
               or reimbursement by us for damages associated with any privacy and information security claim or “suit” is
               covered under this Coverage D.

               This insurance applies to privacy and information security “third party notification expense” and outside
               consultant expenses only if, prior to the policy period, no insured and no “employee” authorized by you to
               give or receive notice of an “occurrence” or claim, knew that the act, error, or omission had occurred, in
               whole or in part. If such a listed insured or authorized “employee” knew, prior to the policy period, that the
               act, error, or omission occurred, then any continuation, change or resumption of such act, error, or omission
               during or after the policy period will be deemed to have been known prior to the policy period.

           b. With respect to the coverage provided in Paragraph a. above, the following exclusions apply in addition to
              those found elsewhere in this policy.

               We will not pay any Privacy and Information Security “third party notification expense” based on or arising
               out of:
               (1) Any malfunction or defect of a “network communications system”.
               (2) Any electrical failure including electrical power interruption, surge, brownout or blackout.
               (3) Any interruptions or outages to gas, water, telephone, cable or satellite service furnished by utility
                   companies.
               (4) Any breach of contract, warranty or guarantee. This exclusion does not apply to liability for damages
                   that an insured would have had in the absence of the contract, warranty or guarantee.
               (5) Any infringement of copyright, patent, trademark, trade secret or other intellectual property rights.

           c. With respect to the coverage provided by this Coverage D, the following definitions apply in addition to
              those found elsewhere in this policy:
              (1) “Electronic data damages” means damages arising out of an authorized, third party’s:
                  (a) Destruction or addition or deletion of “electronic data” that was entrusted to an insured by others
                       and that was resident on your “network communications system”;
                  (b) Copying or theft of any electronic data resident on “network communications system”; or
                  (c) Use or alteration of any software resident on “network communications systems”.
                  As used in paragraph, “electronic data” means information, facts or programs stored as or on, created
                  or used on, or transmitted to or from computer software, including systems and applications software,
                  hard or floppy disks, CD-ROMS, tapes, drives, cells, data processing devices or any other media which
                  are used with electronically controlled equipment.
              (2) “Network communications system” means any or all of the components, owned and/or controlled by
                  you, including computers and software, which combine with your computers to communicate
                  electronically with other computer systems.
              (3) “Third party notification expense” means all costs associated with the notification of current or previous
                  clients or other parties including reasonable and necessary legal fees incurred in connection with such
                  notification.
           d. With respect to the coverage provided in this Additional Coverage, Paragraph 17. Exclusion – Access Or
              Disclosure Of Confidential Or Personal Information And Data-Related Liability of the Commercial
              General Liability Combined Provisions Endorsement (GSI-04-AP600) does not apply.




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      4. SECTION II - WHO IS AN INSURED
         The following provisions 4. and 5. are added to SECTION II – WHO IS AN INSURED

           AUTOMATIC ADDITIONAL INSURED - MANAGERS OR LESSORS OF PREMISES – BY CONTRACT,
           AGREEMENT OR PERMIT

           4. a. Any person or organization from whom you rent or lease, or have permission to occupy, premises when
                 you and such person or organization have agreed in a written contract, agreement or by permit that
                 such person or organization be added as an additional insured on your policy but only with respect to
                 liability for “bodily injury”, “property damage” or “personal or advertising injury” arising out of the
                 ownership, maintenance or use of that part of the premises rented or leased to or occupied by you
                 provided the written contract or agreement has been executed or permit has been issued prior to the
                 “bodily injury”, “property damage”, or “personal and advertising injury”.
              b. The person or organization qualifying as an additional insured under this provision is an additional
                 insured on the later of the following dates:
                 (1) The agreed upon date in the written contract, agreement or permit that such person or organization
                      be an additional insured on your policy provided you execute the written contract or agreement or
                      the permit is issued prior to the agreed upon date;
                 (2) The date the written contract or agreement is executed or permit is issued; or
                 (3) The effective date of this policy.

               The insurance afforded these additional insureds, the following exclusions apply:
               a. Any “occurrence” or offense which takes place after you cease to be a tenant in that premises.
               b. Any “bodily injury”, “property damage”, or “personal and advertising injury” arising out of structural
                  alterations, new construction or demolition operations performed by or on behalf of the person or
                  organization.
               c. Any “bodily injury”, “property damage”, or “personal and advertising injury” arising out of the sole
                  negligence of the additional insured manager or lessor.

           AUTOMATIC ADDITIONAL INSURED - LESSORS OF LEASED EQUIPMENT

           5. a. Any person or organization from whom you lease equipment when you and such person or
                 organization have agreed in a written contract or agreement that such person or organization be added
                 as an additional insured on your policy but only with respect to liability for “bodily injury”, “property
                 damage” or “personal or advertising injury” caused, in whole or in part, by your maintenance, operation,
                 or use of equipment leased to you by such person or organization provided the written contract or
                 agreement has been executed or permit has been issued prior to the “bodily injury”, “property damage”
                 or “personal and advertising injury”.
              b. The person or organization qualifying as an additional insured under this provision is an additional
                 insured on the later of the following dates:
                 (1) The agreed upon date in the written contract or agreement that such person or organization be an
                      additional insured on your policy provided you execute the written contract or agreement prior to the
                      agreed upon date;
                 (2) The date the written contract or agreement is executed; or
                 (3) The effective date of this policy.
              c. A person’s or organization’s status as an additional insured under this provision ends when their
                 contract or agreement with you for such leased equipment ends.
              d. With respect to the insurance afforded these additional insureds, the insurance does not apply to any
                 “occurrence” or offense which takes place after the equipment lease expires.

      5. CONDITIONS
         The following provision is added to SECTION IV – COMMERCIAL GENERAL LIABILITY CONDITIONS:

           LIBERALIZATION PROVISION

           10. Liberalization
               If we adopt any revision that would broaden the coverage under the Commercial General Liability
               Coverage Part without additional premium within 45 days prior to or during the policy period, the
               broadened coverage will immediately apply to the Commercial General Liability Coverage Part.




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POLICY NUMBER: IMA359733                                                                               IL 09 53 01 15

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

        EXCLUSION OF CERTIFIED ACTS OF TERRORISM
This endorsement modifies insurance provided under the following:

   BOILER AND MACHINERY COVERAGE PART
   COMMERCIAL INLAND MARINE COVERAGE PART
   COMMERCIAL PROPERTY COVERAGE PART
   CRIME AND FIDELITY COVERAGE PART
   EQUIPMENT BREAKDOWN COVERAGE PART
   FARM COVERAGE PART
   STANDARD PROPERTY POLICY

                                                    SCHEDULE

The Exception Covering Certain Fire Losses (Paragraph C) applies to property located in the following state(s),
if covered under the indicated Coverage Form, Coverage Part or Policy:


                         State(s)                               Coverage Form, Coverage Part Or Policy
                 CALIFORNIA                                COMMERCIAL PROPERTY COVERAGE PART
                 CALIFORNIA                                EQUIPMENT BREAKDOWN COVERAGE PART




Information required to complete this Schedule, if not shown above, will be shown in the Declarations.


A. The following definition is added with respect to        B. The following exclusion is added:
   the provisions of this endorsement:                         CERTIFIED ACT OF TERRORISM EXCLUSION
   "Certified act of terrorism" means an act that is           We will not pay for loss or damage caused directly
   certified by the Secretary of the Treasury, in              or indirectly by a "certified act of terrorism". Such
   accordance with the provisions of the federal               loss or damage is excluded regardless of any
   Terrorism Risk Insurance Act, to be an act of               other cause or event that contributes concurrently
   terrorism pursuant to such Act. The criteria                or in any sequence to the loss.
   contained in the Terrorism Risk Insurance Act for
   a "certified act of terrorism" include the following:    C. Exception Covering Certain Fire Losses
   1. The act resulted in insured losses in excess of          The following exception to the exclusion in
       $5 million in the aggregate, attributable to all        Paragraph B. applies only if indicated and as
       types of insurance subject to the Terrorism             indicated in the Schedule of this endorsement.
       Risk Insurance Act; and                                 If a "certified act of terrorism" results in fire, we will
   2. The act is a violent act or an act that is               pay for the loss or damage caused by that fire.
       dangerous to human life, property or                    Such coverage for fire applies only to direct loss or
       infrastructure and is committed by an individual        damage by fire to Covered Property. Therefore, for
       or individuals as part of an effort to coerce the       example, the coverage does not apply to
       civilian population of the United States or to          insurance provided under Business Income and/or
       influence the policy or affect the conduct of the       Extra Expense coverage forms or endorsements
       United States Government by coercion.                   which apply to those forms, or to the Legal Liability
                                                               Coverage Form or the Leasehold Interest
                                                               Coverage Form.




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   If aggregate insured losses attributable to terrorist    D. Applicati on Of Other Exclusions
   acts certified under the Terrorism Risk Insurance           The terms and limitations of any terrorism
   Act exceed $100 billion in a calendar year and we           exclusion, or the inapplicability or omission of a
   have met our insurer deductible under the                   terrorism exclusion, do not serve to create
   Terrorism Risk Insurance Act, we shall not be               coverage for any loss which would otherwise be
   liable for the payment of any portion of the amount         excluded under this Coverage Part or Policy, such
   of such losses that exceeds $100 billion, and in            as losses excluded by the Nuclear Hazard
   such case insured losses up to that amount are              Exclusion or the War And Military Action
   subject to pro rata allocation in accordance with           Exclusion.
   procedures established by the Secretary of the
   Treasury.




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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              ASSAULT OR BATTERY COVERAGE AND SUBLIMIT
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART
LIQUOR LIABLITY COVERAGE PART

                                                            SCHEDULE

                         COVERAGE                                    AGGREGATE SUBLIMIT OF INSURANCE
                    Assault Or Battery Coverage                      $        50,000 Policy Period Aggregate

(Supplementary Payments serve to erode the above Assault Or Battery Coverage Aggregate Sublimit Of Insurance)

A.     INSURING AGREEMENT
       We will pay those sums that the insured becomes legally obligated to pay as damages because of “bodily
       injury” arising out of, resulting from, caused or contributed to or by, or in connection with:

       1.    An act of assault or battery; or

       2.    Any act or omission in connection with the prevention or suppression of such acts; or

       3.    Any actual or alleged adequate security,

       that is caused by an “occurrence” under the COMMERCIAL GENERAL LIABILITY COVERAGE PART, or a
       common cause by reason of the selling, serving or furnishing of alcoholic beverages under the LIQUOR
       LIABILITY COVERAGE PART, whether instigated by or at the direction of the insured, the insured’s
       “employees” or agents, independent contractors, patrons or any other person, including but not limited to
       claims of:

       a.    The negligent:
             (1) Employment;
             (2) Training;
             (3) Investigation;
             (4) Supervision; or
             (5) Retention,

             of a person who assaulted or battered, or threatened to assault or batter, any other person; or

       b.    The negligent reporting of or failure to report:
             (1) Any assault or battery;
             (2) Any suspected or threatened assault or battery;
             (3) Any person who assaulted or battered, or threatened to assault or batter, any other person; or
             (4) Any person who was assaulted or battered; or

       c.    The breach of any legal obligation or any duty:
             (1) To provide adequate security;
             (2) Arising out of any assault or battery;
             (3) That resulted in an assault or battery;
             (4) Arising out of any suspected or threatened assault or battery; or
             (5) To any person who was assaulted or battered.

       “Bodily injury” arising out of, resulting from, caused or contributed to or by, or in connection with, an act of
       assault or battery as covered by this endorsement does not include “bodily injury” arising out of, resulting from,
       caused or contributed to or by, or in connection with, an act of “abuse or molestation”.



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       All “bodily injury” claims or “suits” arising out of, resulting from, caused or contributed to or by, or in connection
       with, the same act of assault or battery, or a series of related acts of assault or battery, regardless if committed
       by the same perpetrator or two or more perpetrators acting in concert and without regard to the number of
       incidents or victims involved, shall be considered as a:

       1.    Single covered “occurrence” of assault or battery under the COMMERCIAL GENERAL LIABILITY
             COVERAGE PART; or

       2.    Single covered common cause of assault or battery as a result of the selling, serving or furnishing of
             alcoholic beverages under the LIQUOR LIABILITY COVERAGE PART,

       taking place during this policy period if the initial assault or battery “bodily injury” occurred during this policy
       period.

       Our obligation to pay damages together with Supplementary Payments for any single covered “occurrence”, or
       single covered common cause as a result of the selling, serving or furnishing of alcoholic beverages, of assault
       or battery shall not exceed the Assault Or Battery Coverage Aggregate Sublimit Of Insurance shown in the
       Schedule of this endorsement.

B.     SUPPLEMENTARY PAYMENTS
       The payments we make in investigating or settling any claim or in defending any “suit” against an insured that
       is covered by this endorsement’s insurance serve to erode, individually or together with any damages paid by
       us, the Assault Or Battery Coverage Aggregate Sublimit Of Insurance shown in the Schedule of this
       endorsement.

       With respect to this endorsement:

       1.    The last subparagraph of paragraph 1. In the SUPPLEMENTARY PAYMENTS – COVERAGES A AND
             B section of the COMMERCIAL GENERAL LIABILITY COVERAGE FORM does not apply.

       2.    The last paragraph in the SUPPLEMENTARY PAYMENTS section of the LIQUOR LIABILITY
             COVERAGE FORM does not apply.

C.     EXCLUSIONS
       With respect to the insurance provided by this endorsement:

       1.    Paragraph a. of subsection 2. Exclusions in COVERAGE A BODILY INJURY AND PROPERTY
             DAMAGE LIABILITY (SECTION I) of the COMMERCIAL GENERAL LIABILITY COVERAGE FORM is
             deleted and replaced by the following:

             This insurance does not apply to:

             a.     Expected Or Intended Injury
                    “Bodily injury” or “property damage” expected or intended from the standpoint of the insured. This
                    exclusion does not apply to “bodily injury” arising out of, resulting from, caused or contributed to or
                    by, or in connection with a covered “occurrence” of assault or battery.

       2.    Paragraph a. of subsection 2. Exclusions in SECTION I – LIQUOR LIABILITY COVERAGE in the
             LIQUOR LIABILITY COVERAGE FORM is deleted and replaced by the following:

             This insurance does not apply to:

             a.     Expected Or Intended Injury
                    “Injury” expected or intended from the standpoint of the insured. This exclusion does not apply to
                    “bodily injury” arising out of, resulting from, caused or contributed to or by, or in connection with a
                    covered common cause of assault or battery as a result of the selling, serving or furnishing of
                    alcoholic beverages.



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D.     SUBLIMITS OF INSURANCE
       1.  With respect to this endorsement, the following is added to SECTION III - LIMITS OF INSURANCE of
           the COMMERCIAL GENERAL LIABILITY COVERAGE FORM:

             a.     The Assault Or Battery Coverage Aggregate Sublimit Of Insurance shown in the Schedule of this
                    endorsement is the most we will pay for the sum of all damages and Supplementary Payments
                    during the policy period because of “bodily injury” arising out of, resulting from, caused or
                    contributed to or by, or in connection with all covered “occurrences” of assault or battery
                    regardless of the number of claimants or injuries.

                    The Assault Or Battery Coverage Aggregate Sublimit Of Insurance is part of and not in addition to
                    the General Aggregate Limit shown in the COMMERCIAL GENERAL LIABILITY COVERAGE
                    PART DECLARATIONS .

       2.    With respect to this endorsement, the following is added to SECTION III – LIMITS OF INSURANCE of
             the LIQUOR LIABILITY COVERAGE FORM:

             a.     The Assault Or Battery Coverage Aggregate Sublimit Of Insurance shown in the Schedule of this
                    endorsement is the most we will pay for the sum of all damages and Supplementary Payments
                    during the policy period because of “bodily injury” arising out of, resulting from, caused or
                    contributed to or by, or in connection with all covered common causes of assault or battery by
                    reason of the selling, serving or furnishing of alcoholic beverages, regardless of the number of
                    claimants or “injuries”.

                    The Assault Or Battery Coverage Aggregate Sublimit Of Insurance is part of and not in addition to
                    the Aggregate Limit shown in the LIQUOR LIABILITY COVERAGE PART DECLARATIONS .

       3.    With respect to paragraphs 1. and 2. above, the maximum amount we will pay for the sum of all
             damages and Supplementary Payments during the policy period because of “bodily injury” arising out of,
             resulting from, caused or contributed to or by, or in connection with:

             a.     All covered “occurrences” of assault or battery under the COMMERCIAL GENERAL LIABILITY
                    COVERAGE PART and;

             b.     All covered common causes of assault or battery as a result of the selling, serving or furnishing of
                    alcoholic beverages to persons under the LIQUOR LIABILITY COVERAGE PART,

             regardless of the number of claimants or injuries, is the Assault Or Battery Coverage Aggregate Sublimit
             Of Insurance shown in the Schedule of this endorsement.

E.     DEFINITIIONS
       The following definition applies to this endorsement only and is in addition to those definitions stated in the
       COMMERCIAL GENERAL LIABILITY COVERAGE FORM and LIQUOR LIABILITY COVERAGE FORM:

       1.    The term “abuse or molestation” means:

             a.     The alleged, actual or threatened act of abuse or molestation by anyone of any person while in the
                    care, custody or control of any insured; or

             b.     The negligent:
                    (1) Employment;
                    (2) Investigation;
                    (3) Supervision;
                    (4) Reporting to proper authorities, or failure to so report; or
                    (5) Retention;

                    of a person for whom any insured is or ever was legally responsible and whose conduct would be
                    excluded by paragraph 1.a. above.



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        THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                    DESIGNATED ANIMAL LIABILITY LIMITATION
This endorsement modifies insurance provided under the following:

COMMERCIAL GENERAL LIABILITY COVERAGE PART


This policy does not apply to any damages for which the insured is legally liable, or costs or expenses, arising out of,
resulting from, caused or contributed to by any excluded animal. With respect to liability arising from an animal that is
not an excluded animal, the most we will pay is $25,000 for each incident involving one or more such animals
regardless of the number of claims made or “suits” brought or persons or organizations making claims or bringing
“suits”.

The following animals are excluded:

1. Any animal with a prior history of biting or attacking persons, property or other animals as established through
   insurance claims records, or through the records of local public safety, law enforcement or other similar
   regulatory agency;

2. Any exotic animal. For purposes of this endorsement, exotic animal means a: (1)non-domesticated feline;
   (2)non-human primate; (3)venomous or poisonous animal; (4)caiman, alligator, or crocodile; (5)bear; (6)wolf;
   (7)jackal; (8)fox; or (9) coyote; including any hybrid of these animals.

3. Any pure or mixed breed of any of the following:

        Akita                                Husky
        Alaskan Malamute                     Pit Bull Terrier
        Bull Mastiff                         Rhodesian Ridgeback
        Chow                                 Rottweiler
        Doberman Pinscher                    St. Bernard
        German Shepherd                      Staffordshire Terrier
        Great Dane                           Wolf Hybrids
        Belgian Malinois


All other terms and conditions remain unchanged.




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  THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                        EQUIPMENT BREAKDOWN COVERAGE
 This endorsement modifies insurance provided under the following:
                         COMMERCIAL PROPERTY COVERAGE PART

 A.       The following is added as an Additional Coverage to the Causes of Loss— Basic Form,
          Broad Form or Special Form.

          Additional Coverage-- Equipment Breakdown
          The term Covered Cause of Loss includes the Additional Coverage Equipment
          Breakdown as described and limited below.
          1.     We will pay for direct physical damage to Covered Property that is the direct
                 result of an “accident.” As used in this Additional Coverage, “accident” means a
                 fortuitous event that causes direct physical damage to “covered equipment.” The
                 event must be one of the following:
                 a.      mechanical breakdown, including rupture or bursting caused by
                         centrifugal force;
                 b.      artificially generated electrical current, including electric arcing, that
                         disturbs electrical devices, appliances or wires;
                 c.      explosion of steam boilers, steam pipes, steam engines or steam turbines
                         owned or leased by you, or operated under your control;
                 d.      loss or damage to steam boilers, steam pipes, steam engines or steam
                         turbines caused by or resulting from any condition or event inside such
                         equipment; or
                 e.      loss or damage to hot water boilers or other water heating equipment
                         caused by or resulting from any condition or event inside such boilers or
                         equipment.

          2.       Unless otherwise shown in a Schedule, the following coverages also apply to the
                   direct result of an “accident.” These coverages do not provide additional amounts
                   of insurance.
                   a.      Expediting Expenses
                           With respect to your damaged Covered Property, we will pay up to
                           $25,000 unless otherwise shown in a Schedule, the reasonable extra cost
                           to:
                           (1)      make temporary repairs; and
                           (2)      expedite permanent repairs or permanent replacement.
                   b.      Hazardous Substances
                           We will pay for the additional cost to repair or replace Covered Property
                           because of contamination by a “hazardous substance.” This includes the
                           additional expenses to clean up or dispose of such property.
                           This does not include contamination of “perishable goods” by refrigerant,
                           including but not limited to ammonia, which is addressed in 2.c.(1)(b)
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                        below. As used in this coverage, additional costs mean those beyond what
                        would have been payable under this Equipment Breakdown Coverage had
                        no “hazardous substance” been involved.
                        The most we will pay for loss, damage or expense under this coverage,
                        including actual loss of Business Income you sustain and necessary Extra
                        Expense you incur, if shown as covered, is $25,000 unless otherwise
                        shown in a Schedule.
                   c.   Spoilage
                        (1)     We will pay:
                                (a)     for physical damage to “perishable goods” due to spoilage;
                                (b)     for physical damage to “perishable goods” due to
                                        contamination from the release of refrigerant, including but
                                        not limited to ammonia;
                                (c)     any necessary expenses you incur to reduce the amount of
                                        loss under this coverage to the extent that they do not
                                        exceed the amount of loss that otherwise would have been
                                        payable under this coverage.
                        (2)     If you are unable to replace the “perishable goods” before its
                                anticipated sale, the amount of our payment will be determined on
                                the basis of the sales price of the “perishable goods” at the time of
                                the “accident,” less discounts and expenses you otherwise would
                                have had. Otherwise our payment will be determined in accordance
                                with the Valuation condition.
                        The most we will pay for loss, damage or expense under this coverage is
                        $25,000 unless otherwise shown in a Schedule.
                   d.   Data Restoration
                        We will pay for your reasonable and necessary cost to research, replace
                        and restore lost “data.”
                        The most we will pay for loss or expense under this coverage, including
                        actual loss of Business Income you sustain and necessary Extra Expense
                        you incur, if shown as covered, is $500 unless otherwise shown in a
                        Schedule.
                   e.   Service Interruption
                        (1)     Any insurance provided for Business Income, Extra Expense or
                                Spoilage is extended to apply to your loss, damage or expense
                                caused by an “accident” to equipment that is owned by a utility,
                                landlord or other supplier with whom you have a contract to supply
                                you with any of the following services: electrical power, waste
                                disposal, air conditioning, refrigeration, heating, natural gas,
                                compressed air, water, steam, internet access, telecommunications
                                services, wide area networks or data transmission. The equipment
                                must meet the definition of “covered equipment” except that it is
                                not Covered Property.
                        (2)     Unless otherwise shown in a Schedule, Service Interruption
                                coverage will not apply unless the failure or disruption of service
                                exceeds 24 hours immediately following the “accident.”

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                          (3)     The most we will pay for loss, damage or expense under this
                                  coverage is the limit that applies to Business Income, Extra
                                  Expense or Spoilage, except that if a limit is shown in a Schedule
                                  for Service Interruption, that limit will apply to Business Income
                                  and Extra Expense loss under this coverage.
                   f.     Business Income and Extra Expense
                          Any insurance provided under this coverage part for Business Income or
                          Extra Expense is extended to the coverage provided by this endorsement.
                          The most we will pay for loss of Business Income you sustain or
                          necessary Extra Expense you incur is the limit shown in the Declarations
                          for that coverage, unless otherwise shown in a Schedule.

          3.       EXCLUSIONS
                   All exclusions in the Causes of Loss form apply except as modified below and to
                   the extent that coverage is specifically provided by this Additional Coverage
                   Equipment Breakdown.
                   a.      The exclusions are modified as follows:
                           (1)     If the Causes of Loss -- Basic Form or Causes of Loss -- Broad
                                   Form applies, the following is added to Exclusion B.2.:
                                   Depletion, deterioration, corrosion, erosion, wear and tear, or other
                                   gradually developing conditions. But if an “accident” results, we
                                   will pay for the resulting loss, damage or expense.
                           (2)     If the Causes of Loss—Special Form applies, as respects this
                                   endorsement only, the last paragraph of Exclusion B.2.d. is deleted
                                   and replaced with the following:
                                   But if an excluded cause of loss that is listed in 2.d.(1) through (7)
                                   results in an “accident,” we will pay for the loss, damage or
                                   expense caused by that “accident.”
                   b.      We will not pay under this endorsement for loss, damage or expense
                           caused by or resulting from:
                           (1)     any defect, programming error, programming limitation, computer
                                   virus, malicious code, loss of “data,” loss of access, loss of use,
                                   loss of functionality or other condition within or involving “data”
                                   or “media” of any kind. But if an “accident” results, we will pay
                                   for the resulting loss, damage or expense; or
                           (2)     any of the following tests:
                                   a hydrostatic, pneumatic or gas pressure test of any boiler or
                                   pressure vessel, or an electrical insulation breakdown test of any
                                   type of electrical equipment.
                   c.      With respect to Service Interruption coverage, we will also not pay for
                           an “accident” caused by or resulting from: fire; lightning; windstorm or
                           hail; explosion (except as specifically provided in A.1.c. above); smoke;
                           aircraft or vehicles; riot or civil commotion; vandalism; sprinkler leakage;
                           falling objects; weight of snow, ice or sleet; freezing; collapse; flood or
                           earth movement.


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                   d.     With respect to Business Income, Extra Expense and Service Interruption
                          coverages, we will also not pay for any increase in loss resulting from an
                          agreement between you and your customer or supplier.
                   e.     We will not pay for loss, damage or expense caused directly or indirectly
                          by the following, whether or not caused by or resulting from an
                          “accident”: Any mold, fungus, mildew or yeast, including any spores or
                          toxins produced by or emanating from such mold, fungus, mildew or
                          yeast. This includes, but is not limited to, costs arising from clean up,
                          removal, or abatement of such mold, fungus, mildew or yeast, spores or
                          toxins. However, this exclusion does not apply to spoilage of personal
                          property that is “perishable goods,” to the extent that spoilage is covered
                          under Spoilage coverage.
                   f.     We will not pay under this endorsement for any loss or damage to animals.

          4.       DEFINITIONS
                   The following definitions are added:
                   a.     “Boilers and vessels” means:
                          (1)     Any boiler, including attached steam, condensate and feedwater
                                  piping; and
                          (2)     Any fired or unfired pressure vessel subject to vacuum or internal
                                  pressure other than the static pressure of its contents.
                          This term does not appear elsewhere in this endorsement, but may appear
                          in a Schedule.
                   b.     “Covered equipment”
                          (1)     “Covered equipment” means, unless otherwise specified in a
                                  Schedule, Covered Property:
                                  (a)     that generates, transmits or utilizes energy, including
                                          electronic communications and data processing equipment;
                                          or
                                  (b)     which, during normal usage, operates under vacuum or
                                          pressure, other than the weight of its contents.
                          (2)     None of the following is “covered equipment”:
                                  (a)     structure, foundation, cabinet, compartment or air
                                          supported structure or building;
                                  (b)     insulating or refractory material;
                                  (c)     sewer piping, underground vessels or piping, or piping
                                          forming a part of a sprinkler system;
                                  (d)     water piping other than boiler feedwater piping, boiler
                                          condensate return piping or water piping forming a part of a
                                          refrigerating or air conditioning system;
                                  (e)     “vehicle” or any equipment mounted on a “vehicle”;
                                  (f)     satellite, spacecraft or any equipment mounted on a satellite
                                          or spacecraft;
                                  (g)     dragline, excavation or construction equipment; or
                                  (h)     equipment manufactured by you for sale.
                   c.     “Data” means information or instructions stored in digital code capable of
                          being processed by machinery.
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                   d.     “Hazardous substance” means any substance that is hazardous to health or
                          has been declared to be hazardous to health by a governmental agency.
                   e.     “Media” means material on which “data” is recorded, such as magnetic
                          tapes, hard disks, optical disks or floppy disks.
                   f.     “One accident” means: If an initial “accident” causes other “accidents,” all
                          will be considered “one accident.” All “accidents” that are the result of the
                          same event will be considered “one accident.”
                   g.     “Perishable goods” means personal property maintained under controlled
                          conditions for its preservation, and susceptible to loss or damage if the
                          controlled conditions change.
                   h.     “Production machinery” means any machine or apparatus that processes or
                          produces a product intended for eventual sale. However, “production
                          machinery” does not mean any fired or unfired pressure vessel other than a
                          cylinder containing a movable plunger or piston.
                          This term does not appear elsewhere in this endorsement, but may appear
                          in a Schedule.
                   i.     “Vehicle” means, as respects this endorsement only, any machine or
                          apparatus that is used for transportation or moves under its own power.
                          “Vehicle” includes, but is not limited to, car, truck, bus, trailer, train,
                          aircraft, watercraft, forklift, bulldozer, tractor or harvester.
                          However, any property that is stationary, permanently installed at a
                          covered location and that receives electrical power from an external power
                          source will not be considered a “vehicle.”

 B.       The Building and Personal Property Coverage Form is modified as follows.
          The definitions stated above also apply to section B. of this endorsement.

          1.       DEDUCTIBLE
                   The deductible in the Declarations applies unless a separate Equipment
                   Breakdown deductible is shown in a Schedule. If a separate Equipment
                   Breakdown deductible is shown, the following applies.
                   Only as regards Equipment Breakdown Coverage, provision D.
                   DEDUCTIBLE is deleted and replaced with the following:
                   a.     Deductibles for Each Coverage
                          (1)     Unless the Schedule indicates that your deductible is combined for
                                  all coverages, multiple deductibles may apply to any “one
                                  accident.”
                          (2)     We will not pay for loss, damage or expense under any coverage
                                  until the amount of the covered loss, damage or expense exceeds
                                  the deductible amount indicated for that coverage in the Schedule.
                                  We will then pay the amount of loss, damage or expense in excess
                                  of the applicable deductible amount, subject to the applicable limit.
                          (3)     If deductibles vary by type of “covered equipment” and more than
                                  one type of “covered equipment” is involved in any “one
                                  accident,” only the highest deductible for each coverage will apply.
                   b.     Direct and Indirect Coverages

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                        (1)    Direct Coverages Deductibles and Indirect Coverages Deductibles
                               may be indicated in the Schedule.
                        (2)    Unless more specifically indicated in the Schedule:
                               (a)     Indirect Coverages Deductibles apply to Business Income
                                       and Extra Expense loss; and
                               (b)     Direct Coverages Deductibles apply to all remaining loss,
                                       damage or expense covered by this endorsement.
                   c.   Application of Deductibles
                        (1)    Dollar Deductibles
                               We will not pay for loss, damage or expense resulting from any
                               “one accident” until the amount of loss, damage or expense
                               exceeds the applicable Deductible shown in the Schedule. We will
                               then pay the amount of loss, damage or expense in excess of the
                               applicable Deductible or Deductibles, up to the applicable Limit of
                               Insurance.
                        (2)    Time Deductible
                               If a time deductible is shown in the Schedule, we will not be liable
                               for any loss occurring during the specified number of hours or days
                               immediately following the “accident.” If a time deductible is
                               expressed in days, each day shall mean twenty-four consecutive
                               hours.
                        (3)    Multiple of Average Daily Value (ADV)
                               If a deductible is expressed as a number times ADV, that amount
                               will be calculated as follows:
                               The ADV (Average Daily Value) will be the Business Income (as
                               defined in any Business Income coverage that is part of this policy)
                               that would have been earned during the period of interruption of
                               business had no “accident” occurred, divided by the number of
                               working days in that period. No reduction shall be made for the
                               Business Income not being earned, or in the number of working
                               days, because of the “accident” or any other scheduled or
                               unscheduled shutdowns during the period of interruption. The
                               ADV applies to the Business Income value of the entire location,
                               whether or not the loss affects the entire location. If more than one
                               location is included in the valuation of the loss, the ADV will be
                               the combined value of all affected locations. For purposes of this
                               calculation, the period of interruption may not extend beyond the
                               period of restoration.
                               The number indicated in the Schedule will be multiplied by the
                               ADV as determined above. The result shall be used as the
                               applicable deductible.
                        (4)    Percentage of Loss Deductibles
                               If a deductible is expressed as a percentage of loss, we will not be
                               liable for the indicated percentage of the gross amount of loss,
                               damage or expense (prior to any applicable deductible or
                               coinsurance) insured under the applicable coverage. If the dollar
                               amount of such percentage is less than the indicated minimum
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                                   deductible, the minimum deductible will be the applicable
                                   deductible.

          2.       CONDITIONS
                   The following conditions are in addition to the Conditions in the Building and
                   Personal Property Coverage Form and the Common Policy Conditions.
                   a.     Suspension
                          Whenever “covered equipment” is found to be in, or exposed to, a
                          dangerous condition, any of our representatives may immediately suspend
                          the insurance against loss from an “accident” to that “covered equipment.”
                          This can be done by mailing or delivering a written notice of suspension
                          to:
                          (1)     your last known address; or
                          (2)     the address where the “covered equipment” is located.
                          Once suspended in this way, your insurance can be reinstated only by an
                          endorsement for that “covered equipment.” If we suspend your insurance,
                          you will get a pro rata refund of premium for that “covered equipment” for
                          the period of suspension. But the suspension will be effective even if we
                          have not yet made or offered a refund.
                   b.     Jurisdictional Inspections
                          If any property that is “covered equipment” under this endorsement
                          requires inspection to comply with state or municipal boiler and pressure
                          vessel regulations, we agree to perform such inspection on your behalf.
                          We do not warrant that conditions are safe or healthful.
                   c.     Environmental, Safety and Efficiency Improvements
                          If “covered equipment” requires replacement due to an “accident,” we will
                          pay your additional cost to replace with equipment that is better for the
                          environment, safer or more efficient than the equipment being replaced.
                          However, we will not pay more than 125% of what the cost would have
                          been to repair or replace with like kind and quality. This condition does
                          not increase any of the applicable limits. This condition does not apply to
                          any property to which Actual Cash Value applies.
                   d.     Coinsurance
                          If a coinsurance percentage is shown in a Schedule for specified
                          coverages, the following condition applies.
                          We will not pay for the full amount of your loss if the applicable limit is
                          less than the product of the specified coinsurance percentage times the
                          value of the property subject to the coverage at the time of the loss.
                          Instead, we will determine what percentage this calculated product is
                          compared to the applicable limit and apply that percentage to the gross
                          amount of loss. We will then subtract the applicable deductible. The
                          resulting amount, or the applicable limit, is the most we will pay. We will
                          not pay for the remainder of the loss. Coinsurance applies separately to
                          each insured location.

 The most we will pay for loss, damage or expense under this endorsement arising from any “one
 accident” is the applicable Limit of Insurance in the Declarations unless otherwise shown in a
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 Schedule. Coverage provided under this endorsement does not provide an additional amount of
 insurance.




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       Case 2:20-cv-10432-MWF-SK Document 1-1 Filed 11/13/20 Page 152 of 157 Page ID
                                         #:160
                                                G E N E R A L S T A R I N D E M NI T Y C O M P A N Y

               T HI S E N D O R S E M E N T C H A N G E S T H E P O LI C Y. P L E A S E R E A D I T C A R E F U L L Y.

    T hi s e n d or s e m e nt #        1           ,   eff e cti v e         0 2 / 1 2 / 2 0 1 9           f or m s a p art of P oli c y #               I M A 3 5 9 7 3 3

    issued to        K H A N E N H O L DI N G S , L L C                                                                   b y G E N E R A L S T A R I N D E M NI T Y C O M P A N Y.

                                             GE NE R AL C H A N GES E N D O RSE ME NT
  T hi s p oli c y i s a m e n d e d w h er e i n di c at e d b y a n DI b el o w. D e s cri b e c h a n g e s i n d et ail a n d a n y a p pli c a bl e c h a n g e i n
  pr e mi u m wit hi n t h e a p pr o pri at e b o x a n d/ or t h e D et ail s S e cti o n b el o w. All ot h er t er m s, e x cl u si o n s a n d c o n diti o n s
  r e m ai n u n c h a n e d:
•        A d diti o n al I n s ur e d:      A n a d diti o n al i n s ur e d i s a d d e d p er t h e att a c h e d f or m                                         .


                                                 T h e f oll o wi n g a d diti o n al i n s ur e d i s d el et e d:




IE        A u dit:                               T h e a u dit t er m i s a m e n d e d t o r e a d                                                                             ( a dj u st a bl e or
                                                 n o n- a dj u st a bl e).


•         Cl a s sifi c ati o n:                 T h e f oll o wi n g cl a s sifi c ati o n i s                                          ( a m e n d e d, a d d e d or d el et e d) a s f oll o w s:




•         D e d u cti bl e:                      T h e d e d u cti bl e s h o w n o n                                                         is a mendedto read                                              .


•         Eff e cti v e D at e:                  T h e p oli c y eff e cti v e d at e i s a m e n d e d t o r e a d                                                              .


•         E x pir ati o n D at e:                T h e p oli c y e x pir ati o n d at e i s a m e n d e d t o r e a d                                                            .


•         F or m s:                              T h e f oll o wi n g f or m( s) ar e a d d e d t o t h e p oli c y:


                                                 T h e f oll o wi n g f or m( s) ar e d el et e d fr o m t h e p oli c y:



•         L o c ati o n A d dr e s s:            T h e l o c ati o n a d dr e s s i s                                                ( a m e n d e d, a d d e d or d el et e d) a s f oll o w s:




•         L o s s P a y e e:                     L o s s P a y e e i s a d d e d p er t h e att a c h e d f or m C P 1 2 1 8.
•         M aili n g A d dr e s s:               T h e m aili n g a d dr e s s i s a m e n d e d t o r e a d a s f oll o w s:




                                                                                        PR ODUCER C ODE.                        1 5 7 7 1

                                                                                        P R O D U CE R NA ME                     A   m     WI N S      A c c e s s I n s     S e r vi c e s L L C


G SI- 0 4-I 6 2 2 ( 0 8/ 1 0)                    © C o p yri g ht, G e n er al St ar M a n a g e m e nt C o m p a n y, St a m f or d , C T 2 0 0 2- 2 0 0 3.                                 P a g e 1 of 2
                                            I n cl u d e s c o p yri g ht e d m at eri al of I n s ur a n c e S er vi c e s Offi c e, I n c., wit h it s p er m i s si o n
     Case 2:20-cv-10432-MWF-SK Document 1-1 Filed 11/13/20 Page 153 of 157 Page ID
                                       #:161
 •    Mortgage Holder:      The Mortgage Holder is                                     (amended, added or deleted) as follows:




 •    Name of Insured:      The Named Insured is amended as follows:

                             KHANEH HOLDINGS LLC



 •    Premium:              The premium shown on                                         (form number) is amended as follows:



LI Premium Basis:           The premium basis is amended as follows:




 •    Property              The Commercial Property Coverage Part Declarations is amended as follows:
      Description of
      Premises:

LI Property                 The Commercial Property Coverage Part Declarations is amended as follows:
      Coverages:




 •    Property Optional     The Commercial Property Coverage Part Declarations is amended as follows:
      Coverages:



LI Rate:                    The rate(s) shown on                                        is amended as follows:




Details Section: (Use this section to also describe changes that are applicable to the boxes above)
NO CHANGE IN PREMIUM.




/kk

                       TERRORISM RISK INSURANCE ACT (TRIA) Premium:                                                   NA
      (TRIA COVERAGE NOT APPLICABLE UNLESS PREMIUM SHOWN ABOVE)
                                            Total Additional Premium:                                                 NA
                                              Total Return Premium:                                      $            NA




       02 /28 /19
      Issue Date                                                                                Authorized Representative
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      Case 2:20-cv-10432-MWF-SK Document 1-1 Filed 11/13/20 Page 154 of 157 Page ID
                                        #:162
                                  GENERAL STAR INDEMNITY COMPANY

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    This endorsement #     2        ,   effective     02/12/2020          forms a part of Policy #          IMA359733

    issued to KHANEN HOLDINGS, LLC                                                 by GENERAL STAR INDEMNITY COMPANY.


                               GENERAL CHANGES ENDORSEMENT
    This policy is amended where indicated by an 111 below. Describe changes in detail and any applicable change in
    premium within the appropriate box and/ or the Details Section below. All other terms, exclusions and conditions
    remain unchan ed:
•       Additional Insured:       An additional insured is added per the attached form                                              .


                                  The following additional insured is deleted:




•       Audit:                    The audit term is amended to read                                                      (adjustable or
                                  non-adjustable).


•       Classification:           The following classification is                           (amended, added or deleted) as follows:




•       Deductible:               The deductible shown on                                       is amended to read                              .


•       Effective Date:           The policy effective date is amended to read                                            .


RI      Expiration Date:          The policy expiration date is amended to read                    03/17/2020             .



•       Forms:                    The following form(s) are added to the policy:


                                  The following form(s) are deleted from the policy:



•       Location Address:         The location address is                                  (amended, added or deleted) as follows:




•       Loss Payee:               Loss Payee is added per the attached form CP1218.

•       Mailing Address:          The mailing address is amended to read as follows:




                                                            PRODUCER CODE               15771

                                                            PRODUCER NAME AmWINS Access Ins                            Services   LLC


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                                       #:163
 •    Mortgage Holder:      The Mortgage Holder is                                   (amended, added or deleted) as follows:




 •    Name of Insured:      The Named Insured is amended as follows:




 •    Premium:              The premium shown on                                       (form number) is amended as follows:



 •    Premium Basis:        The premium basis is amended as follows:




 •    Property              The Commercial Property Coverage Part Declarations is amended as follows:
      Description of
      Premises:


 •    Property              The Commercial Property Coverage Part Declarations is amended as follows:
      Coverages:




 •    Property Optional     The Commercial Property Coverage Part Declarations is amended as follows:
      Coverages:




 •    Rate:                 The rate(s) shown on                                      is amended as follows:




Details Section: (Use this section to also describe changes that are applicable to the boxes above)




TM/ds

                       TERRORISM RISK INSURANCE ACT (TRIA) Premium:
      (TRIA COVERAGE NOT APPLICABLE UNLESS PREMIUM SHOWN ABOVE)
                                            Total Additional Premium:                                 $        1,904.00
                                                                  Total Retum Premium:                $

                                                         Tax                                                       57.12
                                                         Fee                                                        3.81



                                                         Total                                                 1,964.93


       02/14/2020
      issue Date                                                                              Authorized Representative
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                                        #:164
                                  GENERAL STAR INDEMNITY COMPANY

           THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

    This endorsement #     3        ,   effective     02/12/2020          forms a part of Policy #         IMA359733

    issued to KHANEN HOLDINGS,             LLC                                     by GENERAL STAR INDEMNITY COMPANY.


                               GENERAL CHANGES ENDORSEMENT
    This policy is amended where indicated by an 111 below. Describe changes in detail and any applicable change in
    premium within the appropriate box and/ or the Details Section below. All other terms, exclusions and conditions
    remain unchan ed:
•       Additional Insured:       An additional insured is added per the attached form                                           .


                                  The following additional insured is deleted:




•       Audit:                    The audit term is amended to read                                                    (adjustable or
                                  non-adjustable).


•       Classification:           The following classification is                           (amended, added or deleted) as follows:




•       Deductible:               The deductible shown on                                       is amended to read                           .


•       Effective Date:           The policy effective date is amended to read                                         .


•       Expiration Date:          The policy expiration date is amended to read                                         .


•       Forms:                    The following form(s) are added to the policy:


                                  The following form(s) are deleted from the policy:



•       Location Address:         The location address is                                  (amended, added or deleted) as follows:




•       Loss Payee:               Loss Payee is added per the attached form CP1218.

•       Mailing Address:          The mailing address is amended to read as follows:




                                                            PRODUCER CODE 15771

                                                            PRODUCER NAME AmWINS Access Ins Services                            LLC

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    Case 2:20-cv-10432-MWF-SK Document 1-1 Filed 11/13/20 Page 157 of 157 Page ID
                                      #:165
•     Mortgage Holder:     The Mortgage Holder is                                   (amended, added or deleted) as follows:




•     Name of Insured:     The Named Insured is amended as follows:




•     Premium:             The premium shown on                                       (form number) is amended as follows:



•     Premium Basis:       The premium basis is amended as follows:




•     Property             The Commercial Property Coverage Part Declarations is amended as follows:
      Description of
      Premises:


•     Property             The Commercial Property Coverage Part Declarations is amended as follows:
      Coverages:




•     Property Optional    The Commercial Property Coverage Part Declarations is amended as follows:
      Coverages:




•     Rate:                The rate(s) shown on                                      is amended as follows:




Details Section: (Use this section to also describe changes that are applicable to the boxes above)
In consideration of the premium charged, it is hereby agreed that on Endorsement no. 2
the Stamp Fee is corrected to read $4.76 in lieu of $3.81.




TM/ds

                       TERRORISM RISK INSURANCE ACT (TRIA) Premium:
      (TRIA COVERAGE NOT APPLICABLE UNLESS PREMIUM SHOWN ABOVE)
                                            Total Additional Premium:
                                                                 Total Retum Premium:                $




       02/27/2020
      issue Date                                                                             Authorized Representative
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